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                                         UNITED STATES DISTRICT COURT
                                         SOUTHERN DISTRICT OF FLORIDA

                                           CASE NO.: 16-cv-21301-GAYLES


   SECURITIES AND EXCHANGE COMMISSION,

            Plaintiff,

   v.

   ARIEL QUIROS,
   WILLIAM STENGER,
   JAY PEAK, INC.,
   Q RESORTS, INC.,
   JAY PEAK HOTEL SUITES L.P.,
   JAY PEAK HOTEL SUITES PHASE II. L.P.,
   JAY PEAK MANAGEMENT, INC.,
   JAY PEAK PENTHOUSE SUITES, L.P.,
   JAY PEAK GP SERVICES, INC.,
   JAY PEAK GOLF AND MOUNTAIN SUITES L.P.,
   JAY PEAK GP SERVICES GOLF, INC.,
   JAY PEAK LODGE AND TOWNHOUSES L.P.,
   JAY PEAK GP SERVICES LODGE, INC.,
   JAY PEAK HOTEL SUITES STATESIDE L.P.,
   JAY PEAK GP SERVICES STATESIDE, INC.,
   JAY PEAK BIOMEDICAL RESEARCH PARK L.P.,
   AnC BIO VERMONT GP SERVICES, LLC,

            Defendants, and

   JAY CONSTRUCTION MANAGEMENT, INC.,
   GSI OF DADE COUNTY, INC.,
   NORTH EAST CONTRACT SERVICES, INC.,
   Q BURKE MOUNTAIN RESORT, LLC,

            Relief Defendants.

   Q BURKE MOUNTAIN RESORT, HOTEL
   AND CONFERENCE CENTER, L.P.
   Q BURKE MOUNTAIN RESORT GP SERVICES, LLC,

          Additional Receivership Defendants1
   _____________________________________________/

                                   RECEIVER’S FIFTH INTERIM REPORT



   1
    See Order Granting Receiver’s Motion to Expand Receivership dated April 22, 2016 [ECF No.: 60].



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            Michael I. Goldberg, in his capacity as receiver (the “Receiver”), pursuant to the Order

   Granting Plaintiff Securities and Exchange Commission’s Motion for Appointment of Receiver

   (the “Receivership Order”) [ECF No. 13], dated April 13, 2016, respectfully files his Fifth

   Interim Report covering the period from January 1, 2018 up to and including June 30, 2018.2

                                       PRELIMINARY STATEMENT

            The administration of this receivership is more complex than most because the Receiver

   is not simply liquidating assets, but must also focus a great deal of effort on overseeing the

   operations of a large resort and hotel and on job creation in order to achieve the immigration

   goals of the investors under the federal EB-5 program. Since the date of the last report, the Jay

   Peak and Burke Resorts completed their ski seasons. Although the ski season got off to a slow

   start due to the unprecedented continuous record low temperatures during the last two weeks of

   2017 and the beginning of 2018, the Jay Peak Resort ended strong and combined with cost

   savings, finished with more cash on hand than last year. The Burke Hotel also had a better year

   than last year, although it continued to lose money. This loss is not uncommon for a hotel that is

   not even two years old and is still building clientele. This summer has seen record bookings for

   the Burke Hotel and it is becoming apparent that the Burke Hotel is actually an all-season hotel.

   The Receiver and his management company are optimistic that the Burke Hotel’s performance

   will continue to improve next year and can operate close to breakeven or even become profitable.

            Over the past six months, the Receiver has focused on completing construction of the

   athletic fields, which is necessary to create the final jobs needed for all Jay Peak Hotel Suites

   Stateside L.P. (“Phase VI”) investors to qualify for citizenship. These projects will be completed

   2
    For the purpose of brevity, the Receiver has endeavored not to restate information contained in the prior Status
   Reports, but refers all interested parties to those Status Reports for additional information including a detailed
   description of the Receivership Defendants and the events that led up to the appointment of the Receiver.



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   in the next four to six weeks and, based on the projections of the Receiver’s economist, the

   Receiver believes that enough jobs have been created for all investors in Jay Peak Phases I - VI

   to meet the requirements under the Federal EB-5 program. With respect to Jay Peak Biomedical

   Research Park L.P. (“Phase VII”) investors, as of the date of this report, all but eight investors

   have either redeployed their funds into the One Wall Street project or have been refunded the

   principal amount of their investment. The Q Burke Mountain Resort, Hotel and Conference

   Center L.P. (“Phase VIII”) project on Burke Mountain is still short of the requisite job creation,

   however, the Receiver is preparing a plan to present to the Court to fund additional construction

   to create the requisite jobs needed for all investors in Phase VIII to meet their EB-5

   requirements. As discussed below in detail, the recent termination of Vermont’s Regional

   Center by the U.S. Citizenship and Immigration Services (“USCIS”) presents significant

   challenges with respect to those investors who have not yet had their I-526 petitions approved

   and relocated to the United States. However, as discussed below, the Receiver is working hard

   to overcome this obstacle.

                Finally, the Receiver has spent significant time preparing the Jay Peak Resort to be

   marketed for sale. To that end, the transfer of all resort related properties (i.e. the Jay Peak

   Mountain) by Ariel Quiros has been completed and the Receiver’s attorneys have almost

   completed all title work. The Receiver has negotiated an agreement with a preeminent banker

   who specializes in the sale of ski resorts to represent the Receiver in connection with marketing

   the Jay Peak Resort. The Receiver expects to file a motion approving this agreement within the

   next week. It is expected that the sales process will take between six to ten months to identify a

   purchaser and close a transaction. The Receiver does not plan to market the Burke Hotel at this




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   time because it has yet to create the required jobs for all investors to meet their EB-5

   requirements.

   I.       BACKGROUND

            On April 12, 2016, the Securities and Exchange Commission (“SEC”) filed a complaint

   [ECF No. 1] (“Complaint”) in the United States District Court for the Southern District of

   Florida (the “Court”) against the Receivership Defendants,3 the Relief Defendants,4 William

   Stenger (“Stenger”) and Ariel Quiros (“Quiros”) (collectively, the “Defendants”). The Complaint

   alleged that Quiros and Stenger, in violation of federal securities laws, controlled and utilized the

   various Receivership Entities in furtherance of a fraud on the investors who participated in

   limited partnerships offered under the federally created EB-5 visa program. The first six limited

   partnerships (“Phase I – Phase VI”) were used to develop and expand the Jay Peak ski resort and

   its accompanying facilities located in Jay, Vermont (the “Jay Peak Resort”). The seventh limited

   partnership, Phase VII, raised funds to purchase land and develop a biomedical research facility

   in Newport, Vermont (the “AnC Bio Project”). The eighth limited partnership, Phase VIII, raised

   funds to develop and expand the Burke Mountain Hotel and ski area located in East Burke,

   Vermont (the “Burke Mountain Resort”).

            Along with the Complaint, the SEC requested the Court enter a temporary restraining

   order and a preliminary injunction preventing the Receivership Defendants from, among other

   3
    The “Receivership Defendants” are Jay Peak, Inc., Q Resorts, Inc., Jay Peak Hotel Suites L.P., Jay Peak Hotel
   Suites Phase II L.P., Jay Peak Management, Inc., Jay Peak Penthouse Suites L.P., Jay Peak GP Services, Inc., Jay
   Peak Golf and Mountain Suites L.P., Jay Peak GP Services Golf, Inc., Jay Peak Lodge and Townhouse L.P., Jay
   Peak GP Services Lodge, Inc., Jay Peak Hotel Suites Stateside L.P., Jay Peak Services Stateside, Inc., Jay Peak
   Biomedical Research Park L.P., and AnC Bio Vermont GP Services, LLC.
   4
     The “Relief Defendants” are Jay Construction Management, Inc., GSI of Dade County, Inc., North East Contract
   Services, Inc., and Q Burke Mountain Resort, LLC. Later, Q Burke Mountain Resort, Hotel and Conference Center,
   L.P. and Q Burke Mountain Resort GP Services, LLC were added as “Additional Receivership Defendants”. The
   Receivership Defendants, Relief Defendants, and Additional Receivership Defendants are collectively referred to as
   the “Receivership Entities”.



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   things, transferring or otherwise utilizing their assets. On April 13, 2016, the Court entered the

   Receivership Order [ECF No. 11] and granted the SEC’s Emergency Ex Parte Motion for

   Temporary Restraining Order, Asset Freeze and Other Relief [ECF No. 4]. Among other things,

   the Receivership Order appointed Michael Goldberg as the receiver over the Receivership

   Defendants and the Relief Defendants. On April 22, 2016, the Court entered an Order expanding

   the receivership to include the Additional Receivership Defendants [ECF No. 60].

            On September 21, 2016, upon the motion of the SEC [ECF No. 206] and the consent of

   Stenger, the Court entered a Judgment of Permanent Injunction and other relief against Stenger

   [ECF No. 215]. The Court retained jurisdiction to impose a civil penalty against Stenger. On

   August 23, 2017, upon the motion of the SEC [ECF No. 394], and the consent Quiros, the Court

   entered a Judgment of Permanent Injunction and other relief against Quiros [ECF No. 398],

   pursuant to which Quiros was ordered to pay disgorgement and prejudgment interest on

   disgorgement and a civil penalty in amounts to be determined at a future date.

            On February 2, 2018, the SEC filed an Unopposed Motion for Entry of Final Judgments

   against Defendants Quiros and Stenger and for Court to Establish Fair Fund [ECF No. 447].

   Quiros and Stenger consented, without admitting or denying the allegations of the Amended

   Complaint, to entry of the respective Final Judgments against them. On February 5, 2018, the

   Court entered an Order [ECF No. 449] establishing a Fair Fund pursuant to Section 308(a) of the

   Sarbanes-Oxley Act of 2002 to allow the distribution of the civil penalties paid by Quiros and

   Stenger, along with the disgorgement and prejudgment interest paid by Quiros, to defrauded Jay

   Peak investors.

            On the same date, the Court entered Final Judgments against Quiros and Stenger setting

   forth the amount of disgorgement, prejudgment interest on disgorgement and civil penalty. The




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   Final Judgment against Stenger [ECF No. 451] ordered him to pay a $75,000 civil penalty (the

   SEC did not seek disgorgement from Stenger) in three installments over the next year. To date,

   Stenger has paid $50,000 of this sum. The Final Judgment against Quiros [ECF No. 450, as

   amended by ECF No. 474] holds him liable for $81,344,166 of disgorgement, representing

   profits gained as a result of the conduct alleged in the Amended Complaint, prejudgment interest

   on disgorgement of $2,515,798, and a civil penalty of $1,000,000, for a total of $83,859,964. The

   Final Judgment against Quiros also provides that Quiros shall satisfy his obligations by

   disgorging certain assets to the Receiver.5 As more fully described herein, Quiros has been

   executing deeds to transfer ownership of properties to the Receiver.6

   II.        ACTIONS TAKEN BY THE RECEIVER DURING THE REPORTING PERIOD

              A.        Claims

              As more fully described in previous reports, on June 30, 2017 [ECF No. 353], the Court

   approved a settlement that the Receiver and other parties reached with Raymond James &

   Associates, Inc. (“Raymond James”), whereby Raymond James agreed to pay $150 million (in

   two tranches) in exchange for an order barring all claims against Raymond James (the “RJ

   Settlement”).7 The vast majority of the proceeds of the RJ Settlement were earmarked to pay the

   claims of the creditors of the Receivership Entities, reimburse investors who will be unable to

   obtain their citizenship, and provide benefit to other investors by funding improvements to the

   Jay Peak Resort and Burke Mountain Resort which increase their value and create the requisite

   5
       The Receiver is uncertain as to the value of these properties.
   6
    On March 2, 2018, the Court entered an Order [ECF No. 458] modifying the asset freeze against Quiros [ECF No.
   11 and 238] solely to allow the transfer of certain bank accounts and real property to the Receiver in satisfaction of
   Quiros’ disgorgement obligations.
   7
     The Receiver, through special counsel, filed a lawsuit against Raymond James and Quiros’ former son-in-law, Joel
   Burstein, who was a branch manager at Raymond James, and the employee responsible for servicing Quiros’
   financial needs (Case No. 1:16-cv-21831-JAL) (the “Raymond James Action”) for among other causes of action,
   aiding and abetting breach of fiduciary duty.


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   jobs needed for investors to meet their EB-5 job creation requirements. The Receiver has

   received all of the funds due under the RJ Settlement and has implemented the terms of the RJ

   Settlement.

                    1.       Phase I Investors

            The funds raised from the investors in Jay Peak Hotel Suites L.P. (“Phase I”) were used

   to build the Tram Haus Lodge, the first hotel at the Jay Peak Resort. In 2014, Quiros converted

   the investors in this project from equity holders to debt holders and issued each investor a

   promissory note in exchange for their equity. A portion of the RJ Settlement proceeds was

   earmarked to pay the Phase I investors the balance due under their notes in full and final

   satisfaction of any claims they have against Raymond James and the Receivership Entities. The

   Receiver paid $14,666,879.60 due to the Phase I investors and these investors are no longer

   creditors of the receivership estate. The Phase I investors are no longer owed anything by the

   Receivership Entities. Therefore, Phase II – Phase VI investors will benefit by receiving the

   proceeds from the sale of the Jay Peak Resort that would have otherwise been shared with Phase

   I investors.

                    2.       Phase II – Phase V Investors

            Phases II through Phase V consist of those individuals who invested in the partnerships8

   that built the remaining phases of the Jay Peak Resort (excluding the Stateside Hotel). These

   partnerships funded the Jay Hotel, waterpark, golf course, hockey rink and Golf and Mountain

   Villas, among other assets. The equity interest of the Phase II – Phase V investors will be

   satisfied through the proceeds of the sale of the Jay Peak Resort, along with Phase VI investors

   as referenced below. The Receiver is about to start actively marketing the Jay Peak Resort for


   8
    The partnerships are Receivership Defendants Jay Peak Hotel Suites Phase II L.P., Jay Peak Penthouse Suites L.P.,
   Jay Peak Golf and Mountain Suites L.P., and Jay Peak Lodge and Townhouses L.P.


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   sale and is hopeful to distribute the proceeds to Phase II through Phase VI investors in 2019 on a

   pro rata basis.

                     3.    Phase VI Investors

            Phase VI consists of the investors who invested in Jay Peak Hotel Suites Stateside L.P.,

   which raised money to build the Stateside Hotel, 84 cottages, a recreational center and a medical

   center (collectively, the “Stateside Project”). As of the commencement of the receivership, only

   the Stateside Hotel was completed and 35 cottages were partially constructed. The incomplete

   nature of the Stateside Project risked satisfaction of the job creation requirement for each Phase

   VI investor. Upon the Receiver’s motion, the Court entered an Order approving a modified plan

   for completion of the construction [ECF No. 330], which reduced the number of cottages to be

   completed from 84 to 60 and eliminated the plans to build a medical center. Instead, the Receiver

   used those savings to build a more comprehensive recreational center and athletic fields, which

   will enhance revenue during the off-season. Construction of the cottages and recreation center

   have been completed and the athletic fields are being finalized. The construction of the Soccer

   and Lacrosse fields will be completed in the next four to six weeks and the Jay Peak Resort has

   already booked significant business due to their anticipated completion.                  The Receiver

   anticipates that the revised project will create sufficient jobs for all of the Phase VI investors to

   pursue their citizenship. The Phase VI investors will also receive a pro rata return of their equity

   from the sale of the Jay Peak Resort.

                     4.    Phase VII Investors

            Receivership Defendant, Jay Peak Biomedical Research Park, L.P. solicited funds from

   the Phase VII Investors for the AnC Bio Project – what was purported to be a biomedical

   research facility to be built in Newport, Vermont. As of the commencement of the Receivership,




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   only approximately $5.5 million in construction had taken place on the biomedical research

   facility and most of the money raised from the Phase VII Investors had been wrongfully diverted.

   The Receiver was able to recover approximately $17.8 million remaining in escrow in one of the

   bank accounts frozen by the Court. With the Court’s approval, the Receiver returned the escrow

   funds to all but one of the Phase VII Investors whose funds were traced to the escrow account.9

   Those investors fully assigned any claims they have against the Receivership Entities and third

   parties to the Receiver.

            The remaining Phase VII investors were provided with the opportunity to receive a

   refund or redeploy their investment, depending on their status. For the 67 Phase VII investors

   who have already been approved as conditional residents, the Receiver provided them with the

   opportunity to redeploy to another qualifying project (the “One Wall Street Project”) for the

   remainder of the sustainment period.                 Although not a guarantee, the Receiver and his

   professionals believe that redeployment offers these investors the best opportunity to meet the

   EB-5 requirements. On February 6, 2018, the Court entered an Order authorizing the Receiver to

   redeploy the Phase VII funds and amend the partnership documents to permit investment into

   another EB-5 project [ECF No. 448]. Out of the 67 Phase VII investors who have already been

   approved as conditional residents, 57 Phase VII investors elected to redeploy and five investors

   elected to receive a refund. Accordingly, all but five Phase VII investors have either been

   refunded their principal investment or redeployed to the One Wall Street Project.




   9
     On June 22, 2017, the sole investor who has yet to claim his funds from escrow filed a letter with the court [ECF
   No. 351] citing, among other things, that he has not submitted the documentation required by the Receiver for a
   refund. As of the date of this filing, the investor has still not submitted the requisite documentation for a refund and
   his funds remain in escrow.


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                    5.      Phase VIII Investors

             Initially, Phase VIII was not included in the SEC's complaint.             However, after the

    Receiver was appointed, he and his professionals determined that money from Phase VIII was

    wrongfully diverted to and commingled with, funds raised in other phases. Therefore, the

    Receiver requested the Court to add Phase VIII to the receivership. The Court approved this

    request by Order dated April 22, 2016.

             Phase VIII consists of 121 investors who invested through Additional Receivership

    Defendant, Burke Mountain Resort, Hotel and Conference Center, L.P. to build the hotel and

    conference center on Burke Mountain. Originally, it was intended that this project would consist

    of a hotel and conference center, an aquatic center, a tennis center and a mountain bike facility.

    However, as of the commencement of the receivership, only the hotel and conference center

    were completed. The Receiver’s economist has estimated that Phase VIII is currently short of the

    job creation requirement. The Receiver is considering additional construction to increase job

    creation and is optimistic that sufficient jobs can be created for all Phase VIII investors to satisfy

    their EB-5 requirements.

             B.     Management of Vermont Properties

             The Receiver, with the assistance of the court-approved management company, Leisure

    Hotels, LLC (“Leisure”) continue to operate the Jay Peak Resort and the Burke Mountain Resort.

    Jay Peak Resort’s General Manager, Steven Wright and Burke Mountain Resort’s General

    Manager, Kevin Mack also play an important role in the management of the resorts. The

    Receiver confers with the Leisure management team, Steven Wright and Kevin Mack on a

    regular basis to monitor the hotels’ operations. Please see the Financial Affairs section of this




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    report for more detailed information on the financial condition of the Jay Peak Resort and the

    Burke Mountain Resort.

                    1.      Repairs to Water Park

             The Receiver previously reported that the duct system at the water park at the Jay Peak

    Resort – known as the Pump House – needed to be replaced, at a cost of approximately

    $300,000. The Receiver sought to recover those costs from the parties responsible for the initial

    design and construction (collectively, the “Pump House Contractors”). The Receiver was able to

    reach a settlement with most of the Pump House Contractors prior to initiating litigation. On

    January 25, 2018, the Court entered an Order approving the settlement [ECF No. 443]. The

    Receiver subsequently received the sum of $225,000 in exchange for a release of all claims

    against the settling Pump House Contractors relating to the Water Park.

                    2.       Antenna

             The Receiver has negotiated easements with telecommunication providers to locate

    cellular towers and ancillary transmission equipment at the resorts in exchange for monthly rent

    payments. On February 23, 2018, the Court entered an Order approving the Second Amendment

    to License Agreement with Cingular Wireless PCS, LLC [ECF No. 454] for the placement of a

    cellular tower and ancillary transmission equipment at the Sky Haus Tram building at the Jay

    Peak Resort. The Receiver has also negotiated and drafted a Building and Rooftop Lease

    Agreement with Verizon Wireless to install communications equipment at the Burke Mountain

    Hotel. These agreements will provide additional sources of revenue to the resorts.

                    3.      Obligations to the Burke Mountain Academy

             The Court previously authorized the Receiver to enter into agreements with the Burke

    Mountain Academy (“BMA”) and its affiliate Burke Racing Inc. to enhance the operations of the




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    Burke Mountain Resort. Until 2005, BMA, through related entities, owned and operate the ski

    facilities on Burke Mountain, but sold the real property to entities controlled by Ginn Resorts

    (“Ginn”). BMA provided Ginn with $3 million of seller financing secured by a lien on certain

    assets at Burke Mountain. This obligation was memorialized in a Deferred Payment Agreement.

             In or around 2012, Quiros purchased Burke Mountain from Ginn in order to develop the

    Burke Mountain Resort. In connection with this transaction, Quiros formed several entities,

    (collectively, the “Burke Entities”) who assumed Ginn’s obligations under the Deferred Payment

    Agreement. At the commencement of the receivership, the Burke Entities owed $3 million to

    BMA. The Receiver negotiated a $1 million reduction10 of the amounts owed under the Deferred

    Payment Agreement and an extension of the deadline to pay the remaining amounts owed. The

    Receiver has paid the entire amount due to BMA and obtained a termination of UCC and release

    of lien. Settling and satisfying the financial obligation to BMA will provide greater equity for

    the investors from the anticipated sale of the Burke Mountain Resort.

                     4.       Employment Compliance

             As part of his efforts to streamline the operations of the Receivership Entities and comply

    with various employment laws, the Receiver continues to work with the management staff at the

    resorts to prepare or update the employee benefit plans, plan participation rules and cafeteria

    plans.

             C.      Future Plans to Sell the Jay Peak Resort and the Burke Mountain Hotel

                     The Receiver has reached the point in time where the Jay Peak is operating

    smoothly, construction is nearly complete, and most importantly, all jobs necessary for every

    investor in Phases I through VI to qualify for I-829 approval have been created. Moreover, due

    10
      The reduction was negotiated in part in exchange for payment of rent to BMA pursuant to that certain T-Bar Lift
    Lease more fully described in the Receiver’s Motion for Authorization to Enter into Agreements with Burke
    Mountain Academy and Burke Racing Inc. [ECF No. 382]. This rental obligation has been paid in full.


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    to the SEC's efforts, the Receiver has taken possession of the mountain and now control all assets

    related to the Jay Peak Resort. Therefore, the Receiver is now turning his efforts towards

    marketing the Jay Peak Resort for sale. To that end, the Receiver has negotiated an agreement

    with a prominent investment banker who specializes in sales transactions involving ski resorts to

    represent the Receiver in connection with marketing the Jay Peak Resort.

             Subject to the Court's approval, the Receiver anticipates filing a motion to formerly

    engage the investment banker within the next week. Most of the title work necessary to sell the

    Jay Peak Resort has already been in progress for months and is expected to be completed shortly.

    It is expected that the marketing process will take approximately four to six months to locate the

    buyer. The investment bankers will communicate with potential buyers throughout the United

    States, Europe and Asia and the Receiver believes there is significant interest in the Jay Peak

    Resort. The process will first start with the establishment of an on-line document repository that

    will be populated with all relevant financial records and other documents detailing the Jay Peak

    Resort's assets and financial condition. Qualified interested parties will first have to execute a

    non-disclosure agreement as a pre-condition to having access to these documents. It is also

    expected that numerous potential purchasers will visit the Jay Peak Resort throughout the fall

    and winter in order to tour its facilities and examine its operations. At the end of this diligence

    phase, interested parties will submit their offer to purchase the property and the investment

    banker and the Receiver will work together to narrow down the potential offers to the few

    highest and best offers. At such time, the investment bankers and the Receiver will work with

    these few parties to obtain the best possible offer, which will be submitted, to the Receiver, and

    ultimately the Court, for final approval. It is hoped that this can be accomplished within about 8

    to 10 months from the start of the marketing process.




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             Although the Jay Peak Resort was built in phases, in reality, it is a single resort. It has

    common accounting, marketing, management and operations. It is impossible to separate the

    financial performance of one phase from another as, in many cases, the assets are physically

    combined. Moreover, no single phase owns the mountain and its improvements (i.e.… ski lifts,

    tram, etc…), without which, they are essentially worthless. Therefore, it is the Receiver’s

    opinion that the most equitable way to distribute the proceeds of the sale is on a pro-rata basis

    whereby each investor will receive an equal percentage of the sales proceeds. This decision, as

    all other major decisions, will be subject to review with the SEC and ultimately the Court's

    approval. Once the Jay Peak Resort is sold and the transaction is funded, the Receiver will file a

    motion with the Court to distribute the net sales proceeds to the investors. The Receiver is

    hopeful that this process can be completed in the summer of 2019.

             D.     Immigration Issues and USCIS’s Decision to Terminate the Regional Center

             As the Court and interested parties may be aware, on July 3, 2018, the Vermont Agency

    of Commerce and Community Development Regional Center (the “Regional Center” or

    “VACCD”) received a Notice of Termination from the U.S. Citizenship and Immigration

    Services (“USCIS”). In short, USCIS basically takes the position that the Regional Center should

    be terminated because USCIS believes that the Regional Center failed to properly oversee the

    projects which allowed Quiros to divert money thereby harming the investors.

                    1.      I-526 Petitions

             Pursuant to 8 CFR 204.6(j), an investor’s I-526 petition must contain evidence that the

    investor is investing in a project sponsored by a USCIS-designated regional center. For an

    investor who is awaiting I-526 approval, the New Commercial Enterprise (the Jay Peak

    partnership into which the investor has invested) would be required to find another regional




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    center to sponsor the relevant project. However, an investor’s I-526 petition cannot be approved

    if, after filing, material changes occur with respect to the facts and circumstances surrounding the

    I-526 petition. Unfortunately, in the USCIS Policy Manual, Volume 6, Part G, updated as of

    May 23, 2018 (the “Policy Manual”), USCIS has explicitly stated that a change of regional

    center is considered a material change with respect to an investor’s I-526 petition. This would

    mean that an investor would have to file a new I-526 petition under the sponsorship of the new

    regional center. The new petition would have a new priority date. The Receiver believes that

    USCIS's position that the termination of a regional center constitutes a "material change" is

    incorrect.

             In the Policy Manual, USCIS has also taken the policy position that an investor with an

    approved I-526 who has not obtained conditional permanent resident (“CPR”) status through

    consular processing or adjustment of status may also have his or her I-526 petition revoked in the

    face of a material change. Those investors with approved I-526 petitions who are not CPRs

    would also, then, be required to file a new I-526 petition with a new priority date.

                    2.      I-829 Petitions

             Conversely, under present USCIS policy, as articulated in the Policy Manual, an investor

    who has become a conditional resident is no longer subject to the adverse consequences of a

    material change. Therefore, regardless of whether an investor has filed an I-829 petition, an

    investor who has obtained conditional resident status should not have his or her EB-5

    immigration process hindered by the Regional Center’s termination.

                    3.      Implications for Phase II – Phase V Investors

             According to the Receiver’s records, on each of these projects, all investors have

    obtained CPR status and filed I-829 petitions. Assuming each investor has in fact obtained




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    conditional permanent resident status, investors in these projects should not be affected by the

    Regional Center’s termination.

                     4.     Phase VI (Stateside)

              Based on the Receiver’s records, the majority of investors in this project have pending I-

    829 petitions, some for as long as three to four years. The Receiver currently estimates that the

    termination of the Regional Center may directly affect approximately six Phase VI investors who

    have not yet obtained CPR status. For investors who are not conditional permanent residents, as

    discussed above, the termination of the Regional Center could have adverse consequences on

    their ability to obtain conditional or permanent green cards.

                     5.     Phase VIII (Q Burke)

              A number of investors in this project commenced their conditional residence period and

    currently have pending I-829 petitions. These investors should not be affected by the Regional

    Center’s termination.      For investors who are not conditional residents with pending I-526

    petitions or approved I-526 petitions, the Regional Center’s termination will likely result in the

    denial or revocation of their I-526 petitions, preventing them from continuing with the EB-5

    immigration process. The Receiver currently estimates that the termination of the Regional

    Center will directly affect approximately 75 Phase VIII investors who have not yet obtained CPR

    status.

                     6.     Phase VII (AnC Bio)

              Investors who are conditional residents have been given the option to have their funds

    redeployed to another job-creating project. These investors should not be impacted by a material

    change, but the partnership may seek sponsorship from an alternate regional center. The vast

    majority of those investors who are not CPRs opted to receive a return of their EB-5 funds and




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    have withdrawn from the EB-5 immigration process. As these investors are no longer seeking

    green cards, the Regional Center’s termination has no bearing on them.                However, a small

    number of investors who are not conditional residents opted not to receive their EB-5 funds.

    These investors are subject to the prohibition on material change and the attendant consequences

    in the face of the Regional Center’s termination.

             The Regional Center has appealed the USCIS’s termination decision to the

    Administrative Appeals Office (“AAO”).          The Receiver fully supports this appeal. While the

    appeal is pending with the AAO, USCIS may move to deny or revoke the I-526 petitions of

    investors who are not conditional permanent residents. As the Receiver has consistently stated

    throughout this case, a central goal of the receivership is and remains the successful completion

    of the EB-5 immigration process and acquisition of a permanent green card for each and every

    Jay Peak and Burke investor who has not withdrawn from the EB-5 immigration process. To

    that end, over the past two years, the Receiver has expended tens of millions of dollars

    completing construction at the Jay Peak Resort and the Burke Mountain Hotel in an effort to

    create the required number of jobs for each investor to satisfy the requirements of the EB-5

    program. The Receiver’s goals and efforts to this effect have been clearly set forth in prior

    reports which USCIS has acknowledged reading on multiple occasions and in other documents

    the Receiver has filed with the Court. Moreover, this information has been directly sent to

    USCIS in the templates the Receiver has provided to investors to submit to USCIS with their

    petitions. Despite being fully aware of the Receiver’s expenditure of millions of dollars to

    complete construction in an effort to create the requisite jobs, USCIS's decision to terminate the

    Regional Center may negate a great deal of this effort. The Receiver and his professionals are




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    diligently working on a strategy to protect the investors with pending I-526 petitions. The

    Receiver will announce such future strategies shortly.

             E.     Litigation and Third Party Claims

                    1.      Ariel Quiros

             The Final Judgment against Quiros sets forth seventeen parcels of real property,

    including the Jay Peak Resort and Burke Mountain Resort, and frozen bank accounts (in the sum

    of $416,574) that Quiros is to turn over to the Receiver to satisfy his disgorgement, prejudgment

    interest, and civil penalty obligations. The specific properties are:

    Real Property                                    Address/Description
    Quiros’ entire interest in Jay Peak Resort       830 Jay Peak Road, Jay, Vermont
    Burke Mountain Resort                            Burke Mountain, Burke, Vermont
    Quiros Land 194.5 Acres                          Cross Rd. Revoir Flats Rd., Jay, Vermont
    Cross Road 4 Acres                               Cross Rd. Revoir Flats Rd., Jay, Vermont
    River Bank 15 Acres                              Revoir Flats Rd. Rte. 105, Jay, Vermont
    Jay Ranches                                      261 Revoir Flats Rd. TH4, Jay, Vermont
    Bogner Property                                  172 Bogner Drive, Newport, Vermont
    White House                                      986 Lake Road, Newport, Vermont
    Setai Condominium                                400 5th Avenue, New York, New York
    Jay Peak Resort Unit V417 A/B                    Jay Peak Resort VC 417, Bldg. 11, Jay, Vermont
    Bella Vista                                      Cross Road TH 1, Troy, Vermont
    Cross Road J                                     Cross Road J, Jay, Vermont
    Trump Place Condominium                          220 Riverside Drive, New York, New York
    Renaissance Property                             Downtown Newport, Vermont
    Heavens Bench                                    2266 Darling Hill Road, Burke, Vermont
    Q Aviation Airplane Hanger                       2628 Airport Road, Coventry, Vermont

             The Receiver’s real estate attorneys have reviewed title to the properties, prepared deeds

    to transfer the properties to the Receiver, and identified expenses associated with maintaining the

    properties prior to their sale. As of the date of this report, all of these properties have been

    transferred to the Receiver except the 194.5-acre property, which transfer should be finalized

    shortly. The Receiver is also actively marketing many of these properties for sale. The Court

    has entered an Order [ECF No. 444] authorizing the Receiver to retain a broker to market the

    Setai Condominium for sale. The Court has also entered an Order authorizing the Receiver to sell


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    Condominium Unit V417 A/B [ECF No. 481]. The Receiver will return to the Court to seek

    approval of the sale of the remaining properties, as buyers are located.

             In addition to the SEC resolving the government’s dispute with Quiros, the Receiver has

    been in talks with Quiros’ counsel to resolve the Receivership Entities’ claims against Quiros. In

    short, the Receiver does not expect to obtain any additional property or funds, but rather to

    eliminate any claims Quiros has to any interest in any of the Receivership Entities or property.

    The Receiver anticipates concluding a settlement and filing a motion with the Court to approve

    the terms of a settlement with Quiros this month.

                    2.      PeakCM

             Prior to the Receiver’s appointment, the Receivership Entities retained numerous general

    contractors and subcontractors to perform construction work.                One of those contractors,

    PeakCM, LLC (“PeakCM”) served as the construction manager and general contractor on

    various projects, including, but not limited to the ground breaking and preliminary construction

    of the AnC Bio Project; construction of the Burke Mountain Hotel; and the purchase and

    installation of snowmaking equipment for use at Burke Mountain. PeakCM initially asserted

    claims in the sum of $2.75 million against the receivership estate. The Receiver investigated

    PeakCM’s pre-receivership relationship with the Receivership Entities and discovered a claim

    the Receivership Entities have against PeakCM, for the return of a $500,000 security deposit (the

    “Security Deposit”) paid to PeakCM prior to the appointment of the Receiver.

             On March 19, 2018, the Court entered an Order approving the Receiver’s settlement with

    PeakCM [ECF No. 467]. Pursuant to the settlement, PeakCM will discount its claims for monies

    owed to $1.5 million, retain the Security Deposit and apply the Security Deposit as partial

    satisfaction of its claims. Moreover, PeakCM will waive its right to any interest and other fees in




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    connection with the AnC Bio Project and will delay receipt of such payment of its claim until the

    biomedical research facility’s real property is sold. This settlement resolves PeakCM’s claims

    without the Receiver having to use any funds from the Receivership Entities’ bank accounts.

                    3.      Quiros v. Ironshore Indemnity, Inc.

             From 2011, and until August 2016, Receivership Defendant Q Resorts, Inc., and its

    subsidiaries, officers and directors were insured under a $10 million Directors, Officers and

    Private Company Liability Insurance Policy issued by Ironshore Indemnity, Inc. (“Ironshore”).

    Promptly after the SEC filed this action, the Receiver provided notice to Ironshore and sought

    coverage under the policy in effect from August 2015 to August 2016. (Quiros, through his

    former counsel, also provided notice to Ironshore). After Ironshore denied coverage to Quiros,

    the Receiver, or the Receivership Entities, Quiros filed an action seeking a declaration that he is

    entitled to insurance coverage from Ironshore. This action is captioned Quiros v. Ironshore

    Indemnity, Inc., No. 16-cv-25073 (S.D. Fla.) and pending before the Honorable Marcia G. Cooke

    (the “Ironshore Action”).

             In mid-2017, the Receiver intervened in the Ironshore Action to protect the interests of

    the Receivership Entities in insurance policies issued by Ironshore and to seek a declaration that

    Q Resorts, Inc. and Jay Peak, Inc. are entitled to insurance coverage from Ironshore. Ironshore

    continues to deny coverage. The parties attended mediation on two occasions, but did not reach

    a settlement. Discovery in the Ironshore Action is closed, and all parties filed competing

    motions for summary judgment. A trial is scheduled during Judge Cooke’s two-week trial

    period commencing August 20, 2018.




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                    4.      Goldberg v. Kelly

             The Receiver filed a Complaint against William Kelly, the former owner of Relief

    Defendant North East Contract Services, Inc. (“NECS”), Goldberg v. Kelly, Case No. 17-cv-

    62157 (S.D. Fla.). The claims against Kelly arise from allegedly improper payments NECS

    and/or Kelly received from Receivership Defendant AnC Bio Vermont GP Services LLC in

    connection with the now defunct AnC Bio Project. The Receiver asserts that Kelly wrongfully

    assumed control of the improperly paid funds and subsequently diverted the funds to other

    recipients instead of returning the funds. The case is still in the discovery phase, and is scheduled

    for trial in March of 2019.

                    5.      Claims Against Other Third Parties

             The Receiver and his professionals continue to investigate and evaluate potential claims

    against other persons and companies involved with the Receivership Entities. The Receiver’s

    litigation attorneys have prepared subpoenas duces tecum to professionals who previously

    performed work with the Receivership Entities as part of their investigation of possible claims

    that may be asserted by the Receiver and in order to identify concealed or fraudulently

    transferred receivership assets and causes of action. The Receiver intends to pursue recovery of

    fraudulently transferred assets or the proceeds thereof from third parties. The Receiver has

    negotiated tolling agreements with a number of other third parties.

                    6.      Document Recovery

             The Receiver continues to maintain and update an electronic database to store documents

    produced by financial institutions and all pre-receivership servers and other data recovered from

    the files of the Defendants. An e-discovery vendor hosts such electronic files and permits the




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    Receiver’s professionals searchable access. This system also allows the Receiver’s professionals

    to share information and efficiently respond to discovery requests in related litigation.

    III.     FINANCIAL AFFAIRS11

             A.      Bank Accounts

             The Receivership Entities’ financial accounts were frozen pursuant to the Receivership

    Order. The Receivership Order also provides the Receiver with control and signatory authority

    for all financial accounts. See Receivership Order, ¶ 7. The Receiver and his staff maintain

    receivership bank accounts and pay administrative expenses. The Receiver’s staff has opened

    new bank accounts for the purpose of segregating the proceeds of the RJ Settlement and

    distributing payment to investors, contractors and other creditors.

             Attached to this Report as Exhibit “A” is a Standard Fund Accounting Report (“SFAR”)

    for the period of October 2017 – June 30, 2018, and cash flow statements for the operating

    Receivership Entities detailing the Receivership Entities' business operations.

             B.      Jay Peak Resort

                     1.       Ski Season

             The fiscal year 2018 winter season got off to an earlier start than the previous year,

    thanks to a short but meaningful stretch of cold weather and natural snow two weeks prior to

    Thanksgiving. It allowed the Jay Peak Resort to open a week prior to Thanksgiving and

    provided a good natural snow accumulation and an ample opportunity to make snow for most of

    December. Vacation bookings for the December holidays were strong as a result and the Jay

    Peak Resort was poised for an excellent Christmas period. Unfortunately, unprecedented cold


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       Because this receivership involves operating entities, the confidentiality of the Receivership Entities’ financial
    data is important. Accordingly, the Receiver has not attached detailed financial statements to this report, but has
    instead provided a general summary. Should the Court want to review such detailed financial data, the Receiver
    shall provide the information to the Court in-camera.


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    and wind landed in the Northeast Kingdom just as the holiday week began and vaporized day

    traffic to the resort, which is the largest contributor of topline resort revenue and EBITDA during

    that period. The lack of day skiers and waterpark guests also delayed the opening of the Clips

    and Reels climbing center to Christmas week rather than the week prior as originally forecasted.

             The extreme cold continued into the first week of January and depressed bookings into

    the 60 - 75% level with lodging, reducing average daily rate and revenue per available room by

    upwards of 20%. These two weeks resulted in Jay Peak falling behind budget by more than $1

    million dollars by the end of January. While the Jay Peak Resort was able to trim expenses and

    cut labor to mitigate any severe impact, the loss of topline revenue was meaningful and put the

    Jay Peak Resort in a difficult situation going into the busiest periods of the winter and caused the

    Jay Peak Resort to loss holiday revenue. President’s Week saw warmer temperatures return, but

    a significant amount of rain kept both lodging/overnight vacations and day visits soft. At this

    point, the Jay Peak Resort was nearly $2 million off the topline revenue expectations and the

    resort initiated a 10% resort wide expense reduction, (12% reduction against labor with

    widespread but tactical, layoffs and an elimination of nearly $250,000 of marketing expenses).

             During the first ten days of March, the Jay Peak Resort received nearly 80” of snow (just

    before the market, traditionally, begins to dry up in the spring), and the Jay Peak Resort began to

    see activity pick up and day visits return. The spring was inordinately cold and lasted well into

    late April and early May. The Jay Peak Resort finally closed out the ski season a few days prior

    to Mother’s Day, as the second longest season in New England behind Killington, which closed

    in late June. The Jay Peak Resort finished a very challenging season nearly $1.25 million ahead

    of budgeted topline revenue; approximately $170,000 under budgeted cost of sales;




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    approximately $1 million under total resort payroll; and $500,000 under budgeted operating

    expenses.

             Early season pass sales revenues for the fiscal year 2019 ski season are pacing

    approximately 5% higher than the prior year which is especially positive considering the number

    of consolidated season pass sales being seen from Vail (EPIC pass), Alterra (IKON pass), the

    Mountain Collective and the Powder Alliance.

                    2.      Sales Outlook

             The Jay Peak Resort is pacing ahead of last summer by 3-5% led by lodging revenue,

    which is trending strong. The Jay Peak Resort initially experienced weakness due to a reduced

    number of weddings booked for summer 2018 verses 2017; however, with the introduction of an

    expanded summer hockey camp/tournament schedule, the Jay Peak Resort will have replaced the

    downturn experienced in wedding revenue. Wedding bookings for fiscal year 2019 are coming in

    strong and wedding related revenue receipts are anticipated to be significantly higher than in

    fiscal year 2018.     Summer events at the Stateside Amphitheater include Michael Franti &

    Spearhead, the Jeezum Crow Festival; an Evening with Dark Star Orchestra, continuing the

    Grateful Dead concert experience; the Strangefolk Garden of Eden Festival and the 14th annual

    August West Festival in conjunction with the town’s annual ‘Jay Summer Fest’. In September,

    the 7th annual Jay Peak Trail Running Festival takes place on-mountain and at the Tramside

    base. In October, the 9th annual Bean & Brew takes place at the Stateside Base Lodge. Finally,

    Jay Peak recently booked its first soccer tournament which it expects will drive significant

    additional business to the resort.




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                    3.      Capital Expenditure Projects

             In the Receiver’s Fourth Status Report, the Receiver reported that the Jay Peak Resort

    was planning to expend $2 million on various upgrades and replacements out of operating cash

    flow generated in the prior ski season. Repairs have been completed on many of the facilities,

    including repairs to the roofs at the Sky Haus Lodge, Inglenook Lodge and Tram Base Lodge.

    Jay Peak successfully upgraded the on-line booking system, enhanced energy efficiency

    throughout the resort, and improved flooring and sidewalks. Jay Peak upgraded the Tram,

    laundry facilities, storm water systems, and resort-wide Wi-Fi, and installed document imaging

    within the human resources and accounting departments. Additional ski and snowboard

    equipment and skates were purchased for use at the rental shop. Jay Peak provided manganese

    treatment to the Wilderness Village water system. Additionally, several leased vehicles have

    been replaced with new vehicle purchases. The repairs and upgrades will increase productivity,

    lower maintenance and repair costs, will enhance a positive customer experience and result in

    cost savings. The Receiver continues to make necessary capital improvements to the Jay Peak

    Resort to ensure that the resort is kept in good shape and is safe.

             C.     Burke Mountain Resort

                    1.      Ski Season

             Burke Mountain’s winter season began with one of the earliest starts to the season in over

    a decade with lifts running and skiers on the slopes on December 1, 2017. This was the second

    year in a row opening early in December, which is better than historical averages by nearly two

    weeks. Burke Mountain has never had a November open, largely due to altitude and lack of

    snow. Recent snowmaking improvements aided in an earlier opening although cold weather in




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    November also dictates opening day. New portable snow guns also helped in getting snow on the

    slopes, particularly on the lower mountain.

             Skier visits and hotel bookings for December were not strong, although the Burke

    Mountain Resort did beat its December hotel revenue target. As snowmaking abilities increase,

    the Burke Mountain Resort will focus on additional marketing efforts directed to customers.

    Continued early opening in December will help build a stronger December business for the

    mountain over time. The new T-bar that serves BMA’s training area also opened in December.

    The new lift moves more skiers faster on this busy part of the mountain and enhances the

    customer ski experience. Usage of the T-bar by non-racers is minimal and the Burke Mountain

    Resort hopes to continue building race training days and race events that result in incremental

    hotel bookings and resort revenue.

             The Burke Mountain Resort experienced unprecedented cold and wind during the critical

    holiday periods including Christmas week. This kept skier visits suppressed and prevented

    achieving strong gains the Burke Mountain Resort hoped to make with skier visits over the

    previous winter. The extreme cold continued into January with many eastern resorts closing

    lifts. The Burke Mountain Hotel was able to achieve additional occupancy with revenue higher

    than the prior year but still fell short of budget. The Burke Mountain Resort experienced strong

    hotel revenue in January for the season, even as skier visits took a hit due to the cold. February

    resulted in a prolonged period of rain and thawing that impacted visits in what is typically the

    strongest skier visit month for the resort. Snow was minimal with no big storms that would draw

    visitors to the Northeast Kingdom. By the end of the month, it felt as though winter was over.

    The dismal weather turned around in March with 50” of snow resulting in a 25% increase in

    hotel revenue versus the prior year with an uptick in day skier visits.




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              March and April were cold enough to allow the Burke Mountain Resort to remain open

    until April 15. Snow on the training hill was sufficient in late spring so training by BMA took

    place the week of April 23 after the official resort close date. This marked the longest ski season

    in over a decade for Burke Mountain and the second year in a row of skier days stretching from

    very early December into mid-April. Paid skier visits were down roughly 6% from the prior

    year. Season pass units for the season were up 7% from the previous winter showing another

    year of gain after poor pass sales in 2016. The Burke Mountain Resort experienced year-over-

    year growth across each month of the winter season. Total resort revenue fell short of budget for

    the period but beat prior year results. Payroll was managed tightly coming in $270,000 under

    budget.

              Early season pass sales revenues for the fiscal year 2019 ski season are pacing

    approximately 4% higher than the prior year, which is especially positive considering the number

    of consolidated season pass sales being seen from Vail (EPIC pass), Alterra (IKON pass), the

    Mountain Collective and the Powder Alliance.

                    2.      Sales Outlook

              The sales outlook for Burke for the 2018 summer season is promising. The conference

    center and banquet revenue bookings are higher than the prior year by 10%. The food and

    beverage revenue is pacing approximately 1.5% ahead of the prior year and should meet the

    2018 budget. The lodging revenue is pacing 24% higher than the prior year but will likely be

    lower than budget. The bike park revenue is pacing approximately 20% higher than the prior

    year and higher than budget due to expanded marketing efforts with Kingdom Trails and growth

    experienced with the Burke Mountain Resort. The pacing of revenue for special events is pacing

    flat to the prior year but should end up stronger by the end of the summer season. (The Burke




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    Mountain Resort has limited special events and on a much smaller scale than at the Jay Peak

    Resort.)

                      3.    Capital Expenditure Projects

                 The Burke Mountain Resort has expended approximately $400,000 in capital

    expenditures for fiscal year 2018.         These projects include improvements to snowmaking

    capabilities, new snow groomer, new passenger vans, new rental helmets, skis and boots and a

    down payment on the Bunker Hill snowmaking project.

    IV.      ADMINISTRATION OF THE RECEIVERSHIP ESTATES

             The Receiver continues to utilize the skills of his professionals, including his general

    counsel Akerman LLP; special litigation and conflicts counsel Jeffrey Schneider and Levine

    Kellogg Lehman Schneider & Grossman LLP; and immigration counsel H. Ron Klasko and

    Klasko Immigration Law Partners. Soneet Kapila, CPA, and the accounting firm Kapila

    Mukamal provide accounting and forensic work for the Receiver.

             A.       Website/Ongoing Communications

             The Receiver continues to communicate with government officials, creditors, contractors

    and interested parties. The Receiver continues to respond to inquiries, usually through e-mail and

    telephone calls. The Receiver returned to Vermont in February and March for meetings. The

    Receiver and his staff continue to respond to inquiries from investors, creditors and other

    interested parties. The Receiver continues to maintain a toll-free investor hotline at (800) 223-

    2234, an email address for general inquiries jaypeak@akerman.com, and a website

    www.JayPeakReceivership.com to provide up to date information for investors and interested

    parties. The Receiver has posted copies of court filings, correspondence with investors and other

    pertinent information on the website. The Receiver has also prepared and posted numerous




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   AKERMAN LLP, LAS OLAS CENTRE II, SUITE 1600, 350 EAST LAS OLAS BOULEVARD, FORT LAUDERDALE, FL 33301-2999
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    updates on his website, including letters to investors. The Receiver will continue to utilize the

    website as the primary method of communicating with investors, creditors and other interested

    parties throughout the receivership.

             B.     Recommendations

             The Receiver continues to secure and maintain the assets of the Receivership Entities,

    analyze the use of the individual partnership funds and respond to inquiries from the investors,

    creditors and other interested parties. The Receiver anticipates taking the following actions: (i)

    continue to operate and maintain the facilities until the best course of disposition is determined

    with the goal of each investor obtaining the highest possible return on their investment and

    achieving their unconditional green card; (ii) provide information to investors to satisfy their EB-

    5 job creation requirements; (iii) continue to pay the allowed claims of creditors and investors;

    (iv) investigate and commence litigation against third parties who may be liable for the

    perpetration of the Receivership Defendants’ fraud; (v) continue to review transfers of the

    individual partnership funds and seek to recover funds which were fraudulently transferred; (vi)

    respond to inquiries from investors, creditors, government officials and interested parties; and

    (vii) provide updates through the receivership website.

    Dated: August 10, 2018.

                                                     Respectfully submitted,

                                                     By: /s/ Michael I. Goldberg
                                                     Michael I. Goldberg, Esq.
                                                     Florida Bar No. 886602
                                                     Email: michael.goldberg@akerman.com
                                                     AKERMAN LLP
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                                                     350 East Las Olas Blvd.
                                                     Fort Lauderdale, FL 33301-2229
                                                     Telephone: (954) 463-2700
                                                     Facsimile: (954) 463-2224
                                                     Court Appointed Receiver


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                                       CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that a true and correct copy of the foregoing was served on this

    August 10, 2018 via the Court’s notice of electronic filing on all CM/ECF registered users

    entitled to notice in this case as indicated on the attached Service List.



                                                     By: /s/ Michael I. Goldberg
                                                        Michael I. Goldberg, Esq.




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    45992592;3
   AKERMAN LLP, LAS OLAS CENTRE II, SUITE 1600, 350 EAST LAS OLAS BOULEVARD, FORT LAUDERDALE, FL 33301-2999
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                                                 SERVICE LIST

        1:16-cv-21301-DPG Notice will be electronically mailed via CM/ECF to the following:

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                                                             Attorney for Intervenor, Citibank N.A.




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                            EXHIBIT "A"
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                         Michael I. Goldberg, Receiver
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                             (954) 463-2700 (Main)
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                STANDARDIZED FUN
                ACCOUNTWG REPORT
                        Civil — Receivership Fund


             SECURITIES & EXCHANGE COMMISSION

                                      VS.

                         ARIEL QUIROS, et al.

                    Case No.: 16-cv-21301-GAYLES



                Reporting Period: 10/1/2017 — 6/30/2018
Case 1:16-cv-21301-DPG Document 487 Entered on FLSD Docket 08/10/2018 Page 35 of 168



                               STANDARDIZED FUND ACCOUNTING REPORT - Cash Basis (Receivership)
                                                       SEC v. Quires, et al.
                                                 Case No.: 16-cv-21.301-GAYLES
                                            Reporting Period 10/01/2017 to 06/30/2018



               FUND ACCOUNTING (See instructions):
                                                                                       Detail            Subtotal     Grand Total
               Line 1         Beginning Balance (As of 09/30/2017):                                  $              $ 98,083.591.38
                              Increases In Fund Balance:
               Line 2         Business Income
               Line 3         Cash and Securities (UNrestricted)                 $      677,556.56
               Line 3         Cash and Securities (RESTRICTED)                   $ (60,229,956.89)
               Line 4         Interest/Dividend Income                                   85,775.78
               Line 5         Business Asset Liquidation
               Line 6         Personal Asset Liquidation
               Line 7         Third-Party Litigation income
               Line 8         Miscellaneous - Other
                                Total Funds Available (Lines 1 — 8):                                                $ 38,616,966.83
                              Decreases in Fund Balance:
               Line 9         Disbursements to Investors
               Line 10        Disbursements for Receivership Operations
                   Line 10a   Disbursements to Receiver or Other Professionals   $     932,718.32
                   Line 10b   Business Asset Expenses                            $ 11,809,410.91
                   Line 10c   Personal Asset Expenses                                   60,000.00
                   Line 10d   Investment Expenses
                   Line 10e   Third-Party Litigation Expenses
                                  1.Attorney Fees                                $      918,536.91
                                  2. Litigation Expenses                                  6,08156
                                Total Third-Party Litigation Expenses
                   Line 10( Tax Administrator Fees and Bonds
                   Line lOg Federal and State Tax Payments                       $     178,009.18
                             Total Disbursements for Receivership Operations                                        $ 13,904,758.88
               Line 11     Disbursements for Distribution Expenses Paid by the Fund:
                   Line ha    Distribution Plan Development Expenses:
                               I. Fees:
                                   Fund Administrator
                                   Independent Distribution Consultant (DC)
                                   Distribution Agent...
                                   Consultants
                                    Legal Advisers
                                   Tax Advisers
                              2. Administrative Expenses
                               3.Miscellaneous
                              Total Plan Development Expenses
                   Line llb     Distribution Plan Implementation Expenses:
                                 1. Fees:
                                     Fund Administrator
                                     IOC.                                          $
                                     Distribution Agent                            5
                                     Consultants
                                     Legal Advisers
                                     Tax Advisers                                  $
                                 2, Administrative Expenses
                                 3.Investor Identification:
                                     Notice/Publishing Approved Plan
                                     Claimant Identification
                                     Claims Processing
                                     Web Site Maintenance/Call Center               3
                                 4.Fund Administrator Bond
                                 5.Miscellaneous                                    5
                                 6.Federal Account for investor Restitution (FAIR)
                                 Reporting Expenses                                 $
                                Total Plan Implementation Expenses
                               Total Disbursements for Distribution Expenses Paid by the Fund
               Line 12      Disbursements to Court/Other:
                   Line 12a    Investment Expenses/Court Registry Investment
                            System (CRIS) Fees
                   Line 12b    Federal Tax Payments
                             Total Disbursements to Court/Other:




                               Total Funds Disbursed (Lines 9— 11):                                                    13,904,758.88
               Line 13        Ending Balance (As of 06/30/2018):                                                    $ 24,712,207.95
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                              STANDARDIZED FUND ACCOUNTING REPORT - Cash Basis (Receivership
                                                               SEC v. Quiros, et al.
                                                         Case No.: 16-ev-21301-GAYLES
                                                    Reporting Period 10/01/2017 to 06/30/2018


               Line 14      Ending Balance of Fund — Net Assets:                                                           $             -
                   Line 14a    Cash & Cash Equivalents                                  $               -
                   Line 14b    Investments                                              $               -.
                   Line 14c    Other Assets or Uncleared Funds                          $               -
                             Total Ending Balance of Fund — Net Assets                                                     $


               OTHER SUPPLEMENTAL INFORMATION:
                                                                                               Detail           Subtotal       Grand Total
                              Report of Items NOT To Be Paid by the Fund:

               Line 15      Disbursements for Plan Administration Expenses Not Paid by the Fund:
                   Line 15a    Plan Development Expenses Not Paid by the Fund:
                                 1. Fees:
                                     Fund Administrator .                               $               -
                                     BC                                                 $               -
                                     Distribution Agent                                 $               -
                                     Consultants                                        $               -
                                     Legal Advisers                                     $               -
                                     Tax Advisers                                       $               .
                                 2. Administrative Expenses                             $               -
                                 3. Miscellaneous                                       $               -
                                 Total Plan Development Expenses Not Paid by the Fund                                      $             -
                   Line 15b      Plan Implementation Expenses Not Paid by the Fund-
                                 1. Fees:
                                      Fund Administrator                                $               -
                                      IDC .                                             $               -
                                      Distribution Agent                                $               -
                                      Consultants                                       $               -
                                      Legal Advisers                                    $               -
                                      Tax Advisers .                                    $               -
                                 2. Administrative Expenses                             $               -
                                 3. Investor Identification:
                                      Notice/Publishing Approved Plan                   $               -
                                      Claimant Identification                           $
                                      Claims Processing .                               $
                                      Web Site Maintenance/Call Center                  $               -
                                 4. Fund Administrator Bond                             $               -
                                 5. Miscellaneous                                       $               -
                                 6. FAIR Reporting Expenses                             $               -
                                Total Plan Implementation Expenses Not Paid by the Fund                                    $
                   Line 15c     Tax Administrator Fees & Bonds Not Paid by the Fund                                        $             -
                               Total Disbursements for Plan Administration Expenses Not Paid by the Fund                   $
               Line 16      Disbursements to Court/Other Not Paid by the Fund:
                   Line 16a    Investment Expenses/CRIS Fees                    $                       -
                   Line 16b    Federal Tax Payments                             $
                             Total Disbursements to Court/Other Not Paid by the Fund:                                      $             -
               Line 17        DC 8 State Tax Payments                                                                      $             -

               Line 18      No. of Claims:
                   Line 18a    # of Claims Received This Reporting Period .                                                0
                   Line 18b    # of Claims Received Since Inception of Fund                                                0
               Line 19      No. of Claimants/Investors:
                   Line 19a    # of Claimants/Investors Paid This Reporting Period...
                   Line 19b    # of Claimants/Mvestors Paid Since Inception of Fund                                        9

                                                                                      Receiver:

                                                                                      By:
                                                                                                  (signature)

                                                                                            Michael I. Goldbe
                                                                                             (printed name)

                                                                                            Court Appointed Receiver
                                                                                            (title)

                                                                                      Date:




                                                                          2
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Jay Peak Resort/Burke Mountain
Cash Flow Statement
1/01/18 through 1/31/18


                                                                       USD
Beginning Cash Balance
    People's United Bank #          1736                    $               1,845,028
    People's United Bank #          1752                    $                     -
    People's United Bank #          7175                    $                  21,039
    People's United Bank #          0659                    $                 461,968
    People's United Bank #          0667                    $                     -
    People's United Bank #           6722                   $                 492,188
    People's United Bank #           1175                   $                     -
    People's United Bank #           6726                   $                  62,562
    People's United Bank #           6724                   $                  28,770
    Desjardins #   955                                      $                 181,242
    Desjardins #   548                                      $                     -
                                                            $               3,092,797

Add Incoming:
    Receiver Funding
          Direct - Merrill Lynch Bank Accounts              $                    -
          Indirect - CitiBank Accounts                      $              1,269,154
    Deposits from Operations                                $             10,067,370 A
                                                            $             11,336,524

Less Outgoing:
     Payroll & Benefits
           Jay Peak Resort                                  $              (2,456,602)
           Burke Mountain                                   $                (443,643)
     Vendor Payments
           Jay Peak Resort                                  $              (4,932,374) B
           Burke Mountain                                   $                (717,075) B
     Tax Payments
           Vermont Department of Taxes                      $                (255,579)
           Internal Revenue Service                         $                 (15,209)
     Merchant and Bank Fees                                 $                (130,664)
                                                            $              (8,951,146)

Ending Cash Balance
    People's United Bank #          1736                    $               3,691,323
    People's United Bank #          1752                    $                     -
    People's United Bank #          7175                    $                  21,042
    People's United Bank #          0659                    $                 651,710
    People's United Bank #          0667                    $                     -
    People's United Bank #           6722                   $                 870,591
    People's United Bank #           1175                   $                     -
    People's United Bank #           6726                   $                  75,808
    People's United Bank #           6724                   $                  25,821
    Desjardins #   955                                      $                 141,880
    Desjardins #   548                                      $                     -
                                                            $               5,478,175


Note A:
Canadian transactions have been converted to US Dollars based upon the following methodology:
The Canadian portion of total resort deposits was calculated to be 11% for the report period. This
percentage was applied to all resort deposits at the average CDN to USD currency exchange rate of .805 for the
report period.


Note B:
Vendor payments pertain partially to goods and services received after April 13, 2016. In August of
2017, payments were also issued for outstanding invoices pertaining to goods and services recevied
prior to April 13, 2016.
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Jay Peak Resort/Burke Mountain
Beginning Cash Balance
                                                                                        * Rate: 0.8
                                                                        12/31/2017                  12/31/2017
                                                                          USD/CDN                       USD
                                                                         End of Day                  End of Day
Company          Bank         Account Name         Account Number       Cash Balance                Cash Balance
08 - JPI         People's     General Account           1736             1,845,028.44                 1,845,028.44
08 - JPI         People's     Payroll Account           1752                      -                            -
08 - JPI         People's     Money Market Acct         7175                21,039.31                    21,039.31
20 - JPHSP2      People's     General Account           0659               461,968.48                   461,968.48
20 - JPHSP2      People's     Money Market Acct         0667                      -                            -
380 - BMOC       People's     General Account             6722             492,188.17                   492,188.17
380 - BMOC       People's     Savings Account             1175                    -                            -
381 - BMRM       People's     General Account             6726              62,561.60                    62,561.60
382 - BMWC       People's     General Account             6724              28,770.43                    28,770.43
08 - JPI         Desjardins   CDN Operating Acct      955                  226,553.04                   181,242.43 *
20 - JPHSP2      Desjardins   CDN Operating Acct      548                         -                            -   *
                                                                    $    3,138,109.47           $     3,092,798.86

                  http://www.oanda.com/currency/converter/
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Jay Peak Resort/Burke Mountain               Case 1:16-cv-21301-DPG Document 487 Entered on FLSD Docket 08/10/2018 Page 40 of 168
Detailed Report on Receiver Funding                                                                                            Direct - Merrill Lynch/SunTrust Bank Accounts
1/01/18 through 1/31/18                                                                                                        Indirect - CitiBank Accounts

TRC Number       Account Number       Account Type   Account Name               Post Date   Reference   Additional Reference   Amount              Description                 Type   Text
221172186            1736             Checking       JPI Operating - 1736       1/12/2018   1.00E+12                           $      1,181,179.74 INCOMING WIRE TRANSFER      Wire   RECEIVER GL 8-0101- 765
221172186              6722           Checking       Burke Mountain Operating   1/17/2018   1.00E+12                           $         87,973.93 INCOMING WIRE TRANSFER      Wire   Incoming Wire - Burke 2000 funding for snowmaking   (km-15138)
Jay Peak Resort/Burke Mountain                   Case 1:16-cv-21301-DPG Document 487 Entered on FLSD Docket 08/10/2018 Page 41 of 168
Detailed Report on Resort Deposits                                 Average Currency Exchange Rate:             0.805
1/01/18 through 1/31/18
                                                                                                      CDN converted          original
Dept Name                                   Dept Category                                                to USD               USD               USD
Inventory/Prepaids/Receivables              Short-term Assets                                        $       (31,732)    $      (308,850)   $     (340,582)
Capital                                     Capital Expenditures (incl. tram upgrade)                $         5,786     $        56,313    $       62,099
Debt/Liabilities/Deferreds/Taxes            Short-term Liabilities                                   $        69,719     $       678,590    $      748,309
Investor                                    Equity                                                   $           -       $           -      $          -
Administration                              S, G & A                                                 $           (18)    $           (24)   $          (41)
Accounting                                  S, G & A                                                 $             34    $           334    $          368
Information Systems                         S, G & A                                                 $           (10)    $           (98)   $         (108)
Telephone                                   General Operations                                       $         6,810     $        66,287    $       73,097
Human Resources                             S, G & A                                                 $          (159)    $        (1,552)   $       (1,711)
Risk Management                             S, G & A                                                 $           -       $           -      $          -
Administration - Food Service               Food & Beverage                                          $           (10)    $           (98)   $         (108)
Vending                                     Food & Beverage                                          $           -       $           -      $          -
Tram cafeteria                              Food & Beverage                                          $         6,228     $        60,616    $       66,844
International Restaurant                    Food & Beverage                                          $         2,083     $        20,276    $       22,359
Sky Haus                                    Food & Beverage                                          $           488     $         4,746    $        5,233
Golf Clubhouse Restaurant                   Food & Beverage                                          $         3,052     $        29,710    $       32,763
The Foundry Pub & Grille                    Food & Beverage                                          $        21,169     $       206,045    $      227,214
Buddy's Mug                                 Food & Beverage                                          $         1,590     $        15,473    $       17,063
The Warming Shelter                         Food & Beverage                                          $         7,295     $        71,008    $       78,303
Mountain Dick's Pizza                       Food & Beverage                                          $         8,124     $        79,073    $       87,197
The Drink                                   Food & Beverage                                          $         7,776     $        75,683    $       83,458
MLC F&B                                     Food & Beverage                                          $           -       $           -      $          -
Stateside Daylodge - Cafeteria & Bar        Food & Beverage                                          $        16,503     $       160,629    $      177,132
Stateside Hotel - Howie's Restaurant        Food & Beverage                                          $        10,753     $       104,658    $      115,410
Recreation Ctr F&B                          Food & Beverage                                          $           889     $         8,651    $        9,539
Jay Peak Provisions                         Food & Beverage                                          $        26,375     $       256,709    $      283,084
Conference Services                         Food & Beverage                                          $         3,244     $        31,572    $       34,816
Condo Rental Mgt.                           Hotel & Lodging                                          $        64,194     $       624,810    $      689,003
Taiga Fitness & Spa                         Other Mountain Activities                                $         6,008     $        58,478    $       64,486
Unsold condo rental                         Hotel & Lodging                                          $           -       $           -      $          -
Aroma Coffee Shop                           Food & Beverage                                          $         1,956     $        19,038    $       20,994
Tram Haus Lodge Rest & Bar                  Food & Beverage                                          $        25,205     $       245,323    $      270,527
Tram Haus Lodge                             Hotel & Lodging                                          $        33,207     $       323,213    $      356,420
Lodging Reservation                         Hotel & Lodging                                          $          (476)    $        (4,631)   $       (5,107)
Golf Clubhouse Lodging                      Hotel & Lodging                                          $           703     $         6,845    $        7,548
Hotel Jay - Front Desk                      Hotel & Lodging                                          $        55,095     $       536,253    $      591,348
Penthouse Suites                            Hotel & Lodging                                          $        25,366     $       246,891    $      272,256
Golf & Mountain Suites                      Hotel & Lodging                                          $        35,712     $       347,589    $      383,301
Lodge & Townhouses                          Hotel & Lodging                                          $        41,180     $       400,810    $      441,990
Stateside Hotel - Front Desk                Hotel & Lodging                                          $        25,049     $       243,807    $      268,855
Stateside Cottages                          Hotel & Lodging                                          $         8,071     $        78,557    $       86,628
Ice Rink                                    Other Mountain Activities                                $         4,839     $        47,104    $       51,943
Ice Rink Snack Bar                          Food & Beverage                                          $         1,862     $        18,122    $       19,984
Condo Assoc. - Mountain Side                Condo Associations                                       $           -       $           -      $          -
Condo Assoc. - Trail Side                   Condo Associations                                       $           -       $           -      $          -
Condo Assoc. - Stoney Path                  Condo Associations                                       $           -       $           -      $          -
Condo Assoc. - Slopeside I                  Condo Associations                                       $           -       $           -      $          -
Condo Assoc. - Slopeside II                 Condo Associations                                       $           -       $           -      $          -
Condo Assoc. - Village Association          Condo Associations                                       $           -       $           -      $          -
Transfer Condo Assoc.                       Condo Associations                                       $           -       $           -      $          -
Condo Assoc. - General Fees                 Condo Associations                                       $           -       $           -      $          -
Admin. Mtn Operations                       Skiing Operations                                        $           -       $           -      $          -
Lift Maintenance                            Skiing Operations                                        $           -       $           -      $          -
Snowmaking                                  Skiing Operations                                        $           -       $           -      $          -
Grooming                                    Skiing Operations                                        $           -       $           -      $          -
Vehicle & Equip. Maint.                     General Operations                                       $           -       $           -      $          -
Electrical                                  General Operations                                       $           -       $           -      $          -
Hotel Jay - Building Maint./Engin.          Hotel & Lodging                                          $           -       $           -      $          -
Roads & Parking                             General Operations                                       $           -       $           -      $          -
Building Maintenance                        General Operations                                       $           (51)    $          (497)   $         (548)
Grounds                                     General Operations                                       $           -       $           -      $          -
Water & Sewer System                        General Operations                                       $           -       $           -      $          -
Stateside Hotel - Building Maint./Engin.    Hotel & Lodging                                          $           -       $           -      $          -
Tram Haus - Building Maint./Engin.          Hotel & Lodging                                          $           -       $           -      $          -
Laundry Operations                          Hotel & Lodging                                          $           -       $           -      $          -
Housekeeping - Stateside Hotel              Hotel & Lodging                                          $             59    $           575    $          634
Housekeeping - Hotel Jay                    Hotel & Lodging                                          $           251     $         2,439    $        2,689
Janitorial                                  Hotel & Lodging                                          $           -       $           -      $          -
Security                                    General Operations                                       $             46    $           443    $          489
Shuttles                                    General Operations                                       $         5,780     $        56,262    $       62,042
Storm Crew (Storm Water + Snow Shoveling)   General Operations                                       $           -       $           -      $          -
Ambassadors/Greeters                        General Operations                                       $           -       $           -      $          -
Lift Operations                             Skiing Operations                                        $           -       $           -      $          -
Parking Attendant                           General Operations                                       $         1,081     $        10,520    $       11,601
Customer Service                            Skiing Operations                                        $          (190)    $        (1,854)   $       (2,045)
Ticket Selling                              Skiing Operations                                        $           (72)    $          (698)   $         (770)
Special Events                              S, G & A                                                 $         6,063     $        59,010    $       65,073
Ski Patrol                                  Skiing Operations                                        $             98    $           954    $        1,052
Ski Club                                    Skiing Operations                                        $           -       $           -      $          -
Daycare Center                              Other Mountain Activities                                $         5,033     $        48,988    $       54,021
MLC Daycare Center                          Other Mountain Activities                                $           185     $         1,796    $        1,980
Pump House                                  Other Mountain Activities                                $        88,261     $       859,065    $      947,326
Lift sales                                  Skiing Operations                                        $       203,724     $     1,982,893    $    2,186,617
Golf Maintenance                            Summer Operations                                        $           -       $           -      $          -
Lockers                                     General Operations                                       $           -       $           -      $          -
Wedding Barn                                Other Mountain Activities                                $           -       $           -      $          -
Snowpark                                    Skiing Operations                                        $           -       $           -      $          -
Elevation 1851' Family Arcade Center        Other Mountain Activities                                $         6,850     $        66,668    $       73,518
Nordic Center                               Other Mountain Activities                                $         1,058     $        10,302    $       11,360
Fitness Center                              Other Mountain Activities                                $           -       $           -      $          -
MLC Summer Operations                       Summer Operations                                        $           -       $           -      $          -
Amphitheater                                Other Mountain Activities                                $           -       $           -      $          -
Rec Center                                  Other Mountain Activities                                $         4,225     $        41,121    $       45,346
Rec Fields                                  Other Mountain Activities                                $           -       $           -      $          -
Ski School                                  Ski School                                               $        15,143     $       147,392    $      162,536
MLC Ski School                              Ski School                                               $        14,076     $       137,007    $      151,083
Sales                                       S, G & A                                                 $          (596)    $        (5,802)   $       (6,398)
Marketing                                   S, G & A                                                 $        (1,276)    $       (12,420)   $      (13,696)
Administration - Retail                     Retail                                                   $              6    $             60   $            66
The Mountain Shop                           Retail                                                   $         6,734     $        65,544    $       72,278
Rentals                                     Ski Rental/Repair                                        $         9,347     $        90,972    $      100,318
Repairs                                     Ski Rental/Repair                                        $         1,222     $        11,893    $       13,115
Golf Pro Shop                               Summer Operations                                        $           (20)    $          (195)   $         (215)
The Wave                                    Retail                                                   $         1,939     $        18,874    $       20,813
MLC Rentals                                 Ski Rental/Repair                                        $           -       $           -      $          -
Stateside Daylodge - Retail - Gear Shop     Retail                                                   $         6,787     $        66,061    $       72,848
Stateside Daylodge - Rentals                Ski Rental/Repair                                        $         5,980     $        58,200    $       64,180
Construction & Development                  S, G & A                                                 $           -       $           -      $          -
Real Estate                                 S, G & A                                                 $           -       $           -      $          -
Antenna Lease Sky Haus                      General Operations                                       $           -       $           -      $          -
Non-Operating Items                         S, G & A                                                 $         1,528     $        14,876    $       16,404
EB-5 Items                                  S, G & A                                                 $           -       $           -      $          -
EBITDA Items                                S, G & A                                                 $           -       $           -      $          -
Tamarack Grill                              Food & Beverage                                          $         4,532     $        44,112    $       48,644
Mid-Burke Cafe'                             Food & Beverage                                          $           -       $           -      $          -
Bear’s Den Pub                              Food & Beverage                                          $         3,717     $        36,179    $       39,896
Trailside Patio                             Food & Beverage                                          $           -       $           -      $          -
Kingdom Cafe'                               Food & Beverage                                          $         3,906     $        38,013    $       41,919
Banquets & Catering                         Food & Beverage                                          $           -       $           -      $          -
Food & Beverage Events                      Food & Beverage                                          $           -       $           -      $          -
Willoughby's Restaurant                     Food & Beverage                                          $           -       $           -      $          -
The Gap Pub                                 Food & Beverage                                          $        11,829     $       115,136    $      126,965
Coffee Shop                                 Food & Beverage                                          $           542     $         5,276    $        5,818
Day Lodge Servery                           Food & Beverage                                          $           839     $         8,166    $        9,004
Hotel Banquets                              Food & Beverage                                          $         2,013     $        19,594    $       21,607
Hotel F&B Events                            Food & Beverage                                          $           -       $           -      $          -
Hotel Pre-Opening Costs                     Hotel & Lodging                                          $           -       $           -      $          -
Hotel Operations/Front Desk                 Hotel & Lodging                                          $        23,698     $       230,657    $      254,355
Hotel Building Maintenance                  Hotel & Lodging                                          $           -       $           -      $          -
Hotel Housekeeping                          Hotel & Lodging                                          $           -       $           -      $          -
Hotel Laundry Ops                           Hotel & Lodging                                          $           -       $           -      $          -
Hotel Janitorial                            Hotel & Lodging                                          $           -       $           -      $          -
Hotel Utilities                             Hotel & Lodging                                          $           -       $           -      $          -
Rental Operations - Campground              Hotel & Lodging                                          $              0    $              3   $             3
Mountain Operations                         Skiing Operations                                        $          (154)    $        (1,503)   $       (1,658)
Property Operations                         General Operations                                       $           -       $           -      $          -
Mountain Biking                             Summer Operations                                        $             (3)   $           (32)   $          (35)
Summer Programs                             Summer Operations                                        $           -       $           -      $          -
Retail                                      Retail                                                   $         2,497     $        24,300    $       26,797
Base Lodge Rentals                          Ski Rental/Repair                                        $         4,829     $        46,998    $       51,826
Vertical Drop Retail                        Retail                                                   $         1,115     $        10,852    $       11,967
Bear Essentials Retail                      Retail                                                   $           -       $           -      $          -
Arcade                                      Other Mountain Activities                                $         1,363     $        13,263    $       14,625
Hotel Ski Rental/Repair & Day Lockers       Ski Rental/Repair                                        $           -       $           -      $          -
AT&T Tower Lease                            General Operations                                       $           -       $           -      $          -
Fixed Expenses                              General Operations                                       $           -       $           -      $          -
Utilities                                   General Operations                                       $           -       $           -      $          -
Developer Land Sales                        S, G & A                                                 $           -       $           -      $          -
Management Company Fees                     S, G & A                                                 $           -       $           -      $          -
                                                                                                     $       937,949     $     9,129,420    $   10,067,370

Summary of Departmental Deposits into Major Line of Business Categories

                                            Dept Category                                                                                       USD
                                            Short-term Assets                                                                               $     (340,582)
                                            Capital Expenditures (incl. tram upgrade)                                                       $       62,099
                                            Short-term Liabilities                                                                          $      748,309
                                            Equity                                                                                          $          -
                                            S, G & A                                                                                        $       59,890
                                            General Operations                                                                              $      146,681
                                            Food & Beverage                                                                                 $    1,845,668
                                            Hotel & Lodging                                                                                 $    3,349,925
                                            Other Mountain Activities                                                                       $    1,264,606
                                            Condo Associations                                                                              $          -
                                            Skiing Operations                                                                               $    2,183,197
                                            Summer Operations                                                                               $         (250)
                                            Ski School                                                                                      $      313,619
                                            Retail                                                                                          $      204,769
                                            Ski Rental/Repair                                                                               $      229,440
                                                                                                                                            $   10,067,370
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Detailed Report on Payroll and Benefits Payments                                                                                Jay Peak Resort Payroll
1/01/18 through 1/31/18                                                                                                         Burke Mountain Payroll

TRC Number    Account Number      Account Type     Account Name               Post Date   Reference             Additional Reference
                                                                                                                                 Amount                   Description                Type   Text
221172186           6722          Checking         Burke Mountain Operating   1/2/2018    MEMIC Indemnity AC                     $          (9,227.70)    PREAUTHORIZED ACH DEBIT    Ach    MEMIC Indemnity ACHTRANS         180102       17330889
221172186           6722          Checking         Burke Mountain Operating   1/16/2018   MEMIC Indemnity AC                     $         (12,219.79)    PREAUTHORIZED ACH DEBIT    Ach    MEMIC Indemnity ACHTRANS         180116       18359307
221172186           6722          Checking         Burke Mountain Operating   1/29/2018   MEMIC Indemnity AC                     $         (13,990.02)    PREAUTHORIZED ACH DEBIT    Ach    MEMIC Indemnity ACHTRANS         180129       19280321
221172186         1736            Checking         JPI Operating - 1736       1/2/2018    BANCORPSV        BA                    $             (66.50)    PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV      WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186          736            Checking         JPI Operating - 1736       1/4/2018    BANCORPSV        BA                    $            (758.00)    PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV      WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186         1736            Checking         JPI Operating - 1736       1/5/2018    BANCORPSV        BA                    $             (50.00)    PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV      WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186         1736            Checking         JPI Operating - 1736       1/9/2018    BANCORPSV        BA                    $             (25.00)    PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV      WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186         1736            Checking         JPI Operating - 1736       1/12/2018   BANCORPSV        BA                    $             (50.00)    PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV      WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186         1736            Checking         JPI Operating - 1736       1/12/2018   CIGNA EDGE TRANS CO                    $          (1,034.32)    PREAUTHORIZED ACH DEBIT    Ach    CIGNA EDGE TRANS COLLECTION        180112       604000071501 (BURKE PORTION)
221172186         1736            Checking         JPI Operating - 1736       1/22/2018   CIGNA EDGE TRANS CO                    $         (16,470.33)    PREAUTHORIZED ACH DEBIT    Ach    CIGNA EDGE TRANS COLLECTION        180122       603700082285 (BURKE PORTION)
221172186         1736            Checking         JPI Operating - 1736       1/9/2018    1.00011E+12                            $        (194,991.75)    OUTGOING WIRE TRANSFER            BURKE PORTION
221172186         1736            Checking         JPI Operating - 1736       1/23/2018   1.00012E+12                            $        (190,459.25)    OUTGOING WIRE TRANSFER            BURKE PORTION
221172186         1736            Checking         JPI Operating - 1736       1/5/2018    1.00011E+12                            $          (4,300.16)    OUTGOING WIRE TRANSFER            Catamount Qtrly Payment Q4 2017 JE058445         (BURKE PORTION)
221172186         1736            Checking         JPI Operating - 1736       1/17/2018   DISCOVERY BENEFI DB                    $             658.24     PREAUTHORIZED ACH CREDIT   Ach    DISCOVERY BENEFI DBI COBRA        180117      21194000
221172186         1736            Checking         JPI Operating - 1736       1/24/2018   DISCOVERY BENEFI RE                    $              24.60     PREAUTHORIZED ACH CREDIT   Ach    DISCOVERY BENEFI REPAYMENT         180124       21194030194601
221172186         1736            Checking         JPI Operating - 1736       1/16/2018   BANCORPSV        BA                    $              (6.26)    PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV      WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186         1736            Checking         JPI Operating - 1736       1/17/2018   BANCORPSV        BA                    $            (195.00)    PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV      WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186         1736            Checking         JPI Operating - 1736       1/17/2018   BANCORPSV        BA                    $             (74.60)    PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV      WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186         1736            Checking         JPI Operating - 1736       1/19/2018   BANCORPSV        BA                    $             (50.00)    PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV      WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186         1736            Checking         JPI Operating - 1736       1/22/2018   BANCORPSV        BA                    $            (124.51)    PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV      WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186         1736            Checking         JPI Operating - 1736       1/23/2018   BANCORPSV        BA                    $             (25.24)    PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV      WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186         1736            Checking         JPI Operating - 1736       1/24/2018   BANCORPSV        BA                    $              (4.27)    PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV      WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186         1736            Checking         JPI Operating - 1736       1/25/2018   BANCORPSV        BA                    $            (544.00)    PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV      WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186         1736            Checking         JPI Operating - 1736       1/30/2018   BANCORPSV        BA                    $            (158.77)    PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV      WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186         1736            Checking         JPI Operating - 1736       1/30/2018   BANCORPSV        BA                    $             (11.54)    PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV      WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186         1736            Checking         JPI Operating - 1736       1/31/2018   BANCORPSV        BA                    $             (10.00)    PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV      WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186         1736            Checking         JPI Operating - 1736       1/8/2018    DISCOVERY BENEFI CL                    $            (337.25)    PREAUTHORIZED ACH DEBIT    Ach    DISCOVERY BENEFI CLAIM FUND        180108      21194030194601
221172186         1736            Checking         JPI Operating - 1736       1/12/2018   DISCOVERY BENEFI CL                    $            (249.97)    PREAUTHORIZED ACH DEBIT    Ach    DISCOVERY BENEFI CLAIM FUND        180112      21194030194601
221172186         1736            Checking         JPI Operating - 1736       1/16/2018   DISCOVERY BENEFI CL                    $            (621.00)    PREAUTHORIZED ACH DEBIT    Ach    DISCOVERY BENEFI CLAIM FUND        180116      21194030194601
221172186         1736            Checking         JPI Operating - 1736       1/17/2018   DISCOVERY BENEFI CL                    $            (151.03)    PREAUTHORIZED ACH DEBIT    Ach    DISCOVERY BENEFI CLAIM FUND        180117      21194030194601
221172186         1736            Checking         JPI Operating - 1736       1/26/2018   DISCOVERY BENEFI CL                    $            (365.41)    PREAUTHORIZED ACH DEBIT    Ach    DISCOVERY BENEFI CLAIM FUND        180126      21194030194601
221172186         1736            Checking         JPI Operating - 1736       1/25/2018   DISCOVERY BENEFI DB                    $            (292.00)    PREAUTHORIZED ACH DEBIT    Ach    DISCOVERY BENEFI DBI Admin       180125
221172186         1736            Checking         JPI Operating - 1736       1/2/2018    MEMIC Indemnity AC                     $         (60,312.49)    PREAUTHORIZED ACH DEBIT    Ach    MEMIC Indemnity ACHTRANS         180102       17331959
221172186         1736            Checking         JPI Operating - 1736       1/16/2018   MEMIC Indemnity AC                     $         (65,498.44)    PREAUTHORIZED ACH DEBIT    Ach    MEMIC Indemnity ACHTRANS         180116       18360319
221172186         1736            Checking         JPI Operating - 1736       1/29/2018   MEMIC Indemnity AC                     $         (63,778.09)    PREAUTHORIZED ACH DEBIT    Ach    MEMIC Indemnity ACHTRANS         180129       19281443
221172186         1736            Checking         JPI Operating - 1736       1/12/2018   Voya Nat Trst182 SP                    $          (9,502.52)    PREAUTHORIZED ACH DEBIT    Ach    Voya Nat Trst182 SPNSR P/R     180112       811437 0001
221172186         1736            Checking         JPI Operating - 1736       1/26/2018   Voya Nat Trst182 SP                    $          (9,706.37)    PREAUTHORIZED ACH DEBIT    Ach    Voya Nat Trst182 SPNSR P/R     180126       811437 0001
221172186         1752            Checking         JPI Payroll - 1752         1/16/2018   PAYCHEX - RCX PA                       $             495.47     PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX - RCX PAYROLL        180116       74599800000017X
221172186         1752            Checking         JPI Payroll - 1752         1/22/2018   PAYCHEX - RCX PA                       $             833.60     PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX - RCX PAYROLL        180122       74677600000115X
221172186         1752            Checking         JPI Payroll - 1752         1/26/2018   PAYCHEX - RCX PA                       $             339.29     PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX - RCX PAYROLL        180126       74758500000376X
221172186         1752            Checking         JPI Payroll - 1752         1/3/2018    PAYCHEX INC. PA                        $             313.02     PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX INC. PAYROLL         180103       74429500044809X
221172186         1752            Checking         JPI Payroll - 1752         1/3/2018    PAYCHEX INC. PA                        $             607.41     PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX INC. PAYROLL         180103       74429500044810X
221172186         1752            Checking         JPI Payroll - 1752         1/16/2018   PAYCHEX INC. PA                        $             580.98     PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX INC. PAYROLL         180116       74587200006051X
221172186         1752            Checking         JPI Payroll - 1752         1/16/2018   PAYCHEX INC. PA                        $             130.91     PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX INC. PAYROLL         180116       74587200006052X
221172186         1752            Checking         JPI Payroll - 1752         1/29/2018   PAYCHEX INC. PA                        $              77.57     PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX INC. PAYROLL         180129       74779800000079X
221172186         1752            Checking         JPI Payroll - 1752         1/12/2018   PAYCHEX TPS TA                         $           1,924.06     PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX TPS TAXES          180112       74569100005709X
221172186         1752            Checking         JPI Payroll - 1752         1/3/2018    PAYCHEX-RCX PA                         $             483.15     PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX-RCX PAYROLL          180103       74427300000206X
221172186         1752            Checking         JPI Payroll - 1752         1/10/2018   PAYCHEX CGS GA                         $          (4,439.31)    PREAUTHORIZED ACH DEBIT    Ach    PAYCHEX CGS GARNISH          180110       COL0075688927
221172186         1752            Checking         JPI Payroll - 1752         1/24/2018   PAYCHEX CGS GA                         $          (4,831.35)    PREAUTHORIZED ACH DEBIT    Ach    PAYCHEX CGS GARNISH          180124       COL0075956221
221172186         1752            Checking         JPI Payroll - 1752         1/10/2018   PAYCHEX EIB     IN                     $            (179.34)    PREAUTHORIZED ACH DEBIT    Ach    PAYCHEX EIB     INVOICE     180110       X74519000002162
221172186         1752            Checking         JPI Payroll - 1752         1/10/2018   PAYCHEX EIB     IN                     $            (179.34)    PREAUTHORIZED ACH DEBIT    Ach    PAYCHEX EIB     INVOICE     180110       X74519000002163
221172186         1752            Checking         JPI Payroll - 1752         1/11/2018   PAYCHEX EIB     IN                     $         (17,464.68)    PREAUTHORIZED ACH DEBIT    Ach    PAYCHEX EIB     INVOICE     180111       X74535200002840
221172186         1752            Checking         JPI Payroll - 1752         1/25/2018   PAYCHEX EIB     IN                     $          (3,810.23)    PREAUTHORIZED ACH DEBIT    Ach    PAYCHEX EIB     INVOICE     180125       X74726000000061
221172186         1752            Checking         JPI Payroll - 1752         1/12/2018   PAYCHEX-HRS HR                         $          (3,554.31)    PREAUTHORIZED ACH DEBIT    Ach    PAYCHEX-HRS HRS PMT           180112       26819725
221172186         1736            Checking         JPI Operating - 1736       1/12/2018   CIGNA EDGE TRANS CO                    $          (6,501.63)    PREAUTHORIZED ACH DEBIT    Ach    CIGNA EDGE TRANS COLLECTION        180112       604000071501 (JAY PORTION)
221172186         1736            Checking         JPI Operating - 1736       1/22/2018   CIGNA EDGE TRANS CO                    $         (88,851.08)    PREAUTHORIZED ACH DEBIT    Ach    CIGNA EDGE TRANS COLLECTION        180122       603700082285 (JAY PORTION)
221172186         1736            Checking         JPI Operating - 1736       1/9/2018    1.00011E+12                            $      (1,163,366.23)    OUTGOING WIRE TRANSFER            JAY PORTION
221172186         1736            Checking         JPI Operating - 1736       1/23/2018   1.00012E+12                            $        (928,989.58)    OUTGOING WIRE TRANSFER            JAY PORTION
221172186         1736            Checking         JPI Operating - 1736       1/5/2018    1.00011E+12                            $         (28,884.75)    OUTGOING WIRE TRANSFER            Catamount Qtrly Payment Q4 2017 JE058445         (JAY PORTION)
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Detailed Report on Vendor Payments                                 Average Currency Exchange Rate:            0.805
1/01/18 through 1/31/18
                                                                                                     CDN converted        original
Dept Name                                   Dept Category                                               to USD             USD             USD
Inventory/Prepaids/Receivables              Short-term Assets                                        $          -     $    1,054,357   $   1,054,357
Capital                                     Capital Expenditures (incl. tram upgrade)                $          -     $    1,467,170   $   1,467,170
Debt/Liabilities/Deferreds/Taxes            Short-term Liabilities                                   $          -     $      232,613   $     232,613
Investor                                    Equity                                                   $          -     $          -     $         -
Administration                              S, G & A                                                 $          -     $       20,072   $      20,072
Accounting                                  S, G & A                                                 $          -     $      101,330   $     101,330
Information Systems                         S, G & A                                                 $          -     $        7,617   $       7,617
Telephone                                   General Operations                                       $          -     $       66,583   $      66,583
Human Resources                             S, G & A                                                 $          -     $       12,294   $      12,294
Risk Management                             S, G & A                                                 $          -     $          -     $         -
Administration - Food Service               Food & Beverage                                          $          -     $          100   $         100
Vending                                     Food & Beverage                                          $          -     $          -     $         -
Tram cafeteria                              Food & Beverage                                          $          -     $          -     $         -
International Restaurant                    Food & Beverage                                          $          -     $          -     $         -
Sky Haus                                    Food & Beverage                                          $          -     $          -     $         -
Golf Clubhouse Restaurant                   Food & Beverage                                          $          -     $       60,717   $      60,717
The Foundry Pub & Grille                    Food & Beverage                                          $          -     $      425,620   $     425,620
Buddy's Mug                                 Food & Beverage                                          $          -     $          -     $         -
The Warming Shelter                         Food & Beverage                                          $          -     $        4,395   $       4,395
Mountain Dick's Pizza                       Food & Beverage                                          $          -     $          -     $         -
The Drink                                   Food & Beverage                                          $          -     $          -     $         -
MLC F&B                                     Food & Beverage                                          $          -     $          -     $         -
Stateside Daylodge - Cafeteria & Bar        Food & Beverage                                          $          -     $          -     $         -
Stateside Hotel - Howie's Restaurant        Food & Beverage                                          $          -     $        3,364   $       3,364
Recreation Ctr F&B                          Food & Beverage                                          $          -     $          -     $         -
Jay Peak Provisions                         Food & Beverage                                          $          -     $       31,360   $      31,360
Conference Services                         Food & Beverage                                          $          -     $      154,929   $     154,929
Condo Rental Mgt.                           Hotel & Lodging                                          $          -     $       39,834   $      39,834
Taiga Fitness & Spa                         Other Mountain Activities                                $          -     $          441   $         441
Unsold condo rental                         Hotel & Lodging                                          $          -     $          -     $         -
Aroma Coffee Shop                           Food & Beverage                                          $          -     $          300   $         300
Tram Haus Lodge Rest & Bar                  Food & Beverage                                          $          -     $       40,098   $      40,098
Tram Haus Lodge                             Hotel & Lodging                                          $          -     $       11,386   $      11,386
Lodging Reservation                         Hotel & Lodging                                          $          -     $        5,559   $       5,559
Golf Clubhouse Lodging                      Hotel & Lodging                                          $          -     $          300   $         300
Hotel Jay - Front Desk                      Hotel & Lodging                                          $          -     $        1,354   $       1,354
Penthouse Suites                            Hotel & Lodging                                          $          -     $          -     $         -
Golf & Mountain Suites                      Hotel & Lodging                                          $          -     $       11,578   $      11,578
Lodge & Townhouses                          Hotel & Lodging                                          $          -     $          -     $         -
Stateside Hotel - Front Desk                Hotel & Lodging                                          $          -     $          -     $         -
Stateside Cottages                          Hotel & Lodging                                          $          -     $          -     $         -
Ice Rink                                    Other Mountain Activities                                $          -     $       11,957   $      11,957
Ice Rink Snack Bar                          Food & Beverage                                          $          -     $          -     $         -
Condo Assoc. - Mountain Side                Condo Associations                                       $          -     $          -     $         -
Condo Assoc. - Trail Side                   Condo Associations                                       $          -     $          -     $         -
Condo Assoc. - Stoney Path                  Condo Associations                                       $          -     $          -     $         -
Condo Assoc. - Slopeside I                  Condo Associations                                       $          -     $          -     $         -
Condo Assoc. - Slopeside II                 Condo Associations                                       $          -     $          -     $         -
Condo Assoc. - Village Association          Condo Associations                                       $          -     $       11,278   $      11,278
Transfer Condo Assoc.                       Condo Associations                                       $          -     $          -     $         -
Condo Assoc. - General Fees                 Condo Associations                                       $          -     $          -     $         -
Admin. Mtn Operations                       Skiing Operations                                        $          -     $       28,170   $      28,170
Lift Maintenance                            Skiing Operations                                        $          -     $       59,981   $      59,981
Snowmaking                                  Skiing Operations                                        $          -     $      166,993   $     166,993
Grooming                                    Skiing Operations                                        $          -     $       17,476   $      17,476
Vehicle & Equip. Maint.                     General Operations                                       $          -     $       33,276   $      33,276
Electrical                                  General Operations                                       $          -     $      340,857   $     340,857
Hotel Jay - Building Maint./Engin.          Hotel & Lodging                                          $          -     $       23,252   $      23,252
Roads & Parking                             General Operations                                       $          -     $       10,072   $      10,072
Building Maintenance                        General Operations                                       $          -     $       36,344   $      36,344
Grounds                                     General Operations                                       $          -     $        5,661   $       5,661
Water & Sewer System                        General Operations                                       $          -     $       37,869   $      37,869
Stateside Hotel - Building Maint./Engin.    Hotel & Lodging                                          $          -     $          689   $         689
Tram Haus - Building Maint./Engin.          Hotel & Lodging                                          $          -     $        3,212   $       3,212
Laundry Operations                          Hotel & Lodging                                          $          -     $          -     $         -
Housekeeping - Stateside Hotel              Hotel & Lodging                                          $          -     $        2,399   $       2,399
Housekeeping - Hotel Jay                    Hotel & Lodging                                          $          -     $          -     $         -
Janitorial                                  Hotel & Lodging                                          $          -     $          -     $         -
Security                                    General Operations                                       $          -     $          -     $         -
Shuttles                                    General Operations                                       $          -     $          190   $         190
Storm Crew (Storm Water + Snow Shoveling)   General Operations                                       $          -     $          -     $         -
Ambassadors/Greeters                        General Operations                                       $          -     $          -     $         -
Lift Operations                             Skiing Operations                                        $          -     $          -     $         -
Parking Attendant                           General Operations                                       $          -     $        3,838   $       3,838
Customer Service                            Skiing Operations                                        $          -     $          -     $         -
Ticket Selling                              Skiing Operations                                        $          -     $       57,868   $      57,868
Special Events                              S, G & A                                                 $          -     $       30,698   $      30,698
Ski Patrol                                  Skiing Operations                                        $          -     $        8,577   $       8,577
Ski Club                                    Skiing Operations                                        $          -     $          -     $         -
Daycare Center                              Other Mountain Activities                                $          -     $          103   $         103
MLC Daycare Center                          Other Mountain Activities                                $          -     $          -     $         -
Pump House                                  Other Mountain Activities                                $          -     $       93,896   $      93,896
Lift sales                                  Skiing Operations                                        $          -     $          -     $         -
Golf Maintenance                            Summer Operations                                        $          -     $        5,749   $       5,749
Lockers                                     General Operations                                       $          -     $          -     $         -
Wedding Barn                                Other Mountain Activities                                $          -     $          -     $         -
Snowpark                                    Skiing Operations                                        $          -     $        1,685   $       1,685
Elevation 1851' Family Arcade Center        Other Mountain Activities                                $          -     $       15,288   $      15,288
Nordic Center                               Other Mountain Activities                                $          -     $          -     $         -
Fitness Center                              Other Mountain Activities                                $          -     $          -     $         -
MLC Summer Operations                       Summer Operations                                        $          -     $       15,999   $      15,999
Amphitheater                                Other Mountain Activities                                $          -     $          -     $         -
Rec Center                                  Other Mountain Activities                                $          -     $          -     $         -
Rec Fields                                  Other Mountain Activities                                $          -     $          -     $         -
Ski School                                  Ski School                                               $          -     $        5,869   $       5,869
MLC Ski School                              Ski School                                               $          -     $       13,350   $      13,350
Sales                                       S, G & A                                                 $          -     $        6,457   $       6,457
Marketing                                   S, G & A                                                 $       60,146   $      462,294   $     522,441
Administration - Retail                     Retail                                                   $          -     $          -     $         -
The Mountain Shop                           Retail                                                   $          -     $       35,581   $      35,581
Rentals                                     Ski Rental/Repair                                        $          -     $        2,376   $       2,376
Repairs                                     Ski Rental/Repair                                        $          -     $          -     $         -
Golf Pro Shop                               Summer Operations                                        $          -     $        3,130   $       3,130
The Wave                                    Retail                                                   $          -     $        3,351   $       3,351
MLC Rentals                                 Ski Rental/Repair                                        $          -     $          -     $         -
Stateside Daylodge - Retail - Gear Shop     Retail                                                   $          -     $       17,694   $      17,694
Stateside Daylodge - Rentals                Ski Rental/Repair                                        $          -     $          -     $         -
Construction & Development                  S, G & A                                                 $          -     $       19,356   $      19,356
Real Estate                                 S, G & A                                                 $          -     $          -     $         -
Antenna Lease Sky Haus                      General Operations                                       $          -     $       25,729   $      25,729
Non-Operating Items                         S, G & A                                                 $          -     $      133,459   $     133,459
EB-5 Items                                  S, G & A                                                 $          -     $          -     $         -
EBITDA Items                                S, G & A                                                 $          -     $        3,242   $       3,242
Tamarack Grill                              Food & Beverage                                          $          -     $          781   $         781
Mid-Burke Cafe'                             Food & Beverage                                          $          -     $          -     $         -
Bear’s Den Pub                              Food & Beverage                                          $          -     $        1,150   $       1,150
Trailside Patio                             Food & Beverage                                          $          -     $        3,236   $       3,236
Kingdom Cafe'                               Food & Beverage                                          $          -     $          907   $         907
Banquets & Catering                         Food & Beverage                                          $          -     $          -     $         -
Food & Beverage Events                      Food & Beverage                                          $          -     $          -     $         -
Willoughby's Restaurant                     Food & Beverage                                          $          -     $          -     $         -
The Gap Pub                                 Food & Beverage                                          $          -     $       27,376   $      27,376
Coffee Shop                                 Food & Beverage                                          $          -     $          -     $         -
Day Lodge Servery                           Food & Beverage                                          $          -     $          -     $         -
Hotel Banquets                              Food & Beverage                                          $          -     $          -     $         -
Hotel F&B Events                            Food & Beverage                                          $          -     $          -     $         -
Hotel Pre-Opening Costs                     Hotel & Lodging                                          $          -     $          434   $         434
Hotel Operations/Front Desk                 Hotel & Lodging                                          $          -     $        5,352   $       5,352
Hotel Building Maintenance                  Hotel & Lodging                                          $          -     $        4,597   $       4,597
Hotel Housekeeping                          Hotel & Lodging                                          $          -     $        3,049   $       3,049
Hotel Laundry Ops                           Hotel & Lodging                                          $          -     $        3,083   $       3,083
Hotel Janitorial                            Hotel & Lodging                                          $          -     $          -     $         -
Hotel Utilities                             Hotel & Lodging                                          $          -     $          -     $         -
Rental Operations - Campground              Hotel & Lodging                                          $          -     $          100   $         100
Mountain Operations                         Skiing Operations                                        $          -     $        7,134   $       7,134
Property Operations                         General Operations                                       $          -     $          -     $         -
Mountain Biking                             Summer Operations                                        $          -     $          176   $         176
Summer Programs                             Summer Operations                                        $          -     $          -     $         -
Retail                                      Retail                                                   $          -     $       11,284   $      11,284
Base Lodge Rentals                          Ski Rental/Repair                                        $          -     $          -     $         -
Vertical Drop Retail                        Retail                                                   $          -     $        3,716   $       3,716
Bear Essentials Retail                      Retail                                                   $          -     $          -     $         -
Arcade                                      Other Mountain Activities                                $          -     $        3,172   $       3,172
Hotel Ski Rental/Repair & Day Lockers       Ski Rental/Repair                                        $          -     $          500   $         500
AT&T Tower Lease                            General Operations                                       $          -     $          -     $         -
Fixed Expenses                              General Operations                                       $          -     $          676   $         676
Utilities                                   General Operations                                       $          -     $        3,946   $       3,946
Developer Land Sales                        S, G & A                                                 $          -     $          -     $         -
Management Company Fees                     S, G & A                                                 $          -     $          -     $         -
                                                                                                     $       60,146   $    5,589,303   $   5,649,449

Summary of Departmental Vendor Payments into Major Line of Business Categories

                                            Dept Category                                                                                  USD
                                            Short-term Assets                                                                          $   1,054,357
                                            Capital Expenditures (incl. tram upgrade)                                                  $   1,467,170
                                            Short-term Liabilities                                                                     $     232,613
                                            Equity                                                                                     $         -
                                            S, G & A                                                                                   $     856,964
                                            General Operations                                                                         $     565,040
                                            Food & Beverage                                                                            $     754,332
                                            Hotel & Lodging                                                                            $     116,179
                                            Other Mountain Activities                                                                  $     124,856
                                            Condo Associations                                                                         $      11,278
                                            Skiing Operations                                                                          $     347,885
                                            Summer Operations                                                                          $      25,053
                                            Ski School                                                                                 $      19,219
                                            Retail                                                                                     $      71,626
                                            Ski Rental/Repair                                                                          $       2,876
                                                                                                                                       $   5,649,449
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Detailed Report on Taxes Paid to IRS and Vermont Department of Taxes                                                    Vermont Department of Taxes
1/01/18 through 1/31/18                                                                                                 Internal Revenue Service

TRC Number Account Number     Account Type   Account Name                           Post Date   Reference               Amount              Description               Type   Text
221172186        6724         Checking       Burke Mountain Water Company Inc       1/24/2018   VTAX EFT DEPOSIT   AC   $         (78.35)   PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT ACH DEBIT    180124
221172186        6726         Checking       Mountain Road Management Company Inc   1/25/2018   VTAX EFT DEPOSIT   AC   $        (576.00)   PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT ACH DEBIT    180125
221172186      0659           Checking       Phase II Checking - 0659               1/25/2018   VTAX EFT DEPOSIT   AC   $        (172.00)   PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT ACH DEBIT    180125
221172186      0659           Checking       Phase II Checking - 0659               1/25/2018   VTAX EFT DEPOSIT   AC   $    (40,180.50)    PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT ACH DEBIT    180125
221172186      1736           Checking       JPI Operating - 1736                   1/25/2018   VTAX EFT DEPOSIT   AC   $   (133,955.96)    PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT ACH DEBIT    180125
221172186      1736           Checking       JPI Operating - 1736                   1/25/2018   VTAX EFT DEPOSIT   AC   $    (58,575.14)    PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT ACH DEBIT    180125
221172186        6722         Checking       Burke Mountain Operating               1/25/2018   VTAX EFT DEPOSIT   AC   $    (12,949.36)    PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT ACH DEBIT    180125
221172186        6722         Checking       Burke Mountain Operating               1/25/2018   VTAX EFT DEPOSIT   AC   $      (9,091.45)   PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT ACH DEBIT    180125
221172186      1736           Checking       JPI Operating - 1736                   1/17/2018   IRS       US            $      (1,130.73)   PREAUTHORIZED ACH DEBIT   Ach    IRS       USATAXPYMT     180117
221172186      1736           Checking       JPI Operating - 1736                   1/17/2018   IRS       US            $        (857.70)   PREAUTHORIZED ACH DEBIT   Ach    IRS       USATAXPYMT     180117
221172186      1736           Checking       JPI Operating - 1736                   1/25/2018   IRS       US            $    (13,220.87)    PREAUTHORIZED ACH DEBIT   Ach    IRS       USATAXPYMT     180125
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Detailed Report on Fees paid to Merchant and Bank
1/01/18 through 1/31/18

TRC Number       Account Number       Account Type   Account Name                           Post Date   Reference             Additional Reference   Amount          Description               Type   Text
221172186              6724           Checking       Burke Mountain Water Company Inc       1/17/2018   0                                            $     (24.18)   ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY        FOR 12/17
221172186              6726           Checking       Mountain Road Management Company Inc   1/17/2018   0                                            $     (26.35)   ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY        FOR 12/17
221172186            0659             Checking       Phase II Checking - 0659               1/10/2018   0                                            $     (37.99)   ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY        FOR 12/17
221172186            1736             Checking       JPI Operating - 1736                   1/17/2018   0                                            $ (1,764.58)    ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY        FOR 12/17
221172186              6722           Checking       Burke Mountain Operating               1/17/2018   0                                            $    (431.00)   ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY        FOR 12/17
221172186            1736             Checking       JPI Operating - 1736                   1/5/2018    AMERICAN EXPRESS AX                          $ (12,322.38)   PREAUTHORIZED ACH DEBIT   Ach    AMERICAN EXPRESS AXP DISCNT    180105     2440106714
221172186            1736             Checking       JPI Operating - 1736                   1/5/2018    AMERICAN EXPRESS AX                          $ (7,681.04)    PREAUTHORIZED ACH DEBIT   Ach    AMERICAN EXPRESS AXP DISCNT    180105     2440508802
221172186              6722           Checking       Burke Mountain Operating               1/2/2018    AUTHNET GATEWAY BI                           $     (37.30)   PREAUTHORIZED ACH DEBIT   Ach    AUTHNET GATEWAY BILLING       180102     100054099
221172186            1736             Checking       JPI Operating - 1736                   1/2/2018    AUTHNET GATEWAY BI                           $    (388.05)   PREAUTHORIZED ACH DEBIT   Ach    AUTHNET GATEWAY BILLING       180102     100087140
221172186            1736             Checking       JPI Operating - 1736                   1/2/2018    EMBED USA LLC FI                             $    (395.00)   PREAUTHORIZED ACH DEBIT   Ach    EMBED USA LLC FIRST ACH     180102     6457251
221172186              6722           Checking       Burke Mountain Operating               1/2/2018    EMBED USA LLC FI                             $    (195.00)   PREAUTHORIZED ACH DEBIT   Ach    EMBED USA LLC FIRST ACH     180102     6460271
221172186            1736             Checking       JPI Operating - 1736                   1/2/2018    HRTLAND PMT SYS TX                           $     (25.00)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     180102     650000007491098
221172186              6722           Checking       Burke Mountain Operating               1/2/2018    HRTLAND PMT SYS TX                           $     (70.47)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     180102     650000008624093
221172186              6722           Checking       Burke Mountain Operating               1/2/2018    HRTLAND PMT SYS TX                           $    (597.21)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     180102     650000008836580
221172186            1736             Checking       JPI Operating - 1736                   1/2/2018    HRTLAND PMT SYS TX                           $     (20.53)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     180102     650000009065528
221172186            1736             Checking       JPI Operating - 1736                   1/2/2018    HRTLAND PMT SYS TX                           $ (38,867.50)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     180102     650000009073076
221172186            1736             Checking       JPI Operating - 1736                   1/2/2018    HRTLAND PMT SYS TX                           $ (40,156.43)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     180102     650000009073126
221172186            1736             Checking       JPI Operating - 1736                   1/2/2018    HRTLAND PMT SYS TX                           $     (43.07)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     180102     650000009073225
221172186              6722           Checking       Burke Mountain Operating               1/2/2018    HRTLAND PMT SYS TX                           $ (3,326.72)    PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     180102     650000009220552
221172186              6722           Checking       Burke Mountain Operating               1/2/2018    HRTLAND PMT SYS TX                           $ (3,321.36)    PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     180102     650000009411672
221172186              6722           Checking       Burke Mountain Operating               1/2/2018    HRTLAND PMT SYS TX                           $ (6,016.08)    PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     180102     650000009411730
221172186            1736             Checking       JPI Operating - 1736                   1/2/2018    HRTLAND PMT SYS TX                           $ (11,488.20)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     180102     650000009993059
221172186              6722           Checking       Burke Mountain Operating               1/11/2018   HRTLAND PMT SYS TX                           $    (285.14)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     180111     650000008836580
221172186            1736             Checking       JPI Operating - 1736                   1/12/2018   HRTLAND PMT SYS TX                           $      (0.18)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     180112     650000009065528
221172186            1736             Checking       JPI Operating - 1736                   1/16/2018   HRTLAND PMT SYS TX                           $      (0.05)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     180116     650000009065528
221172186            1736             Checking       JPI Operating - 1736                   1/18/2018   HRTLAND PMT SYS TX                           $      (0.05)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     180118     650000009065528
221172186            1736             Checking       JPI Operating - 1736                   1/22/2018   HRTLAND PMT SYS TX                           $      (0.22)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     180122     650000009065528
221172186            1736             Checking       JPI Operating - 1736                   1/23/2018   HRTLAND PMT SYS TX                           $      (0.05)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     180123     650000009065528
221172186            1736             Checking       JPI Operating - 1736                   1/24/2018   HRTLAND PMT SYS TX                           $      (0.19)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     180124     650000009065528
221172186            1736             Checking       JPI Operating - 1736                   1/2/2018    MERCHANT SERVICE ME                          $    (982.86)   PREAUTHORIZED ACH DEBIT   Ach    MERCHANT SERVICE MERCH FEE      171231     31713
221172186              6722           Checking       Burke Mountain Operating               1/2/2018    MERCHANT SERVICE ME                          $    (285.25)   PREAUTHORIZED ACH DEBIT   Ach    MERCHANT SERVICE MERCH FEE      171231     31820
221172186              6722           Checking       Burke Mountain Operating               1/26/2018   SHIFT4-DEBITS 01                             $     (50.13)   PREAUTHORIZED ACH DEBIT   Ach    SHIFT4-DEBITS 012616IMP     0000770405
221172186            1736             Checking       JPI Operating - 1736                   1/26/2018   SHIFT4-DEBITS 01                             $    (443.16)   PREAUTHORIZED ACH DEBIT   Ach    SHIFT4-DEBITS 012616IMP     0000770406
221172186            1736             Checking       JPI Operating - 1736                   1/4/2018    VANTIV_INTG_PYMT BI                          $    (606.49)   PREAUTHORIZED ACH DEBIT   Ach    VANTIV_INTG_PYMT BILLNG       8788430111124Jay Peak Vermont
221172186            1736             Checking       JPI Operating - 1736                   1/4/2018    VANTIV_INTG_PYMT BI                          $    (108.25)   PREAUTHORIZED ACH DEBIT   Ach    VANTIV_INTG_PYMT BILLNG       8788430201279Jay Peak Resort - Token Machine
221172186            1736             Checking       JPI Operating - 1736                   1/12/2018   TRANSFER TO DE                               $    (166.67)   MISCELLANEOUS DEBIT              TRANSFER TO DEPOSIT ACCOUNT 0019100316
221172186            1736             Checking       JPI Operating - 1736                   1/12/2018   TRANSFER TO DE                               $    (500.00)   MISCELLANEOUS DEBIT              TRANSFER TO DEPOSIT ACCOUNT 0019100316
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Jay Peak Resort/Burke Mountain
Ending Cash Balance
                                                                                      * Rate: 0.81
                                                                      1/31/2018                   1/31/2018
                                                                       USD/CDN                       USD
                                                                      End of Day                  End of Day
Company          Bank         Account Name         Account Number    Cash Balance                Cash Balance
08 - JPI         People's     General Account           1736           3,691,323.39                3,691,323.39
08 - JPI         People's     Payroll Account           1752                    -                           -
08 - JPI         People's     Money Market Acct         7175              21,042.16                   21,042.16
20 - JPHSP2      People's     General Account           0659             651,710.25                  651,710.25
20 - JPHSP2      People's     Money Market Acct         0667                    -                           -
380 - BMOC       People's     General Account            6722            870,590.78                  870,590.78
380 - BMOC       People's     Savings Account            1175                   -                           -
381 - BMRM       People's     General Account            6726             75,807.52                   75,807.52
382 - BMWC       People's     General Account            6724             25,820.79                   25,820.79
08 - JPI         Desjardins   CDN Operating Acct      955                175,160.14                  141,879.71 *
20 - JPHSP2      Desjardins   CDN Operating Acct      548                       -                           -   *
                                                                    $ 5,511,455.03             $ 5,478,174.60

                  http://www.oanda.com/currency/converter/
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Jay Peak Resort/Burke Mountain
Cash Flow Statement
2/01/18 through 2/28/18


                                                                       USD
Beginning Cash Balance
    People's United Bank #          1736                    $               3,691,323
    People's United Bank #          1752                    $                     -
    People's United Bank #          7175                    $                  21,042
    People's United Bank #          0659                    $                 651,710
    People's United Bank #          0667                    $                     -
    People's United Bank #                                  $                 870,591
    People's United Bank #            1175                  $                     -
    People's United Bank #            6726                  $                  75,808
    People's United Bank #            6724                  $                  25,821
    Desjardins #   955                                      $                 141,880
    Desjardins #   548                                      $                     -
                                                            $               5,478,175

Add Incoming:
    Receiver Funding
          Direct - Merrill Lynch Bank Accounts              $                    -
          Indirect - CitiBank Accounts                      $              1,712,725
    Deposits from Operations                                $              9,582,293 A
                                                            $             11,295,018

Less Outgoing:
     Payroll & Benefits
           Jay Peak Resort                                  $              (2,199,191)
           Burke Mountain                                   $                (439,593)
     Vendor Payments
           Jay Peak Resort                                  $              (3,481,104) B
           Burke Mountain                                   $                (617,219) B
     Tax Payments
           Vermont Department of Taxes                      $                (840,764)
           Internal Revenue Service                         $                  (8,940)
     Merchant and Bank Fees                                 $                (149,867)
                                                            $              (7,736,678)

Ending Cash Balance
    People's United Bank #          1736                    $               7,494,527
    People's United Bank #          1752                    $                     -
    People's United Bank #          7175                    $                  21,045
    People's United Bank #          0659                    $                 767,329
    People's United Bank #          0667                    $                     -
    People's United Bank #                                  $                 503,836
    People's United Bank #            1175                  $                     -
    People's United Bank #            6726                  $                  84,063
    People's United Bank #            6724                  $                  28,758
    Desjardins #   955                                      $                 136,957
    Desjardins #   548                                      $                     -
                                                            $               9,036,515


Note A:
Canadian transactions have been converted to US Dollars based upon the following methodology:
The Canadian portion of total resort deposits was calculated to be 8% for the report period. This
percentage was applied to all resort deposits at the average CDN to USD currency exchange rate of .80 for the
report period.


Note B:
Vendor payments pertain partially to goods and services received after April 13, 2016. In August of
2017, payments were also issued for outstanding invoices pertaining to goods and services recevied
prior to April 13, 2016.
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Jay Peak Resort/Burke Mountain
Beginning Cash Balance
                                                                                        * Rate: 0.81
                                                                         1/31/2018                  1/31/2018
                                                                          USD/CDN                      USD
                                                                         End of Day                 End of Day
Company          Bank         Account Name         Account Number       Cash Balance               Cash Balance
08 - JPI         People's     General Account          1736              3,691,323.39               3,691,323.39
08 - JPI         People's     Payroll Account          1752                       -                          -
08 - JPI         People's     Money Market Acct        7175                 21,042.16                  21,042.16
20 - JPHSP2      People's     General Account          0659                651,710.25                 651,710.25
20 - JPHSP2      People's     Money Market Acct        0667                       -                          -
380 - BMOC       People's     General Account                              870,590.78                 870,590.78
380 - BMOC       People's     Savings Account                                     -                          -
381 - BMRM       People's     General Account                               75,807.52                  75,807.52
382 - BMWC       People's     General Account                               25,820.79                  25,820.79
08 - JPI         Desjardins   CDN Operating Acct                           175,160.14                 141,879.71 *
20 - JPHSP2      Desjardins   CDN Operating Acct                                  -                          -   *
                                                                    $    5,511,455.03           $   5,478,174.60

                  http://www.oanda.com/currency/converter/
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Jay Peak Resort/Burke Mountain               Case 1:16-cv-21301-DPG Document 487 Entered on FLSD Docket 08/10/2018 Page 51 of 168
Detailed Report on Receiver Funding                                                                                        Direct - Merrill Lynch/SunTrust Bank Accounts
2/01/18 through 2/28/18                                                                                                    Indirect - CitiBank Accounts

TRC Number       Account Number       Account Type   Account Name           Post Date   Reference   Additional Reference   Amount              Description                 Type   Text
221172186                             Checking       JPI Operating - 1736   2/16/2018   1.00E+12                           $      1,712,725.40 INCOMING WIRE TRANSFER      Wire   2/16/18 Incoming Wire - Receiver Funding
Jay Peak Resort/Burke Mountain                   Case 1:16-cv-21301-DPG Document 487 Entered on FLSD Docket 08/10/2018 Page 52 of 168
Detailed Report on Resort Deposits                                 Average Currency Exchange Rate:             0.800
2/01/18 through 2/28/18
                                                                                                      CDN converted          original
Dept Name                                   Dept Category                                                to USD               USD               USD
Inventory/Prepaids/Receivables              Short-term Assets                                        $       (55,320)    $      (839,176)   $    (894,496)
Capital                                     Capital Expenditures (incl. tram upgrade)                $           -       $           -      $         -
Debt/Liabilities/Deferreds/Taxes            Short-term Liabilities                                   $        42,876     $       650,406    $     693,282
Investor                                    Equity                                                   $           -       $           -      $         -
Administration                              S, G & A                                                 $           (35)    $          (367)   $        (402)
Accounting                                  S, G & A                                                 $          (252)    $        (3,821)   $      (4,073)
Information Systems                         S, G & A                                                 $             (3)   $           (46)   $         (49)
Telephone                                   General Operations                                       $         5,042     $        76,478    $      81,519
Human Resources                             S, G & A                                                 $           (13)    $          (194)   $        (207)
Risk Management                             S, G & A                                                 $           -       $           -      $         -
Administration - Food Service               Food & Beverage                                          $           -       $           -      $         -
Vending                                     Food & Beverage                                          $           183     $         2,770    $       2,953
Tram cafeteria                              Food & Beverage                                          $         5,460     $        82,831    $      88,292
International Restaurant                    Food & Beverage                                          $         1,868     $        28,340    $      30,209
Sky Haus                                    Food & Beverage                                          $           806     $        12,227    $      13,033
Golf Clubhouse Restaurant                   Food & Beverage                                          $         1,590     $        24,126    $      25,716
The Foundry Pub & Grille                    Food & Beverage                                          $        14,361     $       217,840    $     232,201
Buddy's Mug                                 Food & Beverage                                          $           918     $        13,923    $      14,841
The Warming Shelter                         Food & Beverage                                          $         4,598     $        69,746    $      74,344
Mountain Dick's Pizza                       Food & Beverage                                          $         5,533     $        83,933    $      89,466
The Drink                                   Food & Beverage                                          $         5,328     $        80,820    $      86,147
MLC F&B                                     Food & Beverage                                          $           -       $           -      $         -
Stateside Daylodge - Cafeteria & Bar        Food & Beverage                                          $        13,861     $       210,263    $     224,124
Stateside Hotel - Howie's Restaurant        Food & Beverage                                          $         7,206     $       109,304    $     116,509
Recreation Ctr F&B                          Food & Beverage                                          $           687     $        10,425    $      11,112
Jay Peak Provisions                         Food & Beverage                                          $        17,751     $       269,269    $     287,020
Conference Services                         Food & Beverage                                          $         3,402     $        51,612    $      55,014
Condo Rental Mgt.                           Hotel & Lodging                                          $        16,981     $       257,592    $     274,573
Taiga Fitness & Spa                         Other Mountain Activities                                $         4,089     $        62,028    $      66,117
Unsold condo rental                         Hotel & Lodging                                          $           -       $           -      $         -
Aroma Coffee Shop                           Food & Beverage                                          $         1,489     $        22,584    $      24,072
Tram Haus Lodge Rest & Bar                  Food & Beverage                                          $        18,703     $       283,718    $     302,421
Tram Haus Lodge                             Hotel & Lodging                                          $        20,714     $       314,214    $     334,928
Lodging Reservation                         Hotel & Lodging                                          $          (513)    $        (7,783)   $      (8,296)
Golf Clubhouse Lodging                      Hotel & Lodging                                          $           712     $        10,799    $      11,511
Hotel Jay - Front Desk                      Hotel & Lodging                                          $        33,318     $       505,417    $     538,735
Penthouse Suites                            Hotel & Lodging                                          $        15,766     $       239,166    $     254,932
Golf & Mountain Suites                      Hotel & Lodging                                          $        18,962     $       287,637    $     306,599
Lodge & Townhouses                          Hotel & Lodging                                          $        27,045     $       410,250    $     437,295
Stateside Hotel - Front Desk                Hotel & Lodging                                          $        17,365     $       263,410    $     280,775
Stateside Cottages                          Hotel & Lodging                                          $         6,261     $        94,968    $     101,229
Ice Rink                                    Other Mountain Activities                                $         2,506     $        38,018    $      40,524
Ice Rink Snack Bar                          Food & Beverage                                          $         1,042     $        15,806    $      16,848
Condo Assoc. - Mountain Side                Condo Associations                                       $           -       $           -      $         -
Condo Assoc. - Trail Side                   Condo Associations                                       $           -       $           -      $         -
Condo Assoc. - Stoney Path                  Condo Associations                                       $           -       $           -      $         -
Condo Assoc. - Slopeside I                  Condo Associations                                       $           -       $           -      $         -
Condo Assoc. - Slopeside II                 Condo Associations                                       $           -       $           -      $         -
Condo Assoc. - Village Association          Condo Associations                                       $           -       $           -      $         -
Transfer Condo Assoc.                       Condo Associations                                       $           -       $           -      $         -
Condo Assoc. - General Fees                 Condo Associations                                       $           -       $           -      $         -
Admin. Mtn Operations                       Skiing Operations                                        $           -       $           -      $         -
Lift Maintenance                            Skiing Operations                                        $           -       $           -      $         -
Snowmaking                                  Skiing Operations                                        $           -       $           -      $         -
Grooming                                    Skiing Operations                                        $           -       $           -      $         -
Vehicle & Equip. Maint.                     General Operations                                       $           -       $           -      $         -
Electrical                                  General Operations                                       $           -       $           -      $         -
Hotel Jay - Building Maint./Engin.          Hotel & Lodging                                          $           -       $           -      $         -
Roads & Parking                             General Operations                                       $           -       $           -      $         -
Building Maintenance                        General Operations                                       $           (29)    $          (447)   $        (477)
Grounds                                     General Operations                                       $           -       $           -      $         -
Water & Sewer System                        General Operations                                       $           -       $           -      $         -
Stateside Hotel - Building Maint./Engin.    Hotel & Lodging                                          $           -       $           -      $         -
Tram Haus - Building Maint./Engin.          Hotel & Lodging                                          $           -       $           -      $         -
Laundry Operations                          Hotel & Lodging                                          $           -       $           -      $         -
Housekeeping - Stateside Hotel              Hotel & Lodging                                          $              2    $             37   $           39
Housekeeping - Hotel Jay                    Hotel & Lodging                                          $           103     $         1,561    $       1,664
Janitorial                                  Hotel & Lodging                                          $           -       $           -      $         -
Security                                    General Operations                                       $             92    $         1,389    $       1,480
Shuttles                                    General Operations                                       $         3,862     $        58,581    $      62,443
Storm Crew (Storm Water + Snow Shoveling)   General Operations                                       $           -       $           -      $         -
Ambassadors/Greeters                        General Operations                                       $           -       $           -      $         -
Lift Operations                             Skiing Operations                                        $           -       $           -      $         -
Parking Attendant                           General Operations                                       $           726     $        11,012    $      11,738
Customer Service                            Skiing Operations                                        $             76    $         1,147    $       1,223
Ticket Selling                              Skiing Operations                                        $           (26)    $          (396)   $        (422)
Special Events                              S, G & A                                                 $         5,067     $        76,864    $      81,931
Ski Patrol                                  Skiing Operations                                        $             62    $           942    $       1,004
Ski Club                                    Skiing Operations                                        $           -       $           -      $         -
Daycare Center                              Other Mountain Activities                                $         3,335     $        50,595    $      53,930
MLC Daycare Center                          Other Mountain Activities                                $           142     $         2,148    $       2,289
Pump House                                  Other Mountain Activities                                $        56,596     $       858,530    $     915,126
Lift sales                                  Skiing Operations                                        $       163,914     $     2,486,461    $   2,650,374
Golf Maintenance                            Summer Operations                                        $              4    $             66   $           70
Lockers                                     General Operations                                       $           -       $           -      $         -
Wedding Barn                                Other Mountain Activities                                $           -       $           -      $         -
Snowpark                                    Skiing Operations                                        $           -       $           -      $         -
Elevation 1851' Family Arcade Center        Other Mountain Activities                                $         4,017     $        60,940    $      64,957
Nordic Center                               Other Mountain Activities                                $           806     $        12,223    $      13,028
Fitness Center                              Other Mountain Activities                                $           -       $           -      $         -
MLC Summer Operations                       Summer Operations                                        $           -       $           -      $         -
Amphitheater                                Other Mountain Activities                                $           102     $         1,551    $       1,654
Rec Center                                  Other Mountain Activities                                $         2,504     $        37,982    $      40,486
Rec Fields                                  Other Mountain Activities                                $           -       $           -      $         -
Ski School                                  Ski School                                               $        12,844     $       194,830    $     207,674
MLC Ski School                              Ski School                                               $        14,478     $       219,621    $     234,099
Sales                                       S, G & A                                                 $          (141)    $        (2,133)   $      (2,274)
Marketing                                   S, G & A                                                 $           988     $        14,982    $      15,970
Administration - Retail                     Retail                                                   $              1    $             17   $           18
The Mountain Shop                           Retail                                                   $         3,668     $        55,642    $      59,310
Rentals                                     Ski Rental/Repair                                        $         8,626     $       130,855    $     139,482
Repairs                                     Ski Rental/Repair                                        $           781     $        11,841    $      12,621
Golf Pro Shop                               Summer Operations                                        $           (15)    $          (222)   $        (236)
The Wave                                    Retail                                                   $         1,338     $        20,295    $      21,633
MLC Rentals                                 Ski Rental/Repair                                        $           -       $           -      $         -
Stateside Daylodge - Retail - Gear Shop     Retail                                                   $         3,735     $        56,655    $      60,390
Stateside Daylodge - Rentals                Ski Rental/Repair                                        $         4,302     $        65,264    $      69,567
Construction & Development                  S, G & A                                                 $           -       $           -      $         -
Real Estate                                 S, G & A                                                 $           -       $           -      $         -
Antenna Lease Sky Haus                      General Operations                                       $           -       $           -      $         -
Non-Operating Items                         S, G & A                                                 $           731     $        11,089    $      11,820
EB-5 Items                                  S, G & A                                                 $           -       $           -      $         -
EBITDA Items                                S, G & A                                                 $           -       $           -      $         -
Tamarack Grill                              Food & Beverage                                          $         2,619     $        39,735    $      42,355
Mid-Burke Cafe'                             Food & Beverage                                          $           -       $           -      $         -
Bear’s Den Pub                              Food & Beverage                                          $         2,858     $        43,356    $      46,214
Trailside Patio                             Food & Beverage                                          $           -       $           -      $         -
Kingdom Cafe'                               Food & Beverage                                          $         2,807     $        42,583    $      45,391
Banquets & Catering                         Food & Beverage                                          $           -       $           -      $         -
Food & Beverage Events                      Food & Beverage                                          $           -       $           -      $         -
Willoughby's Restaurant                     Food & Beverage                                          $           -       $           -      $         -
The Gap Pub                                 Food & Beverage                                          $         7,257     $       110,084    $     117,341
Coffee Shop                                 Food & Beverage                                          $           436     $         6,614    $       7,050
Day Lodge Servery                           Food & Beverage                                          $           805     $        12,207    $      13,012
Hotel Banquets                              Food & Beverage                                          $           409     $         6,204    $       6,613
Hotel F&B Events                            Food & Beverage                                          $           -       $           -      $         -
Hotel Pre-Opening Costs                     Hotel & Lodging                                          $           -       $           -      $         -
Hotel Operations/Front Desk                 Hotel & Lodging                                          $        15,271     $       231,652    $     246,923
Hotel Building Maintenance                  Hotel & Lodging                                          $           -       $           -      $         -
Hotel Housekeeping                          Hotel & Lodging                                          $           -       $           -      $         -
Hotel Laundry Ops                           Hotel & Lodging                                          $           -       $           -      $         -
Hotel Janitorial                            Hotel & Lodging                                          $           -       $           -      $         -
Hotel Utilities                             Hotel & Lodging                                          $           -       $           -      $         -
Rental Operations - Campground              Hotel & Lodging                                          $              1    $             19   $           20
Mountain Operations                         Skiing Operations                                        $           -       $           -      $         -
Property Operations                         General Operations                                       $           -       $           -      $         -
Mountain Biking                             Summer Operations                                        $             (1)   $           (21)   $         (22)
Summer Programs                             Summer Operations                                        $           -       $           -      $         -
Retail                                      Retail                                                   $         1,648     $        25,000    $      26,648
Base Lodge Rentals                          Ski Rental/Repair                                        $         4,230     $        64,163    $      68,393
Vertical Drop Retail                        Retail                                                   $         1,133     $        17,180    $      18,313
Bear Essentials Retail                      Retail                                                   $           -       $           -      $         -
Arcade                                      Other Mountain Activities                                $           162     $         2,452    $       2,614
Hotel Ski Rental/Repair & Day Lockers       Ski Rental/Repair                                        $           -       $           -      $         -
AT&T Tower Lease                            General Operations                                       $           -       $           -      $         -
Fixed Expenses                              General Operations                                       $           -       $           -      $         -
Utilities                                   General Operations                                       $           -       $           -      $         -
Developer Land Sales                        S, G & A                                                 $           -       $           -      $         -
Management Company Fees                     S, G & A                                                 $           -       $           -      $         -
                                                                                                     $       592,611     $     8,989,682    $   9,582,293

Summary of Departmental Deposits into Major Line of Business Categories

                                            Dept Category                                                                                       USD
                                            Short-term Assets                                                                               $    (894,496)
                                            Capital Expenditures (incl. tram upgrade)                                                       $         -
                                            Short-term Liabilities                                                                          $     693,282
                                            Equity                                                                                          $         -
                                            S, G & A                                                                                        $     102,716
                                            General Operations                                                                              $     156,704
                                            Food & Beverage                                                                                 $   1,972,297
                                            Hotel & Lodging                                                                                 $   2,780,926
                                            Other Mountain Activities                                                                       $   1,200,725
                                            Condo Associations                                                                              $         -
                                            Skiing Operations                                                                               $   2,652,179
                                            Summer Operations                                                                               $        (189)
                                            Ski School                                                                                      $     441,773
                                            Retail                                                                                          $     186,312
                                            Ski Rental/Repair                                                                               $     290,063
                                                                                                                                            $   9,582,293
Jay Peak Resort/Burke Mountain              Case 1:16-cv-21301-DPG Document 487 Entered on FLSD Docket 08/10/2018 Page 53 of 168
Detailed Report on Payroll and Benefits Payments                                                                                       Jay Peak Resort Payroll
2/01/18 through 2/28/18                                                                                                                Burke Mountain Payroll

TRC Number    Account Number      Account Type     Account Name                       Post Date   Reference             Additional Reference
                                                                                                                                         Amount                  Description                Type   Text
221172186                         Checking         JPI Operating - 1736               2/2/2018    BANCORPSV        BA                    $            (146.40)   PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               2/5/2018    BANCORPSV        BA                    $             (78.99)   PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               2/6/2018    BANCORPSV        BA                    $             (41.22)   PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               2/7/2018    BANCORPSV        BA                    $             (60.00)   PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               2/8/2018    BANCORPSV        BA                    $             (68.85)   PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               2/13/2018   BANCORPSV        BA                    $             (53.00)   PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               2/13/2018   BANCORPSV        BA                    $             (50.00)   PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               2/26/2018   BANCORPSV        BA                    $             (26.88)   PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               2/27/2018   BANCORPSV        BA                    $            (452.43)   PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               2/28/2018   BANCORPSV        BA                    $              (8.00)   PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               2/12/2018   CIGNA EDGE TRANS CO                    $          (6,947.39)   PREAUTHORIZED ACH DEBIT    Ach    CIGNA EDGE TRANS COLLECTION       180212       602300061292 - JAY PORTION
221172186                         Checking         JPI Operating - 1736               2/21/2018   CIGNA EDGE TRANS CO                    $        (110,193.42)   PREAUTHORIZED ACH DEBIT    Ach    CIGNA EDGE TRANS COLLECTION       180221       601000090441 - JAY PORTION
221172186                         Checking         JPI Operating - 1736               2/12/2018   MEMIC Indemnity AC                     $         (62,016.80)   PREAUTHORIZED ACH DEBIT    Ach    MEMIC Indemnity ACHTRANS        180212       20395857
221172186                         Checking         JPI Operating - 1736               2/26/2018   MEMIC Indemnity AC                     $         (63,594.60)   PREAUTHORIZED ACH DEBIT    Ach    MEMIC Indemnity ACHTRANS        180226       21207765
221172186                         Checking         JPI Operating - 1736               2/8/2018    Voya Nat Trst182 SP                    $         (10,436.59)   PREAUTHORIZED ACH DEBIT    Ach    Voya Nat Trst182 SPNSR P/R    180208       811437 0001
221172186                         Checking         JPI Operating - 1736               2/22/2018   Voya Nat Trst182 SP                    $         (11,557.97)   PREAUTHORIZED ACH DEBIT    Ach    Voya Nat Trst182 SPNSR P/R    180222       811437 0001
221172186                         Checking         JPI Operating - 1736               2/7/2018    1.00021E+12                            $        (918,143.63)   OUTGOING WIRE TRANSFER            JAY PORTION
221172186                         Checking         JPI Operating - 1736               2/20/2018   1.00022E+12                            $        (998,543.95)   OUTGOING WIRE TRANSFER            JAY PORTION
221172186                         Checking         JPI Payroll - 1752                 2/21/2018   PAYCHEX CGS GA                         $          (5,404.13)   PREAUTHORIZED ACH DEBIT    Ach    PAYCHEX CGS GARNISH         180221       COL0076496248
221172186                         Checking         JPI Payroll - 1752                 2/8/2018    PAYCHEX EIB     IN                     $          (3,747.83)   PREAUTHORIZED ACH DEBIT    Ach    PAYCHEX EIB     INVOICE    180208       X74926700001977
221172186                         Checking         JPI Payroll - 1752                 2/22/2018   PAYCHEX EIB     IN                     $          (3,750.01)   PREAUTHORIZED ACH DEBIT    Ach    PAYCHEX EIB     INVOICE    180222       X75111200000601
221172186                         Checking         JPI Payroll - 1752                 2/16/2018   PAYCHEX-HRS HR                         $          (5,698.67)   PREAUTHORIZED ACH DEBIT    Ach    PAYCHEX-HRS HRS PMT          180216       27001191
221172186                         Checking         JPI Payroll - 1752                 2/12/2018   PAYCHEX INC. PA                        $             155.14    PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX INC. PAYROLL        180212       74975200000041X
221172186                         Checking         JPI Payroll - 1752                 2/13/2018   PAYCHEX INC. PA                        $             386.76    PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX INC. PAYROLL        180213       74988300039393X
221172186                         Checking         JPI Payroll - 1752                 2/13/2018   PAYCHEX-RCX PA                         $             854.58    PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX-RCX PAYROLL         180213       74987300000568X
221172186                         Checking         JPI Payroll - 1752                 2/21/2018   PAYCHEX-RCX PA                         $             433.29    PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX-RCX PAYROLL         180221       75105800000461X
221172186                         Checking         Burke Mountain Operating Company   2/12/2018   MEMIC Indemnity AC                     $         (13,856.10)   PREAUTHORIZED ACH DEBIT    Ach    MEMIC Indemnity ACHTRANS        180212       20394829
221172186                         Checking         Burke Mountain Operating Company   2/26/2018   MEMIC Indemnity AC                     $         (14,744.67)   PREAUTHORIZED ACH DEBIT    Ach    MEMIC Indemnity ACHTRANS        180226       21206889
221172186                         Checking         JPI Operating - 1736               2/12/2018   CIGNA EDGE TRANS CO                    $          (1,140.97)   PREAUTHORIZED ACH DEBIT    Ach    CIGNA EDGE TRANS COLLECTION       180212       602300061292 - BURKE PORTION
221172186                         Checking         JPI Operating - 1736               2/21/2018   CIGNA EDGE TRANS CO                    $         (20,188.06)   PREAUTHORIZED ACH DEBIT    Ach    CIGNA EDGE TRANS COLLECTION       180221       601000090441 - BURKE PORTION
221172186                         Checking         JPI Operating - 1736               2/9/2018    DISCOVERY BENEFI CL                    $            (326.93)   PREAUTHORIZED ACH DEBIT    Ach    DISCOVERY BENEFI CLAIM FUND      180209       21194030194601
221172186                         Checking         JPI Operating - 1736               2/21/2018   DISCOVERY BENEFI CL                    $            (729.77)   PREAUTHORIZED ACH DEBIT    Ach    DISCOVERY BENEFI CLAIM FUND      180221       21194030194601
221172186                         Checking         JPI Operating - 1736               2/23/2018   DISCOVERY BENEFI CL                    $            (713.09)   PREAUTHORIZED ACH DEBIT    Ach    DISCOVERY BENEFI CLAIM FUND      180223       21194030194601
221172186                         Checking         JPI Operating - 1736               2/27/2018   DISCOVERY BENEFI DB                    $            (292.00)   PREAUTHORIZED ACH DEBIT    Ach    DISCOVERY BENEFI DBI Admin      180226
221172186                         Checking         JPI Operating - 1736               2/7/2018    1.00021E+12                            $        (180,627.42)   OUTGOING WIRE TRANSFER            BURKE PORTION
221172186                         Checking         JPI Operating - 1736               2/20/2018   1.00022E+12                            $        (201,588.47)   OUTGOING WIRE TRANSFER            BURKE PORTION
221172186                         Checking         JPI Payroll - 1752                 2/7/2018    PAYCHEX CGS GA                         $          (5,385.29)   PREAUTHORIZED ACH DEBIT    Ach    PAYCHEX CGS GARNISH         180207       COL0076224620
Jay Peak Resort/Burke Mountain                   Case 1:16-cv-21301-DPG Document 487 Entered on FLSD Docket 08/10/2018 Page 54 of 168
Detailed Report on Vendor Payments                                 Average Currency Exchange Rate:            0.800
2/01/18 through 2/28/18
                                                                                                     CDN converted        original
Dept Name                                   Dept Category                                               to USD             USD              USD
Inventory/Prepaids/Receivables              Short-term Assets                                        $          -     $      974,009    $     974,009
Capital                                     Capital Expenditures (incl. tram upgrade)                $          -     $    1,298,365    $   1,298,365
Debt/Liabilities/Deferreds/Taxes            Short-term Liabilities                                   $          -     $       84,273    $      84,273
Investor                                    Equity                                                   $          -     $          -      $         -
Administration                              S, G & A                                                 $          -     $       32,995    $      32,995
Accounting                                  S, G & A                                                 $          -     $      103,855    $     103,855
Information Systems                         S, G & A                                                 $          -     $       40,032    $      40,032
Telephone                                   General Operations                                       $          -     $       17,776    $      17,776
Human Resources                             S, G & A                                                 $          -     $        6,084    $       6,084
Risk Management                             S, G & A                                                 $          -     $          225    $         225
Administration - Food Service               Food & Beverage                                          $          -     $            75   $           75
Vending                                     Food & Beverage                                          $          -     $          -      $         -
Tram cafeteria                              Food & Beverage                                          $          -     $          -      $         -
International Restaurant                    Food & Beverage                                          $          -     $          -      $         -
Sky Haus                                    Food & Beverage                                          $          -     $          -      $         -
Golf Clubhouse Restaurant                   Food & Beverage                                          $          -     $       34,064    $      34,064
The Foundry Pub & Grille                    Food & Beverage                                          $          -     $      367,258    $     367,258
Buddy's Mug                                 Food & Beverage                                          $          -     $          -      $         -
The Warming Shelter                         Food & Beverage                                          $          -     $        3,858    $       3,858
Mountain Dick's Pizza                       Food & Beverage                                          $          -     $          -      $         -
The Drink                                   Food & Beverage                                          $          -     $          -      $         -
MLC F&B                                     Food & Beverage                                          $          -     $          -      $         -
Stateside Daylodge - Cafeteria & Bar        Food & Beverage                                          $          -     $          -      $         -
Stateside Hotel - Howie's Restaurant        Food & Beverage                                          $          -     $          -      $         -
Recreation Ctr F&B                          Food & Beverage                                          $          -     $          -      $         -
Jay Peak Provisions                         Food & Beverage                                          $          -     $       22,970    $      22,970
Conference Services                         Food & Beverage                                          $          -     $      123,073    $     123,073
Condo Rental Mgt.                           Hotel & Lodging                                          $          -     $       13,002    $      13,002
Taiga Fitness & Spa                         Other Mountain Activities                                $          -     $        1,368    $       1,368
Unsold condo rental                         Hotel & Lodging                                          $          -     $          -      $         -
Aroma Coffee Shop                           Food & Beverage                                          $          -     $          -      $         -
Tram Haus Lodge Rest & Bar                  Food & Beverage                                          $          -     $       10,458    $      10,458
Tram Haus Lodge                             Hotel & Lodging                                          $          -     $       15,702    $      15,702
Lodging Reservation                         Hotel & Lodging                                          $          -     $        8,946    $       8,946
Golf Clubhouse Lodging                      Hotel & Lodging                                          $          -     $          -      $         -
Hotel Jay - Front Desk                      Hotel & Lodging                                          $          -     $        1,695    $       1,695
Penthouse Suites                            Hotel & Lodging                                          $          -     $          -      $         -
Golf & Mountain Suites                      Hotel & Lodging                                          $          -     $          -      $         -
Lodge & Townhouses                          Hotel & Lodging                                          $          -     $          -      $         -
Stateside Hotel - Front Desk                Hotel & Lodging                                          $          -     $        1,520    $       1,520
Stateside Cottages                          Hotel & Lodging                                          $          -     $          -      $         -
Ice Rink                                    Other Mountain Activities                                $          -     $        6,966    $       6,966
Ice Rink Snack Bar                          Food & Beverage                                          $          -     $          -      $         -
Condo Assoc. - Mountain Side                Condo Associations                                       $          -     $          -      $         -
Condo Assoc. - Trail Side                   Condo Associations                                       $          -     $          -      $         -
Condo Assoc. - Stoney Path                  Condo Associations                                       $          -     $          -      $         -
Condo Assoc. - Slopeside I                  Condo Associations                                       $          -     $          -      $         -
Condo Assoc. - Slopeside II                 Condo Associations                                       $          -     $          -      $         -
Condo Assoc. - Village Association          Condo Associations                                       $          -     $        1,279    $       1,279
Transfer Condo Assoc.                       Condo Associations                                       $          -     $          -      $         -
Condo Assoc. - General Fees                 Condo Associations                                       $          -     $          -      $         -
Admin. Mtn Operations                       Skiing Operations                                        $          -     $        4,835    $       4,835
Lift Maintenance                            Skiing Operations                                        $          -     $        5,705    $       5,705
Snowmaking                                  Skiing Operations                                        $          -     $      160,335    $     160,335
Grooming                                    Skiing Operations                                        $          -     $        8,892    $       8,892
Vehicle & Equip. Maint.                     General Operations                                       $          -     $       40,125    $      40,125
Electrical                                  General Operations                                       $          -     $      128,425    $     128,425
Hotel Jay - Building Maint./Engin.          Hotel & Lodging                                          $          -     $       22,035    $      22,035
Roads & Parking                             General Operations                                       $          -     $        8,665    $       8,665
Building Maintenance                        General Operations                                       $          -     $       27,593    $      27,593
Grounds                                     General Operations                                       $          -     $        8,080    $       8,080
Water & Sewer System                        General Operations                                       $          -     $       24,786    $      24,786
Stateside Hotel - Building Maint./Engin.    Hotel & Lodging                                          $          -     $        4,020    $       4,020
Tram Haus - Building Maint./Engin.          Hotel & Lodging                                          $          -     $        2,481    $       2,481
Laundry Operations                          Hotel & Lodging                                          $          -     $        3,569    $       3,569
Housekeeping - Stateside Hotel              Hotel & Lodging                                          $          -     $        3,315    $       3,315
Housekeeping - Hotel Jay                    Hotel & Lodging                                          $          -     $          -      $         -
Janitorial                                  Hotel & Lodging                                          $          -     $          -      $         -
Security                                    General Operations                                       $          -     $          111    $         111
Shuttles                                    General Operations                                       $          -     $        1,100    $       1,100
Storm Crew (Storm Water + Snow Shoveling)   General Operations                                       $          -     $          -      $         -
Ambassadors/Greeters                        General Operations                                       $          -     $          -      $         -
Lift Operations                             Skiing Operations                                        $          -     $          -      $         -
Parking Attendant                           General Operations                                       $          -     $          -      $         -
Customer Service                            Skiing Operations                                        $          -     $          -      $         -
Ticket Selling                              Skiing Operations                                        $          -     $        6,542    $       6,542
Special Events                              S, G & A                                                 $          -     $        5,910    $       5,910
Ski Patrol                                  Skiing Operations                                        $          -     $        5,691    $       5,691
Ski Club                                    Skiing Operations                                        $          -     $          -      $         -
Daycare Center                              Other Mountain Activities                                $          -     $          737    $         737
MLC Daycare Center                          Other Mountain Activities                                $          -     $          -      $         -
Pump House                                  Other Mountain Activities                                $          -     $       35,471    $      35,471
Lift sales                                  Skiing Operations                                        $          -     $          -      $         -
Golf Maintenance                            Summer Operations                                        $          -     $          677    $         677
Lockers                                     General Operations                                       $          -     $          -      $         -
Wedding Barn                                Other Mountain Activities                                $          -     $          -      $         -
Snowpark                                    Skiing Operations                                        $          -     $        1,314    $       1,314
Elevation 1851' Family Arcade Center        Other Mountain Activities                                $          -     $       15,935    $      15,935
Nordic Center                               Other Mountain Activities                                $          -     $          -      $         -
Fitness Center                              Other Mountain Activities                                $          -     $          -      $         -
MLC Summer Operations                       Summer Operations                                        $          -     $        6,649    $       6,649
Amphitheater                                Other Mountain Activities                                $          -     $        5,131    $       5,131
Rec Center                                  Other Mountain Activities                                $          -     $       22,245    $      22,245
Rec Fields                                  Other Mountain Activities                                $          -     $          -      $         -
Ski School                                  Ski School                                               $          -     $        2,652    $       2,652
MLC Ski School                              Ski School                                               $          -     $          300    $         300
Sales                                       S, G & A                                                 $          -     $        1,653    $       1,653
Marketing                                   S, G & A                                                 $       28,491   $       84,489    $     112,980
Administration - Retail                     Retail                                                   $          -     $          -      $         -
The Mountain Shop                           Retail                                                   $          -     $       15,881    $      15,881
Rentals                                     Ski Rental/Repair                                        $          -     $        3,073    $       3,073
Repairs                                     Ski Rental/Repair                                        $          -     $          -      $         -
Golf Pro Shop                               Summer Operations                                        $          -     $          522    $         522
The Wave                                    Retail                                                   $          -     $        4,815    $       4,815
MLC Rentals                                 Ski Rental/Repair                                        $          -     $          -      $         -
Stateside Daylodge - Retail - Gear Shop     Retail                                                   $          -     $          460    $         460
Stateside Daylodge - Rentals                Ski Rental/Repair                                        $          -     $          -      $         -
Construction & Development                  S, G & A                                                 $          -     $       22,111    $      22,111
Real Estate                                 S, G & A                                                 $          -     $          -      $         -
Antenna Lease Sky Haus                      General Operations                                       $          -     $       26,255    $      26,255
Non-Operating Items                         S, G & A                                                 $          -     $       91,505    $      91,505
EB-5 Items                                  S, G & A                                                 $          -     $          -      $         -
EBITDA Items                                S, G & A                                                 $          -     $        7,452    $       7,452
Tamarack Grill                              Food & Beverage                                          $          -     $        2,954    $       2,954
Mid-Burke Cafe'                             Food & Beverage                                          $          -     $          -      $         -
Bear’s Den Pub                              Food & Beverage                                          $          -     $          800    $         800
Trailside Patio                             Food & Beverage                                          $          -     $        3,514    $       3,514
Kingdom Cafe'                               Food & Beverage                                          $          -     $          618    $         618
Banquets & Catering                         Food & Beverage                                          $          -     $          -      $         -
Food & Beverage Events                      Food & Beverage                                          $          -     $          -      $         -
Willoughby's Restaurant                     Food & Beverage                                          $          -     $          -      $         -
The Gap Pub                                 Food & Beverage                                          $          -     $       34,030    $      34,030
Coffee Shop                                 Food & Beverage                                          $          -     $          -      $         -
Day Lodge Servery                           Food & Beverage                                          $          -     $          -      $         -
Hotel Banquets                              Food & Beverage                                          $          -     $          -      $         -
Hotel F&B Events                            Food & Beverage                                          $          -     $          -      $         -
Hotel Pre-Opening Costs                     Hotel & Lodging                                          $          -     $        5,229    $       5,229
Hotel Operations/Front Desk                 Hotel & Lodging                                          $          -     $        9,775    $       9,775
Hotel Building Maintenance                  Hotel & Lodging                                          $          -     $        3,341    $       3,341
Hotel Housekeeping                          Hotel & Lodging                                          $          -     $        2,000    $       2,000
Hotel Laundry Ops                           Hotel & Lodging                                          $          -     $          -      $         -
Hotel Janitorial                            Hotel & Lodging                                          $          -     $          -      $         -
Hotel Utilities                             Hotel & Lodging                                          $          -     $          -      $         -
Rental Operations - Campground              Hotel & Lodging                                          $          -     $          150    $         150
Mountain Operations                         Skiing Operations                                        $          -     $        6,217    $       6,217
Property Operations                         General Operations                                       $          -     $          -      $         -
Mountain Biking                             Summer Operations                                        $          -     $          425    $         425
Summer Programs                             Summer Operations                                        $          -     $          -      $         -
Retail                                      Retail                                                   $          -     $        4,094    $       4,094
Base Lodge Rentals                          Ski Rental/Repair                                        $          -     $            29   $           29
Vertical Drop Retail                        Retail                                                   $          -     $        1,123    $       1,123
Bear Essentials Retail                      Retail                                                   $          -     $          -      $         -
Arcade                                      Other Mountain Activities                                $          -     $          375    $         375
Hotel Ski Rental/Repair & Day Lockers       Ski Rental/Repair                                        $          -     $          -      $         -
AT&T Tower Lease                            General Operations                                       $          -     $          -      $         -
Fixed Expenses                              General Operations                                       $          -     $          560    $         560
Utilities                                   General Operations                                       $          -     $        3,208    $       3,208
Developer Land Sales                        S, G & A                                                 $          -     $          -      $         -
Management Company Fees                     S, G & A                                                 $          -     $          -      $         -
                                                                                                     $       28,491   $    4,069,832    $   4,098,323

Summary of Departmental Vendor Payments into Major Line of Business Categories

                                            Dept Category                                                                                   USD
                                            Short-term Assets                                                                           $     974,009
                                            Capital Expenditures (incl. tram upgrade)                                                   $   1,298,365
                                            Short-term Liabilities                                                                      $      84,273
                                            Equity                                                                                      $         -
                                            S, G & A                                                                                    $     424,801
                                            General Operations                                                                          $     286,684
                                            Food & Beverage                                                                             $     603,672
                                            Hotel & Lodging                                                                             $      96,779
                                            Other Mountain Activities                                                                   $      88,229
                                            Condo Associations                                                                          $       1,279
                                            Skiing Operations                                                                           $     199,532
                                            Summer Operations                                                                           $       8,272
                                            Ski School                                                                                  $       2,952
                                            Retail                                                                                      $      26,373
                                            Ski Rental/Repair                                                                           $       3,102
                                                                                                                                        $   4,098,323
Jay Peak Resort/Burke Mountain       Case 1:16-cv-21301-DPG Document 487 Entered on FLSD Docket 08/10/2018 Page 55 of 168
Detailed Report on Taxes Paid to IRS and Vermont Department of Taxes                                                Vermont Department of Taxes
2/01/18 through 2/28/18                                                                                             Internal Revenue Service

TRC Number Account Number     Account Type   Account Name                       Post Date   Reference               Amount              Description               Type   Text
221172186                     Checking       JPI Operating - 1736               2/1/2018    IRS       US            $      (3,538.80)   PREAUTHORIZED ACH DEBIT   Ach    IRS       USATAXPYMT     180201      270843262164509
221172186                     Checking       JPI Operating - 1736               2/1/2018    IRS       US            $      (5,401.28)   PREAUTHORIZED ACH DEBIT   Ach    IRS       USATAXPYMT     180201      270843285568773
221172186                     Checking       Burke Mountain Operating Company   2/23/2018   VTAX EFT DEPOSIT   AC   $    (19,833.50)    PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT ACH DEBIT    180223
221172186                     Checking       Burke Mountain Operating Company   2/23/2018   VTAX EFT DEPOSIT   AC   $    (59,620.80)    PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT ACH DEBIT    180223
221172186                     Checking       JPI Operating - 1736               2/26/2018   VTAX EFT DEPOSIT   AC   $   (130,367.06)    PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT ACH DEBIT    180226
221172186                     Checking       JPI Operating - 1736               2/26/2018   VTAX EFT DEPOSIT   AC   $   (596,555.84)    PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT ACH DEBIT    180226
221172186                     Checking       Phase II Checking - 0659           2/26/2018   VTAX EFT DEPOSIT   AC   $    (34,387.29)    PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT ACH DEBIT    180226
Jay Peak Resort/Burke Mountain                  Case 1:16-cv-21301-DPG Document 487 Entered on FLSD Docket 08/10/2018 Page 56 of 168
Detailed Report on Fees paid to Merchant and Bank
2/01/18 through 2/28/18

TRC Number       Account Number       Account Type   Account Name                           Post Date   Reference              Additional Reference   Amount          Description               Type   Text
221172186                             Checking       Burke Mountain Operating Company       2/16/2018   0                                             $    (614.53)   ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY        FOR 01/18
221172186                             Checking       JPI Operating - 1736                   2/16/2018   0                                             $ (1,802.80)    ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY        FOR 01/18
221172186                             Checking       Phase II Checking - 0659               2/12/2018   0                                             $    (249.74)   ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY        FOR 01/18
221172186                             Checking       Mountain Road Management Company Inc   2/16/2018   0                                             $     (25.55)   ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY        FOR 01/18
221172186                             Checking       Burke Mountain Water Company Inc       2/16/2018   0                                             $     (24.22)   ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY        FOR 01/18
221172186                             Checking       JPI Operating - 1736                   2/5/2018    AMERICAN EXPRESS AX                           $ (13,768.41)   PREAUTHORIZED ACH DEBIT   Ach    AMERICAN EXPRESS AXP DISCNT    180205     2440508802
221172186                             Checking       JPI Operating - 1736                   2/8/2018    AMERICAN EXPRESS AX                           $ (2,505.71)    PREAUTHORIZED ACH DEBIT   Ach    AMERICAN EXPRESS AXP DISCNT    180208     2440106714
221172186                             Checking       JPI Operating - 1736                   2/9/2018    AMERICAN EXPRESS AX                           $ (2,740.65)    PREAUTHORIZED ACH DEBIT   Ach    AMERICAN EXPRESS AXP DISCNT    180209     2440508802
221172186                             Checking       JPI Operating - 1736                   2/2/2018    AUTHNET GATEWAY BI                            $    (398.85)   PREAUTHORIZED ACH DEBIT   Ach    AUTHNET GATEWAY BILLING       180202     100389323
221172186                             Checking       Burke Mountain Operating Company       2/2/2018    AUTHNET GATEWAY BI                            $     (23.15)   PREAUTHORIZED ACH DEBIT   Ach    AUTHNET GATEWAY BILLING       180202     100401523
221172186                             Checking       JPI Operating - 1736                   2/1/2018    EMBED USA LLC FI                              $    (395.00)   PREAUTHORIZED ACH DEBIT   Ach    EMBED USA LLC FIRST ACH     180201     6543602
221172186                             Checking       Burke Mountain Operating Company       2/1/2018    EMBED USA LLC FI                              $    (195.00)   PREAUTHORIZED ACH DEBIT   Ach    EMBED USA LLC FIRST ACH     180201     6545758
221172186                             Checking       Burke Mountain Operating Company       2/1/2018    HRTLAND PMT SYS TX                            $     (53.50)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     180201     650000008624093
221172186                             Checking       Burke Mountain Operating Company       2/1/2018    HRTLAND PMT SYS TX                            $     (33.94)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     180201     650000008836580
221172186                             Checking       Burke Mountain Operating Company       2/1/2018    HRTLAND PMT SYS TX                            $    (306.34)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     180201     650000008836580
221172186                             Checking       JPI Operating - 1736                   2/1/2018    HRTLAND PMT SYS TX                            $     (20.63)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     180201     650000009065528
221172186                             Checking       JPI Operating - 1736                   2/1/2018    HRTLAND PMT SYS TX                            $ (46,070.44)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     180201     650000009073076
221172186                             Checking       JPI Operating - 1736                   2/1/2018    HRTLAND PMT SYS TX                            $ (49,105.84)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     180201     650000009073126
221172186                             Checking       JPI Operating - 1736                   2/1/2018    HRTLAND PMT SYS TX                            $     (73.15)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     180201     650000009073225
221172186                             Checking       Burke Mountain Operating Company       2/1/2018    HRTLAND PMT SYS TX                            $ (6,513.96)    PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     180201     650000009220552
221172186                             Checking       Burke Mountain Operating Company       2/1/2018    HRTLAND PMT SYS TX                            $ (4,304.98)    PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     180201     650000009411672
221172186                             Checking       Burke Mountain Operating Company       2/1/2018    HRTLAND PMT SYS TX                            $ (5,193.04)    PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     180201     650000009411730
221172186                             Checking       JPI Operating - 1736                   2/1/2018    HRTLAND PMT SYS TX                            $ (10,515.86)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     180201     650000009993059
221172186                             Checking       JPI Operating - 1736                   2/5/2018    HRTLAND PMT SYS TX                            $      (0.16)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     180205     650000009065528
221172186                             Checking       JPI Operating - 1736                   2/8/2018    HRTLAND PMT SYS TX                            $      (0.05)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     180208     650000009065528
221172186                             Checking       JPI Operating - 1736                   2/12/2018   HRTLAND PMT SYS TX                            $      (0.03)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     180212     650000009065528
221172186                             Checking       JPI Operating - 1736                   2/12/2018   HRTLAND PMT SYS TX                            $      (0.05)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     180212     650000009065528
221172186                             Checking       JPI Operating - 1736                   2/16/2018   HRTLAND PMT SYS TX                            $      (0.28)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     180216     650000009065528
221172186                             Checking       JPI Operating - 1736                   2/22/2018   HRTLAND PMT SYS TX                            $      (0.21)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     180222     650000009065528
221172186                             Checking       Burke Mountain Operating Company       2/23/2018   HRTLAND PMT SYS TX                            $    (320.00)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     180223     650000008836580
221172186                             Checking       JPI Operating - 1736                   2/27/2018   HRTLAND PMT SYS TX                            $      (0.04)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     180227     650000009065528
221172186                             Checking       JPI Operating - 1736                   2/2/2018    MERCHANT SERVICE ME                           $ (1,189.95)    PREAUTHORIZED ACH DEBIT   Ach    MERCHANT SERVICE MERCH FEE      180131     31713
221172186                             Checking       Burke Mountain Operating Company       2/2/2018    MERCHANT SERVICE ME                           $    (423.05)   PREAUTHORIZED ACH DEBIT   Ach    MERCHANT SERVICE MERCH FEE      180131     31820
221172186                             Checking       Burke Mountain Operating Company       2/28/2018   SHIFT4-DEBITS 02                              $     (70.92)   PREAUTHORIZED ACH DEBIT   Ach    SHIFT4-DEBITS 022818IMP     0000781818
221172186                             Checking       JPI Operating - 1736                   2/28/2018   SHIFT4-DEBITS 02                              $    (546.96)   PREAUTHORIZED ACH DEBIT   Ach    SHIFT4-DEBITS 022818IMP     0000781819
221172186                             Checking       JPI Operating - 1736                   2/6/2018    VANTIV_INTG_PYMT BI                           $    (654.17)   PREAUTHORIZED ACH DEBIT   Ach    VANTIV_INTG_PYMT BILLNG       8788430111124Jay Peak Vermont
221172186                             Checking       JPI Operating - 1736                   2/6/2018    VANTIV_INTG_PYMT BI                           $    (107.85)   PREAUTHORIZED ACH DEBIT   Ach    VANTIV_INTG_PYMT BILLNG       8788430201279Jay Peak Resort - Token Machine
221172186                             Checking       JPI Operating - 1736                   2/16/2018   9.97E+14                                      $     (34.16)   BOOK TRANSFER DEBIT              REF 0471214L FUNDS TRANSFER TO DEP              FROM          TO COVER MONTHLY BANK FEES
221172186                             Checking       JPI Operating - 1736                   2/12/2018   TRANSFER TO DE                                $    (166.67)   MISCELLANEOUS DEBIT              TRANSFER TO DEPOSIT ACCOUNT 0019100316
221172186                             Checking       Phase II Checking - 0659               2/1/2018    828,,SEQ# 8940265390   13118031               $ (1,416.86)    MISCELLANEOUS DEBIT              828,,SEQ# 8940265390
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Jay Peak Resort/Burke Mountain
Ending Cash Balance
                                                                                      * Rate: 0.79
                                                                      2/28/2018                   2/28/2018
                                                                       USD/CDN                       USD
                                                                      End of Day                  End of Day
Company          Bank         Account Name         Account Number    Cash Balance                Cash Balance
08 - JPI         People's     General Account                          7,494,526.98                7,494,526.98
08 - JPI         People's     Payroll Account                                   -                           -
08 - JPI         People's     Money Market Acct                           21,044.58                   21,044.58
20 - JPHSP2      People's     General Account                            767,328.89                  767,328.89
20 - JPHSP2      People's     Money Market Acct                                 -                           -
380 - BMOC       People's     General Account                            503,836.23                  503,836.23
380 - BMOC       People's     Savings Account                                   -                           -
381 - BMRM       People's     General Account                             84,062.89                   84,062.89
382 - BMWC       People's     General Account                             28,757.87                   28,757.87
08 - JPI         Desjardins   CDN Operating Acct                         173,363.41                  136,957.09 *
20 - JPHSP2      Desjardins   CDN Operating Acct                                -                           -   *
                                                                    $ 9,072,920.85             $ 9,036,514.53

                  http://www.oanda.com/currency/converter/
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                      Case 1:16-cv-21301-DPG Document 487 Entered on FLSD Docket 08/10/2018 Page 59 of 168
Jay Peak Resort/Burke Mountain
Cash Flow Statement
3/01/18 through 3/31/18


                                                                       USD
Beginning Cash Balance
    People's United Bank #                                  $               7,494,527
    People's United Bank #                                  $                     -
    People's United Bank #                                  $                  21,045
    People's United Bank #                                  $                 767,329
    People's United Bank #                                  $                     -
    People's United Bank #                                  $                 503,836
    People's United Bank #                                  $                     -
    People's United Bank #                                  $                  84,063
    People's United Bank #                                  $                  28,758
    Desjardins #                                            $                 136,957
    Desjardins #                                            $                     -
                                                            $               9,036,515

Add Incoming:
    Receiver Funding
          Direct - Merrill Lynch Bank Accounts              $                    -
          Indirect - CitiBank Accounts                      $                545,200
    Deposits from Operations                                $              9,941,035 A
                                                            $             10,486,235

Less Outgoing:
     Payroll & Benefits
           Jay Peak Resort                                  $              (2,606,790)
           Burke Mountain                                   $                (461,880)
     Vendor Payments
           Jay Peak Resort                                  $              (3,781,097) B
           Burke Mountain                                   $                (405,519) B
     Tax Payments
           Vermont Department of Taxes                      $                (778,727)
           Internal Revenue Service                         $                  (3,010)
     Merchant and Bank Fees                                 $                (146,491)
                                                            $              (8,183,514)

Ending Cash Balance
    People's United Bank #                                  $              8,827,962
    People's United Bank #                                  $                    -
    People's United Bank #                                  $                 21,047
    People's United Bank #                                  $                956,193
    People's United Bank #                                  $                    -
    People's United Bank #                                  $              1,075,376
    People's United Bank #                                  $                    -
    People's United Bank #                                  $                 88,174
    People's United Bank #                                  $                 30,705
    Desjardins #                                            $                339,779
    Desjardins #                                            $                    -
                                                            $             11,339,236


Note A:
Canadian transactions have been converted to US Dollars based upon the following methodology:
The Canadian portion of total resort deposits was calculated to be 17% for the report period. This
percentage was applied to all resort deposits at the average CDN to USD currency exchange rate of .785 for the
report period.


Note B:
Vendor payments pertain partially to goods and services received after April 13, 2016. In August of
2017, payments were also issued for outstanding invoices pertaining to goods and services recevied
prior to April 13, 2016.
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Jay Peak Resort/Burke Mountain
Beginning Cash Balance
                                                                                        * Rate: 0.79
                                                                         2/28/2018                  2/28/2018
                                                                          USD/CDN                      USD
                                                                         End of Day                 End of Day
Company          Bank         Account Name         Account Number       Cash Balance               Cash Balance
08 - JPI         People's     General Account                            7,494,526.98               7,494,526.98
08 - JPI         People's     Payroll Account                                     -                          -
08 - JPI         People's     Money Market Acct                             21,044.58                  21,044.58
20 - JPHSP2      People's     General Account                              767,328.89                 767,328.89
20 - JPHSP2      People's     Money Market Acct                                   -                          -
380 - BMOC       People's     General Account                              503,836.23                 503,836.23
380 - BMOC       People's     Savings Account                                     -                          -
381 - BMRM       People's     General Account                               84,062.89                  84,062.89
382 - BMWC       People's     General Account                               28,757.87                  28,757.87
08 - JPI         Desjardins   CDN Operating Acct                           173,363.41                 136,957.09 *
20 - JPHSP2      Desjardins   CDN Operating Acct                                  -                          -   *
                                                                    $    9,072,920.85           $   9,036,514.53

                  http://www.oanda.com/currency/converter/
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Jay Peak Resort/Burke Mountain                Case 1:16-cv-21301-DPG Document 487 Entered on FLSD Docket 08/10/2018 Page 62 of 168
Detailed Report on Receiver Funding                                                                                        Direct - Merrill Lynch/SunTrust Bank Accounts
3/01/18 through 3/31/18                                                                                                    Indirect - CitiBank Accounts

TRC Number       Account Number       Account Type   Account Name           Post Date   Reference   Additional Reference   Amount            Description                   Type   Text
221172186                             Checking       JPI Operating - 1736   3/20/2018   1.00E+12                           $      545,199.66 INCOMING WIRE TRANSFER        Wire   3/20/18 Incoming Wire - Receiver Funding
Jay Peak Resort/Burke Mountain                   Case 1:16-cv-21301-DPG Document 487 Entered on FLSD Docket 08/10/2018 Page 63 of 168
Detailed Report on Resort Deposits                                 Average Currency Exchange Rate:             0.785
3/01/18 through 3/31/18
                                                                                                      CDN converted          original
Dept Name                                   Dept Category                                                to USD               USD               USD
Inventory/Prepaids/Receivables              Short-term Assets                                        $       (45,108)    $      (287,282)   $    (332,390)
Capital                                     Capital Expenditures (incl. tram upgrade)                $         1,865     $        11,875    $      13,739
Debt/Liabilities/Deferreds/Taxes            Short-term Liabilities                                   $       106,376     $       677,485    $     783,862
Investor                                    Equity                                                   $           -       $           -      $         -
Administration                              S, G & A                                                 $             (3)   $           (24)   $         (27)
Accounting                                  S, G & A                                                 $           546     $         3,477    $       4,023
Information Systems                         S, G & A                                                 $           -       $           -      $         -
Telephone                                   General Operations                                       $        12,587     $        80,165    $      92,752
Human Resources                             S, G & A                                                 $             (8)   $           (50)   $         (58)
Risk Management                             S, G & A                                                 $           198     $         1,258    $       1,455
Administration - Food Service               Food & Beverage                                          $           217     $         1,379    $       1,596
Vending                                     Food & Beverage                                          $              2    $             11   $           13
Tram cafeteria                              Food & Beverage                                          $        11,462     $        72,997    $      84,459
International Restaurant                    Food & Beverage                                          $           421     $         2,683    $       3,104
Sky Haus                                    Food & Beverage                                          $         2,516     $        16,024    $      18,540
Golf Clubhouse Restaurant                   Food & Beverage                                          $         4,492     $        28,607    $      33,099
The Foundry Pub & Grille                    Food & Beverage                                          $        32,841     $       209,156    $     241,996
Buddy's Mug                                 Food & Beverage                                          $         2,612     $        16,637    $      19,249
The Warming Shelter                         Food & Beverage                                          $        14,631     $        93,181    $     107,812
Mountain Dick's Pizza                       Food & Beverage                                          $        14,815     $        94,354    $     109,169
The Drink                                   Food & Beverage                                          $        12,631     $        80,444    $      93,075
MLC F&B                                     Food & Beverage                                          $           -       $           -      $         -
Stateside Daylodge - Cafeteria & Bar        Food & Beverage                                          $        25,708     $       163,726    $     189,434
Stateside Hotel - Howie's Restaurant        Food & Beverage                                          $        15,882     $       101,147    $     117,029
Recreation Ctr F&B                          Food & Beverage                                          $         1,801     $        11,473    $      13,275
Jay Peak Provisions                         Food & Beverage                                          $        40,996     $       261,094    $     302,090
Conference Services                         Food & Beverage                                          $         2,236     $        14,241    $      16,477
Condo Rental Mgt.                           Hotel & Lodging                                          $        32,961     $       209,920    $     242,880
Taiga Fitness & Spa                         Other Mountain Activities                                $         8,375     $        53,338    $      61,713
Unsold condo rental                         Hotel & Lodging                                          $           -       $           -      $         -
Aroma Coffee Shop                           Food & Beverage                                          $         3,586     $        22,841    $      26,427
Tram Haus Lodge Rest & Bar                  Food & Beverage                                          $        40,991     $       261,064    $     302,056
Tram Haus Lodge                             Hotel & Lodging                                          $        46,315     $       294,968    $     341,283
Lodging Reservation                         Hotel & Lodging                                          $        (1,124)    $        (7,158)   $      (8,282)
Golf Clubhouse Lodging                      Hotel & Lodging                                          $         1,418     $         9,030    $      10,447
Hotel Jay - Front Desk                      Hotel & Lodging                                          $        83,911     $       534,408    $     618,319
Penthouse Suites                            Hotel & Lodging                                          $        37,682     $       239,988    $     277,670
Golf & Mountain Suites                      Hotel & Lodging                                          $        45,079     $       287,099    $     332,178
Lodge & Townhouses                          Hotel & Lodging                                          $        50,776     $       323,381    $     374,157
Stateside Hotel - Front Desk                Hotel & Lodging                                          $        36,086     $       229,820    $     265,906
Stateside Cottages                          Hotel & Lodging                                          $        14,195     $        90,405    $     104,600
Ice Rink                                    Other Mountain Activities                                $         4,427     $        28,195    $      32,622
Ice Rink Snack Bar                          Food & Beverage                                          $         2,951     $        18,792    $      21,743
Condo Assoc. - Mountain Side                Condo Associations                                       $           -       $           -      $         -
Condo Assoc. - Trail Side                   Condo Associations                                       $           -       $           -      $         -
Condo Assoc. - Stoney Path                  Condo Associations                                       $           -       $           -      $         -
Condo Assoc. - Slopeside I                  Condo Associations                                       $           -       $           -      $         -
Condo Assoc. - Slopeside II                 Condo Associations                                       $           -       $           -      $         -
Condo Assoc. - Village Association          Condo Associations                                       $           -       $           -      $         -
Transfer Condo Assoc.                       Condo Associations                                       $           -       $           -      $         -
Condo Assoc. - General Fees                 Condo Associations                                       $           -       $           -      $         -
Admin. Mtn Operations                       Skiing Operations                                        $           -       $           -      $         -
Lift Maintenance                            Skiing Operations                                        $           -       $           -      $         -
Snowmaking                                  Skiing Operations                                        $           -       $           -      $         -
Grooming                                    Skiing Operations                                        $           -       $           -      $         -
Vehicle & Equip. Maint.                     General Operations                                       $           -       $           -      $         -
Electrical                                  General Operations                                       $           -       $           -      $         -
Hotel Jay - Building Maint./Engin.          Hotel & Lodging                                          $           -       $           -      $         -
Roads & Parking                             General Operations                                       $           -       $           -      $         -
Building Maintenance                        General Operations                                       $           -       $           -      $         -
Grounds                                     General Operations                                       $           -       $           -      $         -
Water & Sewer System                        General Operations                                       $           -       $           -      $         -
Stateside Hotel - Building Maint./Engin.    Hotel & Lodging                                          $           -       $           -      $         -
Tram Haus - Building Maint./Engin.          Hotel & Lodging                                          $           -       $           -      $         -
Laundry Operations                          Hotel & Lodging                                          $           -       $           -      $         -
Housekeeping - Stateside Hotel              Hotel & Lodging                                          $             58    $           367    $         424
Housekeeping - Hotel Jay                    Hotel & Lodging                                          $           221     $         1,408    $       1,629
Janitorial                                  Hotel & Lodging                                          $           -       $           -      $         -
Security                                    General Operations                                       $             20    $           125    $         145
Shuttles                                    General Operations                                       $         9,824     $        62,569    $      72,393
Storm Crew (Storm Water + Snow Shoveling)   General Operations                                       $           -       $           -      $         -
Ambassadors/Greeters                        General Operations                                       $           -       $           -      $         -
Lift Operations                             Skiing Operations                                        $           -       $           -      $         -
Parking Attendant                           General Operations                                       $         1,900     $        12,103    $      14,003
Customer Service                            Skiing Operations                                        $          (153)    $          (977)   $      (1,130)
Ticket Selling                              Skiing Operations                                        $          (123)    $          (785)   $        (908)
Special Events                              S, G & A                                                 $         9,110     $        58,016    $      67,126
Ski Patrol                                  Skiing Operations                                        $             24    $           154    $         178
Ski Club                                    Skiing Operations                                        $           -       $           -      $         -
Daycare Center                              Other Mountain Activities                                $         7,872     $        50,132    $      58,004
MLC Daycare Center                          Other Mountain Activities                                $           460     $         2,927    $       3,386
Pump House                                  Other Mountain Activities                                $       159,070     $     1,013,078    $   1,172,149
Lift sales                                  Skiing Operations                                        $       323,880     $     2,062,709    $   2,386,589
Golf Maintenance                            Summer Operations                                        $           -       $           -      $         -
Lockers                                     General Operations                                       $           -       $           -      $         -
Wedding Barn                                Other Mountain Activities                                $           -       $           -      $         -
Snowpark                                    Skiing Operations                                        $           -       $           -      $         -
Elevation 1851' Family Arcade Center        Other Mountain Activities                                $        11,693     $        74,470    $      86,163
Nordic Center                               Other Mountain Activities                                $           833     $         5,302    $       6,135
Fitness Center                              Other Mountain Activities                                $           -       $           -      $         -
MLC Summer Operations                       Summer Operations                                        $           -       $           -      $         -
Amphitheater                                Other Mountain Activities                                $           230     $         1,467    $       1,698
Rec Center                                  Other Mountain Activities                                $         7,088     $        45,140    $      52,228
Rec Fields                                  Other Mountain Activities                                $           -       $           -      $         -
Ski School                                  Ski School                                               $        16,092     $       102,489    $     118,581
MLC Ski School                              Ski School                                               $        15,716     $       100,093    $     115,810
Sales                                       S, G & A                                                 $             30    $           192    $         222
Marketing                                   S, G & A                                                 $          (384)    $        (2,446)   $      (2,830)
Administration - Retail                     Retail                                                   $              5    $             31   $           36
The Mountain Shop                           Retail                                                   $         6,589     $        41,967    $      48,556
Rentals                                     Ski Rental/Repair                                        $        16,018     $       102,017    $     118,035
Repairs                                     Ski Rental/Repair                                        $         1,105     $         7,040    $       8,146
Golf Pro Shop                               Summer Operations                                        $           (11)    $           (68)   $         (79)
The Wave                                    Retail                                                   $         3,731     $        23,761    $      27,492
MLC Rentals                                 Ski Rental/Repair                                        $           -       $           -      $         -
Stateside Daylodge - Retail - Gear Shop     Retail                                                   $         6,689     $        42,598    $      49,286
Stateside Daylodge - Rentals                Ski Rental/Repair                                        $         8,299     $        52,852    $      61,151
Construction & Development                  S, G & A                                                 $           -       $           -      $         -
Real Estate                                 S, G & A                                                 $           -       $           -      $         -
Antenna Lease Sky Haus                      General Operations                                       $           -       $           -      $         -
Non-Operating Items                         S, G & A                                                 $         4,294     $        27,349    $      31,644
EB-5 Items                                  S, G & A                                                 $           -       $           -      $         -
EBITDA Items                                S, G & A                                                 $           -       $           -      $         -
Tamarack Grill                              Food & Beverage                                          $         4,034     $        25,689    $      29,722
Mid-Burke Cafe'                             Food & Beverage                                          $           -       $           -      $         -
Bear’s Den Pub                              Food & Beverage                                          $         6,127     $        39,023    $      45,150
Trailside Patio                             Food & Beverage                                          $           -       $           -      $         -
Kingdom Cafe'                               Food & Beverage                                          $         3,911     $        24,908    $      28,819
Banquets & Catering                         Food & Beverage                                          $           -       $           -      $         -
Food & Beverage Events                      Food & Beverage                                          $           -       $           -      $         -
Willoughby's Restaurant                     Food & Beverage                                          $           -       $           -      $         -
The Gap Pub                                 Food & Beverage                                          $        15,207     $        96,850    $     112,057
Coffee Shop                                 Food & Beverage                                          $         1,116     $         7,106    $       8,221
Day Lodge Servery                           Food & Beverage                                          $         1,490     $         9,491    $      10,981
Hotel Banquets                              Food & Beverage                                          $         1,888     $        12,021    $      13,909
Hotel F&B Events                            Food & Beverage                                          $           -       $           -      $         -
Hotel Pre-Opening Costs                     Hotel & Lodging                                          $           -       $           -      $         -
Hotel Operations/Front Desk                 Hotel & Lodging                                          $        29,278     $       186,466    $     215,744
Hotel Building Maintenance                  Hotel & Lodging                                          $           -       $           -      $         -
Hotel Housekeeping                          Hotel & Lodging                                          $           -       $           -      $         -
Hotel Laundry Ops                           Hotel & Lodging                                          $           -       $           -      $         -
Hotel Janitorial                            Hotel & Lodging                                          $           -       $           -      $         -
Hotel Utilities                             Hotel & Lodging                                          $           -       $           -      $         -
Rental Operations - Campground              Hotel & Lodging                                          $           -       $           -      $         -
Mountain Operations                         Skiing Operations                                        $           -       $           -      $         -
Property Operations                         General Operations                                       $           -       $           -      $         -
Mountain Biking                             Summer Operations                                        $              3    $             20   $           23
Summer Programs                             Summer Operations                                        $           -       $           -      $         -
Retail                                      Retail                                                   $         2,230     $        14,202    $      16,432
Base Lodge Rentals                          Ski Rental/Repair                                        $         5,133     $        32,690    $      37,823
Vertical Drop Retail                        Retail                                                   $           991     $         6,311    $       7,302
Bear Essentials Retail                      Retail                                                   $           -       $           -      $         -
Arcade                                      Other Mountain Activities                                $           149     $           950    $       1,099
Hotel Ski Rental/Repair & Day Lockers       Ski Rental/Repair                                        $           -       $           -      $         -
AT&T Tower Lease                            General Operations                                       $           -       $           -      $         -
Fixed Expenses                              General Operations                                       $           -       $           -      $         -
Utilities                                   General Operations                                       $           -       $           -      $         -
Developer Land Sales                        S, G & A                                                 $           -       $           -      $         -
Management Company Fees                     S, G & A                                                 $           -       $           -      $         -
                                                                                                     $     1,349,081     $     8,591,954    $   9,941,035

Summary of Departmental Deposits into Major Line of Business Categories

                                            Dept Category                                                                                       USD
                                            Short-term Assets                                                                               $    (332,390)
                                            Capital Expenditures (incl. tram upgrade)                                                       $      13,739
                                            Short-term Liabilities                                                                          $     783,862
                                            Equity                                                                                          $         -
                                            S, G & A                                                                                        $     101,555
                                            General Operations                                                                              $     179,293
                                            Food & Beverage                                                                                 $   1,949,501
                                            Hotel & Lodging                                                                                 $   2,776,956
                                            Other Mountain Activities                                                                       $   1,475,196
                                            Condo Associations                                                                              $         -
                                            Skiing Operations                                                                               $   2,384,729
                                            Summer Operations                                                                               $         (56)
                                            Ski School                                                                                      $     234,390
                                            Retail                                                                                          $     149,105
                                            Ski Rental/Repair                                                                               $     225,155
                                                                                                                                            $   9,941,035
Jay Peak Resort/Burke Mountain              Case 1:16-cv-21301-DPG Document 487 Entered on FLSD Docket 08/10/2018 Page 64 of 168
Detailed Report on Payroll and Benefits Payments                                                                                        Jay Peak Resort Payroll
3/01/18 through 3/31/18                                                                                                                 Burke Mountain Payroll

TRC Number    Account Number      Account Type     Account Name                       Post Date   Reference             Additional Reference
                                                                                                                                         Amount                   Description                Type   Text
221172186                         Checking         Burke Mountain Operating Company   3/12/2018   MEMIC Indemnity AC                     $         (14,279.74)    PREAUTHORIZED ACH DEBIT    Ach    MEMIC Indemnity ACHTRANS       180312      21800783
221172186                         Checking         Burke Mountain Operating Company   3/26/2018   MEMIC Indemnity AC                     $         (13,075.64)    PREAUTHORIZED ACH DEBIT    Ach    MEMIC Indemnity ACHTRANS       180326      22244677
221172186                         Checking         JPI Operating - 1736               3/6/2018    1.00031E+12                            $        (218,687.06)    OUTGOING WIRE TRANSFER            BURKE PORTION
221172186                         Checking         JPI Operating - 1736               3/20/2018   1.00032E+12                            $        (193,423.66)    OUTGOING WIRE TRANSFER            BURKE PORTION
221172186                         Checking         JPI Operating - 1736               3/12/2018   CIGNA EDGE TRANS CO                    $          (1,105.42)    PREAUTHORIZED ACH DEBIT    Ach    CIGNA EDGE TRANS COLLECTION      180312      602300065158 BURKE PORTION
221172186                         Checking         JPI Operating - 1736               3/20/2018   CIGNA EDGE TRANS CO                    $         (19,612.13)    PREAUTHORIZED ACH DEBIT    Ach    CIGNA EDGE TRANS COLLECTION      180320      600600095347 BURKE PORTION
221172186                         Checking         JPI Operating - 1736               3/7/2018    DISCOVERY BENEFI CL                    $            (625.77)    PREAUTHORIZED ACH DEBIT    Ach    DISCOVERY BENEFI CLAIM FUND     180307      21194030194601
221172186                         Checking         JPI Operating - 1736               3/8/2018    DISCOVERY BENEFI CL                    $             (81.71)    PREAUTHORIZED ACH DEBIT    Ach    DISCOVERY BENEFI CLAIM FUND     180308      21194030194601
221172186                         Checking         JPI Operating - 1736               3/9/2018    DISCOVERY BENEFI CL                    $            (326.93)    PREAUTHORIZED ACH DEBIT    Ach    DISCOVERY BENEFI CLAIM FUND     180309      21194030194601
221172186                         Checking         JPI Operating - 1736               3/23/2018   DISCOVERY BENEFI CL                    $            (286.90)    PREAUTHORIZED ACH DEBIT    Ach    DISCOVERY BENEFI CLAIM FUND     180323      21194030194601
221172186                         Checking         JPI Operating - 1736               3/29/2018   DISCOVERY BENEFI CL                    $             (78.51)    PREAUTHORIZED ACH DEBIT    Ach    DISCOVERY BENEFI CLAIM FUND     180329      21194030194601
221172186                         Checking         JPI Operating - 1736               3/26/2018   DISCOVERY BENEFI DB                    $            (296.50)    PREAUTHORIZED ACH DEBIT    Ach    DISCOVERY BENEFI DBI Admin     180326
221172186                         Checking         JPI Operating - 1736               3/6/2018    1.00031E+12                            $      (1,166,773.15)    OUTGOING WIRE TRANSFER            JAY PEAK PORTION
221172186                         Checking         JPI Operating - 1736               3/20/2018   1.00032E+12                            $      (1,146,469.39)    OUTGOING WIRE TRANSFER            JAY PEAK PORTION
221172186                         Checking         JPI Operating - 1736               3/12/2018   CIGNA EDGE TRANS CO                    $          (7,262.42)    PREAUTHORIZED ACH DEBIT    Ach    CIGNA EDGE TRANS COLLECTION      180312      602300065158 JAY PEAK PORTION
221172186                         Checking         JPI Operating - 1736               3/20/2018   CIGNA EDGE TRANS CO                    $        (109,617.51)    PREAUTHORIZED ACH DEBIT    Ach    CIGNA EDGE TRANS COLLECTION      180320      600600095347 JAY PEAK PORTION
221172186                         Checking         JPI Operating - 1736               3/2/2018    BANCORPSV        BA                    $            (300.92)    PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV    WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               3/5/2018    BANCORPSV        BA                    $             (13.85)    PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV    WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               3/12/2018   BANCORPSV        BA                    $            (250.00)    PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV    WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               3/13/2018   BANCORPSV        BA                    $             (62.11)    PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV    WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               3/15/2018   BANCORPSV        BA                    $             (30.00)    PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV    WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               3/16/2018   BANCORPSV        BA                    $             (74.41)    PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV    WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               3/20/2018   BANCORPSV        BA                    $             (10.00)    PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV    WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               3/22/2018   BANCORPSV        BA                    $             (20.00)    PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV    WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               3/23/2018   BANCORPSV        BA                    $             (23.82)    PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV    WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               3/26/2018   BANCORPSV        BA                    $            (475.00)    PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV    WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               3/12/2018   MEMIC Indemnity AC                     $         (67,715.42)    PREAUTHORIZED ACH DEBIT    Ach    MEMIC Indemnity ACHTRANS       180312      21801857
221172186                         Checking         JPI Operating - 1736               3/26/2018   MEMIC Indemnity AC                     $         (66,704.17)    PREAUTHORIZED ACH DEBIT    Ach    MEMIC Indemnity ACHTRANS       180326      22245797
221172186                         Checking         JPI Operating - 1736               3/8/2018    Voya Nat Trst182 SP                    $         (11,668.17)    PREAUTHORIZED ACH DEBIT    Ach    Voya Nat Trst182 SPNSR P/R   180308      811437 0001
221172186                         Checking         JPI Operating - 1736               3/23/2018   Voya Nat Trst182 SP                    $         (11,335.57)    PREAUTHORIZED ACH DEBIT    Ach    Voya Nat Trst182 SPNSR P/R   180323      811437 0001
221172186                         Checking         JPI Payroll - 1752                 3/5/2018    PAYCHEX-RCX PA                         $             481.31     PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX-RCX PAYROLL         180305      75123900004962X
221172186                         Checking         JPI Payroll - 1752                 3/5/2018    PAYCHEX-RCX PA                         $           1,066.10     PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX-RCX PAYROLL         180305      75123900004963X
221172186                         Checking         JPI Payroll - 1752                 3/15/2018   PAYCHEX-RCX PA                         $             685.55     PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX-RCX PAYROLL         180315      75423000000172X
221172186                         Checking         JPI Payroll - 1752                 3/15/2018   PAYCHEX-RCX PA                         $             883.09     PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX-RCX PAYROLL         180315      75423000000173X
221172186                         Checking         JPI Payroll - 1752                 3/7/2018    PAYCHEX CGS GA                         $          (5,145.62)    PREAUTHORIZED ACH DEBIT    Ach    PAYCHEX CGS GARNISH         180307      COL0076767712
221172186                         Checking         JPI Payroll - 1752                 3/21/2018   PAYCHEX CGS GA                         $          (5,065.28)    PREAUTHORIZED ACH DEBIT    Ach    PAYCHEX CGS GARNISH         180321      COL0077038256
221172186                         Checking         JPI Payroll - 1752                 3/8/2018    PAYCHEX EIB     IN                     $          (3,750.01)    PREAUTHORIZED ACH DEBIT    Ach    PAYCHEX EIB     INVOICE    180308      X75313500003122
221172186                         Checking         JPI Payroll - 1752                 3/22/2018   PAYCHEX EIB     IN                     $          (3,611.04)    PREAUTHORIZED ACH DEBIT    Ach    PAYCHEX EIB     INVOICE    180322      X75512900001318
221172186                         Checking         JPI Payroll - 1752                 3/16/2018   PAYCHEX-HRS HR                         $          (3,528.06)    PREAUTHORIZED ACH DEBIT    Ach    PAYCHEX-HRS HRS PMT         180316      27180033
Jay Peak Resort/Burke Mountain                   Case 1:16-cv-21301-DPG Document 487 Entered on FLSD Docket 08/10/2018 Page 65 of 168
Detailed Report on Vendor Payments                                 Average Currency Exchange Rate:            0.785
3/01/18 through 3/31/18
                                                                                                     CDN converted        original
Dept Name                                   Dept Category                                               to USD             USD              USD
Inventory/Prepaids/Receivables              Short-term Assets                                        $          -     $    1,161,828    $   1,161,828
Capital                                     Capital Expenditures (incl. tram upgrade)                $          -     $      532,998    $     532,998
Debt/Liabilities/Deferreds/Taxes            Short-term Liabilities                                   $          -     $      194,614    $     194,614
Investor                                    Equity                                                   $          -     $          -      $         -
Administration                              S, G & A                                                 $          -     $        4,755    $       4,755
Accounting                                  S, G & A                                                 $          -     $      338,574    $     338,574
Information Systems                         S, G & A                                                 $          -     $       14,176    $      14,176
Telephone                                   General Operations                                       $          -     $       10,211    $      10,211
Human Resources                             S, G & A                                                 $          -     $       29,067    $      29,067
Risk Management                             S, G & A                                                 $          -     $        1,474    $       1,474
Administration - Food Service               Food & Beverage                                          $          -     $          -      $         -
Vending                                     Food & Beverage                                          $          -     $          -      $         -
Tram cafeteria                              Food & Beverage                                          $          -     $          -      $         -
International Restaurant                    Food & Beverage                                          $          -     $          -      $         -
Sky Haus                                    Food & Beverage                                          $          -     $          -      $         -
Golf Clubhouse Restaurant                   Food & Beverage                                          $          -     $       58,082    $      58,082
The Foundry Pub & Grille                    Food & Beverage                                          $          -     $      496,289    $     496,289
Buddy's Mug                                 Food & Beverage                                          $          -     $          -      $         -
The Warming Shelter                         Food & Beverage                                          $          -     $        4,974    $       4,974
Mountain Dick's Pizza                       Food & Beverage                                          $          -     $          -      $         -
The Drink                                   Food & Beverage                                          $          -     $          -      $         -
MLC F&B                                     Food & Beverage                                          $          -     $          -      $         -
Stateside Daylodge - Cafeteria & Bar        Food & Beverage                                          $          -     $          827    $         827
Stateside Hotel - Howie's Restaurant        Food & Beverage                                          $          -     $          -      $         -
Recreation Ctr F&B                          Food & Beverage                                          $          -     $          -      $         -
Jay Peak Provisions                         Food & Beverage                                          $          -     $       20,558    $      20,558
Conference Services                         Food & Beverage                                          $          -     $      203,601    $     203,601
Condo Rental Mgt.                           Hotel & Lodging                                          $          -     $       27,913    $      27,913
Taiga Fitness & Spa                         Other Mountain Activities                                $          -     $          364    $         364
Unsold condo rental                         Hotel & Lodging                                          $          -     $          -      $         -
Aroma Coffee Shop                           Food & Beverage                                          $          -     $          -      $         -
Tram Haus Lodge Rest & Bar                  Food & Beverage                                          $          -     $       11,803    $      11,803
Tram Haus Lodge                             Hotel & Lodging                                          $          -     $       18,760    $      18,760
Lodging Reservation                         Hotel & Lodging                                          $          -     $        9,805    $       9,805
Golf Clubhouse Lodging                      Hotel & Lodging                                          $          -     $          -      $         -
Hotel Jay - Front Desk                      Hotel & Lodging                                          $          -     $        3,110    $       3,110
Penthouse Suites                            Hotel & Lodging                                          $          -     $          -      $         -
Golf & Mountain Suites                      Hotel & Lodging                                          $          -     $        2,032    $       2,032
Lodge & Townhouses                          Hotel & Lodging                                          $          -     $          -      $         -
Stateside Hotel - Front Desk                Hotel & Lodging                                          $          -     $          -      $         -
Stateside Cottages                          Hotel & Lodging                                          $          -     $          -      $         -
Ice Rink                                    Other Mountain Activities                                $          -     $        3,849    $       3,849
Ice Rink Snack Bar                          Food & Beverage                                          $          -     $          -      $         -
Condo Assoc. - Mountain Side                Condo Associations                                       $          -     $          -      $         -
Condo Assoc. - Trail Side                   Condo Associations                                       $          -     $          -      $         -
Condo Assoc. - Stoney Path                  Condo Associations                                       $          -     $          -      $         -
Condo Assoc. - Slopeside I                  Condo Associations                                       $          -     $          -      $         -
Condo Assoc. - Slopeside II                 Condo Associations                                       $          -     $          -      $         -
Condo Assoc. - Village Association          Condo Associations                                       $          -     $          -      $         -
Transfer Condo Assoc.                       Condo Associations                                       $          -     $          -      $         -
Condo Assoc. - General Fees                 Condo Associations                                       $          -     $          -      $         -
Admin. Mtn Operations                       Skiing Operations                                        $          -     $       13,239    $      13,239
Lift Maintenance                            Skiing Operations                                        $          -     $       12,962    $      12,962
Snowmaking                                  Skiing Operations                                        $          -     $      141,429    $     141,429
Grooming                                    Skiing Operations                                        $          -     $        7,353    $       7,353
Vehicle & Equip. Maint.                     General Operations                                       $          -     $       13,354    $      13,354
Electrical                                  General Operations                                       $          -     $      308,029    $     308,029
Hotel Jay - Building Maint./Engin.          Hotel & Lodging                                          $          -     $       15,578    $      15,578
Roads & Parking                             General Operations                                       $          -     $        6,313    $       6,313
Building Maintenance                        General Operations                                       $          -     $       16,669    $      16,669
Grounds                                     General Operations                                       $          -     $        6,612    $       6,612
Water & Sewer System                        General Operations                                       $          -     $        9,296    $       9,296
Stateside Hotel - Building Maint./Engin.    Hotel & Lodging                                          $          -     $       17,487    $      17,487
Tram Haus - Building Maint./Engin.          Hotel & Lodging                                          $          -     $        3,760    $       3,760
Laundry Operations                          Hotel & Lodging                                          $          -     $          -      $         -
Housekeeping - Stateside Hotel              Hotel & Lodging                                          $          -     $        1,333    $       1,333
Housekeeping - Hotel Jay                    Hotel & Lodging                                          $          -     $          -      $         -
Janitorial                                  Hotel & Lodging                                          $          -     $          664    $         664
Security                                    General Operations                                       $          -     $          -      $         -
Shuttles                                    General Operations                                       $          -     $          428    $         428
Storm Crew (Storm Water + Snow Shoveling)   General Operations                                       $          -     $          -      $         -
Ambassadors/Greeters                        General Operations                                       $          -     $          -      $         -
Lift Operations                             Skiing Operations                                        $          -     $          -      $         -
Parking Attendant                           General Operations                                       $          -     $          602    $         602
Customer Service                            Skiing Operations                                        $          -     $          -      $         -
Ticket Selling                              Skiing Operations                                        $          -     $       36,660    $      36,660
Special Events                              S, G & A                                                 $          -     $        7,123    $       7,123
Ski Patrol                                  Skiing Operations                                        $          -     $        1,012    $       1,012
Ski Club                                    Skiing Operations                                        $          -     $          -      $         -
Daycare Center                              Other Mountain Activities                                $          -     $            19   $           19
MLC Daycare Center                          Other Mountain Activities                                $          -     $          -      $         -
Pump House                                  Other Mountain Activities                                $          -     $       18,593    $      18,593
Lift sales                                  Skiing Operations                                        $          -     $          -      $         -
Golf Maintenance                            Summer Operations                                        $          -     $        5,089    $       5,089
Lockers                                     General Operations                                       $          -     $          -      $         -
Wedding Barn                                Other Mountain Activities                                $          -     $          -      $         -
Snowpark                                    Skiing Operations                                        $          -     $          228    $         228
Elevation 1851' Family Arcade Center        Other Mountain Activities                                $          -     $       10,925    $      10,925
Nordic Center                               Other Mountain Activities                                $          -     $          -      $         -
Fitness Center                              Other Mountain Activities                                $          -     $          -      $         -
MLC Summer Operations                       Summer Operations                                        $          -     $       12,247    $      12,247
Amphitheater                                Other Mountain Activities                                $          -     $        6,952    $       6,952
Rec Center                                  Other Mountain Activities                                $          -     $          -      $         -
Rec Fields                                  Other Mountain Activities                                $          -     $          -      $         -
Ski School                                  Ski School                                               $          -     $        2,684    $       2,684
MLC Ski School                              Ski School                                               $          -     $          -      $         -
Sales                                       S, G & A                                                 $          -     $       11,860    $      11,860
Marketing                                   S, G & A                                                 $       60,904   $      122,787    $     183,691
Administration - Retail                     Retail                                                   $          -     $          -      $         -
The Mountain Shop                           Retail                                                   $          -     $       12,390    $      12,390
Rentals                                     Ski Rental/Repair                                        $          -     $        3,452    $       3,452
Repairs                                     Ski Rental/Repair                                        $          -     $          -      $         -
Golf Pro Shop                               Summer Operations                                        $          -     $          888    $         888
The Wave                                    Retail                                                   $          -     $        4,198    $       4,198
MLC Rentals                                 Ski Rental/Repair                                        $          -     $          -      $         -
Stateside Daylodge - Retail - Gear Shop     Retail                                                   $          -     $        6,398    $       6,398
Stateside Daylodge - Rentals                Ski Rental/Repair                                        $          -     $          -      $         -
Construction & Development                  S, G & A                                                 $          -     $       14,114    $      14,114
Real Estate                                 S, G & A                                                 $          -     $          -      $         -
Antenna Lease Sky Haus                      General Operations                                       $          -     $       26,609    $      26,609
Non-Operating Items                         S, G & A                                                 $          -     $       23,814    $      23,814
EB-5 Items                                  S, G & A                                                 $          -     $          -      $         -
EBITDA Items                                S, G & A                                                 $          -     $        6,968    $       6,968
Tamarack Grill                              Food & Beverage                                          $          -     $        2,249    $       2,249
Mid-Burke Cafe'                             Food & Beverage                                          $          -     $          -      $         -
Bear’s Den Pub                              Food & Beverage                                          $          -     $          500    $         500
Trailside Patio                             Food & Beverage                                          $          -     $        4,701    $       4,701
Kingdom Cafe'                               Food & Beverage                                          $          -     $            92   $           92
Banquets & Catering                         Food & Beverage                                          $          -     $          -      $         -
Food & Beverage Events                      Food & Beverage                                          $          -     $          -      $         -
Willoughby's Restaurant                     Food & Beverage                                          $          -     $          -      $         -
The Gap Pub                                 Food & Beverage                                          $          -     $       30,046    $      30,046
Coffee Shop                                 Food & Beverage                                          $          -     $          -      $         -
Day Lodge Servery                           Food & Beverage                                          $          -     $          -      $         -
Hotel Banquets                              Food & Beverage                                          $          -     $          -      $         -
Hotel F&B Events                            Food & Beverage                                          $          -     $          -      $         -
Hotel Pre-Opening Costs                     Hotel & Lodging                                          $          -     $          404    $         404
Hotel Operations/Front Desk                 Hotel & Lodging                                          $          -     $        8,610    $       8,610
Hotel Building Maintenance                  Hotel & Lodging                                          $          -     $        9,643    $       9,643
Hotel Housekeeping                          Hotel & Lodging                                          $          -     $        3,127    $       3,127
Hotel Laundry Ops                           Hotel & Lodging                                          $          -     $          -      $         -
Hotel Janitorial                            Hotel & Lodging                                          $          -     $          -      $         -
Hotel Utilities                             Hotel & Lodging                                          $          -     $          -      $         -
Rental Operations - Campground              Hotel & Lodging                                          $          -     $          -      $         -
Mountain Operations                         Skiing Operations                                        $          -     $        1,201    $       1,201
Property Operations                         General Operations                                       $          -     $          -      $         -
Mountain Biking                             Summer Operations                                        $          -     $            19   $           19
Summer Programs                             Summer Operations                                        $          -     $          -      $         -
Retail                                      Retail                                                   $          -     $          -      $         -
Base Lodge Rentals                          Ski Rental/Repair                                        $          -     $          -      $         -
Vertical Drop Retail                        Retail                                                   $          -     $        1,538    $       1,538
Bear Essentials Retail                      Retail                                                   $          -     $          -      $         -
Arcade                                      Other Mountain Activities                                $          -     $          203    $         203
Hotel Ski Rental/Repair & Day Lockers       Ski Rental/Repair                                        $          -     $          -      $         -
AT&T Tower Lease                            General Operations                                       $          -     $          -      $         -
Fixed Expenses                              General Operations                                       $          -     $        1,001    $       1,001
Utilities                                   General Operations                                       $          -     $        2,599    $       2,599
Developer Land Sales                        S, G & A                                                 $          -     $          -      $         -
Management Company Fees                     S, G & A                                                 $          -     $          -      $         -
                                                                                                     $       60,904   $    4,125,713    $   4,186,616

Summary of Departmental Vendor Payments into Major Line of Business Categories

                                            Dept Category                                                                                   USD
                                            Short-term Assets                                                                           $   1,161,828
                                            Capital Expenditures (incl. tram upgrade)                                                   $     532,998
                                            Short-term Liabilities                                                                      $     194,614
                                            Equity                                                                                      $         -
                                            S, G & A                                                                                    $     635,614
                                            General Operations                                                                          $     401,723
                                            Food & Beverage                                                                             $     833,722
                                            Hotel & Lodging                                                                             $     122,226
                                            Other Mountain Activities                                                                   $      40,905
                                            Condo Associations                                                                          $         -
                                            Skiing Operations                                                                           $     214,083
                                            Summer Operations                                                                           $      18,243
                                            Ski School                                                                                  $       2,684
                                            Retail                                                                                      $      24,525
                                            Ski Rental/Repair                                                                           $       3,452
                                                                                                                                        $   4,186,616
Jay Peak Resort/Burke Mountain       Case 1:16-cv-21301-DPG Document 487 Entered on FLSD Docket 08/10/2018 Page 66 of 168
Detailed Report on Taxes Paid to IRS and Vermont Department of Taxes                                                Vermont Department of Taxes
3/01/18 through 3/31/18                                                                                             Internal Revenue Service

TRC Number Account Number     Account Type   Account Name                       Post Date   Reference               Amount              Description               Type   Text
221172186                     Checking       Burke Mountain Operating Company   3/26/2018   VTAX EFT DEPOSIT   AC   $    (20,694.41)    PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT ACH DEBIT    180326
221172186                     Checking       Burke Mountain Operating Company   3/26/2018   VTAX EFT DEPOSIT   AC   $    (55,955.49)    PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT ACH DEBIT    180326
221172186                     Checking       JPI Operating - 1736               3/26/2018   VTAX EFT DEPOSIT   AC   $   (519,427.93)    PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT ACH DEBIT    180326
221172186                     Checking       JPI Operating - 1736               3/26/2018   VTAX EFT DEPOSIT   AC   $   (127,764.62)    PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT ACH DEBIT    180326
221172186                     Checking       Phase II Checking - 0659           3/26/2018   VTAX EFT DEPOSIT   AC   $        (172.00)   PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT ACH DEBIT    180326
221172186                     Checking       Phase II Checking - 0659           3/26/2018   VTAX EFT DEPOSIT   AC   $    (54,712.53)    PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT ACH DEBIT    180326
221172186                     Checking       JPI Operating - 1736               3/9/2018    IRS       US            $      (3,009.93)   PREAUTHORIZED ACH DEBIT   Ach    IRS       USATAXPYMT     180309      270846873326876
Jay Peak Resort/Burke Mountain                  Case 1:16-cv-21301-DPG Document 487 Entered on FLSD Docket 08/10/2018 Page 67 of 168
Detailed Report on Fees paid to Merchant and Bank
3/01/18 through 3/31/18

TRC Number       Account Number       Account Type   Account Name                           Post Date   Reference             Additional Reference   Amount          Description               Type   Text
221172186                             Checking       Burke Mountain Operating Company       3/16/2018   0                                            $    (749.22)   ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY       FOR 02/18
221172186                             Checking       JPI Operating - 1736                   3/16/2018   0                                            $ (2,211.88)    ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY       FOR 02/18
221172186                             Checking       Phase II Checking - 0659               3/12/2018   0                                            $     (98.21)   ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY       FOR 02/18
221172186                             Checking       Mountain Road Management Company Inc   3/16/2018   0                                            $     (35.60)   ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY       FOR 02/18
221172186                             Checking       Burke Mountain Water Company Inc       3/16/2018   0                                            $     (33.88)   ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY       FOR 02/18
221172186                             Checking       Burke Mountain Operating Company       3/2/2018    AUTHNET GATEWAY BI                           $     (24.90)   PREAUTHORIZED ACH DEBIT   Ach    AUTHNET GATEWAY BILLING      180302      100733893
221172186                             Checking       JPI Operating - 1736                   3/2/2018    AUTHNET GATEWAY BI                           $    (547.20)   PREAUTHORIZED ACH DEBIT   Ach    AUTHNET GATEWAY BILLING      180302      100794228
221172186                             Checking       JPI Operating - 1736                   3/1/2018    EMBED USA LLC FI                             $    (395.00)   PREAUTHORIZED ACH DEBIT   Ach    EMBED USA LLC FIRST ACH    180301      6626484
221172186                             Checking       Burke Mountain Operating Company       3/1/2018    EMBED USA LLC FI                             $    (195.00)   PREAUTHORIZED ACH DEBIT   Ach    EMBED USA LLC FIRST ACH    180301      6628595
221172186                             Checking       Burke Mountain Operating Company       3/1/2018    HRTLAND PMT SYS TX                           $     (33.50)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES    180301      650000008624093
221172186                             Checking       Burke Mountain Operating Company       3/1/2018    HRTLAND PMT SYS TX                           $     (41.58)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES    180301      650000008836580
221172186                             Checking       JPI Operating - 1736                   3/1/2018    HRTLAND PMT SYS TX                           $     (20.63)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES    180301      650000009065528
221172186                             Checking       JPI Operating - 1736                   3/1/2018    HRTLAND PMT SYS TX                           $ (46,435.04)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES    180301      650000009073076
221172186                             Checking       JPI Operating - 1736                   3/1/2018    HRTLAND PMT SYS TX                           $ (54,459.47)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES    180301      650000009073126
221172186                             Checking       JPI Operating - 1736                   3/1/2018    HRTLAND PMT SYS TX                           $     (87.50)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES    180301      650000009073225
221172186                             Checking       Burke Mountain Operating Company       3/1/2018    HRTLAND PMT SYS TX                           $ (6,997.04)    PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES    180301      650000009220552
221172186                             Checking       Burke Mountain Operating Company       3/1/2018    HRTLAND PMT SYS TX                           $ (6,290.39)    PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES    180301      650000009411672
221172186                             Checking       Burke Mountain Operating Company       3/1/2018    HRTLAND PMT SYS TX                           $ (8,730.39)    PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES    180301      650000009411730
221172186                             Checking       JPI Operating - 1736                   3/1/2018    HRTLAND PMT SYS TX                           $ (15,232.06)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES    180301      650000009993059
221172186                             Checking       JPI Operating - 1736                   3/5/2018    HRTLAND PMT SYS TX                           $      (0.06)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES    180305      650000009065528
221172186                             Checking       JPI Operating - 1736                   3/6/2018    HRTLAND PMT SYS TX                           $      (0.05)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES    180306      650000009065528
221172186                             Checking       JPI Operating - 1736                   3/8/2018    HRTLAND PMT SYS TX                           $      (0.05)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES    180308      650000009065528
221172186                             Checking       JPI Operating - 1736                   3/14/2018   HRTLAND PMT SYS TX                           $      (0.03)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES    180314      650000009065528
221172186                             Checking       JPI Operating - 1736                   3/21/2018   HRTLAND PMT SYS TX                           $      (0.05)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES    180321      650000009065528
221172186                             Checking       JPI Operating - 1736                   3/26/2018   HRTLAND PMT SYS TX                           $      (0.06)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES    180326      650000009065528
221172186                             Checking       JPI Operating - 1736                   3/29/2018   HRTLAND PMT SYS TX                           $      (0.05)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES    180329      650000009065528
221172186                             Checking       JPI Operating - 1736                   3/2/2018    MERCHANT SERVICE ME                          $ (1,524.11)    PREAUTHORIZED ACH DEBIT   Ach    MERCHANT SERVICE MERCH FEE     180228      31713
221172186                             Checking       Burke Mountain Operating Company       3/2/2018    MERCHANT SERVICE ME                          $    (593.00)   PREAUTHORIZED ACH DEBIT   Ach    MERCHANT SERVICE MERCH FEE     180228      31820
221172186                             Checking       Burke Mountain Operating Company       3/29/2018   SHIFT4-DEBITS AC                             $     (85.73)   PREAUTHORIZED ACH DEBIT   Ach    SHIFT4-DEBITS ACH IMPORT    0000793344
221172186                             Checking       JPI Operating - 1736                   3/29/2018   SHIFT4-DEBITS AC                             $    (635.41)   PREAUTHORIZED ACH DEBIT   Ach    SHIFT4-DEBITS ACH IMPORT    0000793345
221172186                             Checking       JPI Operating - 1736                   3/6/2018    VANTIV_INTG_PYMT BI                          $    (107.85)   PREAUTHORIZED ACH DEBIT   Ach    VANTIV_INTG_PYMT BILLNG      8788430201279Jay Peak Resort - Token Machine
221172186                             Checking       JPI Operating - 1736                   3/6/2018    VANTIV_INTG_PYMT BI                          $    (926.47)   PREAUTHORIZED ACH DEBIT   Ach    VANTIV_INTG_PYMT BILLNG      Merch Bankcard 307442 Jay Peak Vermont
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Jay Peak Resort/Burke Mountain
Ending Cash Balance
                                                                                       * Rate: 0.78
                                                                      3/31/2018                    3/31/2018
                                                                       USD/CDN                        USD
                                                                      End of Day                   End of Day
Company          Bank         Account Name         Account Number    Cash Balance                 Cash Balance
08 - JPI         People's     General Account                           8,827,962.14                8,827,962.14
08 - JPI         People's     Payroll Account                                    -                           -
08 - JPI         People's     Money Market Acct                            21,047.21                   21,047.21
20 - JPHSP2      People's     General Account                             956,193.35                  956,193.35
20 - JPHSP2      People's     Money Market Acct                                  -                           -
380 - BMOC       People's     General Account                           1,075,375.77                1,075,375.77
380 - BMOC       People's     Savings Account                                    -                           -
381 - BMRM       People's     General Account                              88,174.37                   88,174.37
382 - BMWC       People's     General Account                              30,704.90                   30,704.90
08 - JPI         Desjardins   CDN Operating Acct                          435,613.85                  339,778.80 *
20 - JPHSP2      Desjardins   CDN Operating Acct                                 -                           -   *
                                                                    $ 11,435,071.59             $ 11,339,236.54

                  http://www.oanda.com/currency/converter/
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Jay Peak Resort/Burke Mountain
Cash Flow Statement
4/01/18 through 4/30/18


                                                                       USD
Beginning Cash Balance
    People's United Bank #                                  $              8,827,962
    People's United Bank #                                  $                    -
    People's United Bank #                                  $                 21,047
    People's United Bank #                                  $                956,193
    People's United Bank #                                  $                    -
    People's United Bank #                                  $              1,075,376
    People's United Bank #                                  $                    -
    People's United Bank #                                  $                 88,174
    People's United Bank #                                  $                 30,705
    Desjardins #                                            $                339,779
    Desjardins #                                            $                    -
                                                            $             11,339,236

Add Incoming:
    Receiver Funding
          Direct - Merrill Lynch Bank Accounts              $                     -
          Indirect - CitiBank Accounts                      $                     -
    Deposits from Operations                                $               5,477,309 A
                                                            $               5,477,309

Less Outgoing:
     Payroll & Benefits
           Jay Peak Resort                                  $              (2,002,624)
           Burke Mountain                                   $                (350,982)
     Vendor Payments
           Jay Peak Resort                                  $              (2,944,296) B
           Burke Mountain                                   $                (331,492) B
     Tax Payments
           Vermont Department of Taxes                      $                (800,600)
           Internal Revenue Service                         $                     -
     Merchant and Bank Fees                                 $                (139,249)
                                                            $              (6,569,243)

Ending Cash Balance
    People's United Bank #                                  $              7,728,976
    People's United Bank #                                  $                    -
    People's United Bank #                                  $                 21,051
    People's United Bank #                                  $                952,737
    People's United Bank #                                  $                    -
    People's United Bank #                                  $              1,084,922
    People's United Bank #                                  $                    -
    People's United Bank #                                  $                 84,932
    People's United Bank #                                  $                 30,436
    Desjardins #                                            $                344,248
    Desjardins #                                            $                    -
                                                            $             10,247,302


Note A:
Canadian transactions have been converted to US Dollars based upon the following methodology:
The Canadian portion of total resort deposits was calculated to be 11% for the report period. This
percentage was applied to all resort deposits at the average CDN to USD currency exchange rate of .78 for the
report period.


Note B:
Vendor payments pertain partially to goods and services received after April 13, 2016. In August of
2017, payments were also issued for outstanding invoices pertaining to goods and services recevied
prior to April 13, 2016.
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Jay Peak Resort/Burke Mountain
Beginning Cash Balance
                                                                                        * Rate: 0.78
                                                                       3/31/2018                   3/31/2018
                                                                        USD/CDN                       USD
                                                                       End of Day                  End of Day
Company          Bank         Account Name         Account Number     Cash Balance                Cash Balance
08 - JPI         People's     General Account                            8,827,962.14               8,827,962.14
08 - JPI         People's     Payroll Account                                     -                           -
08 - JPI         People's     Money Market Acct                             21,047.21                  21,047.21
20 - JPHSP2      People's     General Account                              956,193.35                 956,193.35
20 - JPHSP2      People's     Money Market Acct                                   -                           -
380 - BMOC       People's     General Account                            1,075,375.77               1,075,375.77
380 - BMOC       People's     Savings Account                                     -                           -
381 - BMRM       People's     General Account                               88,174.37                  88,174.37
382 - BMWC       People's     General Account                               30,704.90                  30,704.90
08 - JPI         Desjardins   CDN Operating Acct                           435,613.85                 339,778.80 *
20 - JPHSP2      Desjardins   CDN Operating Acct                                  -                           -  *
                                                                    $ 11,435,071.59             $ 11,339,236.54

                  http://www.oanda.com/currency/converter/
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Jay Peak Resort/Burke Mountain                Case 1:16-cv-21301-DPG Document 487 Entered on FLSD Docket 08/10/2018 Page 73 of 168
Detailed Report on Receiver Funding                                                                                Direct - Merrill Lynch/SunTrust Bank Accounts
4/01/18 through 4/30/18                                                                                            Indirect - CitiBank Accounts

TRC Number       Account Number       Account Type   Account Name   Post Date   Reference   Additional Reference   Amount                Description               Type   Text
Jay Peak Resort/Burke Mountain                   Case 1:16-cv-21301-DPG Document 487 Entered on FLSD Docket 08/10/2018 Page 74 of 168
Detailed Report on Resort Deposits                                 Average Currency Exchange Rate:             0.780
4/01/18 through 4/30/18
                                                                                                      CDN converted          original
Dept Name                                   Dept Category                                                to USD               USD               USD
Inventory/Prepaids/Receivables              Short-term Assets                                        $        30,515     $       325,321    $     355,836
Capital                                     Capital Expenditures (incl. tram upgrade)                $           837     $         8,927    $       9,764
Debt/Liabilities/Deferreds/Taxes            Short-term Liabilities                                   $        39,142     $       417,297    $     456,439
Investor                                    Equity                                                   $           -       $           -      $         -
Administration                              S, G & A                                                 $             57    $           619    $         677
Accounting                                  S, G & A                                                 $             14    $           152    $         166
Information Systems                         S, G & A                                                 $           -       $           -      $         -
Telephone                                   General Operations                                       $         5,827     $        62,118    $      67,945
Human Resources                             S, G & A                                                 $           -       $           -      $         -
Risk Management                             S, G & A                                                 $           -       $           -      $         -
Administration - Food Service               Food & Beverage                                          $           -       $           -      $         -
Vending                                     Food & Beverage                                          $           -       $           -      $         -
Tram cafeteria                              Food & Beverage                                          $         3,130     $        33,374    $      36,504
International Restaurant                    Food & Beverage                                          $           536     $         5,714    $       6,250
Sky Haus                                    Food & Beverage                                          $           800     $         8,529    $       9,329
Golf Clubhouse Restaurant                   Food & Beverage                                          $           996     $        10,614    $      11,610
The Foundry Pub & Grille                    Food & Beverage                                          $        17,553     $       187,138    $     204,692
Buddy's Mug                                 Food & Beverage                                          $           951     $        10,136    $      11,087
The Warming Shelter                         Food & Beverage                                          $         7,175     $        76,497    $      83,672
Mountain Dick's Pizza                       Food & Beverage                                          $         5,878     $        62,666    $      68,544
The Drink                                   Food & Beverage                                          $         6,047     $        64,463    $      70,509
MLC F&B                                     Food & Beverage                                          $           -       $           -      $         -
Stateside Daylodge - Cafeteria & Bar        Food & Beverage                                          $        10,031     $       106,944    $     116,976
Stateside Hotel - Howie's Restaurant        Food & Beverage                                          $         5,291     $        56,407    $      61,698
Recreation Ctr F&B                          Food & Beverage                                          $         1,016     $        10,828    $      11,843
Jay Peak Provisions                         Food & Beverage                                          $        18,507     $       197,305    $     215,812
Conference Services                         Food & Beverage                                          $         3,985     $        42,481    $      46,466
Condo Rental Mgt.                           Hotel & Lodging                                          $        (5,697)    $       (60,731)   $     (66,428)
Taiga Fitness & Spa                         Other Mountain Activities                                $         3,745     $        39,930    $      43,676
Unsold condo rental                         Hotel & Lodging                                          $           -       $           -      $         -
Aroma Coffee Shop                           Food & Beverage                                          $           528     $         5,625    $       6,152
Tram Haus Lodge Rest & Bar                  Food & Beverage                                          $        13,906     $       148,257    $     162,163
Tram Haus Lodge                             Hotel & Lodging                                          $        13,574     $       144,718    $     158,292
Lodging Reservation                         Hotel & Lodging                                          $        (6,641)    $       (70,795)   $     (77,436)
Golf Clubhouse Lodging                      Hotel & Lodging                                          $           466     $         4,966    $       5,432
Hotel Jay - Front Desk                      Hotel & Lodging                                          $        26,811     $       285,830    $     312,641
Penthouse Suites                            Hotel & Lodging                                          $        16,784     $       178,933    $     195,717
Golf & Mountain Suites                      Hotel & Lodging                                          $        10,283     $       109,632    $     119,915
Lodge & Townhouses                          Hotel & Lodging                                          $        11,803     $       125,835    $     137,639
Stateside Hotel - Front Desk                Hotel & Lodging                                          $         9,310     $        99,255    $     108,565
Stateside Cottages                          Hotel & Lodging                                          $         2,732     $        29,124    $      31,855
Ice Rink                                    Other Mountain Activities                                $         1,589     $        16,939    $      18,528
Ice Rink Snack Bar                          Food & Beverage                                          $           349     $         3,726    $       4,075
Condo Assoc. - Mountain Side                Condo Associations                                       $           -       $           -      $         -
Condo Assoc. - Trail Side                   Condo Associations                                       $           -       $           -      $         -
Condo Assoc. - Stoney Path                  Condo Associations                                       $           -       $           -      $         -
Condo Assoc. - Slopeside I                  Condo Associations                                       $           -       $           -      $         -
Condo Assoc. - Slopeside II                 Condo Associations                                       $           -       $           -      $         -
Condo Assoc. - Village Association          Condo Associations                                       $           -       $           -      $         -
Transfer Condo Assoc.                       Condo Associations                                       $           -       $           -      $         -
Condo Assoc. - General Fees                 Condo Associations                                       $           -       $           -      $         -
Admin. Mtn Operations                       Skiing Operations                                        $           -       $           -      $         -
Lift Maintenance                            Skiing Operations                                        $           -       $           -      $         -
Snowmaking                                  Skiing Operations                                        $           -       $           -      $         -
Grooming                                    Skiing Operations                                        $           -       $           -      $         -
Vehicle & Equip. Maint.                     General Operations                                       $           824     $         8,788    $       9,612
Electrical                                  General Operations                                       $           -       $           -      $         -
Hotel Jay - Building Maint./Engin.          Hotel & Lodging                                          $           -       $           -      $         -
Roads & Parking                             General Operations                                       $           -       $           -      $         -
Building Maintenance                        General Operations                                       $              2    $             19   $           21
Grounds                                     General Operations                                       $           -       $           -      $         -
Water & Sewer System                        General Operations                                       $           -       $           -      $         -
Stateside Hotel - Building Maint./Engin.    Hotel & Lodging                                          $           -       $           -      $         -
Tram Haus - Building Maint./Engin.          Hotel & Lodging                                          $           -       $           -      $         -
Laundry Operations                          Hotel & Lodging                                          $           -       $           -      $         -
Housekeeping - Stateside Hotel              Hotel & Lodging                                          $             16    $           170    $         186
Housekeeping - Hotel Jay                    Hotel & Lodging                                          $           112     $         1,196    $       1,308
Janitorial                                  Hotel & Lodging                                          $           -       $           -      $         -
Security                                    General Operations                                       $           -       $           -      $         -
Shuttles                                    General Operations                                       $         4,143     $        44,168    $      48,310
Storm Crew (Storm Water + Snow Shoveling)   General Operations                                       $           -       $           -      $         -
Ambassadors/Greeters                        General Operations                                       $           -       $           -      $         -
Lift Operations                             Skiing Operations                                        $           -       $           -      $         -
Parking Attendant                           General Operations                                       $           773     $         8,239    $       9,012
Customer Service                            Skiing Operations                                        $          (207)    $        (2,210)   $      (2,418)
Ticket Selling                              Skiing Operations                                        $             (7)   $           (78)   $         (85)
Special Events                              S, G & A                                                 $         4,320     $        46,054    $      50,374
Ski Patrol                                  Skiing Operations                                        $           -       $           -      $         -
Ski Club                                    Skiing Operations                                        $           -       $           -      $         -
Daycare Center                              Other Mountain Activities                                $         3,402     $        36,274    $      39,676
MLC Daycare Center                          Other Mountain Activities                                $           168     $         1,791    $       1,959
Pump House                                  Other Mountain Activities                                $        63,126     $       672,984    $     736,110
Lift sales                                  Skiing Operations                                        $        77,017     $       821,078    $     898,094
Golf Maintenance                            Summer Operations                                        $           -       $           -      $         -
Lockers                                     General Operations                                       $           -       $           -      $         -
Wedding Barn                                Other Mountain Activities                                $             84    $           893    $         976
Snowpark                                    Skiing Operations                                        $           -       $           -      $         -
Elevation 1851' Family Arcade Center        Other Mountain Activities                                $         5,848     $        62,348    $      68,196
Nordic Center                               Other Mountain Activities                                $           266     $         2,836    $       3,102
Fitness Center                              Other Mountain Activities                                $           -       $           -      $         -
MLC Summer Operations                       Summer Operations                                        $           -       $           -      $         -
Amphitheater                                Other Mountain Activities                                $         1,596     $        17,018    $      18,614
Rec Center                                  Other Mountain Activities                                $         5,314     $        56,654    $      61,968
Rec Fields                                  Other Mountain Activities                                $           -       $           -      $         -
Ski School                                  Ski School                                               $         9,890     $       105,436    $     115,326
MLC Ski School                              Ski School                                               $         1,526     $        16,274    $      17,800
Sales                                       S, G & A                                                 $              4    $             45   $           49
Marketing                                   S, G & A                                                 $          (350)    $        (3,735)   $      (4,086)
Administration - Retail                     Retail                                                   $              1    $             13   $           15
The Mountain Shop                           Retail                                                   $         2,126     $        22,670    $      24,797
Rentals                                     Ski Rental/Repair                                        $         5,660     $        60,340    $      66,000
Repairs                                     Ski Rental/Repair                                        $           417     $         4,441    $       4,857
Golf Pro Shop                               Summer Operations                                        $           -       $           -      $         -
The Wave                                    Retail                                                   $         1,981     $        21,114    $      23,095
MLC Rentals                                 Ski Rental/Repair                                        $           -       $           -      $         -
Stateside Daylodge - Retail - Gear Shop     Retail                                                   $         1,886     $        20,110    $      21,996
Stateside Daylodge - Rentals                Ski Rental/Repair                                        $         3,851     $        41,054    $      44,904
Construction & Development                  S, G & A                                                 $           -       $           -      $         -
Real Estate                                 S, G & A                                                 $           -       $           -      $         -
Antenna Lease Sky Haus                      General Operations                                       $           -       $           -      $         -
Non-Operating Items                         S, G & A                                                 $           848     $         9,040    $       9,888
EB-5 Items                                  S, G & A                                                 $           -       $           -      $         -
EBITDA Items                                S, G & A                                                 $           -       $           -      $         -
Tamarack Grill                              Food & Beverage                                          $           341     $         3,632    $       3,973
Mid-Burke Cafe'                             Food & Beverage                                          $           -       $           -      $         -
Bear’s Den Pub                              Food & Beverage                                          $         1,036     $        11,042    $      12,077
Trailside Patio                             Food & Beverage                                          $           -       $           -      $         -
Kingdom Cafe'                               Food & Beverage                                          $           591     $         6,296    $       6,887
Banquets & Catering                         Food & Beverage                                          $           -       $           -      $         -
Food & Beverage Events                      Food & Beverage                                          $           -       $           -      $         -
Willoughby's Restaurant                     Food & Beverage                                          $           -       $           -      $         -
The Gap Pub                                 Food & Beverage                                          $         5,270     $        56,182    $      61,451
Coffee Shop                                 Food & Beverage                                          $           307     $         3,275    $       3,582
Day Lodge Servery                           Food & Beverage                                          $           258     $         2,753    $       3,012
Hotel Banquets                              Food & Beverage                                          $         1,491     $        15,894    $      17,385
Hotel F&B Events                            Food & Beverage                                          $           -       $           -      $         -
Hotel Pre-Opening Costs                     Hotel & Lodging                                          $           -       $           -      $         -
Hotel Operations/Front Desk                 Hotel & Lodging                                          $         6,787     $        72,358    $      79,145
Hotel Building Maintenance                  Hotel & Lodging                                          $           -       $           -      $         -
Hotel Housekeeping                          Hotel & Lodging                                          $           -       $           -      $         -
Hotel Laundry Ops                           Hotel & Lodging                                          $           -       $           -      $         -
Hotel Janitorial                            Hotel & Lodging                                          $           -       $           -      $         -
Hotel Utilities                             Hotel & Lodging                                          $           -       $           -      $         -
Rental Operations - Campground              Hotel & Lodging                                          $           -       $           -      $         -
Mountain Operations                         Skiing Operations                                        $           -       $           -      $         -
Property Operations                         General Operations                                       $           -       $           -      $         -
Mountain Biking                             Summer Operations                                        $           -       $           -      $         -
Summer Programs                             Summer Operations                                        $              0    $              0   $            0
Retail                                      Retail                                                   $           263     $         2,799    $       3,062
Base Lodge Rentals                          Ski Rental/Repair                                        $           642     $         6,840    $       7,482
Vertical Drop Retail                        Retail                                                   $           163     $         1,738    $       1,901
Bear Essentials Retail                      Retail                                                   $           -       $           -      $         -
Arcade                                      Other Mountain Activities                                $             93    $           995    $       1,088
Hotel Ski Rental/Repair & Day Lockers       Ski Rental/Repair                                        $           -       $           -      $         -
AT&T Tower Lease                            General Operations                                       $           -       $           -      $         -
Fixed Expenses                              General Operations                                       $           -       $           -      $         -
Utilities                                   General Operations                                       $           -       $           -      $         -
Developer Land Sales                        S, G & A                                                 $           -       $           -      $         -
Management Company Fees                     S, G & A                                                 $           -       $           -      $         -
                                                                                                     $       469,710     $     5,007,600    $   5,477,309

Summary of Departmental Deposits into Major Line of Business Categories

                                            Dept Category                                                                                       USD
                                            Short-term Assets                                                                               $     355,836
                                            Capital Expenditures (incl. tram upgrade)                                                       $       9,764
                                            Short-term Liabilities                                                                          $     456,439
                                            Equity                                                                                          $         -
                                            S, G & A                                                                                        $      57,068
                                            General Operations                                                                              $     134,900
                                            Food & Beverage                                                                                 $   1,235,750
                                            Hotel & Lodging                                                                                 $   1,006,832
                                            Other Mountain Activities                                                                       $     993,894
                                            Condo Associations                                                                              $         -
                                            Skiing Operations                                                                               $     895,592
                                            Summer Operations                                                                               $           0
                                            Ski School                                                                                      $     133,127
                                            Retail                                                                                          $      74,865
                                            Ski Rental/Repair                                                                               $     123,243
                                                                                                                                            $   5,477,309
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Detailed Report on Payroll and Benefits Payments                                                                                       Jay Peak Resort Payroll
4/01/18 through 4/30/18                                                                                                                Burke Mountain Payroll

TRC Number    Account Number      Account Type     Account Name                       Post Date   Reference             Additional Reference
                                                                                                                                         Amount                  Description                Type   Text
221172186                         Checking         JPI Operating - 1736               4/3/2018    1.0004E+12                             $        (852,383.25)   OUTGOING WIRE TRANSFER            JAY PEAK PORTION
221172186                         Checking         JPI Operating - 1736               4/17/2018   1.00042E+12                            $        (834,243.65)   OUTGOING WIRE TRANSFER            JAY PEAK PORTION
221172186                         Checking         JPI Operating - 1736               4/12/2018   CIGNA EDGE TRANS CO                    $          (7,147.68)   PREAUTHORIZED ACH DEBIT    Ach    CIGNA EDGE TRANS COLLECTION       180412        601200077129 -- JAY PEAK PORTION
221172186                         Checking         JPI Operating - 1736               4/20/2018   CIGNA EDGE TRANS CO                    $        (108,683.83)   PREAUTHORIZED ACH DEBIT    Ach    CIGNA EDGE TRANS COLLECTION       180420        600800111692 -- JAY PEAK PORTION
221172186                         Checking         JPI Operating - 1736               4/16/2018   1.00042E+12                            $         (62,505.45)   OUTGOING WIRE TRANSFER            Catamount Qtrly Payment Q1 2018        -- JAY PEAK PORTION
221172186                         Checking         JPI Operating - 1736               4/9/2018    MEMIC Indemnity AC                     $         (52,764.91)   PREAUTHORIZED ACH DEBIT    Ach    MEMIC Indemnity ACHTRANS        180409        22827353
221172186                         Checking         JPI Operating - 1736               4/23/2018   MEMIC Indemnity AC                     $         (44,453.09)   PREAUTHORIZED ACH DEBIT    Ach    MEMIC Indemnity ACHTRANS        180423        23302233
221172186                         Checking         JPI Operating - 1736               4/5/2018    Voya Nat Trst182 SP                    $         (11,517.42)   PREAUTHORIZED ACH DEBIT    Ach    Voya Nat Trst182 SPNSR P/R    180405        811437 0001
221172186                         Checking         JPI Operating - 1736               4/20/2018   Voya Nat Trst182 SP                    $         (12,154.37)   PREAUTHORIZED ACH DEBIT    Ach    Voya Nat Trst182 SPNSR P/R    180420        811437 0001
221172186                         Checking         JPI Payroll - 1752                 4/2/2018    PAYCHEX - RCX PA                       $              89.97    PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX - RCX PAYROLL        180402        75516200003178X
221172186                         Checking         JPI Payroll - 1752                 4/2/2018    PAYCHEX - RCX PA                       $             651.18    PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX - RCX PAYROLL        180402        75657300000191X
221172186                         Checking         JPI Payroll - 1752                 4/30/2018   PAYCHEX - RCX PA                       $             265.82    PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX - RCX PAYROLL        180430        75909600003484X
221172186                         Checking         JPI Payroll - 1752                 4/30/2018   PAYCHEX - RCX PA                       $             217.77    PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX - RCX PAYROLL        180430        75909600003485X
221172186                         Checking         JPI Payroll - 1752                 4/12/2018   PAYCHEX TPS TA                         $               1.99    PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX TPS TAXES          180412       75814000001130X
221172186                         Checking         JPI Payroll - 1752                 4/17/2018   PAYCHEX-RCX PA                         $             721.15    PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX-RCX PAYROLL          180417        75873000001250X
221172186                         Checking         JPI Payroll - 1752                 4/20/2018   PAYCHEX-RCX PA                         $             838.12    PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX-RCX PAYROLL          180420        75936400000254X
221172186                         Checking         JPI Payroll - 1752                 4/4/2018    PAYCHEX CGS GA                         $          (5,001.62)   PREAUTHORIZED ACH DEBIT    Ach    PAYCHEX CGS GARNISH          180404        COL0077308113
221172186                         Checking         JPI Payroll - 1752                 4/18/2018   PAYCHEX CGS GA                         $          (4,741.13)   PREAUTHORIZED ACH DEBIT    Ach    PAYCHEX CGS GARNISH          180418        COL0077579947
221172186                         Checking         JPI Payroll - 1752                 4/5/2018    PAYCHEX EIB     IN                     $          (3,306.22)   PREAUTHORIZED ACH DEBIT    Ach    PAYCHEX EIB     INVOICE     180405       X75708600000791
221172186                         Checking         JPI Payroll - 1752                 4/19/2018   PAYCHEX EIB     IN                     $          (2,998.42)   PREAUTHORIZED ACH DEBIT    Ach    PAYCHEX EIB     INVOICE     180419       X75906700000639
221172186                         Checking         JPI Payroll - 1752                 4/13/2018   PAYCHEX-HRS HR                         $          (3,508.55)   PREAUTHORIZED ACH DEBIT    Ach    PAYCHEX-HRS HRS PMT          180413        27355790
221172186                         Checking         Burke Mountain Operating Company   4/9/2018    MEMIC Indemnity AC                     $         (12,730.01)   PREAUTHORIZED ACH DEBIT    Ach    MEMIC Indemnity ACHTRANS        180409        22826315
221172186                         Checking         Burke Mountain Operating Company   4/23/2018   MEMIC Indemnity AC                     $         (10,224.48)   PREAUTHORIZED ACH DEBIT    Ach    MEMIC Indemnity ACHTRANS        180423        23301141
221172186                         Checking         JPI Operating - 1736               4/3/2018    1.0004E+12                             $        (174,224.11)   OUTGOING WIRE TRANSFER            BURKE PORTION
221172186                         Checking         JPI Operating - 1736               4/17/2018   1.00042E+12                            $        (122,636.26)   OUTGOING WIRE TRANSFER            BURKE PORTION
221172186                         Checking         JPI Operating - 1736               4/12/2018   CIGNA EDGE TRANS CO                    $          (1,105.42)   PREAUTHORIZED ACH DEBIT    Ach    CIGNA EDGE TRANS COLLECTION       180412        601200077129 -- BURKE PORTION
221172186                         Checking         JPI Operating - 1736               4/20/2018   CIGNA EDGE TRANS CO                    $         (15,950.35)   PREAUTHORIZED ACH DEBIT    Ach    CIGNA EDGE TRANS COLLECTION       180420        600800111692 -- BURKE PORTION
221172186                         Checking         JPI Operating - 1736               4/16/2018   1.00042E+12                            $         (10,281.75)   OUTGOING WIRE TRANSFER            Catamount Qtrly Payment Q1 2018        -- BURKE PORTION
221172186                         Checking         JPI Operating - 1736               4/2/2018    BANCORPSV        BA                    $             (10.99)   PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               4/3/2018    BANCORPSV        BA                    $             (77.90)   PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               4/6/2018    BANCORPSV        BA                    $             (10.38)   PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               4/9/2018    BANCORPSV        BA                    $            (257.00)   PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               4/10/2018   BANCORPSV        BA                    $            (170.00)   PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               4/13/2018   BANCORPSV        BA                    $             (57.26)   PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               4/16/2018   BANCORPSV        BA                    $            (228.98)   PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               4/17/2018   BANCORPSV        BA                    $             (65.00)   PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               4/17/2018   BANCORPSV        BA                    $            (447.03)   PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               4/19/2018   BANCORPSV        BA                    $            (100.00)   PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               4/23/2018   BANCORPSV        BA                    $            (115.00)   PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               4/24/2018   BANCORPSV        BA                    $             (20.00)   PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               4/24/2018   BANCORPSV        BA                    $             (28.61)   PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               4/27/2018   BANCORPSV        BA                    $            (163.86)   PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               4/30/2018   BANCORPSV        BA                    $            (124.83)   PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               4/6/2018    DISCOVERY BENEFI CL                    $            (326.93)   PREAUTHORIZED ACH DEBIT    Ach    DISCOVERY BENEFI CLAIM FUND      180406         21194030194601
221172186                         Checking         JPI Operating - 1736               4/12/2018   DISCOVERY BENEFI CL                    $          (1,002.00)   PREAUTHORIZED ACH DEBIT    Ach    DISCOVERY BENEFI CLAIM FUND      180412         21194030194601
221172186                         Checking         JPI Operating - 1736               4/20/2018   DISCOVERY BENEFI CL                    $            (326.93)   PREAUTHORIZED ACH DEBIT    Ach    DISCOVERY BENEFI CLAIM FUND      180420         21194030194601
221172186                         Checking         JPI Operating - 1736               4/25/2018   DISCOVERY BENEFI DB                    $            (296.50)   PREAUTHORIZED ACH DEBIT    Ach    DISCOVERY BENEFI DBI Admin      180425
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Detailed Report on Vendor Payments                                 Average Currency Exchange Rate:            0.780
4/01/18 through 4/30/18
                                                                                                     CDN converted        original
Dept Name                                   Dept Category                                               to USD             USD              USD
Inventory/Prepaids/Receivables              Short-term Assets                                        $          -     $    1,309,148    $   1,309,148
Capital                                     Capital Expenditures (incl. tram upgrade)                $          -     $       48,715    $      48,715
Debt/Liabilities/Deferreds/Taxes            Short-term Liabilities                                   $          -     $       79,069    $      79,069
Investor                                    Equity                                                   $          -     $          -      $         -
Administration                              S, G & A                                                 $          -     $       12,389    $      12,389
Accounting                                  S, G & A                                                 $          -     $      321,131    $     321,131
Information Systems                         S, G & A                                                 $          -     $       14,100    $      14,100
Telephone                                   General Operations                                       $          -     $        7,995    $       7,995
Human Resources                             S, G & A                                                 $          -     $       14,988    $      14,988
Risk Management                             S, G & A                                                 $          -     $       30,829    $      30,829
Administration - Food Service               Food & Beverage                                          $          -     $       11,670    $      11,670
Vending                                     Food & Beverage                                          $          -     $          -      $         -
Tram cafeteria                              Food & Beverage                                          $          -     $        5,900    $       5,900
International Restaurant                    Food & Beverage                                          $          -     $          -      $         -
Sky Haus                                    Food & Beverage                                          $          -     $          -      $         -
Golf Clubhouse Restaurant                   Food & Beverage                                          $          -     $       17,688    $      17,688
The Foundry Pub & Grille                    Food & Beverage                                          $          -     $      207,678    $     207,678
Buddy's Mug                                 Food & Beverage                                          $          -     $          -      $         -
The Warming Shelter                         Food & Beverage                                          $          -     $        5,457    $       5,457
Mountain Dick's Pizza                       Food & Beverage                                          $          -     $          -      $         -
The Drink                                   Food & Beverage                                          $          -     $          -      $         -
MLC F&B                                     Food & Beverage                                          $          -     $          -      $         -
Stateside Daylodge - Cafeteria & Bar        Food & Beverage                                          $          -     $        1,050    $       1,050
Stateside Hotel - Howie's Restaurant        Food & Beverage                                          $          -     $          -      $         -
Recreation Ctr F&B                          Food & Beverage                                          $          -     $          -      $         -
Jay Peak Provisions                         Food & Beverage                                          $          -     $       23,908    $      23,908
Conference Services                         Food & Beverage                                          $          -     $      107,836    $     107,836
Condo Rental Mgt.                           Hotel & Lodging                                          $          -     $       17,686    $      17,686
Taiga Fitness & Spa                         Other Mountain Activities                                $          -     $          698    $         698
Unsold condo rental                         Hotel & Lodging                                          $          -     $          -      $         -
Aroma Coffee Shop                           Food & Beverage                                          $          -     $          -      $         -
Tram Haus Lodge Rest & Bar                  Food & Beverage                                          $          -     $        3,788    $       3,788
Tram Haus Lodge                             Hotel & Lodging                                          $          -     $       22,111    $      22,111
Lodging Reservation                         Hotel & Lodging                                          $          -     $        6,862    $       6,862
Golf Clubhouse Lodging                      Hotel & Lodging                                          $          -     $          -      $         -
Hotel Jay - Front Desk                      Hotel & Lodging                                          $          -     $        3,638    $       3,638
Penthouse Suites                            Hotel & Lodging                                          $          -     $          -      $         -
Golf & Mountain Suites                      Hotel & Lodging                                          $          -     $        3,164    $       3,164
Lodge & Townhouses                          Hotel & Lodging                                          $          -     $          -      $         -
Stateside Hotel - Front Desk                Hotel & Lodging                                          $          -     $          -      $         -
Stateside Cottages                          Hotel & Lodging                                          $          -     $          -      $         -
Ice Rink                                    Other Mountain Activities                                $          -     $        3,816    $       3,816
Ice Rink Snack Bar                          Food & Beverage                                          $          -     $          -      $         -
Condo Assoc. - Mountain Side                Condo Associations                                       $          -     $          -      $         -
Condo Assoc. - Trail Side                   Condo Associations                                       $          -     $          -      $         -
Condo Assoc. - Stoney Path                  Condo Associations                                       $          -     $          -      $         -
Condo Assoc. - Slopeside I                  Condo Associations                                       $          -     $          -      $         -
Condo Assoc. - Slopeside II                 Condo Associations                                       $          -     $          -      $         -
Condo Assoc. - Village Association          Condo Associations                                       $          -     $          484    $         484
Transfer Condo Assoc.                       Condo Associations                                       $          -     $          -      $         -
Condo Assoc. - General Fees                 Condo Associations                                       $          -     $          -      $         -
Admin. Mtn Operations                       Skiing Operations                                        $          -     $       13,858    $      13,858
Lift Maintenance                            Skiing Operations                                        $          -     $       24,708    $      24,708
Snowmaking                                  Skiing Operations                                        $          -     $       94,129    $      94,129
Grooming                                    Skiing Operations                                        $          -     $        4,931    $       4,931
Vehicle & Equip. Maint.                     General Operations                                       $          -     $       22,535    $      22,535
Electrical                                  General Operations                                       $          -     $      374,997    $     374,997
Hotel Jay - Building Maint./Engin.          Hotel & Lodging                                          $          -     $        9,004    $       9,004
Roads & Parking                             General Operations                                       $          -     $        2,041    $       2,041
Building Maintenance                        General Operations                                       $          -     $       21,652    $      21,652
Grounds                                     General Operations                                       $          -     $        2,478    $       2,478
Water & Sewer System                        General Operations                                       $          -     $       41,270    $      41,270
Stateside Hotel - Building Maint./Engin.    Hotel & Lodging                                          $          -     $        3,762    $       3,762
Tram Haus - Building Maint./Engin.          Hotel & Lodging                                          $          -     $        7,919    $       7,919
Laundry Operations                          Hotel & Lodging                                          $          -     $          382    $         382
Housekeeping - Stateside Hotel              Hotel & Lodging                                          $          -     $        4,085    $       4,085
Housekeeping - Hotel Jay                    Hotel & Lodging                                          $          -     $          -      $         -
Janitorial                                  Hotel & Lodging                                          $          -     $          -      $         -
Security                                    General Operations                                       $          -     $          242    $         242
Shuttles                                    General Operations                                       $          -     $          163    $         163
Storm Crew (Storm Water + Snow Shoveling)   General Operations                                       $          -     $          -      $         -
Ambassadors/Greeters                        General Operations                                       $          -     $          -      $         -
Lift Operations                             Skiing Operations                                        $          -     $          -      $         -
Parking Attendant                           General Operations                                       $          -     $          -      $         -
Customer Service                            Skiing Operations                                        $          -     $          -      $         -
Ticket Selling                              Skiing Operations                                        $          -     $        9,223    $       9,223
Special Events                              S, G & A                                                 $          -     $        4,721    $       4,721
Ski Patrol                                  Skiing Operations                                        $          -     $        1,518    $       1,518
Ski Club                                    Skiing Operations                                        $          -     $          -      $         -
Daycare Center                              Other Mountain Activities                                $          -     $          623    $         623
MLC Daycare Center                          Other Mountain Activities                                $          -     $          -      $         -
Pump House                                  Other Mountain Activities                                $          -     $       11,629    $      11,629
Lift sales                                  Skiing Operations                                        $          -     $          -      $         -
Golf Maintenance                            Summer Operations                                        $          -     $        1,433    $       1,433
Lockers                                     General Operations                                       $          -     $          -      $         -
Wedding Barn                                Other Mountain Activities                                $          -     $          -      $         -
Snowpark                                    Skiing Operations                                        $          -     $          950    $         950
Elevation 1851' Family Arcade Center        Other Mountain Activities                                $          -     $        4,947    $       4,947
Nordic Center                               Other Mountain Activities                                $          -     $          510    $         510
Fitness Center                              Other Mountain Activities                                $          -     $          -      $         -
MLC Summer Operations                       Summer Operations                                        $          -     $        7,621    $       7,621
Amphitheater                                Other Mountain Activities                                $          -     $       14,000    $      14,000
Rec Center                                  Other Mountain Activities                                $          -     $          -      $         -
Rec Fields                                  Other Mountain Activities                                $          -     $          -      $         -
Ski School                                  Ski School                                               $          -     $        6,240    $       6,240
MLC Ski School                              Ski School                                               $          -     $        4,800    $       4,800
Sales                                       S, G & A                                                 $          -     $        5,172    $       5,172
Marketing                                   S, G & A                                                 $       84,491   $       84,798    $     169,289
Administration - Retail                     Retail                                                   $          -     $          -      $         -
The Mountain Shop                           Retail                                                   $          -     $        2,094    $       2,094
Rentals                                     Ski Rental/Repair                                        $          -     $          -      $         -
Repairs                                     Ski Rental/Repair                                        $          -     $          -      $         -
Golf Pro Shop                               Summer Operations                                        $          -     $          -      $         -
The Wave                                    Retail                                                   $          -     $          113    $         113
MLC Rentals                                 Ski Rental/Repair                                        $          -     $          -      $         -
Stateside Daylodge - Retail - Gear Shop     Retail                                                   $          -     $        5,270    $       5,270
Stateside Daylodge - Rentals                Ski Rental/Repair                                        $          -     $          -      $         -
Construction & Development                  S, G & A                                                 $          -     $       17,279    $      17,279
Real Estate                                 S, G & A                                                 $          -     $          -      $         -
Antenna Lease Sky Haus                      General Operations                                       $          -     $       26,192    $      26,192
Non-Operating Items                         S, G & A                                                 $          -     $       44,332    $      44,332
EB-5 Items                                  S, G & A                                                 $          -     $          -      $         -
EBITDA Items                                S, G & A                                                 $          -     $        3,726    $       3,726
Tamarack Grill                              Food & Beverage                                          $          -     $        3,210    $       3,210
Mid-Burke Cafe'                             Food & Beverage                                          $          -     $          -      $         -
Bear’s Den Pub                              Food & Beverage                                          $          -     $          -      $         -
Trailside Patio                             Food & Beverage                                          $          -     $        2,305    $       2,305
Kingdom Cafe'                               Food & Beverage                                          $          -     $          128    $         128
Banquets & Catering                         Food & Beverage                                          $          -     $          -      $         -
Food & Beverage Events                      Food & Beverage                                          $          -     $          -      $         -
Willoughby's Restaurant                     Food & Beverage                                          $          -     $          -      $         -
The Gap Pub                                 Food & Beverage                                          $          -     $        8,214    $       8,214
Coffee Shop                                 Food & Beverage                                          $          -     $          -      $         -
Day Lodge Servery                           Food & Beverage                                          $          -     $          -      $         -
Hotel Banquets                              Food & Beverage                                          $          -     $          -      $         -
Hotel F&B Events                            Food & Beverage                                          $          -     $          -      $         -
Hotel Pre-Opening Costs                     Hotel & Lodging                                          $          -     $          764    $         764
Hotel Operations/Front Desk                 Hotel & Lodging                                          $          -     $        1,174    $       1,174
Hotel Building Maintenance                  Hotel & Lodging                                          $          -     $        1,063    $       1,063
Hotel Housekeeping                          Hotel & Lodging                                          $          -     $        3,161    $       3,161
Hotel Laundry Ops                           Hotel & Lodging                                          $          -     $          406    $         406
Hotel Janitorial                            Hotel & Lodging                                          $          -     $          -      $         -
Hotel Utilities                             Hotel & Lodging                                          $          -     $          -      $         -
Rental Operations - Campground              Hotel & Lodging                                          $          -     $          -      $         -
Mountain Operations                         Skiing Operations                                        $          -     $          389    $         389
Property Operations                         General Operations                                       $          -     $          -      $         -
Mountain Biking                             Summer Operations                                        $          -     $          -      $         -
Summer Programs                             Summer Operations                                        $          -     $          -      $         -
Retail                                      Retail                                                   $          -     $          -      $         -
Base Lodge Rentals                          Ski Rental/Repair                                        $          -     $          -      $         -
Vertical Drop Retail                        Retail                                                   $          -     $          -      $         -
Bear Essentials Retail                      Retail                                                   $          -     $          -      $         -
Arcade                                      Other Mountain Activities                                $          -     $            85   $           85
Hotel Ski Rental/Repair & Day Lockers       Ski Rental/Repair                                        $          -     $          -      $         -
AT&T Tower Lease                            General Operations                                       $          -     $          -      $         -
Fixed Expenses                              General Operations                                       $          -     $        1,235    $       1,235
Utilities                                   General Operations                                       $          -     $        2,016    $       2,016
Developer Land Sales                        S, G & A                                                 $          -     $          -      $         -
Management Company Fees                     S, G & A                                                 $          -     $          -      $         -
                                                                                                     $       84,491   $    3,191,297    $   3,275,788

Summary of Departmental Vendor Payments into Major Line of Business Categories

                                            Dept Category                                                                                   USD
                                            Short-term Assets                                                                           $   1,309,148
                                            Capital Expenditures (incl. tram upgrade)                                                   $      48,715
                                            Short-term Liabilities                                                                      $      79,069
                                            Equity                                                                                      $         -
                                            S, G & A                                                                                    $     637,956
                                            General Operations                                                                          $     502,816
                                            Food & Beverage                                                                             $     398,833
                                            Hotel & Lodging                                                                             $      85,181
                                            Other Mountain Activities                                                                   $      36,309
                                            Condo Associations                                                                          $         484
                                            Skiing Operations                                                                           $     149,706
                                            Summer Operations                                                                           $       9,054
                                            Ski School                                                                                  $      11,040
                                            Retail                                                                                      $       7,477
                                            Ski Rental/Repair                                                                           $         -
                                                                                                                                        $   3,275,788
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Detailed Report on Taxes Paid to IRS and Vermont Department of Taxes                                                Vermont Department of Taxes
4/01/18 through 4/30/18                                                                                             Internal Revenue Service

TRC Number Account Number     Account Type   Account Name                       Post Date   Reference               Amount             Description               Type   Text
221172186                     Checking       Burke Mountain Operating Company   4/25/2018   VTAX EFT DEPOSIT   AC   $    (17,404.64)   PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT   ACH DEBIT   180425
221172186                     Checking       Burke Mountain Operating Company   4/25/2018   VTAX EFT DEPOSIT   AC   $    (49,607.14)   PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT   ACH DEBIT   180425
221172186                     Checking       JPI Operating - 1736               4/25/2018   VTAX EFT DEPOSIT   AC   $   (553,334.19)   PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT   ACH DEBIT   180425
221172186                     Checking       JPI Operating - 1736               4/25/2018   VTAX EFT DEPOSIT   AC   $   (123,604.82)   PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT   ACH DEBIT   180425
221172186                     Checking       Phase II Checking - 0659           4/25/2018   VTAX EFT DEPOSIT   AC   $    (56,648.97)   PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT   ACH DEBIT   180425
Jay Peak Resort/Burke Mountain                  Case 1:16-cv-21301-DPG Document 487 Entered on FLSD Docket 08/10/2018 Page 78 of 168
Detailed Report on Fees paid to Merchant and Bank
4/01/18 through 4/30/18

TRC Number       Account Number       Account Type   Account Name                           Post Date   Reference             Additional Reference   Amount          Description               Type   Text
221172186                             Checking       Burke Mountain Operating Company       4/17/2018   0                                            $    (728.02)   ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY       FOR 03/18
221172186                             Checking       JPI Operating - 1736                   4/17/2018   0                                            $ (2,322.31)    ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY       FOR 03/18
221172186                             Checking       Phase II Checking - 0659               4/10/2018   0                                            $    (374.13)   ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY       FOR 03/18
221172186                             Checking       Mountain Road Management Company Inc   4/17/2018   0                                            $     (32.53)   ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY       FOR 03/18
221172186                             Checking       Burke Mountain Water Company Inc       4/17/2018   0                                            $     (31.03)   ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY       FOR 03/18
221172186                             Checking       JPI Operating - 1736                   4/3/2018    AUTHNET GATEWAY BI                           $    (482.65)   PREAUTHORIZED ACH DEBIT   Ach    AUTHNET GATEWAY BILLING      180403      101308766
221172186                             Checking       Burke Mountain Operating Company       4/3/2018    AUTHNET GATEWAY BI                           $     (26.25)   PREAUTHORIZED ACH DEBIT   Ach    AUTHNET GATEWAY BILLING      180403      101445751
221172186                             Checking       JPI Operating - 1736                   4/2/2018    EMBED USA LLC FI                             $    (395.00)   PREAUTHORIZED ACH DEBIT   Ach    EMBED USA LLC FIRST ACH    180402      6719823
221172186                             Checking       Burke Mountain Operating Company       4/2/2018    EMBED USA LLC FI                             $    (195.00)   PREAUTHORIZED ACH DEBIT   Ach    EMBED USA LLC FIRST ACH    180402      6722144
221172186                             Checking       Burke Mountain Operating Company       4/2/2018    HRTLAND PMT SYS TX                           $     (73.50)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES    180402      650000008624093
221172186                             Checking       Burke Mountain Operating Company       4/2/2018    HRTLAND PMT SYS TX                           $    (422.02)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES    180402      650000008836580
221172186                             Checking       JPI Operating - 1736                   4/2/2018    HRTLAND PMT SYS TX                           $     (20.63)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES    180402      650000009065528
221172186                             Checking       JPI Operating - 1736                   4/2/2018    HRTLAND PMT SYS TX                           $      (0.04)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES    180402      650000009065528
221172186                             Checking       JPI Operating - 1736                   4/2/2018    HRTLAND PMT SYS TX                           $ (39,309.91)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES    180402      650000009073076
221172186                             Checking       JPI Operating - 1736                   4/2/2018    HRTLAND PMT SYS TX                           $ (55,705.89)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES    180402      650000009073126
221172186                             Checking       JPI Operating - 1736                   4/2/2018    HRTLAND PMT SYS TX                           $     (70.91)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES    180402      650000009073225
221172186                             Checking       Burke Mountain Operating Company       4/2/2018    HRTLAND PMT SYS TX                           $ (5,704.74)    PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES    180402      650000009220552
221172186                             Checking       Burke Mountain Operating Company       4/2/2018    HRTLAND PMT SYS TX                           $ (5,580.97)    PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES    180402      650000009411672
221172186                             Checking       Burke Mountain Operating Company       4/2/2018    HRTLAND PMT SYS TX                           $ (8,606.19)    PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES    180402      650000009411730
221172186                             Checking       JPI Operating - 1736                   4/2/2018    HRTLAND PMT SYS TX                           $ (13,122.55)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES    180402      650000009993059
221172186                             Checking       JPI Operating - 1736                   4/3/2018    HRTLAND PMT SYS TX                           $      (0.11)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES    180403      650000009065528
221172186                             Checking       JPI Operating - 1736                   4/9/2018    HRTLAND PMT SYS TX                           $      (0.16)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES    180409      650000009065528
221172186                             Checking       JPI Operating - 1736                   4/12/2018   HRTLAND PMT SYS TX                           $      (0.06)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES    180412      650000009065528
221172186                             Checking       Burke Mountain Operating Company       4/18/2018   HRTLAND PMT SYS TX                           $      (5.00)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES    180418      650000008836580
221172186                             Checking       JPI Operating - 1736                   4/18/2018   HRTLAND PMT SYS TX                           $      (0.11)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES    180418      650000009065528
221172186                             Checking       JPI Operating - 1736                   4/20/2018   HRTLAND PMT SYS TX                           $      (0.05)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES    180420      650000009065528
221172186                             Checking       Burke Mountain Operating Company       4/20/2018   HRTLAND PMT SYS TX                           $    (260.60)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES    180420      650000009411730
221172186                             Checking       JPI Operating - 1736                   4/24/2018   HRTLAND PMT SYS TX                           $      (0.06)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES    180424      650000009065528
221172186                             Checking       JPI Operating - 1736                   4/27/2018   HRTLAND PMT SYS TX                           $      (0.05)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES    180427      650000009065528
221172186                             Checking       JPI Operating - 1736                   4/30/2018   HRTLAND PMT SYS TX                           $      (0.06)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES    180430      650000009065528
221172186                             Checking       JPI Operating - 1736                   4/2/2018    MERCHANT SERVICE ME                          $ (1,572.02)    PREAUTHORIZED ACH DEBIT   Ach    MERCHANT SERVICE MERCH FEE     180331      31713
221172186                             Checking       Burke Mountain Operating Company       4/2/2018    MERCHANT SERVICE ME                          $    (552.65)   PREAUTHORIZED ACH DEBIT   Ach    MERCHANT SERVICE MERCH FEE     180331      31820
221172186                             Checking       Burke Mountain Operating Company       4/25/2018   SHIFT4-DEBITS 04                             $    (104.45)   PREAUTHORIZED ACH DEBIT   Ach    SHIFT4-DEBITS 042518IMP    0000804989
221172186                             Checking       JPI Operating - 1736                   4/25/2018   SHIFT4-DEBITS 04                             $    (725.63)   PREAUTHORIZED ACH DEBIT   Ach    SHIFT4-DEBITS 042518IMP    0000804990
221172186                             Checking       JPI Operating - 1736                   4/6/2018    VANTIV_INTG_PYMT BI                          $    (107.85)   PREAUTHORIZED ACH DEBIT   Ach    VANTIV_INTG_PYMT BILLNG      8788430201279Jay Peak Resort - Token Machine
221172186                             Checking       JPI Operating - 1736                   4/6/2018    VANTIV_INTG_PYMT BI                          $ (1,341.58)    PREAUTHORIZED ACH DEBIT   Ach    VANTIV_INTG_PYMT BILLNG      Merch Bankcard 307442 Jay Peak Vermont
221172186                             Checking       JPI Operating - 1736                   4/2/2018    9.97E+14                                     $    (667.88)   BOOK TRANSFER DEBIT              REF 0920939L FUNDS TRANSFER TO DEP 6500670304 FROM            FOR REPLACEMENT CHECK TO J SOLDANO
221172186                             Checking       JPI Operating - 1736                   4/12/2018   TRANSFER TO DE                               $    (500.00)   MISCELLANEOUS DEBIT              TRANSFER TO DEPOSIT ACCOUNT 0019100316
221172186                             Checking       JPI Operating - 1736                   4/12/2018   TRANSFER TO DE                               $    (166.67)   MISCELLANEOUS DEBIT              TRANSFER TO DEPOSIT ACCOUNT 0019100316
221172186                             Checking       JPI Operating - 1736                   4/2/2018    1.00E+12                                     $     (39.45)   OUTGOING WIRE TRANSFER
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Jay Peak Resort/Burke Mountain
Ending Cash Balance
                                                                                       * Rate: 0.78
                                                                      4/30/2018                  4/30/2018
                                                                       USD/CDN                      USD
                                                                      End of Day                 End of Day
Company          Bank         Account Name         Account Number    Cash Balance               Cash Balance
08 - JPI         People's     General Account           1736            7,728,975.96               7,728,975.96
08 - JPI         People's     Payroll Account           1752                     -                          -
08 - JPI         People's     Money Market Acct         7175               21,050.78                  21,050.78
20 - JPHSP2      People's     General Account           0659              952,737.28                 952,737.28
20 - JPHSP2      People's     Money Market Acct         0667                     -                          -
380 - BMOC       People's     General Account                           1,084,921.90               1,084,921.90
380 - BMOC       People's     Savings Account                                    -                          -
381 - BMRM       People's     General Account                              84,931.91                  84,931.91
382 - BMWC       People's     General Account                              30,436.39                  30,436.39
08 - JPI         Desjardins   CDN Operating Acct                          441,344.16                 344,248.44 *
20 - JPHSP2      Desjardins   CDN Operating Acct                                 -                          -   *
                                                                    $ 10,344,398.38            $ 10,247,302.66

                  http://www.oanda.com/currency/converter/
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Jay Peak Resort/Burke Mountain
Cash Flow Statement
05/01/17 through 05/31/17


                                                                 USD
Beginning Cash Balance
    People's United Bank #       1736                  $             8,030,658
    People's United Bank #       1752                  $                   -
    People's United Bank #       7175                  $                21,018
    People's United Bank #       0659                  $               477,339
    People's United Bank #       0667                  $                   -
    People's United Bank #                             $             1,819,247
    People's United Bank #                             $                   -
    People's United Bank #                             $                57,867
    People's United Bank #                             $                10,993
    Desjardins #                                       $                95,403
    Desjardins #                                       $                27,125
                                                       $            10,539,650

Add Incoming:
    Receiver Funding
          Direct - Merrill Lynch Bank Accounts         $                   -
          Indirect - CitiBank Accounts                 $                   -
    Deposits from Operations                           $             1,951,763 A
                                                       $             1,951,763

Less Outgoing:
     Payroll & Benefits
           Jay Peak Resort                             $            (1,758,654)
           Burke Mountain                              $              (265,225)
     Vendor Payments
           Jay Peak Resort                             $            (1,900,634) B
           Burke Mountain                              $              (294,211) B
     Tax Payments
           Vermont Department of Taxes                 $              (387,757)
           Internal Revenue Service                    $                   -
     Merchant and Bank Fees                            $               (91,684)
                                                       $            (4,698,165)

Ending Cash Balance
    People's United Bank #       1736                  $             5,298,028
    People's United Bank #       1752                  $                   -
    People's United Bank #       7175                  $                21,021
    People's United Bank #       0659                  $               448,611
    People's United Bank #       0667                  $                   -
    People's United Bank #                             $             1,857,241
    People's United Bank #                             $                   -
    People's United Bank #                             $                63,417
    People's United Bank #                             $                14,706
    Desjardins #                                       $                62,719
    Desjardins #                                       $                27,505
                                                       $             7,793,248


Note A:
Canadian transactions have been converted to US Dollars based upon the following methodology:
The Canadian portion of total resort deposits was calculated to be 11% for the report period. This
percentage was applied to all resort deposits at the average CDN to USD currency exchange rate of
.74 for the report period.


Note B:
Vendor payments pertain primarily to goods and services received after April 13, 2016.
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Jay Peak Resort/Burke Mountain
Beginning Cash Balance
                                                                                       * Rate: 0.73
                                                                       4/30/2017                   4/30/2017
                                                                        USD/CDN                        USD
                                                                       End of Day                  End of Day
Company          Bank         Account Name         Account Number     Cash Balance                Cash Balance
08 - JPI         People's     General Account           1736            8,030,658.05                8,030,658.05
08 - JPI         People's     Payroll Account           1752                     -                           -
08 - JPI         People's     Money Market Acct         7175               21,018.14                   21,018.14
20 - JPHSP2      People's     General Account           0659              477,339.04                  477,339.04
20 - JPHSP2      People's     Money Market Acct         0667                     -                           -
380 - BMOC       People's     General Account                           1,819,246.61                1,819,246.61
380 - BMOC       People's     Savings Account                                    -                           -
381 - BMRM       People's     General Account                              57,866.64                   57,866.64
382 - BMWC       People's     General Account                              10,992.95                   10,992.95
08 - JPI         Desjardins   CDN Operating Acct                          130,688.62                   95,402.69 *
20 - JPHSP2      Desjardins   CDN Operating Acct                           37,157.07                   27,124.66 *
                                                                    $ 10,584,967.12             $ 10,539,648.78

                  http://www.oanda.com/currency/converter/
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Jay Peak Resort/Burke Mountain        Case 1:16-cv-21301-DPG Document 487 Entered on FLSD Docket 08/10/2018 Page 84 of 168
Detailed Report on Receiver Funding                                                                                                 Direct - Merrill Lynch/SunTrust Bank Accounts
05/01/17 through 05/31/17                                                                                                           Indirect - CitiBank Accounts

TRC Number                              Account Number   Account Type Account Name   Post Date   Reference   Additional Reference   Amount                Description               Type   Text
Jay Peak Resort/Burke Mountain                  Case 1:16-cv-21301-DPG Document 487 Entered on FLSD Docket 08/10/2018 Page 85 of 168
Detailed Report on Resort Deposits                                   Average Currency Exchange Rate:               0.74
05/01/17 through 05/31/17
                                                                                                        CDN converted          original
Dept Name                                     Dept Category                                                to USD               USD                USD
Inventory/Prepaids/Receivables                Short-term Assets                                        $        96,235     $     1,034,547     $   1,130,782
Capital                                       Capital Expenditures (incl. tram upgrade)                $           -       $           -       $         -
Debt/Liabilities/Deferreds/Taxes              Short-term Liabilities                                   $        11,873     $       127,634     $     139,507
Investor                                      Equity                                                   $           -       $           -       $         -
Administration                                S, G & A                                                 $            42     $           453     $         495
Accounting                                    S, G & A                                                 $             (1)   $             (8)   $           (9)
Information Systems                           S, G & A                                                 $           -       $           -       $         -
Telephone                                     General Operations                                       $         2,698     $        29,000     $      31,697
Human Resources                               S, G & A                                                 $           -       $           -       $         -
Risk Management                               S, G & A                                                 $           -       $           -       $         -
Administration - Food Service                 Food & Beverage                                          $           -       $           -       $         -
Vending                                       Food & Beverage                                          $            75     $           802     $         876
Tram cafeteria                                Food & Beverage                                          $           -       $           -       $         -
International Restaurant                      Food & Beverage                                          $         1,346     $        14,467     $      15,812
Sky Haus                                      Food & Beverage                                          $           -       $           -       $         -
Golf Clubhouse Restaurant                     Food & Beverage                                          $           996     $        10,706     $      11,702
The Foundry Pub & Grille                      Food & Beverage                                          $         4,071     $        43,762     $      47,833
Buddy's Mug                                   Food & Beverage                                          $           -       $           -       $         -
The Warming Shelter                           Food & Beverage                                          $         1,000     $        10,745     $      11,745
Mountain Dick's Pizza                         Food & Beverage                                          $         1,018     $        10,941     $      11,959
The Drink                                     Food & Beverage                                          $           624     $         6,704     $       7,327
MLC F&B                                       Food & Beverage                                          $           -       $           -       $         -
Stateside Daylodge - Cafeteria & Bar          Food & Beverage                                          $            23     $           251     $         275
Stateside Hotel - Howie's Restaurant          Food & Beverage                                          $           306     $         3,293     $       3,600
Jay Peak Provisions                           Food & Beverage                                          $         4,052     $        43,556     $      47,608
Conference Services                           Food & Beverage                                          $         4,628     $        49,754     $      54,382
Condo Rental Mgt.                             Hotel & Lodging                                          $        (9,619)    $      (103,404)    $    (113,023)
Taiga Fitness & Spa                           Other Mountain Activities                                $           751     $         8,073     $       8,824
Unsold condo rental                           Hotel & Lodging                                          $           -       $           -       $         -
Aroma Coffee Shop                             Food & Beverage                                          $           -       $           -       $         -
Tram Haus Lodge Rest & Bar                    Food & Beverage                                          $           888     $         9,551     $      10,439
Tram Haus Lodge                               Hotel & Lodging                                          $            19     $           208     $         227
Lodging Reservation                           Hotel & Lodging                                          $        (3,991)    $       (42,902)    $     (46,892)
Golf Clubhouse Lodging                        Hotel & Lodging                                          $           126     $         1,358     $       1,484
Hotel Jay - Front Desk                        Hotel & Lodging                                          $         7,031     $        75,586     $      82,617
Penthouse Suites                              Hotel & Lodging                                          $         2,890     $        31,063     $      33,953
Golf & Mountain Suites                        Hotel & Lodging                                          $         4,320     $        46,444     $      50,765
Lodge & Townhouses                            Hotel & Lodging                                          $         3,301     $        35,481     $      38,782
Stateside Hotel - Front Desk                  Hotel & Lodging                                          $         2,297     $        24,688     $      26,985
Ice Rink                                      Other Mountain Activities                                $         1,223     $        13,143     $      14,365
Ice Rink Snack Bar                            Food & Beverage                                          $           532     $         5,715     $       6,246
Condo Assoc. - Mountain Side                  Condo Associations                                       $            82     $           883     $         965
Condo Assoc. - Trail Side                     Condo Associations                                       $            57     $           612     $         669
Condo Assoc. - Stoney Path                    Condo Associations                                       $            55     $           591     $         646
Condo Assoc. - Slopeside I                    Condo Associations                                       $           112     $         1,208     $       1,321
Condo Assoc. - Slopeside II                   Condo Associations                                       $           223     $         2,398     $       2,622
Condo Assoc. - Village Association            Condo Associations                                       $         1,794     $        19,289     $      21,083
Transfer Condo Assoc.                         Condo Associations                                       $           -       $           -       $         -
Condo Assoc. - General Fees                   Condo Associations                                       $           -       $           -       $         -
Admin. Mtn Operations                         Skiing Operations                                        $           -       $           -       $         -
Lift Maintenance                              Skiing Operations                                        $           -       $           -       $         -
Snowmaking                                    Skiing Operations                                        $           -       $           -       $         -
Grooming                                      Skiing Operations                                        $           -       $           -       $         -
Vehicle & Equip. Maint.                       General Operations                                       $           -       $           -       $         -
Electrical                                    General Operations                                       $           -       $           -       $         -
Hotel Jay - Building Maint./Engin.            Hotel & Lodging                                          $           -       $           -       $         -
Roads & Parking                               General Operations                                       $           -       $           -       $         -
Building Maintenance                          General Operations                                       $              1    $            14     $          15
Grounds                                       General Operations                                       $            82     $           881     $         962
Water & Sewer System                          General Operations                                       $           -       $           -       $         -
Stateside Hotel - Building Maint./Engin.      Hotel & Lodging                                          $           -       $           -       $         -
Tram Haus - Building Maint./Engin.            Hotel & Lodging                                          $           -       $           -       $         -
Laundry Operations                            Hotel & Lodging                                          $           -       $           -       $         -
Housekeeping - Stateside Hotel                Hotel & Lodging                                          $              3    $            36     $          39
Housekeeping - Hotel Jay                      Hotel & Lodging                                          $           102     $         1,092     $       1,193
Janitorial                                    Hotel & Lodging                                          $           -       $           -       $         -
Security                                      General Operations                                       $            10     $           107     $         116
Shuttles                                      General Operations                                       $         1,023     $        10,993     $      12,016
Storm Crew (Storm Water + Snow Shoveling)     General Operations                                       $           -       $           -       $         -
Ambassadors/Greeters                          General Operations                                       $           -       $           -       $         -
Lift Operations                               Skiing Operations                                        $           -       $           -       $         -
Parking Attendant                             General Operations                                       $           187     $         2,009     $       2,196
Customer Service                              Skiing Operations                                        $              8    $            85     $          93
Ticket Selling                                Skiing Operations                                        $           -       $           -       $         -
Special Events                                S, G & A                                                 $         3,250     $        34,936     $      38,185
Ski Patrol                                    Skiing Operations                                        $           -       $           -       $         -
Ski Club                                      Skiing Operations                                        $           -       $           -       $         -
Daycare Center                                Other Mountain Activities                                $           992     $        10,660     $      11,651
MLC Daycare Center                            Other Mountain Activities                                $              9    $            91     $         100
Pump House                                    Other Mountain Activities                                $         7,072     $        76,027     $      83,099
Lift sales                                    Skiing Operations                                        $          (335)    $        (3,600)    $      (3,935)
Golf Maintenance                              Summer Operations                                        $           -       $           -       $         -
Lockers                                       General Operations                                       $           -       $           -       $         -
Wedding Barn                                  Other Mountain Activities                                $           -       $           -       $         -
Snowpark                                      Skiing Operations                                        $           -       $           -       $         -
Elevation 1851' Family Arcade Center          Other Mountain Activities                                $           695     $         7,470     $       8,165
Nordic Center                                 Other Mountain Activities                                $            54     $           585     $         639
Fitness Center                                Other Mountain Activities                                $           -       $           -       $         -
MLC Summer Operations                         Summer Operations                                        $             (9)   $           (93)    $        (102)
Amphitheater                                  Other Mountain Activities                                $           -       $           -       $         -
Ski School                                    Ski School                                               $            50     $           533     $         582
MLC Ski School                                Ski School                                               $           -       $           -       $         -
Sales                                         S, G & A                                                 $           108     $         1,159     $       1,267
Marketing                                     S, G & A                                                 $           (10)    $          (107)    $        (116)
Administration - Retail                       Retail                                                   $            83     $           894     $         977
The Mountain Shop                             Retail                                                   $            89     $           955     $       1,044
Rentals                                       Ski Rental/Repair                                        $           (10)    $          (105)    $        (114)
Repairs                                       Ski Rental/Repair                                        $           -       $           -       $         -
Golf Pro Shop                                 Summer Operations                                        $         1,170     $        12,577     $      13,747
The Wave                                      Retail                                                   $           185     $         1,993     $       2,178
MLC Rentals                                   Ski Rental/Repair                                        $           -       $           -       $         -
Stateside Daylodge - Retail - Gear Shop       Retail                                                   $              0    $              3    $            4
Stateside Daylodge - Rentals                  Ski Rental/Repair                                        $             (4)   $           (47)    $         (52)
Construction & Development                    S, G & A                                                 $           -       $           -       $         -
Real Estate                                   S, G & A                                                 $           -       $           -       $         -
Antenna Lease Sky Haus                        General Operations                                       $           -       $           -       $         -
Non-Operating Items                           S, G & A                                                 $        (1,358)    $       (14,595)    $     (15,953)
EB-5 Items                                    S, G & A                                                 $           -       $           -       $         -
EBITDA Items                                  S, G & A                                                 $           -       $           -       $         -
Tamarack Grill                                Food & Beverage                                          $           -       $           -       $         -
Mid-Burke Cafe'                               Food & Beverage                                          $           -       $           -       $         -
Bear’s Den Pub                                Food & Beverage                                          $           -       $           -       $         -
Trailside Patio                               Food & Beverage                                          $           -       $           -       $         -
Kingdom Cafe'                                 Food & Beverage                                          $            45     $           484     $         529
Banquets & Catering                           Food & Beverage                                          $           -       $           -       $         -
Food & Beverage Events                        Food & Beverage                                          $           -       $           -       $         -
Willoughby's Restaurant                       Food & Beverage                                          $           -       $           -       $         -
The Gap Pub                                   Food & Beverage                                          $         3,047     $        32,755     $      35,802
Coffee Shop                                   Food & Beverage                                          $           111     $         1,192     $       1,303
Day Lodge Servery                             Food & Beverage                                          $           -       $           -       $         -
Hotel Banquets                                Food & Beverage                                          $         1,686     $        18,123     $      19,808
Hotel F&B Events                              Food & Beverage                                          $           -       $           -       $         -
Hotel Pre-Opening Costs                       Hotel & Lodging                                          $           -       $           -       $         -
Hotel Operations/Front Desk                   Hotel & Lodging                                          $         5,554     $        59,711     $      65,265
Hotel Building Maintenance                    Hotel & Lodging                                          $           -       $           -       $         -
Hotel Housekeeping                            Hotel & Lodging                                          $           -       $           -       $         -
Hotel Laundry Ops                             Hotel & Lodging                                          $           -       $           -       $         -
Hotel Janitorial                              Hotel & Lodging                                          $           -       $           -       $         -
Hotel Utilities                               Hotel & Lodging                                          $           -       $           -       $         -
Rental Operations - Campground                Hotel & Lodging                                          $           607     $         6,521     $       7,127
Mountain Operations                           Skiing Operations                                        $           -       $           -       $         -
Property Operations                           General Operations                                       $           -       $           -       $         -
Mountain Biking                               Summer Operations                                        $           349     $         3,747     $       4,095
Summer Programs                               Summer Operations                                        $           -       $           -       $         -
Retail                                        Retail                                                   $              0    $              4    $            5
Base Lodge Rentals                            Ski Rental/Repair                                        $           -       $           -       $         -
Vertical Drop Retail                          Retail                                                   $            58     $           626     $         684
Bear Essentials Retail                        Retail                                                   $           -       $           -       $         -
Arcade                                        Other Mountain Activities                                $           126     $         1,355     $       1,481
Hotel Ski Rental/Repair & Day Lockers         Ski Rental/Repair                                        $           -       $           -       $         -
AT&T Tower Lease                              General Operations                                       $           -       $           -       $         -
Fixed Expenses                                General Operations                                       $           -       $           -       $         -
Utilities                                     General Operations                                       $           -       $           -       $         -
Developer Land Sales                          S, G & A                                                 $           -       $           -       $         -
Management Company Fees                       S, G & A                                                 $           -       $           -       $         -
                                                                                                       $       166,104     $     1,785,660     $   1,951,763

Summary of Departmental Deposits into Major Line of Business Categories

                                              Dept Category                                                                                        USD
                                              Short-term Assets                                                                                $   1,130,782
                                              Capital Expenditures (incl. tram upgrade)                                                        $         -
                                              Short-term Liabilities                                                                           $     139,507
                                              Equity                                                                                           $         -
                                              S, G & A                                                                                         $      23,870
                                              General Operations                                                                               $      47,003
                                              Food & Beverage                                                                                  $     287,245
                                              Hotel & Lodging                                                                                  $     148,521
                                              Other Mountain Activities                                                                        $     128,325
                                              Condo Associations                                                                               $      27,305
                                              Skiing Operations                                                                                $      (3,842)
                                              Summer Operations                                                                                $      17,741
                                              Ski School                                                                                       $         582
                                              Retail                                                                                           $       4,891
                                              Ski Rental/Repair                                                                                $        (166)
                                                                                                                                               $   1,951,763
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Detailed Report on Payroll and Benefits Payments                                                                                       Jay Peak Resort Payroll
05/01/17 through 05/31/17                                                                                                              Burke Mountain Payroll

TRC Number    Account Number      Account Type     Account Name               Post Date   Reference             Additional Reference   Amount                    Description                Type   Text
221172186                         Checking         JPI Operating - 1736       5/12/2017   CIGNA EDGE TRANS CO                          $           (5,098.14)    PREAUTHORIZED ACH DEBIT    Ach    CIGNA EDGE TRANS COLLECTION              170512      601000052393 --- jay portion ---
221172186                         Checking         JPI Operating - 1736       5/22/2017   CIGNA EDGE TRANS CO                          $         (105,677.79)    PREAUTHORIZED ACH DEBIT    Ach    CIGNA EDGE TRANS COLLECTION              170522      604000043673 --- jay portion ---
221172186                         Checking         JPI Operating - 1736       5/8/2017    DISCOVERY BENEFI CL                          $             (269.24)    PREAUTHORIZED ACH DEBIT    Ach    DISCOVERY BENEFI CLAIM FUND              170508     21194030194601
221172186                         Checking         JPI Operating - 1736       5/16/2017   DISCOVERY BENEFI CL                          $             (245.00)    PREAUTHORIZED ACH DEBIT    Ach    DISCOVERY BENEFI CLAIM FUND              170516     21194030194601
221172186                         Checking         JPI Operating - 1736       5/19/2017   DISCOVERY BENEFI CL                          $             (845.00)    PREAUTHORIZED ACH DEBIT    Ach    DISCOVERY BENEFI CLAIM FUND              170519     21194030194601
221172186                         Checking         JPI Operating - 1736       5/26/2017   DISCOVERY BENEFI CL                          $             (269.00)    PREAUTHORIZED ACH DEBIT    Ach    DISCOVERY BENEFI CLAIM FUND              170526     21194030194601
221172186                         Checking         JPI Operating - 1736       5/31/2017   DISCOVERY BENEFI CL                          $             (350.00)    PREAUTHORIZED ACH DEBIT    Ach    DISCOVERY BENEFI CLAIM FUND              170531     21194030194601
221172186                         Checking         JPI Operating - 1736       5/25/2017   DISCOVERY BENEFI DB                          $             (278.50)    PREAUTHORIZED ACH DEBIT    Ach    DISCOVERY BENEFI DBI Admin             170525
221172186                         Checking         JPI Operating - 1736       5/15/2017   DISCOVERY BENEFI DB                          $            1,301.39     PREAUTHORIZED ACH CREDIT   Ach    DISCOVERY BENEFI DBI COBRA              170515     21194000
221172186                         Checking         JPI Operating - 1736       5/1/2017    MEMIC Indemnity AC                           $          (52,898.42)    PREAUTHORIZED ACH DEBIT    Ach    MEMIC Indemnity ACHTRANS               170501      4980507
221172186                         Checking         JPI Operating - 1736       5/8/2017    MEMIC Indemnity AC                           $          (35,161.19)    PREAUTHORIZED ACH DEBIT    Ach    MEMIC Indemnity ACHTRANS               170508      5207449
221172186                         Checking         JPI Operating - 1736       5/22/2017   MEMIC Indemnity AC                           $          (23,361.92)    PREAUTHORIZED ACH DEBIT    Ach    MEMIC Indemnity ACHTRANS               170522      5622847
221172186                         Checking         JPI Operating - 1736       5/5/2017    Voya Nat Trst182 SP                          $           (6,724.96)    PREAUTHORIZED ACH DEBIT    Ach    Voya Nat Trst182 SPNSR P/R           170505      811437 0001
221172186                         Checking         JPI Operating - 1736       5/8/2017    Voya Nat Trst182 SP                          $             (158.82)    PREAUTHORIZED ACH DEBIT    Ach    Voya Nat Trst182 SPNSR P/R           170508      811437 0001
221172186                         Checking         JPI Operating - 1736       5/18/2017   Voya Nat Trst182 SP                          $           (6,721.91)    PREAUTHORIZED ACH DEBIT    Ach    Voya Nat Trst182 SPNSR P/R           170518      811437 0001
221172186                         Checking         JPI Operating - 1736       5/2/2017    1.0005E+12                                   $         (619,967.90)    OUTGOING WIRE TRANSFER            payroll wire --- jay portion ---
221172186                         Checking         JPI Operating - 1736       5/16/2017   1.00052E+12                                  $         (427,547.12)    OUTGOING WIRE TRANSFER            payroll wire --- jay portion ---
221172186                         Checking         JPI Operating - 1736       5/30/2017   1.00053E+12                                  $         (458,110.51)    OUTGOING WIRE TRANSFER            payroll wire --- jay portion ---
221172186                         Checking         JPI Payroll - 1752         5/31/2017   PAYCHEX       PA                             $              407.21     PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX          PAYROLL         170531       71501600000489X
221172186                         Checking         JPI Payroll - 1752         5/1/2017    PAYCHEX - RCX PA                             $              496.04     PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX - RCX PAYROLL               170501      70969400002431X
221172186                         Checking         JPI Payroll - 1752         5/1/2017    PAYCHEX - RCX PA                             $              688.37     PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX - RCX PAYROLL               170501      70969400002432X
221172186                         Checking         JPI Payroll - 1752         5/2/2017    PAYCHEX - RCX PA                             $              327.09     PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX - RCX PAYROLL               170502      71119300000560X
221172186                         Checking         JPI Payroll - 1752         5/3/2017    PAYCHEX CGS GA                               $           (4,417.82)    PREAUTHORIZED ACH DEBIT    Ach    PAYCHEX CGS GARNISH                 170503      COL0070566965
221172186                         Checking         JPI Payroll - 1752         5/17/2017   PAYCHEX CGS GA                               $           (3,772.19)    PREAUTHORIZED ACH DEBIT    Ach    PAYCHEX CGS GARNISH                 170517      COL0070849276
221172186                         Checking         JPI Payroll - 1752         5/31/2017   PAYCHEX CGS GA                               $           (3,665.52)    PREAUTHORIZED ACH DEBIT    Ach    PAYCHEX CGS GARNISH                 170531      COL0071134536
221172186                         Checking         JPI Payroll - 1752         5/4/2017    PAYCHEX EIB     IN                           $           (4,554.23)    PREAUTHORIZED ACH DEBIT    Ach    PAYCHEX EIB        INVOICE         170504      X71159600001050
221172186                         Checking         JPI Payroll - 1752         5/18/2017   PAYCHEX EIB     IN                           $           (1,850.41)    PREAUTHORIZED ACH DEBIT    Ach    PAYCHEX EIB        INVOICE         170518      X71346600001739
221172186                         Checking         JPI Payroll - 1752         5/12/2017   PAYCHEX-HRS HR                               $             (406.46)    PREAUTHORIZED ACH DEBIT    Ach    PAYCHEX-HRS HRS PMT                 170512      25045003
221172186                         Checking         JPI Payroll - 1752         5/16/2017   PAYCHEX-RCX PA                               $              477.73     PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX-RCX PAYROLL                 170516      71311900000609X
221172186                         Checking         Burke Mountain Operating   5/1/2017    MEMIC Indemnity AC                           $           (6,870.42)    PREAUTHORIZED ACH DEBIT    Ach    MEMIC Indemnity ACHTRANS               170501      4979541
221172186                         Checking         Burke Mountain Operating   5/8/2017    MEMIC Indemnity AC                           $           (4,796.13)    PREAUTHORIZED ACH DEBIT    Ach    MEMIC Indemnity ACHTRANS               170508      5206545
221172186                         Checking         Burke Mountain Operating   5/22/2017   MEMIC Indemnity AC                           $           (4,107.02)    PREAUTHORIZED ACH DEBIT    Ach    MEMIC Indemnity ACHTRANS               170522      5621805
221172186                         Checking         JPI Operating - 1736       5/2/2017    BANCORPSV        BA                          $             (347.33)    PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV           BANCORPSV         WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736       5/5/2017    BANCORPSV        BA                          $              (73.07)    PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV           BANCORPSV         WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736       5/15/2017   BANCORPSV        BA                          $             (799.00)    PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV           BANCORPSV         WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736       5/16/2017   BANCORPSV        BA                          $             (290.40)    PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV           BANCORPSV         WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736       5/22/2017   BANCORPSV        BA                          $               (3.30)    PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV           BANCORPSV         WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736       5/25/2017   BANCORPSV        BA                          $             (138.65)    PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV           BANCORPSV         WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736       5/30/2017   BANCORPSV        BA                          $              (30.33)    PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV           BANCORPSV         WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736       5/31/2017   BANCORPSV        BA                          $             (108.73)    PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV           BANCORPSV         WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736       5/12/2017   CIGNA EDGE TRANS CO                          $             (779.91)    PREAUTHORIZED ACH DEBIT    Ach    CIGNA EDGE TRANS COLLECTION              170512      601000052393 --- burke portion ---
221172186                         Checking         JPI Operating - 1736       5/22/2017   CIGNA EDGE TRANS CO                          $          (14,660.39)    PREAUTHORIZED ACH DEBIT    Ach    CIGNA EDGE TRANS COLLECTION              170522      604000043673 --- burke portion ---
221172186                         Checking         JPI Operating - 1736       5/2/2017    1.0005E+12                                   $          (76,408.90)    OUTGOING WIRE TRANSFER            payroll wire --- burke portion ---
221172186                         Checking         JPI Operating - 1736       5/16/2017   1.00052E+12                                  $          (70,376.86)    OUTGOING WIRE TRANSFER            payroll wire --- burke portion ---
221172186                         Checking         JPI Operating - 1736       5/30/2017   1.00053E+12                                  $          (85,434.88)    OUTGOING WIRE TRANSFER            payroll wire --- burke portion ---
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Detailed Report on Vendor Payments                                  Average Currency Exchange Rate:             0.74
05/01/17 through 05/31/17
                                                                                                      CDN converted        original
Dept Name                                    Dept Category                                               to USD             USD             USD
Inventory/Prepaids/Receivables               Short-term Assets                                        $          -     $      345,965   $     345,965
Capital                                      Capital Expenditures (incl. tram upgrade)                $          -     $       49,387   $      49,387
Debt/Liabilities/Deferreds/Taxes             Short-term Liabilities                                   $          -     $      239,020   $     239,020
Investor                                     Equity                                                   $          -     $          -     $         -
Administration                               S, G & A                                                 $          -     $        8,324   $       8,324
Accounting                                   S, G & A                                                 $          -     $      305,748   $     305,748
Information Systems                          S, G & A                                                 $          -     $       31,819   $      31,819
Telephone                                    General Operations                                       $          -     $        6,591   $       6,591
Human Resources                              S, G & A                                                 $          -     $       15,884   $      15,884
Risk Management                              S, G & A                                                 $          -     $        2,064   $       2,064
Administration - Food Service                Food & Beverage                                          $          -     $           41   $          41
Vending                                      Food & Beverage                                          $          -     $          -     $         -
Tram cafeteria                               Food & Beverage                                          $          -     $          -     $         -
International Restaurant                     Food & Beverage                                          $          -     $          -     $         -
Sky Haus                                     Food & Beverage                                          $          -     $          -     $         -
Golf Clubhouse Restaurant                    Food & Beverage                                          $          -     $       11,662   $      11,662
The Foundry Pub & Grille                     Food & Beverage                                          $          -     $       63,947   $      63,947
Buddy's Mug                                  Food & Beverage                                          $          -     $          -     $         -
The Warming Shelter                          Food & Beverage                                          $          -     $        1,919   $       1,919
Mountain Dick's Pizza                        Food & Beverage                                          $          -     $          -     $         -
The Drink                                    Food & Beverage                                          $          -     $          -     $         -
MLC F&B                                      Food & Beverage                                          $          -     $          -     $         -
Stateside Daylodge - Cafeteria & Bar         Food & Beverage                                          $          -     $          -     $         -
Stateside Hotel - Howie's Restaurant         Food & Beverage                                          $          -     $          -     $         -
Jay Peak Provisions                          Food & Beverage                                          $          -     $       13,564   $      13,564
Conference Services                          Food & Beverage                                          $          -     $      110,856   $     110,856
Condo Rental Mgt.                            Hotel & Lodging                                          $          -     $       11,629   $      11,629
Taiga Fitness & Spa                          Other Mountain Activities                                $          -     $          761   $         761
Unsold condo rental                          Hotel & Lodging                                          $          -     $          -     $         -
Aroma Coffee Shop                            Food & Beverage                                          $          -     $          -     $         -
Tram Haus Lodge Rest & Bar                   Food & Beverage                                          $          -     $        7,899   $       7,899
Tram Haus Lodge                              Hotel & Lodging                                          $          -     $        7,534   $       7,534
Lodging Reservation                          Hotel & Lodging                                          $          -     $        3,777   $       3,777
Golf Clubhouse Lodging                       Hotel & Lodging                                          $          -     $        7,480   $       7,480
Hotel Jay - Front Desk                       Hotel & Lodging                                          $          -     $       18,875   $      18,875
Penthouse Suites                             Hotel & Lodging                                          $          -     $          -     $         -
Golf & Mountain Suites                       Hotel & Lodging                                          $          -     $        5,042   $       5,042
Lodge & Townhouses                           Hotel & Lodging                                          $          -     $          -     $         -
Stateside Hotel - Front Desk                 Hotel & Lodging                                          $          -     $          -     $         -
Ice Rink                                     Other Mountain Activities                                $          -     $        6,232   $       6,232
Ice Rink Snack Bar                           Food & Beverage                                          $          -     $          -     $         -
Condo Assoc. - Mountain Side                 Condo Associations                                       $          -     $          -     $         -
Condo Assoc. - Trail Side                    Condo Associations                                       $          -     $          -     $         -
Condo Assoc. - Stoney Path                   Condo Associations                                       $          -     $          -     $         -
Condo Assoc. - Slopeside I                   Condo Associations                                       $          -     $          -     $         -
Condo Assoc. - Slopeside II                  Condo Associations                                       $          -     $          -     $         -
Condo Assoc. - Village Association           Condo Associations                                       $          -     $        1,323   $       1,323
Transfer Condo Assoc.                        Condo Associations                                       $          -     $          -     $         -
Condo Assoc. - General Fees                  Condo Associations                                       $          -     $          -     $         -
Admin. Mtn Operations                        Skiing Operations                                        $          -     $       13,131   $      13,131
Lift Maintenance                             Skiing Operations                                        $          -     $       27,631   $      27,631
Snowmaking                                   Skiing Operations                                        $          -     $      106,662   $     106,662
Grooming                                     Skiing Operations                                        $          -     $           73   $          73
Vehicle & Equip. Maint.                      General Operations                                       $          -     $       18,390   $      18,390
Electrical                                   General Operations                                       $          -     $      211,363   $     211,363
Hotel Jay - Building Maint./Engin.           Hotel & Lodging                                          $          -     $       37,606   $      37,606
Roads & Parking                              General Operations                                       $          -     $          -     $         -
Building Maintenance                         General Operations                                       $          -     $       49,796   $      49,796
Grounds                                      General Operations                                       $          -     $        2,148   $       2,148
Water & Sewer System                         General Operations                                       $          -     $       14,003   $      14,003
Stateside Hotel - Building Maint./Engin.     Hotel & Lodging                                          $          -     $        3,275   $       3,275
Tram Haus - Building Maint./Engin.           Hotel & Lodging                                          $          -     $        2,688   $       2,688
Laundry Operations                           Hotel & Lodging                                          $          -     $        1,661   $       1,661
Housekeeping - Stateside Hotel               Hotel & Lodging                                          $          -     $        3,207   $       3,207
Housekeeping - Hotel Jay                     Hotel & Lodging                                          $          -     $          -     $         -
Janitorial                                   Hotel & Lodging                                          $          -     $          -     $         -
Security                                     General Operations                                       $          -     $          155   $         155
Shuttles                                     General Operations                                       $          -     $          476   $         476
Storm Crew (Storm Water + Snow Shoveling)    General Operations                                       $          -     $          -     $         -
Ambassadors/Greeters                         General Operations                                       $          -     $          -     $         -
Lift Operations                              Skiing Operations                                        $          -     $          -     $         -
Parking Attendant                            General Operations                                       $          -     $        2,449   $       2,449
Customer Service                             Skiing Operations                                        $          -     $          -     $         -
Ticket Selling                               Skiing Operations                                        $          -     $          138   $         138
Special Events                               S, G & A                                                 $          -     $        5,976   $       5,976
Ski Patrol                                   Skiing Operations                                        $          -     $        2,122   $       2,122
Ski Club                                     Skiing Operations                                        $          -     $          -     $         -
Daycare Center                               Other Mountain Activities                                $          -     $          -     $         -
MLC Daycare Center                           Other Mountain Activities                                $          -     $          -     $         -
Pump House                                   Other Mountain Activities                                $          -     $       18,581   $      18,581
Lift sales                                   Skiing Operations                                        $          -     $          -     $         -
Golf Maintenance                             Summer Operations                                        $          -     $       12,073   $      12,073
Lockers                                      General Operations                                       $          -     $          -     $         -
Wedding Barn                                 Other Mountain Activities                                $          -     $          -     $         -
Snowpark                                     Skiing Operations                                        $          -     $          -     $         -
Elevation 1851' Family Arcade Center         Other Mountain Activities                                $          -     $        5,109   $       5,109
Nordic Center                                Other Mountain Activities                                $          -     $          -     $         -
Fitness Center                               Other Mountain Activities                                $          -     $          -     $         -
MLC Summer Operations                        Summer Operations                                        $          -     $       16,014   $      16,014
Amphitheater                                 Other Mountain Activities                                $          -     $        3,765   $       3,765
Ski School                                   Ski School                                               $          -     $        1,867   $       1,867
MLC Ski School                               Ski School                                               $          -     $          -     $         -
Sales                                        S, G & A                                                 $          -     $        4,300   $       4,300
Marketing                                    S, G & A                                                 $       33,794   $       98,517   $     132,311
Administration - Retail                      Retail                                                   $          -     $          -     $         -
The Mountain Shop                            Retail                                                   $          -     $       15,138   $      15,138
Rentals                                      Ski Rental/Repair                                        $          -     $          -     $         -
Repairs                                      Ski Rental/Repair                                        $          -     $          -     $         -
Golf Pro Shop                                Summer Operations                                        $          -     $       30,891   $      30,891
The Wave                                     Retail                                                   $          -     $          -     $         -
MLC Rentals                                  Ski Rental/Repair                                        $          -     $          -     $         -
Stateside Daylodge - Retail - Gear Shop      Retail                                                   $          -     $        3,988   $       3,988
Stateside Daylodge - Rentals                 Ski Rental/Repair                                        $          -     $          -     $         -
Construction & Development                   S, G & A                                                 $          -     $       22,108   $      22,108
Real Estate                                  S, G & A                                                 $          -     $          -     $         -
Antenna Lease Sky Haus                       General Operations                                       $          -     $       24,283   $      24,283
Non-Operating Items                          S, G & A                                                 $          -     $       62,580   $      62,580
EB-5 Items                                   S, G & A                                                 $          -     $          -     $         -
EBITDA Items                                 S, G & A                                                 $          -     $        3,894   $       3,894
Tamarack Grill                               Food & Beverage                                          $          -     $        1,741   $       1,741
Mid-Burke Cafe'                              Food & Beverage                                          $          -     $          -     $         -
Bear’s Den Pub                               Food & Beverage                                          $          -     $          -     $         -
Trailside Patio                              Food & Beverage                                          $          -     $          353   $         353
Kingdom Cafe'                                Food & Beverage                                          $          -     $           36   $          36
Banquets & Catering                          Food & Beverage                                          $          -     $          -     $         -
Food & Beverage Events                       Food & Beverage                                          $          -     $          -     $         -
Willoughby's Restaurant                      Food & Beverage                                          $          -     $          -     $         -
The Gap Pub                                  Food & Beverage                                          $          -     $        4,761   $       4,761
Coffee Shop                                  Food & Beverage                                          $          -     $          -     $         -
Day Lodge Servery                            Food & Beverage                                          $          -     $          -     $         -
Hotel Banquets                               Food & Beverage                                          $          -     $          -     $         -
Hotel F&B Events                             Food & Beverage                                          $          -     $          -     $         -
Hotel Pre-Opening Costs                      Hotel & Lodging                                          $          -     $        1,905   $       1,905
Hotel Operations/Front Desk                  Hotel & Lodging                                          $          -     $       15,285   $      15,285
Hotel Building Maintenance                   Hotel & Lodging                                          $          -     $        8,060   $       8,060
Hotel Housekeeping                           Hotel & Lodging                                          $          -     $          403   $         403
Hotel Laundry Ops                            Hotel & Lodging                                          $          -     $          553   $         553
Hotel Janitorial                             Hotel & Lodging                                          $          -     $          -     $         -
Hotel Utilities                              Hotel & Lodging                                          $          -     $          -     $         -
Rental Operations - Campground               Hotel & Lodging                                          $          -     $        3,638   $       3,638
Mountain Operations                          Skiing Operations                                        $          -     $        2,813   $       2,813
Property Operations                          General Operations                                       $          -     $          -     $         -
Mountain Biking                              Summer Operations                                        $          -     $       16,673   $      16,673
Summer Programs                              Summer Operations                                        $          -     $          -     $         -
Retail                                       Retail                                                   $          -     $          -     $         -
Base Lodge Rentals                           Ski Rental/Repair                                        $          -     $          -     $         -
Vertical Drop Retail                         Retail                                                   $          -     $           30   $          30
Bear Essentials Retail                       Retail                                                   $          -     $          -     $         -
Arcade                                       Other Mountain Activities                                $          -     $          -     $         -
Hotel Ski Rental/Repair & Day Lockers        Ski Rental/Repair                                        $          -     $          -     $         -
AT&T Tower Lease                             General Operations                                       $          -     $          -     $         -
Fixed Expenses                               General Operations                                       $          -     $          532   $         532
Utilities                                    General Operations                                       $          -     $          871   $         871
Developer Land Sales                         S, G & A                                                 $          -     $          -     $         -
Management Company Fees                      S, G & A                                                 $          -     $          -     $         -
                                                                                                      $       33,794   $    2,161,051   $   2,194,845

Summary of Departmental Vendor Payments into Major Line of Business Categories

                                             Dept Category                                                                                  USD
                                             Short-term Assets                                                                          $     345,965
                                             Capital Expenditures (incl. tram upgrade)                                                  $      49,387
                                             Short-term Liabilities                                                                     $     239,020
                                             Equity                                                                                     $         -
                                             S, G & A                                                                                   $     595,007
                                             General Operations                                                                         $     331,056
                                             Food & Beverage                                                                            $     216,778
                                             Hotel & Lodging                                                                            $     132,616
                                             Other Mountain Activities                                                                  $      34,448
                                             Condo Associations                                                                         $       1,323
                                             Skiing Operations                                                                          $     152,570
                                             Summer Operations                                                                          $      75,651
                                             Ski School                                                                                 $       1,867
                                             Retail                                                                                     $      19,157
                                             Ski Rental/Repair                                                                          $         -
                                                                                                                                        $   2,194,845
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Detailed Report on Taxes Paid to IRS and Vermont Department of Taxes                                                Vermont Department of Taxes
05/01/17 through 05/31/17                                                                                           Internal Revenue Service

TRC Number Account Number     Account Type   Account Name                       Post Date   Reference               Amount              Description               Type   Text
221172186                     Checking       Burke Mountain Water Company Inc   5/17/2017   VTAX EFT DEPOSIT   AC   $         (18.72)   PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT   ACH DEBIT   170517
221172186                     Checking       Burke Mountain Water Company Inc   5/23/2017   VTAX EFT DEPOSIT   AC   $         (54.02)   PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT   ACH DEBIT   170523
221172186                     Checking       Burke Mountain Operating           5/26/2017   VTAX EFT DEPOSIT   AC   $    (11,700.79)    PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT   ACH DEBIT   170526
221172186                     Checking       Burke Mountain Operating           5/26/2017   VTAX EFT DEPOSIT   AC   $      (4,533.48)   PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT   ACH DEBIT   170526
221172186                     Checking       JPI Operating - 1736               5/26/2017   VTAX EFT DEPOSIT   AC   $   (295,750.49)    PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT   ACH DEBIT   170526
221172186                     Checking       JPI Operating - 1736               5/26/2017   VTAX EFT DEPOSIT   AC   $    (45,363.32)    PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT   ACH DEBIT   170526
221172186                     Checking       Phase II Checking - 0659           5/26/2017   VTAX EFT DEPOSIT   AC   $    (30,336.30)    PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT   ACH DEBIT   170526
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Detailed Report on Fees paid to Merchant and Bank
05/01/17 through 05/31/17

TRC Number       Account Number       Account Type   Account Name                           Post Date   Reference             Additional Reference   Amount          Description               Type   Text
221172186                             Checking       Burke Mountain Operating               5/1/2017    EMBED USA LLC FI                             $    (195.00)   PREAUTHORIZED ACH DEBIT   Ach    EMBED USA LLC FIRST ACH     170501     5817051
221172186                             Checking       Burke Mountain Operating               5/1/2017    HRTLAND PMT SYS TX                           $ (1,302.09)    PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170501     650000008432737
221172186                             Checking       Burke Mountain Operating               5/1/2017    HRTLAND PMT SYS TX                           $     (56.10)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170501     650000008624093
221172186                             Checking       Burke Mountain Operating               5/1/2017    HRTLAND PMT SYS TX                           $    (392.57)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170501     650000008836580
221172186                             Checking       Burke Mountain Operating               5/1/2017    HRTLAND PMT SYS TX                           $     (73.75)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170501     650000009220552
221172186                             Checking       Burke Mountain Operating               5/1/2017    HRTLAND PMT SYS TX                           $ (1,218.15)    PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170501     650000009411672
221172186                             Checking       Burke Mountain Operating               5/1/2017    HRTLAND PMT SYS TX                           $ (1,308.23)    PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170501     650000009411730
221172186                             Checking       Burke Mountain Operating               5/2/2017    AUTHNET GATEWAY BI                           $     (25.60)   PREAUTHORIZED ACH DEBIT   Ach    AUTHNET GATEWAY BILLING       170502     96462116
221172186                             Checking       Burke Mountain Operating               5/2/2017    MERCHANT SERVICE ME                          $    (125.90)   PREAUTHORIZED ACH DEBIT   Ach    MERCHANT SERVICE MERCH FEE      170430     31820
221172186                             Checking       Burke Mountain Operating               5/5/2017    AMERICAN EXPRESS AX                          $    (339.41)   PREAUTHORIZED ACH DEBIT   Ach    AMERICAN EXPRESS AXP DISCNT    170505     2440383446
221172186                             Checking       Burke Mountain Operating               5/8/2017    HRTLAND PMT SYS TX                           $     (14.99)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170508     650000008836580
221172186                             Checking       Burke Mountain Operating               5/12/2017   PLAYNETWORK INC 88                           $     (59.15)   PREAUTHORIZED ACH DEBIT   Ach    PLAYNETWORK INC 8886942874      170512
221172186                             Checking       Burke Mountain Operating               5/16/2017   0                                            $    (483.72)   ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY        FOR 04/17
221172186                             Checking       Burke Mountain Operating               5/22/2017   HRTLAND PMT SYS TX                           $ (2,837.45)    PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170522     650000009411730
221172186                             Checking       Burke Mountain Operating               5/26/2017   SHIFT4-DEBITS 05                             $     (50.00)   PREAUTHORIZED ACH DEBIT   Ach    SHIFT4-DEBITS 052617IMP     0000684497
221172186                             Checking       Burke Mountain Water Company Inc       5/16/2017   0                                            $     (21.57)   ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY        FOR 04/17
221172186                             Checking       JPI Operating - 1736                   5/1/2017    EMBED USA LLC FI                             $    (395.00)   PREAUTHORIZED ACH DEBIT   Ach    EMBED USA LLC FIRST ACH     170501     5813727
221172186                             Checking       JPI Operating - 1736                   5/1/2017    HRTLAND PMT SYS TX                           $ (13,235.88)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170501     650000007491098
221172186                             Checking       JPI Operating - 1736                   5/1/2017    HRTLAND PMT SYS TX                           $     (15.96)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170501     650000009065528
221172186                             Checking       JPI Operating - 1736                   5/1/2017    HRTLAND PMT SYS TX                           $ (20,563.20)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170501     650000009073076
221172186                             Checking       JPI Operating - 1736                   5/1/2017    HRTLAND PMT SYS TX                           $ (28,854.73)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170501     650000009073126
221172186                             Checking       JPI Operating - 1736                   5/2/2017    MERCHANT SERVICE ME                          $    (897.39)   PREAUTHORIZED ACH DEBIT   Ach    MERCHANT SERVICE MERCH FEE      170430     31713
221172186                             Checking       JPI Operating - 1736                   5/4/2017    VANTIV_INTG_PYMT BI                          $    (921.95)   PREAUTHORIZED ACH DEBIT   Ach    VANTIV_INTG_PYMT BILLNG       8788430111124Jay Peak Vermont
221172186                             Checking       JPI Operating - 1736                   5/4/2017    VANTIV_INTG_PYMT BI                          $     (90.89)   PREAUTHORIZED ACH DEBIT   Ach    VANTIV_INTG_PYMT BILLNG       8788430201279Jay Peak Resort - Token Machine
221172186                             Checking       JPI Operating - 1736                   5/5/2017    AMERICAN EXPRESS AX                          $ (6,917.81)    PREAUTHORIZED ACH DEBIT   Ach    AMERICAN EXPRESS AXP DISCNT    170505     2440106714
221172186                             Checking       JPI Operating - 1736                   5/5/2017    AMERICAN EXPRESS AX                          $ (7,014.17)    PREAUTHORIZED ACH DEBIT   Ach    AMERICAN EXPRESS AXP DISCNT    170505     2440508802
221172186                             Checking       JPI Operating - 1736                   5/8/2017    HRTLAND PMT SYS TX                           $      (0.11)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170508     650000009065528
221172186                             Checking       JPI Operating - 1736                   5/16/2017   0                                            $ (3,695.22)    ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY        FOR 04/17
221172186                             Checking       JPI Operating - 1736                   5/18/2017   HRTLAND PMT SYS TX                           $      (0.11)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170518     650000009065528
221172186                             Checking       JPI Operating - 1736                   5/25/2017   HRTLAND PMT SYS TX                           $      (0.06)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170525     650000009065528
221172186                             Checking       JPI Operating - 1736                   5/26/2017   SHIFT4-DEBITS 05                             $    (523.10)   PREAUTHORIZED ACH DEBIT   Ach    SHIFT4-DEBITS 052617IMP     0000684498
221172186                             Checking       JPI Operating - 1736                   5/30/2017   HRTLAND PMT SYS TX                           $      (0.11)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170530     650000009065528
221172186                             Checking       JPI Operating - 1736                   5/31/2017   HRTLAND PMT SYS TX                           $      (0.05)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170531     650000009065528
221172186                             Checking       Mountain Road Management Company Inc   5/16/2017   0                                            $     (24.09)   ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY        FOR 04/17
221172186                             Checking       Phase II Checking - 0659               5/10/2017   0                                            $     (30.36)   ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY        FOR 04/17
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Jay Peak Resort/Burke Mountain
Ending Cash Balance
                                                                                     * Rate: 0.74
                                                                      5/31/2017                  5/31/2017
                                                                       USD/CDN                      USD
                                                                      End of Day                 End of Day
Company          Bank         Account Name         Account Number    Cash Balance               Cash Balance
08 - JPI         People's     General Account          1736           5,298,027.95               5,298,027.95
08 - JPI         People's     Payroll Account          1752                    -                          -
08 - JPI         People's     Money Market Acct        7175              21,020.99                  21,020.99
20 - JPHSP2      People's     General Account          0659             448,611.29                 448,611.29
20 - JPHSP2      People's     Money Market Acct        0667                    -                          -
380 - BMOC       People's     General Account                         1,857,240.93               1,857,240.93
380 - BMOC       People's     Savings Account                                  -                          -
381 - BMRM       People's     General Account                            63,416.87                  63,416.87
382 - BMWC       People's     General Account                            14,705.57                  14,705.57
08 - JPI         Desjardins   CDN Operating Acct                         84,755.62                  62,719.16 *
20 - JPHSP2      Desjardins   CDN Operating Acct                         37,168.41                  27,504.62 *
                                                                    $ 7,824,947.63           $   7,793,247.38

                  http://www.oanda.com/currency/converter/
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Jay Peak Resort/Burke Mountain
Cash Flow Statement
06/01/17 through 06/30/17


                                                                       USD
Beginning Cash Balance
    People's United Bank #          1736                    $               5,298,028
    People's United Bank #          1752                    $                     -
    People's United Bank #          7175                    $                  21,021
    People's United Bank #          0659                    $                 448,611
    People's United Bank #          0667                    $                     -
    People's United Bank #                                  $               1,857,241
    People's United Bank #                                  $                     -
    People's United Bank #                                  $                  63,417
    People's United Bank #                                  $                  14,706
    Desjardins #                                            $                  62,719
    Desjardins #                                            $                  27,505
                                                            $               7,793,248

Add Incoming:
    Receiver Funding
          Direct - Merrill Lynch Bank Accounts              $                     -
          Indirect - CitiBank Accounts                      $               1,010,519
    Deposits from Operations                                $               2,551,199 A
                                                            $               3,561,718

Less Outgoing:
     Payroll & Benefits
           Jay Peak Resort                                  $              (1,277,001)
           Burke Mountain                                   $                (200,958)
     Vendor Payments
           Jay Peak Resort                                  $              (3,260,683) B
           Burke Mountain                                   $                (208,400) B
     Tax Payments
           Vermont Department of Taxes                      $                 (85,059)
           Internal Revenue Service                         $                  (8,730)
     Merchant and Bank Fees                                 $                 (32,147)
                                                            $              (5,072,978)

Ending Cash Balance
    People's United Bank #          1736                    $               3,413,662
    People's United Bank #          1752                    $                     -
    People's United Bank #          7175                    $                  21,024
    People's United Bank #          0659                    $                 436,958
    People's United Bank #          0667                    $                     -
    People's United Bank #                                  $               2,223,063
    People's United Bank #                                  $                     -
    People's United Bank #                                  $                  74,564
    People's United Bank #                                  $                  20,930
    Desjardins #                                            $                  63,177
    Desjardins #                                            $                  28,610
                                                            $               6,281,988


Note A:
Canadian transactions have been converted to US Dollars based upon the following methodology:
The Canadian portion of total resort deposits was calculated to be 13% for the report period. This
percentage was applied to all resort deposits at the average CDN to USD currency exchange rate of .76 for the
report period.


Note B:
Vendor payments pertain primarily to goods and services received after April 13, 2016.
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Jay Peak Resort/Burke Mountain
Beginning Cash Balance
                                                                                      * Rate: 0.74
                                                                      5/31/2017                   5/31/2017
                                                                       USD/CDN                        USD
                                                                      End of Day                  End of Day
Company          Bank         Account Name         Account Number    Cash Balance                Cash Balance
08 - JPI         People's     General Account           1736           5,298,027.95                5,298,027.95
08 - JPI         People's     Payroll Account           1752                    -                           -
08 - JPI         People's     Money Market Acct         7175              21,020.99                   21,020.99
20 - JPHSP2      People's     General Account           0659             448,611.29                  448,611.29
20 - JPHSP2      People's     Money Market Acct         0667                    -                           -
380 - BMOC       People's     General Account                          1,857,240.93                1,857,240.93
380 - BMOC       People's     Savings Account                                   -                           -
381 - BMRM       People's     General Account                             63,416.87                   63,416.87
382 - BMWC       People's     General Account                             14,705.57                   14,705.57
08 - JPI         Desjardins   CDN Operating Acct                          84,755.62                   62,719.16 *
20 - JPHSP2      Desjardins   CDN Operating Acct                          37,168.41                   27,504.62 *
                                                                    $ 7,824,947.63             $ 7,793,247.38

                  http://www.oanda.com/currency/converter/
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Jay Peak Resort/Burke Mountain        Case 1:16-cv-21301-DPG Document 487 Entered on FLSD Docket 08/10/2018 Page 95 of 168
Detailed Report on Receiver Funding                                                                                                         Direct - Merrill Lynch/SunTrust Bank Accounts
06/01/17 through 06/30/17                                                                                                                   Indirect - CitiBank Accounts

TRC Number                              Account Number   Account Type Account Name           Post Date   Reference   Additional Reference   Amount             Description                  Type   Text
221172186                                                Checking     JPI Operating - 1736   6/9/2017    1.00E+12                           $     1,010,518.97 INCOMING WIRE TRANSFER       Wire
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Detailed Report on Resort Deposits                                   Average Currency Exchange Rate:               0.76
06/01/17 through 06/30/17
                                                                                                        CDN converted          original
Dept Name                                     Dept Category                                                to USD               USD                USD
Inventory/Prepaids/Receivables                Short-term Assets                                        $        50,187     $       448,696     $     498,883
Capital                                       Capital Expenditures (incl. tram upgrade)                $           -       $           -       $         -
Debt/Liabilities/Deferreds/Taxes              Short-term Liabilities                                   $        75,350     $       673,201     $     748,551
Investor                                      Equity                                                   $           -       $           -       $         -
Administration                                S, G & A                                                 $              6    $            55     $          61
Accounting                                    S, G & A                                                 $             (4)   $           (33)    $         (37)
Information Systems                           S, G & A                                                 $           -       $           -       $         -
Telephone                                     General Operations                                       $         3,551     $        31,746     $      35,297
Human Resources                               S, G & A                                                 $           (16)    $          (139)    $        (155)
Risk Management                               S, G & A                                                 $           -       $           -       $         -
Administration - Food Service                 Food & Beverage                                          $           (16)    $          (139)    $        (155)
Vending                                       Food & Beverage                                          $           463     $         4,137     $       4,600
Tram cafeteria                                Food & Beverage                                          $           -       $           -       $         -
International Restaurant                      Food & Beverage                                          $         2,002     $        17,901     $      19,903
Sky Haus                                      Food & Beverage                                          $           130     $         1,158     $       1,288
Golf Clubhouse Restaurant                     Food & Beverage                                          $         4,664     $        41,695     $      46,359
The Foundry Pub & Grille                      Food & Beverage                                          $         7,044     $        62,976     $      70,020
Buddy's Mug                                   Food & Beverage                                          $           272     $         2,432     $       2,704
The Warming Shelter                           Food & Beverage                                          $         3,363     $        30,068     $      33,432
Mountain Dick's Pizza                         Food & Beverage                                          $         1,925     $        17,207     $      19,132
The Drink                                     Food & Beverage                                          $         1,152     $        10,296     $      11,447
MLC F&B                                       Food & Beverage                                          $           -       $           -       $         -
Stateside Daylodge - Cafeteria & Bar          Food & Beverage                                          $             (0)   $             (1)   $           (1)
Stateside Hotel - Howie's Restaurant          Food & Beverage                                          $           764     $         6,834     $       7,598
Jay Peak Provisions                           Food & Beverage                                          $         7,091     $        63,395     $      70,486
Conference Services                           Food & Beverage                                          $         3,342     $        29,879     $      33,221
Condo Rental Mgt.                             Hotel & Lodging                                          $         1,727     $        15,441     $      17,168
Taiga Fitness & Spa                           Other Mountain Activities                                $         1,101     $         9,845     $      10,946
Unsold condo rental                           Hotel & Lodging                                          $           -       $           -       $         -
Aroma Coffee Shop                             Food & Beverage                                          $           -       $           -       $         -
Tram Haus Lodge Rest & Bar                    Food & Beverage                                          $         2,034     $        18,188     $      20,222
Tram Haus Lodge                               Hotel & Lodging                                          $         2,293     $        20,498     $      22,791
Lodging Reservation                           Hotel & Lodging                                          $        (1,999)    $       (17,876)    $     (19,876)
Golf Clubhouse Lodging                        Hotel & Lodging                                          $            92     $           823     $         915
Hotel Jay - Front Desk                        Hotel & Lodging                                          $         7,805     $        69,784     $      77,589
Penthouse Suites                              Hotel & Lodging                                          $         4,264     $        38,126     $      42,391
Golf & Mountain Suites                        Hotel & Lodging                                          $         7,567     $        67,651     $      75,218
Lodge & Townhouses                            Hotel & Lodging                                          $         4,294     $        38,387     $      42,681
Stateside Hotel - Front Desk                  Hotel & Lodging                                          $         3,704     $        33,114     $      36,818
Ice Rink                                      Other Mountain Activities                                $         1,750     $        15,642     $      17,391
Ice Rink Snack Bar                            Food & Beverage                                          $           739     $         6,604     $       7,343
Condo Assoc. - Mountain Side                  Condo Associations                                       $           -       $           -       $         -
Condo Assoc. - Trail Side                     Condo Associations                                       $           -       $           -       $         -
Condo Assoc. - Stoney Path                    Condo Associations                                       $           -       $           -       $         -
Condo Assoc. - Slopeside I                    Condo Associations                                       $           -       $           -       $         -
Condo Assoc. - Slopeside II                   Condo Associations                                       $           -       $           -       $         -
Condo Assoc. - Village Association            Condo Associations                                       $           -       $           -       $         -
Transfer Condo Assoc.                         Condo Associations                                       $           -       $           -       $         -
Condo Assoc. - General Fees                   Condo Associations                                       $           -       $           -       $         -
Admin. Mtn Operations                         Skiing Operations                                        $           -       $           -       $         -
Lift Maintenance                              Skiing Operations                                        $             (6)   $           (50)    $         (55)
Snowmaking                                    Skiing Operations                                        $           -       $           -       $         -
Grooming                                      Skiing Operations                                        $           -       $           -       $         -
Vehicle & Equip. Maint.                       General Operations                                       $           -       $           -       $         -
Electrical                                    General Operations                                       $           -       $           -       $         -
Hotel Jay - Building Maint./Engin.            Hotel & Lodging                                          $           -       $           -       $         -
Roads & Parking                               General Operations                                       $           -       $           -       $         -
Building Maintenance                          General Operations                                       $              2    $            18     $          20
Grounds                                       General Operations                                       $           -       $           -       $         -
Water & Sewer System                          General Operations                                       $           -       $           -       $         -
Stateside Hotel - Building Maint./Engin.      Hotel & Lodging                                          $           -       $           -       $         -
Tram Haus - Building Maint./Engin.            Hotel & Lodging                                          $           -       $           -       $         -
Laundry Operations                            Hotel & Lodging                                          $           -       $           -       $         -
Housekeeping - Stateside Hotel                Hotel & Lodging                                          $              4    $            35     $          39
Housekeeping - Hotel Jay                      Hotel & Lodging                                          $           160     $         1,428     $       1,588
Janitorial                                    Hotel & Lodging                                          $           -       $           -       $         -
Security                                      General Operations                                       $           -       $           -       $         -
Shuttles                                      General Operations                                       $         1,726     $        15,434     $      17,160
Storm Crew (Storm Water + Snow Shoveling)     General Operations                                       $           -       $           -       $         -
Ambassadors/Greeters                          General Operations                                       $           -       $           -       $         -
Lift Operations                               Skiing Operations                                        $           -       $           -       $         -
Parking Attendant                             General Operations                                       $           277     $         2,477     $       2,754
Customer Service                              Skiing Operations                                        $              5    $            47     $          52
Ticket Selling                                Skiing Operations                                        $             (0)   $             (2)   $           (2)
Special Events                                S, G & A                                                 $         1,276     $        11,411     $      12,688
Ski Patrol                                    Skiing Operations                                        $           -       $           -       $         -
Ski Club                                      Skiing Operations                                        $           -       $           -       $         -
Daycare Center                                Other Mountain Activities                                $         1,513     $        13,526     $      15,039
MLC Daycare Center                            Other Mountain Activities                                $              5    $            43     $          47
Pump House                                    Other Mountain Activities                                $        17,661     $       157,895     $     175,555
Lift sales                                    Skiing Operations                                        $           455     $         4,068     $       4,523
Golf Maintenance                              Summer Operations                                        $           -       $           -       $         -
Lockers                                       General Operations                                       $           -       $           -       $         -
Wedding Barn                                  Other Mountain Activities                                $           -       $           -       $         -
Snowpark                                      Skiing Operations                                        $           -       $           -       $         -
Elevation 1851' Family Arcade Center          Other Mountain Activities                                $         1,586     $        14,180     $      15,767
Nordic Center                                 Other Mountain Activities                                $            55     $           490     $         545
Fitness Center                                Other Mountain Activities                                $           -       $           -       $         -
MLC Summer Operations                         Summer Operations                                        $           -       $           -       $         -
Amphitheater                                  Other Mountain Activities                                $            30     $           267     $         297
Ski School                                    Ski School                                               $             (4)   $           (32)    $         (36)
MLC Ski School                                Ski School                                               $           -       $           -       $         -
Sales                                         S, G & A                                                 $          (110)    $          (984)    $      (1,094)
Marketing                                     S, G & A                                                 $           (89)    $          (793)    $        (882)
Administration - Retail                       Retail                                                   $              5    $            46     $          51
The Mountain Shop                             Retail                                                   $           361     $         3,224     $       3,584
Rentals                                       Ski Rental/Repair                                        $           -       $           -       $         -
Repairs                                       Ski Rental/Repair                                        $           -       $           -       $         -
Golf Pro Shop                                 Summer Operations                                        $         6,338     $        56,665     $      63,004
The Wave                                      Retail                                                   $           798     $         7,133     $       7,931
MLC Rentals                                   Ski Rental/Repair                                        $           -       $           -       $         -
Stateside Daylodge - Retail - Gear Shop       Retail                                                   $           -       $           -       $         -
Stateside Daylodge - Rentals                  Ski Rental/Repair                                        $           -       $           -       $         -
Construction & Development                    S, G & A                                                 $           -       $           -       $         -
Real Estate                                   S, G & A                                                 $             (4)   $           (35)    $         (39)
Antenna Lease Sky Haus                        General Operations                                       $           -       $           -       $         -
Non-Operating Items                           S, G & A                                                 $         3,140     $        28,072     $      31,212
EB-5 Items                                    S, G & A                                                 $           -       $           -       $         -
EBITDA Items                                  S, G & A                                                 $           -       $           -       $         -
Tamarack Grill                                Food & Beverage                                          $            19     $           168     $         186
Mid-Burke Cafe'                               Food & Beverage                                          $           -       $           -       $         -
Bear’s Den Pub                                Food & Beverage                                          $           -       $           -       $         -
Trailside Patio                               Food & Beverage                                          $           -       $           -       $         -
Kingdom Cafe'                                 Food & Beverage                                          $           274     $         2,451     $       2,725
Banquets & Catering                           Food & Beverage                                          $           -       $           -       $         -
Food & Beverage Events                        Food & Beverage                                          $           -       $           -       $         -
Willoughby's Restaurant                       Food & Beverage                                          $           -       $           -       $         -
The Gap Pub                                   Food & Beverage                                          $         5,633     $        50,361     $      55,994
Coffee Shop                                   Food & Beverage                                          $           284     $         2,537     $       2,821
Day Lodge Servery                             Food & Beverage                                          $           -       $           -       $         -
Hotel Banquets                                Food & Beverage                                          $         2,478     $        22,159     $      24,637
Hotel F&B Events                              Food & Beverage                                          $           -       $           -       $         -
Hotel Pre-Opening Costs                       Hotel & Lodging                                          $           -       $           -       $         -
Hotel Operations/Front Desk                   Hotel & Lodging                                          $        12,081     $       108,014     $     120,095
Hotel Building Maintenance                    Hotel & Lodging                                          $           -       $           -       $         -
Hotel Housekeeping                            Hotel & Lodging                                          $           -       $           -       $         -
Hotel Laundry Ops                             Hotel & Lodging                                          $           -       $           -       $         -
Hotel Janitorial                              Hotel & Lodging                                          $           -       $           -       $         -
Hotel Utilities                               Hotel & Lodging                                          $           -       $           -       $         -
Rental Operations - Campground                Hotel & Lodging                                          $         1,320     $        11,803     $      13,123
Mountain Operations                           Skiing Operations                                        $           -       $           -       $         -
Property Operations                           General Operations                                       $           -       $           -       $         -
Mountain Biking                               Summer Operations                                        $         2,225     $        19,897     $      22,122
Summer Programs                               Summer Operations                                        $           -       $           -       $         -
Retail                                        Retail                                                   $            92     $           823     $         915
Base Lodge Rentals                            Ski Rental/Repair                                        $             (2)   $           (16)    $         (18)
Vertical Drop Retail                          Retail                                                   $           189     $         1,694     $       1,883
Bear Essentials Retail                        Retail                                                   $           -       $           -       $         -
Arcade                                        Other Mountain Activities                                $           270     $         2,418     $       2,689
Hotel Ski Rental/Repair & Day Lockers         Ski Rental/Repair                                        $              5    $            40     $          45
AT&T Tower Lease                              General Operations                                       $           -       $           -       $         -
Fixed Expenses                                General Operations                                       $           -       $           -       $         -
Utilities                                     General Operations                                       $           -       $           -       $         -
Developer Land Sales                          S, G & A                                                 $           -       $           -       $         -
Management Company Fees                       S, G & A                                                 $           -       $           -       $         -
                                                                                                       $       256,694     $     2,294,505     $   2,551,199

Summary of Departmental Deposits into Major Line of Business Categories

                                              Dept Category                                                                                        USD
                                              Short-term Assets                                                                                $     498,883
                                              Capital Expenditures (incl. tram upgrade)                                                        $         -
                                              Short-term Liabilities                                                                           $     748,551
                                              Equity                                                                                           $         -
                                              S, G & A                                                                                         $      41,754
                                              General Operations                                                                               $      55,231
                                              Food & Beverage                                                                                  $     433,965
                                              Hotel & Lodging                                                                                  $     430,541
                                              Other Mountain Activities                                                                        $     238,275
                                              Condo Associations                                                                               $         -
                                              Skiing Operations                                                                                $       4,518
                                              Summer Operations                                                                                $      85,126
                                              Ski School                                                                                       $         (36)
                                              Retail                                                                                           $      14,365
                                              Ski Rental/Repair                                                                                $          27
                                                                                                                                               $   2,551,199
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Detailed Report on Payroll and Benefits Payments                                                                                            Jay Peak Resort Payroll
06/01/17 through 06/30/17                                                                                                                   Burke Mountain Payroll

TRC Number    Account Number      Account Type     Account Name                    Post Date   Reference             Additional Reference   Amount              Description               Type   Text
221172186                         Checking         Burke Mountain Operating Company6/5/2017    MEMIC Indemnity AC                           $        (5,313.90) PREAUTHORIZED ACH DEBIT   Ach    MEMIC Indemnity ACHTRANS        170605      6116661
221172186                         Checking         Burke Mountain Operating Company6/19/2017   MEMIC Indemnity AC                           $        (5,698.15) PREAUTHORIZED ACH DEBIT   Ach    MEMIC Indemnity ACHTRANS        170619      6559579
221172186                         Checking         JPI Operating - 1736            6/15/2017   BANCORPSV        BA                          $          (213.91) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736            6/16/2017   BANCORPSV        BA                          $          (664.10) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736            6/19/2017   BANCORPSV        BA                          $            (4.65) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736            6/23/2017   BANCORPSV        BA                          $          (120.00) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736            6/27/2017   BANCORPSV        BA                          $            (4.26) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736            6/30/2017   BANCORPSV        BA                          $           (10.00) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736            6/15/2017   BANCORPSV        BA                          $           215.25 PREAUTHORIZED ACH CREDIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99995-SETTLE CREDIT
221172186                         Checking         JPI Operating - 1736            6/12/2017   CIGNA EDGE TRANS CO                          $          (816.68) PREAUTHORIZED ACH DEBIT   Ach    CIGNA EDGE TRANS COLLECTION       170612      602600071441 ---BURKE PORTION---
221172186                         Checking         JPI Operating - 1736            6/20/2017   CIGNA EDGE TRANS CO                          $       (12,207.16) PREAUTHORIZED ACH DEBIT   Ach    CIGNA EDGE TRANS COLLECTION       170620      602800086558 ---BURKE PORTION---
221172186                         Checking         JPI Operating - 1736            6/13/2017   1.00061E+12                                  $       (79,556.32) OUTGOING WIRE TRANSFER           ---BURKE PORTION---
221172186                         Checking         JPI Operating - 1736            6/27/2017   1.00063E+12                                  $       (96,564.02) OUTGOING WIRE TRANSFER           ---BURKE PORTION---
221172186                         Checking         JPI Operating - 1736            6/6/2017    BANCORPSV        BA                          $          (405.00) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736            6/8/2017    BANCORPSV        BA                          $           (50.00) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736            6/9/2017    BANCORPSV        BA                          $          (439.93) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736            6/12/2017   BANCORPSV        BA                          $           (75.75) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736            6/13/2017   BANCORPSV        BA                          $          (307.20) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736            6/13/2017   BANCORPSV        BA                          $          (101.13) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736            6/12/2017   CIGNA EDGE TRANS CO                          $        (5,538.89) PREAUTHORIZED ACH DEBIT   Ach    CIGNA EDGE TRANS COLLECTION       170612      602600071441 ---JAY PORTION---
221172186                         Checking         JPI Operating - 1736            6/20/2017   CIGNA EDGE TRANS CO                          $      (116,409.38) PREAUTHORIZED ACH DEBIT   Ach    CIGNA EDGE TRANS COLLECTION       170620      602800086558 ---JAY PORTION---
221172186                         Checking         JPI Operating - 1736            6/13/2017   1.00061E+12                                  $      (623,225.50) OUTGOING WIRE TRANSFER           ---JAY PORTION---
221172186                         Checking         JPI Operating - 1736            6/27/2017   1.00063E+12                                  $      (443,302.34) OUTGOING WIRE TRANSFER           ---JAY PORTION---
221172186                         Checking         JPI Operating - 1736            6/1/2017    DISCOVERY BENEFI CL                          $            (5.00) PREAUTHORIZED ACH DEBIT   Ach    DISCOVERY BENEFI CLAIM FUND       170601     21194030194601
221172186                         Checking         JPI Operating - 1736            6/5/2017    DISCOVERY BENEFI CL                          $           (12.44) PREAUTHORIZED ACH DEBIT   Ach    DISCOVERY BENEFI CLAIM FUND       170605     21194030194601
221172186                         Checking         JPI Operating - 1736            6/8/2017    DISCOVERY BENEFI CL                          $          (929.02) PREAUTHORIZED ACH DEBIT   Ach    DISCOVERY BENEFI CLAIM FUND       170608     21194030194601
221172186                         Checking         JPI Operating - 1736            6/9/2017    DISCOVERY BENEFI CL                          $          (208.00) PREAUTHORIZED ACH DEBIT   Ach    DISCOVERY BENEFI CLAIM FUND       170609     21194030194601
221172186                         Checking         JPI Operating - 1736            6/13/2017   DISCOVERY BENEFI CL                          $          (206.00) PREAUTHORIZED ACH DEBIT   Ach    DISCOVERY BENEFI CLAIM FUND       170613     21194030194601
221172186                         Checking         JPI Operating - 1736            6/22/2017   DISCOVERY BENEFI CL                          $           (56.00) PREAUTHORIZED ACH DEBIT   Ach    DISCOVERY BENEFI CLAIM FUND       170622     21194030194601
221172186                         Checking         JPI Operating - 1736            6/30/2017   DISCOVERY BENEFI CL                          $           (38.48) PREAUTHORIZED ACH DEBIT   Ach    DISCOVERY BENEFI CLAIM FUND       170630     21194030194601
221172186                         Checking         JPI Operating - 1736            6/26/2017   DISCOVERY BENEFI DB                          $          (278.50) PREAUTHORIZED ACH DEBIT   Ach    DISCOVERY BENEFI DBI Admin      170626
221172186                         Checking         JPI Operating - 1736            6/5/2017    MEMIC Indemnity AC                           $       (24,799.93) PREAUTHORIZED ACH DEBIT   Ach    MEMIC Indemnity ACHTRANS        170605      6117647
221172186                         Checking         JPI Operating - 1736            6/19/2017   MEMIC Indemnity AC                           $       (27,984.54) PREAUTHORIZED ACH DEBIT   Ach    MEMIC Indemnity ACHTRANS        170619      6560621
221172186                         Checking         JPI Operating - 1736            6/2/2017    Voya Nat Trst182 SP                          $        (6,760.32) PREAUTHORIZED ACH DEBIT   Ach    Voya Nat Trst182 SPNSR P/R    170602      811437 0001
221172186                         Checking         JPI Operating - 1736            6/16/2017   Voya Nat Trst182 SP                          $        (9,795.10) PREAUTHORIZED ACH DEBIT   Ach    Voya Nat Trst182 SPNSR P/R    170616      811437 0001
221172186                         Checking         JPI Operating - 1736            6/29/2017   Voya Nat Trst182 SP                          $        (6,752.49) PREAUTHORIZED ACH DEBIT   Ach    Voya Nat Trst182 SPNSR P/R    170629      811437 0001
221172186                         Checking         JPI Payroll - 1752              6/2/2017    PAYCHEX       PA                             $         1,264.63 PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX       PAYROLL      170602      71541900000490X
221172186                         Checking         JPI Payroll - 1752              6/5/2017    PAYCHEX       PA                             $           237.32 PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX       PAYROLL      170605      71444800005446X
221172186                         Checking         JPI Payroll - 1752              6/5/2017    PAYCHEX       PA                             $           252.45 PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX       PAYROLL      170605      71444800005447X
221172186                         Checking         JPI Payroll - 1752              6/22/2017   PAYCHEX - RCX PA                             $           163.47 PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX - RCX PAYROLL        170622      71814600000060X
221172186                         Checking         JPI Payroll - 1752              6/14/2017   PAYCHEX CGS GA                               $        (3,099.98) PREAUTHORIZED ACH DEBIT   Ach    PAYCHEX CGS GARNISH          170614      COL0071427910
221172186                         Checking         JPI Payroll - 1752              6/28/2017   PAYCHEX CGS GA                               $        (2,957.83) PREAUTHORIZED ACH DEBIT   Ach    PAYCHEX CGS GARNISH          170628      COL0071716877
221172186                         Checking         JPI Payroll - 1752              6/1/2017    PAYCHEX EIB     IN                           $        (1,839.07) PREAUTHORIZED ACH DEBIT   Ach    PAYCHEX EIB     INVOICE     170601      X71525300001988
221172186                         Checking         JPI Payroll - 1752              6/15/2017   PAYCHEX EIB     IN                           $        (1,978.04) PREAUTHORIZED ACH DEBIT   Ach    PAYCHEX EIB     INVOICE     170615      X71711500002250
221172186                         Checking         JPI Payroll - 1752              6/29/2017   PAYCHEX EIB     IN                           $        (1,946.50) PREAUTHORIZED ACH DEBIT   Ach    PAYCHEX EIB     INVOICE     170629      X71896900003873
221172186                         Checking         JPI Payroll - 1752              6/16/2017   PAYCHEX-HRS HR                               $          (321.41) PREAUTHORIZED ACH DEBIT   Ach    PAYCHEX-HRS HRS PMT          170616      25212296
221172186                         Checking         JPI Payroll - 1752              6/27/2017   PAYCHEX-RCX PA                               $           904.95 PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX-RCX PAYROLL          170627      71868900000354X
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Detailed Report on Vendor Payments                                  Average Currency Exchange Rate:            0.76
06/01/17 through 06/30/17
                                                                                                      CDN converted       original
Dept Name                                    Dept Category                                               to USD            USD             USD
Inventory/Prepaids/Receivables               Short-term Assets                                        $          -    $      277,780   $     277,780
Capital                                      Capital Expenditures (incl. tram upgrade)                $          -    $    1,399,811   $   1,399,811
Debt/Liabilities/Deferreds/Taxes             Short-term Liabilities                                   $          -    $       77,034   $      77,034
Investor                                     Equity                                                   $          -    $          -     $         -
Administration                               S, G & A                                                 $          -    $        6,937   $       6,937
Accounting                                   S, G & A                                                 $          -    $       68,118   $      68,118
Information Systems                          S, G & A                                                 $          -    $       13,540   $      13,540
Telephone                                    General Operations                                       $          -    $      122,131   $     122,131
Human Resources                              S, G & A                                                 $          -    $       15,887   $      15,887
Risk Management                              S, G & A                                                 $          -    $          251   $         251
Administration - Food Service                Food & Beverage                                          $          -    $          659   $         659
Vending                                      Food & Beverage                                          $          -    $          -     $         -
Tram cafeteria                               Food & Beverage                                          $          -    $        4,800   $       4,800
International Restaurant                     Food & Beverage                                          $          -    $          -     $         -
Sky Haus                                     Food & Beverage                                          $          -    $          -     $         -
Golf Clubhouse Restaurant                    Food & Beverage                                          $          -    $        9,292   $       9,292
The Foundry Pub & Grille                     Food & Beverage                                          $          -    $      102,953   $     102,953
Buddy's Mug                                  Food & Beverage                                          $          -    $          -     $         -
The Warming Shelter                          Food & Beverage                                          $          -    $        3,892   $       3,892
Mountain Dick's Pizza                        Food & Beverage                                          $          -    $          -     $         -
The Drink                                    Food & Beverage                                          $          -    $          -     $         -
MLC F&B                                      Food & Beverage                                          $          -    $          -     $         -
Stateside Daylodge - Cafeteria & Bar         Food & Beverage                                          $          -    $          -     $         -
Stateside Hotel - Howie's Restaurant         Food & Beverage                                          $          -    $          -     $         -
Jay Peak Provisions                          Food & Beverage                                          $          -    $       17,365   $      17,365
Conference Services                          Food & Beverage                                          $          -    $       65,950   $      65,950
Condo Rental Mgt.                            Hotel & Lodging                                          $          -    $        2,579   $       2,579
Taiga Fitness & Spa                          Other Mountain Activities                                $          -    $          663   $         663
Unsold condo rental                          Hotel & Lodging                                          $          -    $          -     $         -
Aroma Coffee Shop                            Food & Beverage                                          $          -    $          -     $         -
Tram Haus Lodge Rest & Bar                   Food & Beverage                                          $          -    $        3,718   $       3,718
Tram Haus Lodge                              Hotel & Lodging                                          $          -    $       11,251   $      11,251
Lodging Reservation                          Hotel & Lodging                                          $          -    $        6,811   $       6,811
Golf Clubhouse Lodging                       Hotel & Lodging                                          $          -    $        1,056   $       1,056
Hotel Jay - Front Desk                       Hotel & Lodging                                          $          -    $        6,031   $       6,031
Penthouse Suites                             Hotel & Lodging                                          $          -    $          -     $         -
Golf & Mountain Suites                       Hotel & Lodging                                          $          -    $        4,105   $       4,105
Lodge & Townhouses                           Hotel & Lodging                                          $          -    $          -     $         -
Stateside Hotel - Front Desk                 Hotel & Lodging                                          $          -    $          -     $         -
Ice Rink                                     Other Mountain Activities                                $          -    $        7,388   $       7,388
Ice Rink Snack Bar                           Food & Beverage                                          $          -    $          -     $         -
Condo Assoc. - Mountain Side                 Condo Associations                                       $          -    $          -     $         -
Condo Assoc. - Trail Side                    Condo Associations                                       $          -    $          -     $         -
Condo Assoc. - Stoney Path                   Condo Associations                                       $          -    $          -     $         -
Condo Assoc. - Slopeside I                   Condo Associations                                       $          -    $          -     $         -
Condo Assoc. - Slopeside II                  Condo Associations                                       $          -    $          -     $         -
Condo Assoc. - Village Association           Condo Associations                                       $          -    $       13,096   $      13,096
Transfer Condo Assoc.                        Condo Associations                                       $          -    $          -     $         -
Condo Assoc. - General Fees                  Condo Associations                                       $          -    $          -     $         -
Admin. Mtn Operations                        Skiing Operations                                        $          -    $        2,420   $       2,420
Lift Maintenance                             Skiing Operations                                        $          -    $       92,749   $      92,749
Snowmaking                                   Skiing Operations                                        $          -    $       47,949   $      47,949
Grooming                                     Skiing Operations                                        $          -    $        2,191   $       2,191
Vehicle & Equip. Maint.                      General Operations                                       $          -    $       20,687   $      20,687
Electrical                                   General Operations                                       $          -    $      263,723   $     263,723
Hotel Jay - Building Maint./Engin.           Hotel & Lodging                                          $          -    $       45,763   $      45,763
Roads & Parking                              General Operations                                       $          -    $          -     $         -
Building Maintenance                         General Operations                                       $          -    $      164,772   $     164,772
Grounds                                      General Operations                                       $          -    $        8,961   $       8,961
Water & Sewer System                         General Operations                                       $          -    $       14,312   $      14,312
Stateside Hotel - Building Maint./Engin.     Hotel & Lodging                                          $          -    $        3,901   $       3,901
Tram Haus - Building Maint./Engin.           Hotel & Lodging                                          $          -    $        3,821   $       3,821
Laundry Operations                           Hotel & Lodging                                          $          -    $          108   $         108
Housekeeping - Stateside Hotel               Hotel & Lodging                                          $          -    $        7,194   $       7,194
Housekeeping - Hotel Jay                     Hotel & Lodging                                          $          -    $          -     $         -
Janitorial                                   Hotel & Lodging                                          $          -    $        1,276   $       1,276
Security                                     General Operations                                       $          -    $           70   $          70
Shuttles                                     General Operations                                       $          -    $          378   $         378
Storm Crew (Storm Water + Snow Shoveling)    General Operations                                       $          -    $          -     $         -
Ambassadors/Greeters                         General Operations                                       $          -    $          -     $         -
Lift Operations                              Skiing Operations                                        $          -    $          -     $         -
Parking Attendant                            General Operations                                       $          -    $          -     $         -
Customer Service                             Skiing Operations                                        $          -    $          -     $         -
Ticket Selling                               Skiing Operations                                        $          -    $          -     $         -
Special Events                               S, G & A                                                 $          -    $        1,901   $       1,901
Ski Patrol                                   Skiing Operations                                        $          -    $           70   $          70
Ski Club                                     Skiing Operations                                        $          -    $          -     $         -
Daycare Center                               Other Mountain Activities                                $          -    $          231   $         231
MLC Daycare Center                           Other Mountain Activities                                $          -    $          -     $         -
Pump House                                   Other Mountain Activities                                $          -    $       25,175   $      25,175
Lift sales                                   Skiing Operations                                        $          -    $          -     $         -
Golf Maintenance                             Summer Operations                                        $          -    $       19,213   $      19,213
Lockers                                      General Operations                                       $          -    $          -     $         -
Wedding Barn                                 Other Mountain Activities                                $          -    $          -     $         -
Snowpark                                     Skiing Operations                                        $          -    $          -     $         -
Elevation 1851' Family Arcade Center         Other Mountain Activities                                $          -    $        9,084   $       9,084
Nordic Center                                Other Mountain Activities                                $          -    $          -     $         -
Fitness Center                               Other Mountain Activities                                $          -    $          -     $         -
MLC Summer Operations                        Summer Operations                                        $          -    $       10,030   $      10,030
Amphitheater                                 Other Mountain Activities                                $          -    $       85,272   $      85,272
Ski School                                   Ski School                                               $          -    $          -     $         -
MLC Ski School                               Ski School                                               $          -    $          -     $         -
Sales                                        S, G & A                                                 $          -    $        8,935   $       8,935
Marketing                                    S, G & A                                                 $       2,009   $      122,532   $     124,541
Administration - Retail                      Retail                                                   $          -    $          -     $         -
The Mountain Shop                            Retail                                                   $          -    $          264   $         264
Rentals                                      Ski Rental/Repair                                        $          -    $          -     $         -
Repairs                                      Ski Rental/Repair                                        $          -    $          -     $         -
Golf Pro Shop                                Summer Operations                                        $          -    $       10,255   $      10,255
The Wave                                     Retail                                                   $          -    $        6,222   $       6,222
MLC Rentals                                  Ski Rental/Repair                                        $          -    $          -     $         -
Stateside Daylodge - Retail - Gear Shop      Retail                                                   $          -    $        4,706   $       4,706
Stateside Daylodge - Rentals                 Ski Rental/Repair                                        $          -    $          -     $         -
Construction & Development                   S, G & A                                                 $          -    $       25,197   $      25,197
Real Estate                                  S, G & A                                                 $          -    $          -     $         -
Antenna Lease Sky Haus                       General Operations                                       $          -    $       24,236   $      24,236
Non-Operating Items                          S, G & A                                                 $          -    $      157,530   $     157,530
EB-5 Items                                   S, G & A                                                 $          -    $          -     $         -
EBITDA Items                                 S, G & A                                                 $          -    $        5,347   $       5,347
Tamarack Grill                               Food & Beverage                                          $          -    $        1,021   $       1,021
Mid-Burke Cafe'                              Food & Beverage                                          $          -    $          -     $         -
Bear’s Den Pub                               Food & Beverage                                          $          -    $          -     $         -
Trailside Patio                              Food & Beverage                                          $          -    $        1,849   $       1,849
Kingdom Cafe'                                Food & Beverage                                          $          -    $          322   $         322
Banquets & Catering                          Food & Beverage                                          $          -    $          -     $         -
Food & Beverage Events                       Food & Beverage                                          $          -    $          -     $         -
Willoughby's Restaurant                      Food & Beverage                                          $          -    $          -     $         -
The Gap Pub                                  Food & Beverage                                          $          -    $        8,413   $       8,413
Coffee Shop                                  Food & Beverage                                          $          -    $          -     $         -
Day Lodge Servery                            Food & Beverage                                          $          -    $          -     $         -
Hotel Banquets                               Food & Beverage                                          $          -    $          -     $         -
Hotel F&B Events                             Food & Beverage                                          $          -    $          -     $         -
Hotel Pre-Opening Costs                      Hotel & Lodging                                          $          -    $        1,905   $       1,905
Hotel Operations/Front Desk                  Hotel & Lodging                                          $          -    $        5,045   $       5,045
Hotel Building Maintenance                   Hotel & Lodging                                          $          -    $        1,864   $       1,864
Hotel Housekeeping                           Hotel & Lodging                                          $          -    $        1,241   $       1,241
Hotel Laundry Ops                            Hotel & Lodging                                          $          -    $          134   $         134
Hotel Janitorial                             Hotel & Lodging                                          $          -    $          -     $         -
Hotel Utilities                              Hotel & Lodging                                          $          -    $          -     $         -
Rental Operations - Campground               Hotel & Lodging                                          $          -    $           60   $          60
Mountain Operations                          Skiing Operations                                        $          -    $          178   $         178
Property Operations                          General Operations                                       $          -    $          -     $         -
Mountain Biking                              Summer Operations                                        $          -    $        2,863   $       2,863
Summer Programs                              Summer Operations                                        $          -    $          -     $         -
Retail                                       Retail                                                   $          -    $          -     $         -
Base Lodge Rentals                           Ski Rental/Repair                                        $          -    $          -     $         -
Vertical Drop Retail                         Retail                                                   $          -    $        1,682   $       1,682
Bear Essentials Retail                       Retail                                                   $          -    $          -     $         -
Arcade                                       Other Mountain Activities                                $          -    $          -     $         -
Hotel Ski Rental/Repair & Day Lockers        Ski Rental/Repair                                        $          -    $          -     $         -
AT&T Tower Lease                             General Operations                                       $          -    $          -     $         -
Fixed Expenses                               General Operations                                       $          -    $          744   $         744
Utilities                                    General Operations                                       $          -    $          182   $         182
Developer Land Sales                         S, G & A                                                 $          -    $          -     $         -
Management Company Fees                      S, G & A                                                 $          -    $          -     $         -
                                                                                                      $       2,009   $    3,467,074   $   3,469,083

Summary of Departmental Vendor Payments into Major Line of Business Categories

                                             Dept Category                                                                                 USD
                                             Short-term Assets                                                                         $     277,780
                                             Capital Expenditures (incl. tram upgrade)                                                 $   1,399,811
                                             Short-term Liabilities                                                                    $      77,034
                                             Equity                                                                                    $         -
                                             S, G & A                                                                                  $     428,184
                                             General Operations                                                                        $     620,195
                                             Food & Beverage                                                                           $     220,236
                                             Hotel & Lodging                                                                           $     104,145
                                             Other Mountain Activities                                                                 $     127,813
                                             Condo Associations                                                                        $      13,096
                                             Skiing Operations                                                                         $     145,556
                                             Summer Operations                                                                         $      42,361
                                             Ski School                                                                                $         -
                                             Retail                                                                                    $      12,873
                                             Ski Rental/Repair                                                                         $         -
                                                                                                                                       $   3,469,083
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Detailed Report on Taxes Paid to IRS and Vermont Department of Taxes                                                Vermont Department of Taxes
06/01/17 through 06/30/17                                                                                           Internal Revenue Service

TRC Number Account Number     Account Type   Account Name                       Post Date   Reference               Amount              Description               Type   Text
221172186                     Checking       Burke Mountain Operating Company   6/27/2017   VTAX EFT DEPOSIT   AC   $      (5,887.10)   PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT ACH DEBIT 170627
221172186                     Checking       Burke Mountain Operating Company   6/27/2017   VTAX EFT DEPOSIT   AC   $    (11,548.03)    PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT ACH DEBIT 170627
221172186                     Checking       JPI Operating - 1736               6/27/2017   VTAX EFT DEPOSIT   AC   $    (15,057.12)    PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT ACH DEBIT 170627
221172186                     Checking       JPI Operating - 1736               6/27/2017   VTAX EFT DEPOSIT   AC   $    (44,024.78)    PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT ACH DEBIT 170627
221172186                     Checking       Phase II Checking - 0659           6/27/2017   VTAX EFT DEPOSIT   AC   $      (7,571.52)   PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT ACH DEBIT 170627
221172186                     Checking       JPI Operating - 1736               6/6/2017    9.97E+14                $        (970.00)   BOOK TRANSFER DEBIT       VTAX   REF 1570827L FUNDS TRANSFER TO DEP   FROM   FUNDSTFR
221172186                     Checking       JPI Operating - 1736               6/6/2017    9.97E+14                $      (8,730.00)   BOOK TRANSFER DEBIT       IRS    REF 1570827L FUNDS TRANSFER TO DEP   FROM   FUNDSTFR
Jay Peak Resort/Burke Mountain                       Case 1:16-cv-21301-DPG Document 487 Entered on FLSD Docket 08/10/2018 Page 100 of
Detailed Report on Fees paid to Merchant and Bank
06/01/17 through 06/30/17
                                                                                          168
TRC Number       Account Number       Account Type    Account Name                           Post Date   Reference             Additional Reference   Amount          Description               Type   Text
221172186                             Checking        Burke Mountain Operating Company       6/5/2017    AMERICAN EXPRESS AX                          $   (441.75)    PREAUTHORIZED ACH DEBIT   Ach    AMERICAN EXPRESS AXP DISCNT    170605     2440383446
221172186                             Checking        Burke Mountain Operating Company       6/16/2017   0                                            $   (366.59)    ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY        FOR 05/17
221172186                             Checking        Burke Mountain Operating Company       6/2/2017    AUTHNET GATEWAY BI                           $    (37.75)    PREAUTHORIZED ACH DEBIT   Ach    AUTHNET GATEWAY BILLING       170602     96826463
221172186                             Checking        Burke Mountain Operating Company       6/1/2017    EMBED USA LLC FI                             $   (195.00)    PREAUTHORIZED ACH DEBIT   Ach    EMBED USA LLC FIRST ACH     170601     5892240
221172186                             Checking        Burke Mountain Operating Company       6/1/2017    HRTLAND PMT SYS TX                           $ (2,017.13)    PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170601     650000008432737
221172186                             Checking        Burke Mountain Operating Company       6/1/2017    HRTLAND PMT SYS TX                           $    (46.41)    PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170601     650000008624093
221172186                             Checking        Burke Mountain Operating Company       6/1/2017    HRTLAND PMT SYS TX                           $ (2,171.48)    PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170601     650000008836580
221172186                             Checking        Burke Mountain Operating Company       6/1/2017    HRTLAND PMT SYS TX                           $    (70.00)    PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170601     650000009220552
221172186                             Checking        Burke Mountain Operating Company       6/1/2017    HRTLAND PMT SYS TX                           $   (970.92)    PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170601     650000009411672
221172186                             Checking        Burke Mountain Operating Company       6/1/2017    HRTLAND PMT SYS TX                           $ (2,027.00)    PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170601     650000009411730
221172186                             Checking        Burke Mountain Operating Company       6/12/2017   HRTLAND PMT SYS TX                           $   (318.00)    PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170612     650000008836580
221172186                             Checking        Burke Mountain Operating Company       6/23/2017   HRTLAND PMT SYS TX                           $   (359.34)    PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170623     650000008836580
221172186                             Checking        Burke Mountain Operating Company       6/2/2017    MERCHANT SERVICE ME                          $    (79.75)    PREAUTHORIZED ACH DEBIT   Ach    MERCHANT SERVICE MERCH FEE      170531     31820
221172186                             Checking        Burke Mountain Operating Company       6/28/2017   SHIFT4-DEBITS 06                             $    (64.44)    PREAUTHORIZED ACH DEBIT   Ach    SHIFT4-DEBITS 062817IMP     0000694283
221172186                             Checking        Burke Mountain Water Company Inc       6/16/2017   0                                            $    (61.55)    ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY        FOR 05/17
221172186                             Checking        JPI Operating - 1736                   6/5/2017    AMERICAN EXPRESS AX                          $ (1,339.07)    PREAUTHORIZED ACH DEBIT   Ach    AMERICAN EXPRESS AXP DISCNT    170605     2440106714
221172186                             Checking        JPI Operating - 1736                   6/5/2017    AMERICAN EXPRESS AX                          $ (1,650.45)    PREAUTHORIZED ACH DEBIT   Ach    AMERICAN EXPRESS AXP DISCNT    170605     2440508802
221172186                             Checking        JPI Operating - 1736                   6/16/2017   0                                            $ (1,605.29)    ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY        FOR 05/17
221172186                             Checking        JPI Operating - 1736                   6/1/2017    EMBED USA LLC FI                             $   (395.00)    PREAUTHORIZED ACH DEBIT   Ach    EMBED USA LLC FIRST ACH     170601     5889229
221172186                             Checking        JPI Operating - 1736                   6/1/2017    HRTLAND PMT SYS TX                           $ (2,354.15)    PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170601     650000007491098
221172186                             Checking        JPI Operating - 1736                   6/1/2017    HRTLAND PMT SYS TX                           $    (12.61)    PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170601     650000009065528
221172186                             Checking        JPI Operating - 1736                   6/1/2017    HRTLAND PMT SYS TX                           $ (6,929.77)    PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170601     650000009073076
221172186                             Checking        JPI Operating - 1736                   6/1/2017    HRTLAND PMT SYS TX                           $ (7,370.67)    PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170601     650000009073126
221172186                             Checking        JPI Operating - 1736                   6/5/2017    HRTLAND PMT SYS TX                           $      (0.03)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170605     650000009065528
221172186                             Checking        JPI Operating - 1736                   6/9/2017    HRTLAND PMT SYS TX                           $      (0.11)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170609     650000009065528
221172186                             Checking        JPI Operating - 1736                   6/2/2017    MERCHANT SERVICE ME                          $   (223.66)    PREAUTHORIZED ACH DEBIT   Ach    MERCHANT SERVICE MERCH FEE      170531     31713
221172186                             Checking        JPI Operating - 1736                   6/28/2017   SHIFT4-DEBITS 06                             $   (220.55)    PREAUTHORIZED ACH DEBIT   Ach    SHIFT4-DEBITS 062817IMP     0000694284
221172186                             Checking        JPI Operating - 1736                   6/7/2017    VANTIV_INTG_PYMT BI                          $   (232.43)    PREAUTHORIZED ACH DEBIT   Ach    VANTIV_INTG_PYMT BILLNG       8788430111124Jay Peak Vermont
221172186                             Checking        JPI Operating - 1736                   6/7/2017    VANTIV_INTG_PYMT BI                          $   (169.85)    PREAUTHORIZED ACH DEBIT   Ach    VANTIV_INTG_PYMT BILLNG       8788430201279Jay Peak Resort - Token Machine
221172186                             Checking        JPI Operating - 1736                   6/19/2017   9.97E+14                                     $   (200.00)    BOOK TRANSFER DEBIT              REF 1701438L FUNDS TRANSFER TO DEP 6500100215 FROM             TRSFFR JPI OPR TO COVER FEES
221172186                             Checking        JPI Operating - 1736                   6/12/2017   TRANSFER TO DE                               $   (166.67)    MISCELLANEOUS DEBIT              TRANSFER TO DEPOSIT ACCOUNT 0019100316
221172186                             Checking        Mountain Road Management Company Inc   6/16/2017   0                                            $    (30.58)    ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY        FOR 05/17
221172186                             Checking        Phase II Checking - 0659               6/12/2017   0                                            $    (19.34)    ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY        FOR 05/17
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Jay Peak Resort/Burke Mountain                                168
Ending Cash Balance
                                                                                        * Rate: 0.77
                                                                         6/30/2017                  6/30/2017
                                                                          USD/CDN                      USD
                                                                         End of Day                 End of Day
Company          Bank         Account Name         Account Number       Cash Balance               Cash Balance
08 - JPI         People's     General Account          1736              3,413,662.42               3,413,662.42
08 - JPI         People's     Payroll Account          1752                       -                          -
08 - JPI         People's     Money Market Acct        7175                 21,023.58                  21,023.58
20 - JPHSP2      People's     General Account          0659                436,958.11                 436,958.11
20 - JPHSP2      People's     Money Market Acct        0667                       -                          -
380 - BMOC       People's     General Account                            2,223,063.18               2,223,063.18
380 - BMOC       People's     Savings Account                                     -                          -
381 - BMRM       People's     General Account                               74,563.91                  74,563.91
382 - BMWC       People's     General Account                               20,929.68                  20,929.68
08 - JPI         Desjardins   CDN Operating Acct                            82,048.67                  63,177.48 *
20 - JPHSP2      Desjardins   CDN Operating Acct                            37,155.91                  28,610.05 *
                                                                    $    6,309,405.46           $   6,281,988.41

                  http://www.oanda.com/currency/converter/
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Jay Peak Resort/Burke Mountain                              168
Cash Flow Statement
07/01/17 through 07/31/17


                                                                       USD
Beginning Cash Balance
    People's United Bank #          1736                    $               3,413,662
    People's United Bank #          1752                    $                     -
    People's United Bank #          7175                    $                  21,024
    People's United Bank #          0659                    $                 436,958
    People's United Bank #          0667                    $                     -
    People's United Bank #                                  $               2,223,063
    People's United Bank #                                  $                     -
    People's United Bank #                                  $                  74,564
    People's United Bank #                                  $                  20,930
    Desjardins #                                            $                  63,177
    Desjardins #                                            $                  28,610
                                                            $               6,281,988

Add Incoming:
    Receiver Funding
          Direct - Merrill Lynch Bank Accounts              $                     -
          Indirect - CitiBank Accounts                      $                 937,508
    Deposits from Operations                                $               2,557,712 A
                                                            $               3,495,220

Less Outgoing:
     Payroll & Benefits
           Jay Peak Resort                                  $              (1,318,466)
           Burke Mountain                                   $                (217,602)
     Vendor Payments
           Jay Peak Resort                                  $              (1,892,182) B
           Burke Mountain                                   $                (268,157) B
     Tax Payments
           Vermont Department of Taxes                      $                (149,047)
           Internal Revenue Service                         $                     -
     Merchant and Bank Fees                                 $                 (45,853)
                                                            $              (3,891,307)

Ending Cash Balance
    People's United Bank #          1736                    $               2,975,785
    People's United Bank #          1752                    $                     -
    People's United Bank #          7175                    $                  21,026
    People's United Bank #          0659                    $                 427,012
    People's United Bank #          0667                    $                     -
    People's United Bank #                                  $               2,294,736
    People's United Bank #                                  $                     -
    People's United Bank #                                  $                  73,427
    People's United Bank #                                  $                  22,514
    Desjardins #                                            $                  41,686
    Desjardins #                                            $                  29,715
                                                            $               5,885,901


Note A:
Canadian transactions have been converted to US Dollars based upon the following methodology:
The Canadian portion of total resort deposits was calculated to be 5% for the report period. This
percentage was applied to all resort deposits at the average CDN to USD currency exchange rate of .79 for the
report period.


Note B:
Vendor payments pertain primarily to goods and services received after April 13, 2016.
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Jay Peak Resort/Burke Mountain                                168
Beginning Cash Balance
                                                                                        * Rate: 0.77
                                                                         6/30/2017                  6/30/2017
                                                                          USD/CDN                      USD
                                                                         End of Day                 End of Day
Company          Bank         Account Name         Account Number       Cash Balance               Cash Balance
08 - JPI         People's     General Account          1736              3,413,662.42               3,413,662.42
08 - JPI         People's     Payroll Account          1752                       -                          -
08 - JPI         People's     Money Market Acct        7175                 21,023.58                  21,023.58
20 - JPHSP2      People's     General Account          0659                436,958.11                 436,958.11
20 - JPHSP2      People's     Money Market Acct        0667                       -                          -
380 - BMOC       People's     General Account                            2,223,063.18               2,223,063.18
380 - BMOC       People's     Savings Account                                     -                          -
381 - BMRM       People's     General Account                               74,563.91                  74,563.91
382 - BMWC       People's     General Account                               20,929.68                  20,929.68
08 - JPI         Desjardins   CDN Operating Acct                            82,048.67                  63,177.48 *
20 - JPHSP2      Desjardins   CDN Operating Acct                            37,155.91                  28,610.05 *
                                                                    $    6,309,405.46           $   6,281,988.41

                  http://www.oanda.com/currency/converter/
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                                     168
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Detailed Report on Receiver Funding                                        168                 Direct - Merrill Lynch/SunTrust Bank Accounts
07/01/17 through 07/31/17                                                                                                                  Indirect - CitiBank Accounts

TRC Number                             Account Number   Account Type Account Name           Post Date   Reference   Additional Reference   Amount            Description              Type   Text
221172186                                               Checking     JPI Operating - 1736   7/14/2017   1.00E+12                           $      937,508.45 INCOMING WIRE TRANSFER   Wire
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Detailed Report on Resort Deposits
07/01/17 through 07/31/17
                                                          Average Currency Exchange Rate: 0.79
                                                                                               168
                                                                                           CDN converted          original
Dept Name                                     Dept Category                                   to USD               USD               USD
Inventory/Prepaids/Receivables                Short-term Assets                           $        10,417     $       228,350    $     238,768
Capital                                       Capital Expenditures (incl. tram upgrade)   $              6    $           125    $         131
Debt/Liabilities/Deferreds/Taxes              Short-term Liabilities                      $         5,996     $       131,438    $     137,434
Investor                                      Equity                                      $           -       $           -      $         -
Administration                                S, G & A                                    $            12     $           280    $         292
Accounting                                    S, G & A                                    $              5    $           100    $         104
Information Systems                           S, G & A                                    $             (3)   $           (57)   $         (59)
Telephone                                     General Operations                          $         1,671     $        36,629    $      38,300
Human Resources                               S, G & A                                    $             (3)   $           (57)   $         (59)
Risk Management                               S, G & A                                    $           -       $           -      $         -
Administration - Food Service                 Food & Beverage                             $             (3)   $           (66)   $         (69)
Vending                                       Food & Beverage                             $           291     $         6,375    $       6,666
Tram cafeteria                                Food & Beverage                             $              3    $            59    $          61
International Restaurant                      Food & Beverage                             $         1,802     $        39,497    $      41,299
Sky Haus                                      Food & Beverage                             $           155     $         3,403    $       3,558
Golf Clubhouse Restaurant                     Food & Beverage                             $         4,258     $        93,326    $      97,584
The Foundry Pub & Grille                      Food & Beverage                             $         4,083     $        89,500    $      93,583
Buddy's Mug                                   Food & Beverage                             $           130     $         2,845    $       2,975
The Warming Shelter                           Food & Beverage                             $         1,923     $        42,161    $      44,084
Mountain Dick's Pizza                         Food & Beverage                             $         1,471     $        32,237    $      33,708
The Drink                                     Food & Beverage                             $           847     $        18,573    $      19,420
MLC F&B                                       Food & Beverage                             $           -       $           -      $         -
Stateside Daylodge - Cafeteria & Bar          Food & Beverage                             $           534     $        11,711    $      12,246
Stateside Hotel - Howie's Restaurant          Food & Beverage                             $           165     $         3,621    $       3,786
Jay Peak Provisions                           Food & Beverage                             $         4,567     $       100,119    $     104,686
Conference Services                           Food & Beverage                             $         1,496     $        32,789    $      34,285
Condo Rental Mgt.                             Hotel & Lodging                             $         2,719     $        59,594    $      62,312
Taiga Fitness & Spa                           Other Mountain Activities                   $           830     $        18,192    $      19,022
Unsold condo rental                           Hotel & Lodging                             $           -       $           -      $         -
Aroma Coffee Shop                             Food & Beverage                             $              1    $            30    $          32
Tram Haus Lodge Rest & Bar                    Food & Beverage                             $         2,546     $        55,798    $      58,344
Tram Haus Lodge                               Hotel & Lodging                             $         3,069     $        67,269    $      70,338
Lodging Reservation                           Hotel & Lodging                             $           (23)    $          (504)   $        (527)
Golf Clubhouse Lodging                        Hotel & Lodging                             $           206     $         4,524    $       4,730
Hotel Jay - Front Desk                        Hotel & Lodging                             $         5,667     $       124,219    $     129,885
Penthouse Suites                              Hotel & Lodging                             $         2,298     $        50,366    $      52,664
Golf & Mountain Suites                        Hotel & Lodging                             $         4,463     $        97,826    $     102,289
Lodge & Townhouses                            Hotel & Lodging                             $         3,137     $        68,760    $      71,897
Stateside Hotel - Front Desk                  Hotel & Lodging                             $         2,321     $        50,867    $      53,188
Ice Rink                                      Other Mountain Activities                   $         1,290     $        28,280    $      29,570
Ice Rink Snack Bar                            Food & Beverage                             $           416     $         9,129    $       9,545
Condo Assoc. - Mountain Side                  Condo Associations                          $           -       $           -      $         -
Condo Assoc. - Trail Side                     Condo Associations                          $           -       $           -      $         -
Condo Assoc. - Stoney Path                    Condo Associations                          $           -       $           -      $         -
Condo Assoc. - Slopeside I                    Condo Associations                          $           -       $           -      $         -
Condo Assoc. - Slopeside II                   Condo Associations                          $           -       $           -      $         -
Condo Assoc. - Village Association            Condo Associations                          $           -       $           -      $         -
Transfer Condo Assoc.                         Condo Associations                          $           -       $           -      $         -
Condo Assoc. - General Fees                   Condo Associations                          $           -       $           -      $         -
Admin. Mtn Operations                         Skiing Operations                           $           -       $           -      $         -
Lift Maintenance                              Skiing Operations                           $           -       $           -      $         -
Snowmaking                                    Skiing Operations                           $           -       $           -      $         -
Grooming                                      Skiing Operations                           $           -       $           -      $         -
Vehicle & Equip. Maint.                       General Operations                          $           -       $           -      $         -
Electrical                                    General Operations                          $           197     $         4,328    $       4,526
Hotel Jay - Building Maint./Engin.            Hotel & Lodging                             $           -       $           -      $         -
Roads & Parking                               General Operations                          $           -       $           -      $         -
Building Maintenance                          General Operations                          $           -       $           -      $         -
Grounds                                       General Operations                          $           -       $           -      $         -
Water & Sewer System                          General Operations                          $           -       $           -      $         -
Stateside Hotel - Building Maint./Engin.      Hotel & Lodging                             $           -       $           -      $         -
Tram Haus - Building Maint./Engin.            Hotel & Lodging                             $           -       $           -      $         -
Laundry Operations                            Hotel & Lodging                             $           -       $           -      $         -
Housekeeping - Stateside Hotel                Hotel & Lodging                             $            10     $           227    $         237
Housekeeping - Hotel Jay                      Hotel & Lodging                             $            31     $           680    $         711
Janitorial                                    Hotel & Lodging                             $           -       $           -      $         -
Security                                      General Operations                          $           -       $           -      $         -
Shuttles                                      General Operations                          $           851     $        18,653    $      19,504
Storm Crew (Storm Water + Snow Shoveling)     General Operations                          $           -       $           -      $         -
Ambassadors/Greeters                          General Operations                          $           -       $           -      $         -
Lift Operations                               Skiing Operations                           $           -       $           -      $         -
Parking Attendant                             General Operations                          $           137     $         3,005    $       3,142
Customer Service                              Skiing Operations                           $             (9)   $          (206)   $        (215)
Ticket Selling                                Skiing Operations                           $           -       $           -      $         -
Special Events                                S, G & A                                    $           783     $        17,155    $      17,938
Ski Patrol                                    Skiing Operations                           $           -       $           -      $         -
Ski Club                                      Skiing Operations                           $           -       $           -      $         -
Daycare Center                                Other Mountain Activities                   $           855     $        18,752    $      19,608
MLC Daycare Center                            Other Mountain Activities                   $           (12)    $          (270)   $        (283)
Pump House                                    Other Mountain Activities                   $        12,549     $       275,083    $     287,632
Lift sales                                    Skiing Operations                           $         1,397     $        30,627    $      32,025
Golf Maintenance                              Summer Operations                           $           -       $           -      $         -
Lockers                                       General Operations                          $           -       $           -      $         -
Wedding Barn                                  Other Mountain Activities                   $           (10)    $          (217)   $        (227)
Snowpark                                      Skiing Operations                           $           -       $           -      $         -
Elevation 1851' Family Arcade Center          Other Mountain Activities                   $         1,296     $        28,410    $      29,706
Nordic Center                                 Other Mountain Activities                   $           -       $           -      $         -
Fitness Center                                Other Mountain Activities                   $           -       $           -      $         -
MLC Summer Operations                         Summer Operations                           $           -       $           -      $         -
Amphitheater                                  Other Mountain Activities                   $           248     $         5,433    $       5,681
Ski School                                    Ski School                                  $           (14)    $          (298)   $        (311)
MLC Ski School                                Ski School                                  $           -       $           -      $         -
Sales                                         S, G & A                                    $           (20)    $          (433)   $        (453)
Marketing                                     S, G & A                                    $           (27)    $          (602)   $        (630)
Administration - Retail                       Retail                                      $              1    $            21    $          22
The Mountain Shop                             Retail                                      $           284     $         6,225    $       6,509
Rentals                                       Ski Rental/Repair                           $           (29)    $          (646)   $        (675)
Repairs                                       Ski Rental/Repair                           $           -       $           -      $         -
Golf Pro Shop                                 Summer Operations                           $         4,894     $       107,281    $     112,176
The Wave                                      Retail                                      $           720     $        15,791    $      16,511
MLC Rentals                                   Ski Rental/Repair                           $           -       $           -      $         -
Stateside Daylodge - Retail - Gear Shop       Retail                                      $            40     $           875    $         915
Stateside Daylodge - Rentals                  Ski Rental/Repair                           $           -       $           -      $         -
Construction & Development                    S, G & A                                    $           -       $           -      $         -
Real Estate                                   S, G & A                                    $           -       $           -      $         -
Antenna Lease Sky Haus                        General Operations                          $           -       $           -      $         -
Non-Operating Items                           S, G & A                                    $         4,405     $        96,555    $     100,960
EB-5 Items                                    S, G & A                                    $           -       $           -      $         -
EBITDA Items                                  S, G & A                                    $           -       $           -      $         -
Tamarack Grill                                Food & Beverage                             $           -       $           -      $         -
Mid-Burke Cafe'                               Food & Beverage                             $           -       $           -      $         -
Bear’s Den Pub                                Food & Beverage                             $           -       $           -      $         -
Trailside Patio                               Food & Beverage                             $           -       $           -      $         -
Kingdom Cafe'                                 Food & Beverage                             $           495     $        10,861    $      11,356
Banquets & Catering                           Food & Beverage                             $           -       $           -      $         -
Food & Beverage Events                        Food & Beverage                             $           -       $           -      $         -
Willoughby's Restaurant                       Food & Beverage                             $           -       $           -      $         -
The Gap Pub                                   Food & Beverage                             $         2,557     $        56,046    $      58,602
Coffee Shop                                   Food & Beverage                             $           167     $         3,664    $       3,831
Day Lodge Servery                             Food & Beverage                             $           -       $           -      $         -
Hotel Banquets                                Food & Beverage                             $           569     $        12,468    $      13,037
Hotel F&B Events                              Food & Beverage                             $           -       $           -      $         -
Hotel Pre-Opening Costs                       Hotel & Lodging                             $           -       $           -      $         -
Hotel Operations/Front Desk                   Hotel & Lodging                             $         7,745     $       169,770    $     177,515
Hotel Building Maintenance                    Hotel & Lodging                             $           -       $           -      $         -
Hotel Housekeeping                            Hotel & Lodging                             $           -       $           -      $         -
Hotel Laundry Ops                             Hotel & Lodging                             $           -       $           -      $         -
Hotel Janitorial                              Hotel & Lodging                             $           -       $           -      $         -
Hotel Utilities                               Hotel & Lodging                             $           -       $           -      $         -
Rental Operations - Campground                Hotel & Lodging                             $           990     $        21,701    $      22,691
Mountain Operations                           Skiing Operations                           $           -       $           -      $         -
Property Operations                           General Operations                          $           -       $           -      $         -
Mountain Biking                               Summer Operations                           $         1,352     $        29,642    $      30,994
Summer Programs                               Summer Operations                           $           -       $           -      $         -
Retail                                        Retail                                      $            65     $         1,425    $       1,490
Base Lodge Rentals                            Ski Rental/Repair                           $           -       $           -      $         -
Vertical Drop Retail                          Retail                                      $           125     $         2,732    $       2,857
Bear Essentials Retail                        Retail                                      $           -       $           -      $         -
Arcade                                        Other Mountain Activities                   $           186     $         4,070    $       4,256
Hotel Ski Rental/Repair & Day Lockers         Ski Rental/Repair                           $              0    $             0    $           0
AT&T Tower Lease                              General Operations                          $           -       $           -      $         -
Fixed Expenses                                General Operations                          $           -       $           -      $         -
Utilities                                     General Operations                          $           -       $           -      $         -
Developer Land Sales                          S, G & A                                    $           -       $           -      $         -
Management Company Fees                       S, G & A                                    $           -       $           -      $         -
                                                                                          $       111,592     $     2,446,120    $   2,557,712

Summary of Departmental Deposits into Major Line of Business Categories

                                              Dept Category                                                                          USD
                                              Short-term Assets                                                                  $     238,768
                                              Capital Expenditures (incl. tram upgrade)                                          $         131
                                              Short-term Liabilities                                                             $     137,434
                                              Equity                                                                             $         -
                                              S, G & A                                                                           $     118,093
                                              General Operations                                                                 $      65,473
                                              Food & Beverage                                                                    $     652,621
                                              Hotel & Lodging                                                                    $     747,932
                                              Other Mountain Activities                                                          $     394,965
                                              Condo Associations                                                                 $         -
                                              Skiing Operations                                                                  $      31,809
                                              Summer Operations                                                                  $     143,169
                                              Ski School                                                                         $        (311)
                                              Retail                                                                             $      28,305
                                              Ski Rental/Repair                                                                  $        (675)
                                                                                                                                 $   2,557,712
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Detailed Report on Payroll and Benefits Payments
07/01/17 through 07/31/17
                                                                                      168
                                                                                       Jay Peak Resort Payroll
                                                                                       Burke Mountain Payroll

TRC Number    Account Number      Account Type     Account Name                       Post Date   Reference             Additional Reference
                                                                                                                                         Amount              Description               Type   Text
221172186                         Checking         Burke Mountain Operating Company   7/3/2017    MEMIC Indemnity AC                     $        (5,805.14) PREAUTHORIZED ACH DEBIT   Ach    MEMIC Indemnity ACHTRANS          170703        7110075
221172186                         Checking         Burke Mountain Operating Company   7/17/2017   MEMIC Indemnity AC                     $        (5,849.02) PREAUTHORIZED ACH DEBIT   Ach    MEMIC Indemnity ACHTRANS          170717        7540037
221172186                         Checking         Burke Mountain Operating Company   7/31/2017   MEMIC Indemnity AC                     $        (6,228.82) PREAUTHORIZED ACH DEBIT   Ach    MEMIC Indemnity ACHTRANS          170731        8060279
221172186                         Checking         JPI Operating - 1736               7/14/2017   BANCORPSV        BA                    $           (16.28) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV       WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               7/18/2017   BANCORPSV        BA                    $          (190.00) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV       WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               7/18/2017   BANCORPSV        BA                    $          (232.00) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV       WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               7/18/2017   BANCORPSV        BA                    $           (15.00) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV       WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               7/21/2017   BANCORPSV        BA                    $           (29.75) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV       WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               7/25/2017   BANCORPSV        BA                    $           (24.63) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV       WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               7/25/2017   BANCORPSV        BA                    $          (395.58) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV       WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               7/25/2017   BANCORPSV        BA                    $            (9.69) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV       WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               7/31/2017   BANCORPSV        BA                    $           (15.00) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV       WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               7/12/2017   CIGNA EDGE TRANS CO                    $        (1,168.40) PREAUTHORIZED ACH DEBIT   Ach    CIGNA EDGE TRANS COLLECTION         170712        601700092736 ---BURKE PORTION---
221172186                         Checking         JPI Operating - 1736               7/20/2017   CIGNA EDGE TRANS CO                    $       (19,376.32) PREAUTHORIZED ACH DEBIT   Ach    CIGNA EDGE TRANS COLLECTION         170720        600500070328 ---BURKE PORTION---
221172186                         Checking         JPI Operating - 1736               7/11/2017   1.00071E+12                            $       (88,811.79) OUTGOING WIRE TRANSFER           --- BURKE PORTION---
221172186                         Checking         JPI Operating - 1736               7/25/2017   1.00073E+12                            $       (89,434.56) OUTGOING WIRE TRANSFER           --- BURKE PORTION---
221172186                         Checking         JPI Operating - 1736               7/3/2017    MAINEEMPLOYERSMU WO                    $       (25,837.81) PREAUTHORIZED ACH DEBIT   Ach    MAINEEMPLOYERSMU WORKERSCOM               170703       4368354
221172186                         Checking         JPI Operating - 1736               7/3/2017    MAINEEMPLOYERSMU WO                    $       (43,015.19) PREAUTHORIZED ACH DEBIT   Ach    MAINEEMPLOYERSMU WORKERSCOM               170703       4368355
221172186                         Checking         JPI Operating - 1736               7/3/2017    BANCORPSV        BA                    $           (19.85) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV       WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               7/5/2017    BANCORPSV        BA                    $           (95.00) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV       WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               7/6/2017    BANCORPSV        BA                    $        (1,336.31) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV       WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               7/6/2017    BANCORPSV        BA                    $            (3.47) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV       WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               7/7/2017    BANCORPSV        BA                    $            (3.26) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV       WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               7/10/2017   BANCORPSV        BA                    $            (3.90) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV       WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               7/11/2017   BANCORPSV        BA                    $          (214.22) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV       WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               7/11/2017   BANCORPSV        BA                    $           (14.59) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV       WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               7/11/2017   BANCORPSV        BA                    $        (1,005.00) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV       WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               7/12/2017   CIGNA EDGE TRANS CO                    $        (8,455.78) PREAUTHORIZED ACH DEBIT   Ach    CIGNA EDGE TRANS COLLECTION         170712        601700092736 ---JAY PORTION---
221172186                         Checking         JPI Operating - 1736               7/20/2017   CIGNA EDGE TRANS CO                    $      (107,862.91) PREAUTHORIZED ACH DEBIT   Ach    CIGNA EDGE TRANS COLLECTION         170720        600500070328 ---JAY PORTION---
221172186                         Checking         JPI Operating - 1736               7/12/2017   DISCOVERY BENEFI CL                    $          (269.24) PREAUTHORIZED ACH DEBIT   Ach    DISCOVERY BENEFI CLAIM FUND         170712        21194030194601
221172186                         Checking         JPI Operating - 1736               7/14/2017   DISCOVERY BENEFI CL                    $          (134.62) PREAUTHORIZED ACH DEBIT   Ach    DISCOVERY BENEFI CLAIM FUND         170714        21194030194601
221172186                         Checking         JPI Operating - 1736               7/17/2017   DISCOVERY BENEFI CL                    $          (206.07) PREAUTHORIZED ACH DEBIT   Ach    DISCOVERY BENEFI CLAIM FUND         170717        21194030194601
221172186                         Checking         JPI Operating - 1736               7/26/2017   DISCOVERY BENEFI CL                    $          (736.93) PREAUTHORIZED ACH DEBIT   Ach    DISCOVERY BENEFI CLAIM FUND         170726        21194030194601
221172186                         Checking         JPI Operating - 1736               7/28/2017   DISCOVERY BENEFI CL                    $          (326.93) PREAUTHORIZED ACH DEBIT   Ach    DISCOVERY BENEFI CLAIM FUND         170728        21194030194601
221172186                         Checking         JPI Operating - 1736               7/31/2017   DISCOVERY BENEFI CL                    $          (160.00) PREAUTHORIZED ACH DEBIT   Ach    DISCOVERY BENEFI CLAIM FUND         170731        21194030194601
221172186                         Checking         JPI Operating - 1736               7/25/2017   DISCOVERY BENEFI DB                    $          (305.50) PREAUTHORIZED ACH DEBIT   Ach    DISCOVERY BENEFI DBI Admin        170725
221172186                         Checking         JPI Operating - 1736               7/14/2017   DISCOVERY BENEFI DB                    $         1,939.05 PREAUTHORIZED ACH CREDIT   Ach    DISCOVERY BENEFI DBI COBRA         170714        21194000
221172186                         Checking         JPI Operating - 1736               7/3/2017    MEMIC Indemnity AC                     $       (26,202.73) PREAUTHORIZED ACH DEBIT   Ach    MEMIC Indemnity ACHTRANS          170703        7111139
221172186                         Checking         JPI Operating - 1736               7/17/2017   MEMIC Indemnity AC                     $       (27,160.19) PREAUTHORIZED ACH DEBIT   Ach    MEMIC Indemnity ACHTRANS          170717        7541085
221172186                         Checking         JPI Operating - 1736               7/31/2017   MEMIC Indemnity AC                     $       (29,089.37) PREAUTHORIZED ACH DEBIT   Ach    MEMIC Indemnity ACHTRANS          170731        8061357
221172186                         Checking         JPI Operating - 1736               7/13/2017   Voya Nat Trst182 SP                    $        (6,245.97) PREAUTHORIZED ACH DEBIT   Ach    Voya Nat Trst182 SPNSR P/R      170713        811437 0001
221172186                         Checking         JPI Operating - 1736               7/27/2017   Voya Nat Trst182 SP                    $        (6,321.07) PREAUTHORIZED ACH DEBIT   Ach    Voya Nat Trst182 SPNSR P/R      170727        811437 0001
221172186                         Checking         JPI Operating - 1736               7/11/2017   1.00071E+12                            $      (487,391.27) OUTGOING WIRE TRANSFER           ---JAY PORTION---
221172186                         Checking         JPI Operating - 1736               7/25/2017   1.00073E+12                            $      (533,984.52) OUTGOING WIRE TRANSFER           ---JAY PORTION---
221172186                         Checking         JPI Operating - 1736               7/19/2017   1000720000000                          $        (8,105.14) OUTGOING WIRE TRANSFER           (combo of $26K VT healthcare contribution and -$18K VT SUI)
221172186                         Checking         JPI Payroll - 1752                 7/31/2017   PAYCHEX       PA                       $           608.50 PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX       PAYROLL       170731        72178200006152X
221172186                         Checking         JPI Payroll - 1752                 7/31/2017   PAYCHEX       PA                       $           724.71 PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX       PAYROLL       170731        72178200006153X
221172186                         Checking         JPI Payroll - 1752                 7/12/2017   PAYCHEX CGS GA                         $        (2,960.14) PREAUTHORIZED ACH DEBIT   Ach    PAYCHEX CGS GARNISH            170712        COL0071998858
221172186                         Checking         JPI Payroll - 1752                 7/26/2017   PAYCHEX CGS GA                         $        (2,873.55) PREAUTHORIZED ACH DEBIT   Ach    PAYCHEX CGS GARNISH            170726        COL0072288479
221172186                         Checking         JPI Payroll - 1752                 7/13/2017   PAYCHEX EIB     IN                     $        (2,009.24) PREAUTHORIZED ACH DEBIT   Ach    PAYCHEX EIB     INVOICE       170713        X72051100002772
221172186                         Checking         JPI Payroll - 1752                 7/27/2017   PAYCHEX EIB     IN                     $        (2,006.41) PREAUTHORIZED ACH DEBIT   Ach    PAYCHEX EIB     INVOICE       170727        X72256600000166
221172186                         Checking         JPI Payroll - 1752                 7/12/2017   PAYCHEX TPS TA                         $            (2.81) PREAUTHORIZED ACH DEBIT   Ach    PAYCHEX TPS TAXES           170712         72064400001764X
221172186                         Checking         JPI Payroll - 1752                 7/14/2017   PAYCHEX-HRS HR                         $          (295.69) PREAUTHORIZED ACH DEBIT   Ach    PAYCHEX-HRS HRS PMT            170714        25375508
221172186                         Checking         JPI Payroll - 1752                 7/3/2017    PAYCHEX-RCX PA                         $         1,055.58 PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX-RCX PAYROLL            170703        71807000008553X
221172186                         Checking         JPI Payroll - 1752                 7/3/2017    PAYCHEX-RCX PA                         $           457.69 PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX-RCX PAYROLL            170703        71807000008593X
221172186                         Checking         JPI Payroll - 1752                 7/11/2017   PAYCHEX-RCX PA                         $           122.36 PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX-RCX PAYROLL            170711        72045800000303X
221172186                         Checking         JPI Payroll - 1752                 7/17/2017   PAYCHEX-RCX PA                         $           544.70 PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX-RCX PAYROLL            170717        72120000000095X
221172186                         Checking         JPI Payroll - 1752                 7/18/2017   PAYCHEX-RCX PA                         $           175.24 PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX-RCX PAYROLL            170718        72136900000946X
221172186                         Checking         JPI Payroll - 1752                 7/25/2017   PAYCHEX-RCX PA                         $           560.64 PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX-RCX PAYROLL            170725        72229300001189X
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Detailed Report on Vendor Payments
07/01/17 through 07/31/17
                                                         Average Currency Exchange Rate: 0.79
                                                                                              168
                                                                                         CDN converted        original
Dept Name                                    Dept Category                                  to USD             USD             USD
Inventory/Prepaids/Receivables               Short-term Assets                           $          -     $      188,843   $     188,843
Capital                                      Capital Expenditures (incl. tram upgrade)   $          -     $      789,844   $     789,844
Debt/Liabilities/Deferreds/Taxes             Short-term Liabilities                      $          -     $      124,502   $     124,502
Investor                                     Equity                                      $          -     $          -     $         -
Administration                               S, G & A                                    $          -     $       21,129   $      21,129
Accounting                                   S, G & A                                    $          -     $      171,097   $     171,097
Information Systems                          S, G & A                                    $          -     $        5,042   $       5,042
Telephone                                    General Operations                          $          -     $        6,782   $       6,782
Human Resources                              S, G & A                                    $          -     $       12,863   $      12,863
Risk Management                              S, G & A                                    $          -     $          337   $         337
Administration - Food Service                Food & Beverage                             $          -     $          330   $         330
Vending                                      Food & Beverage                             $          -     $          -     $         -
Tram cafeteria                               Food & Beverage                             $          -     $          -     $         -
International Restaurant                     Food & Beverage                             $          -     $          -     $         -
Sky Haus                                     Food & Beverage                             $          -     $          -     $         -
Golf Clubhouse Restaurant                    Food & Beverage                             $          -     $        9,518   $       9,518
The Foundry Pub & Grille                     Food & Beverage                             $          -     $      126,633   $     126,633
Buddy's Mug                                  Food & Beverage                             $          -     $          -     $         -
The Warming Shelter                          Food & Beverage                             $          -     $        1,555   $       1,555
Mountain Dick's Pizza                        Food & Beverage                             $          -     $          -     $         -
The Drink                                    Food & Beverage                             $          -     $          -     $         -
MLC F&B                                      Food & Beverage                             $          -     $          -     $         -
Stateside Daylodge - Cafeteria & Bar         Food & Beverage                             $          -     $          -     $         -
Stateside Hotel - Howie's Restaurant         Food & Beverage                             $          -     $          -     $         -
Jay Peak Provisions                          Food & Beverage                             $          -     $       12,202   $      12,202
Conference Services                          Food & Beverage                             $          -     $       51,079   $      51,079
Condo Rental Mgt.                            Hotel & Lodging                             $          -     $        1,943   $       1,943
Taiga Fitness & Spa                          Other Mountain Activities                   $          -     $           69   $          69
Unsold condo rental                          Hotel & Lodging                             $          -     $          -     $         -
Aroma Coffee Shop                            Food & Beverage                             $          -     $          -     $         -
Tram Haus Lodge Rest & Bar                   Food & Beverage                             $          -     $        6,764   $       6,764
Tram Haus Lodge                              Hotel & Lodging                             $          -     $        7,710   $       7,710
Lodging Reservation                          Hotel & Lodging                             $          -     $        2,865   $       2,865
Golf Clubhouse Lodging                       Hotel & Lodging                             $          -     $          710   $         710
Hotel Jay - Front Desk                       Hotel & Lodging                             $          -     $        2,199   $       2,199
Penthouse Suites                             Hotel & Lodging                             $          -     $          -     $         -
Golf & Mountain Suites                       Hotel & Lodging                             $          -     $          550   $         550
Lodge & Townhouses                           Hotel & Lodging                             $          -     $          -     $         -
Stateside Hotel - Front Desk                 Hotel & Lodging                             $          -     $          -     $         -
Ice Rink                                     Other Mountain Activities                   $          -     $        4,567   $       4,567
Ice Rink Snack Bar                           Food & Beverage                             $          -     $          -     $         -
Condo Assoc. - Mountain Side                 Condo Associations                          $          -     $          -     $         -
Condo Assoc. - Trail Side                    Condo Associations                          $          -     $          -     $         -
Condo Assoc. - Stoney Path                   Condo Associations                          $          -     $          -     $         -
Condo Assoc. - Slopeside I                   Condo Associations                          $          -     $          -     $         -
Condo Assoc. - Slopeside II                  Condo Associations                          $          -     $          -     $         -
Condo Assoc. - Village Association           Condo Associations                          $          -     $        1,461   $       1,461
Transfer Condo Assoc.                        Condo Associations                          $          -     $          -     $         -
Condo Assoc. - General Fees                  Condo Associations                          $          -     $          -     $         -
Admin. Mtn Operations                        Skiing Operations                           $          -     $          -     $         -
Lift Maintenance                             Skiing Operations                           $          -     $       48,282   $      48,282
Snowmaking                                   Skiing Operations                           $          -     $       52,461   $      52,461
Grooming                                     Skiing Operations                           $          -     $        8,331   $       8,331
Vehicle & Equip. Maint.                      General Operations                          $          -     $       38,405   $      38,405
Electrical                                   General Operations                          $          -     $       32,179   $      32,179
Hotel Jay - Building Maint./Engin.           Hotel & Lodging                             $          -     $       15,736   $      15,736
Roads & Parking                              General Operations                          $          -     $          -     $         -
Building Maintenance                         General Operations                          $          -     $       16,562   $      16,562
Grounds                                      General Operations                          $          -     $          708   $         708
Water & Sewer System                         General Operations                          $          -     $        9,327   $       9,327
Stateside Hotel - Building Maint./Engin.     Hotel & Lodging                             $          -     $        1,575   $       1,575
Tram Haus - Building Maint./Engin.           Hotel & Lodging                             $          -     $        1,415   $       1,415
Laundry Operations                           Hotel & Lodging                             $          -     $          -     $         -
Housekeeping - Stateside Hotel               Hotel & Lodging                             $          -     $        2,427   $       2,427
Housekeeping - Hotel Jay                     Hotel & Lodging                             $          -     $          -     $         -
Janitorial                                   Hotel & Lodging                             $          -     $          -     $         -
Security                                     General Operations                          $          -     $          -     $         -
Shuttles                                     General Operations                          $          -     $          472   $         472
Storm Crew (Storm Water + Snow Shoveling)    General Operations                          $          -     $          240   $         240
Ambassadors/Greeters                         General Operations                          $          -     $          -     $         -
Lift Operations                              Skiing Operations                           $          -     $          -     $         -
Parking Attendant                            General Operations                          $          -     $        3,080   $       3,080
Customer Service                             Skiing Operations                           $          -     $          -     $         -
Ticket Selling                               Skiing Operations                           $          -     $          -     $         -
Special Events                               S, G & A                                    $          -     $        8,490   $       8,490
Ski Patrol                                   Skiing Operations                           $          -     $          741   $         741
Ski Club                                     Skiing Operations                           $          -     $          -     $         -
Daycare Center                               Other Mountain Activities                   $          -     $           90   $          90
MLC Daycare Center                           Other Mountain Activities                   $          -     $          -     $         -
Pump House                                   Other Mountain Activities                   $          -     $       18,928   $      18,928
Lift sales                                   Skiing Operations                           $          -     $          -     $         -
Golf Maintenance                             Summer Operations                           $          -     $        5,097   $       5,097
Lockers                                      General Operations                          $          -     $          -     $         -
Wedding Barn                                 Other Mountain Activities                   $          -     $          -     $         -
Snowpark                                     Skiing Operations                           $          -     $          -     $         -
Elevation 1851' Family Arcade Center         Other Mountain Activities                   $          -     $        2,704   $       2,704
Nordic Center                                Other Mountain Activities                   $          -     $          -     $         -
Fitness Center                               Other Mountain Activities                   $          -     $          -     $         -
MLC Summer Operations                        Summer Operations                           $          -     $        4,096   $       4,096
Amphitheater                                 Other Mountain Activities                   $          -     $       50,176   $      50,176
Ski School                                   Ski School                                  $          -     $          662   $         662
MLC Ski School                               Ski School                                  $          -     $          -     $         -
Sales                                        S, G & A                                    $          -     $        3,289   $       3,289
Marketing                                    S, G & A                                    $       26,180   $      133,913   $     160,094
Administration - Retail                      Retail                                      $          -     $          -     $         -
The Mountain Shop                            Retail                                      $          -     $          281   $         281
Rentals                                      Ski Rental/Repair                           $          -     $          -     $         -
Repairs                                      Ski Rental/Repair                           $          -     $          -     $         -
Golf Pro Shop                                Summer Operations                           $          -     $          479   $         479
The Wave                                     Retail                                      $          -     $          -     $         -
MLC Rentals                                  Ski Rental/Repair                           $          -     $          -     $         -
Stateside Daylodge - Retail - Gear Shop      Retail                                      $          -     $          -     $         -
Stateside Daylodge - Rentals                 Ski Rental/Repair                           $          -     $          -     $         -
Construction & Development                   S, G & A                                    $          -     $       21,505   $      21,505
Real Estate                                  S, G & A                                    $          -     $          -     $         -
Antenna Lease Sky Haus                       General Operations                          $          -     $       24,241   $      24,241
Non-Operating Items                          S, G & A                                    $          -     $       31,367   $      31,367
EB-5 Items                                   S, G & A                                    $          -     $          -     $         -
EBITDA Items                                 S, G & A                                    $          -     $        3,726   $       3,726
Tamarack Grill                               Food & Beverage                             $          -     $        1,000   $       1,000
Mid-Burke Cafe'                              Food & Beverage                             $          -     $          -     $         -
Bear’s Den Pub                               Food & Beverage                             $          -     $          900   $         900
Trailside Patio                              Food & Beverage                             $          -     $        1,017   $       1,017
Kingdom Cafe'                                Food & Beverage                             $          -     $          557   $         557
Banquets & Catering                          Food & Beverage                             $          -     $          -     $         -
Food & Beverage Events                       Food & Beverage                             $          -     $          -     $         -
Willoughby's Restaurant                      Food & Beverage                             $          -     $        1,010   $       1,010
The Gap Pub                                  Food & Beverage                             $          -     $       14,834   $      14,834
Coffee Shop                                  Food & Beverage                             $          -     $          -     $         -
Day Lodge Servery                            Food & Beverage                             $          -     $          -     $         -
Hotel Banquets                               Food & Beverage                             $          -     $          -     $         -
Hotel F&B Events                             Food & Beverage                             $          -     $          -     $         -
Hotel Pre-Opening Costs                      Hotel & Lodging                             $          -     $        1,875   $       1,875
Hotel Operations/Front Desk                  Hotel & Lodging                             $          -     $        4,798   $       4,798
Hotel Building Maintenance                   Hotel & Lodging                             $          -     $        4,213   $       4,213
Hotel Housekeeping                           Hotel & Lodging                             $          -     $        1,015   $       1,015
Hotel Laundry Ops                            Hotel & Lodging                             $          -     $          547   $         547
Hotel Janitorial                             Hotel & Lodging                             $          -     $          -     $         -
Hotel Utilities                              Hotel & Lodging                             $          -     $          -     $         -
Rental Operations - Campground               Hotel & Lodging                             $          -     $          -     $         -
Mountain Operations                          Skiing Operations                           $          -     $        8,521   $       8,521
Property Operations                          General Operations                          $          -     $          -     $         -
Mountain Biking                              Summer Operations                           $          -     $        1,220   $       1,220
Summer Programs                              Summer Operations                           $          -     $          -     $         -
Retail                                       Retail                                      $          -     $          -     $         -
Base Lodge Rentals                           Ski Rental/Repair                           $          -     $          -     $         -
Vertical Drop Retail                         Retail                                      $          -     $          597   $         597
Bear Essentials Retail                       Retail                                      $          -     $          -     $         -
Arcade                                       Other Mountain Activities                   $          -     $          -     $         -
Hotel Ski Rental/Repair & Day Lockers        Ski Rental/Repair                           $          -     $          -     $         -
AT&T Tower Lease                             General Operations                          $          -     $          -     $         -
Fixed Expenses                               General Operations                          $          -     $          408   $         408
Utilities                                    General Operations                          $          -     $           71   $          71
Developer Land Sales                         S, G & A                                    $          -     $          -     $         -
Management Company Fees                      S, G & A                                    $          -     $          -     $         -
                                                                                         $       26,180   $    2,134,159   $   2,160,339

Summary of Departmental Vendor Payments into Major Line of Business Categories

                                             Dept Category                                                                     USD
                                             Short-term Assets                                                             $     188,843
                                             Capital Expenditures (incl. tram upgrade)                                     $     789,844
                                             Short-term Liabilities                                                        $     124,502
                                             Equity                                                                        $         -
                                             S, G & A                                                                      $     438,937
                                             General Operations                                                            $     132,475
                                             Food & Beverage                                                               $     227,399
                                             Hotel & Lodging                                                               $      49,577
                                             Other Mountain Activities                                                     $      76,535
                                             Condo Associations                                                            $       1,461
                                             Skiing Operations                                                             $     118,335
                                             Summer Operations                                                             $      10,891
                                             Ski School                                                                    $         662
                                             Retail                                                                        $         877
                                             Ski Rental/Repair                                                             $         -
                                                                                                                           $   2,160,339
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                                                                               Vermont Department of Taxes
07/01/17 through 07/31/17                                                                                           Internal Revenue Service

TRC Number Account Number     Account Type   Account Name                       Post Date   Reference               Amount              Description               Type   Text
221172186                     Checking       Burke Mountain Operating Company   7/25/2017   VTAX EFT DEPOSIT   AC   $    (17,116.12)    PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT   ACH DEBIT   170725
221172186                     Checking       Burke Mountain Operating Company   7/25/2017   VTAX EFT DEPOSIT   AC   $    (20,895.68)    PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT   ACH DEBIT   170725
221172186                     Checking       JPI Operating - 1736               7/25/2017   VTAX EFT DEPOSIT   AC   $    (58,059.24)    PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT   ACH DEBIT   170725
221172186                     Checking       JPI Operating - 1736               7/25/2017   VTAX EFT DEPOSIT   AC   $    (45,224.14)    PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT   ACH DEBIT   170725
221172186                     Checking       Phase II Checking - 0659           7/25/2017   VTAX EFT DEPOSIT   AC   $      (7,751.97)   PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT   ACH DEBIT   170725
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TRC Number       Account Number       Account Type    Account Name                           Post Date   Reference             Additional Reference   Amount          Description               Type   Text
221172186                             Checking        Burke Mountain Operating Company       7/18/2017   0                                            $    (431.31)   ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY        FOR 06/17
221172186                             Checking        Burke Mountain Operating Company       7/5/2017    AMERICAN EXPRESS AX                          $    (605.05)   PREAUTHORIZED ACH DEBIT   Ach    AMERICAN EXPRESS AXP DISCNT    170705     2440383446
221172186                             Checking        Burke Mountain Operating Company       7/5/2017    AUTHNET GATEWAY BI                           $     (46.85)   PREAUTHORIZED ACH DEBIT   Ach    AUTHNET GATEWAY BILLING       170705     97509199
221172186                             Checking        Burke Mountain Operating Company       7/3/2017    EMBED USA LLC FI                             $    (195.00)   PREAUTHORIZED ACH DEBIT   Ach    EMBED USA LLC FIRST ACH     170703     5967782
221172186                             Checking        Burke Mountain Operating Company       7/3/2017    HRTLAND PMT SYS TX                           $ (1,752.66)    PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170703     650000008432737
221172186                             Checking        Burke Mountain Operating Company       7/3/2017    HRTLAND PMT SYS TX                           $     (49.28)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170703     650000008624093
221172186                             Checking        Burke Mountain Operating Company       7/3/2017    HRTLAND PMT SYS TX                           $ (5,389.13)    PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170703     650000008836580
221172186                             Checking        Burke Mountain Operating Company       7/3/2017    HRTLAND PMT SYS TX                           $ (1,079.05)    PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170703     650000009220552
221172186                             Checking        Burke Mountain Operating Company       7/3/2017    HRTLAND PMT SYS TX                           $ (1,228.34)    PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170703     650000009411672
221172186                             Checking        Burke Mountain Operating Company       7/3/2017    HRTLAND PMT SYS TX                           $ (2,534.87)    PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170703     650000009411730
221172186                             Checking        Burke Mountain Operating Company       7/3/2017    MERCHANT SERVICE ME                          $    (121.70)   PREAUTHORIZED ACH DEBIT   Ach    MERCHANT SERVICE MERCH FEE      170630     31820
221172186                             Checking        Burke Mountain Operating Company       7/18/2017   SHIFT4-DEBITS 07                             $     (75.00)   PREAUTHORIZED ACH DEBIT   Ach    SHIFT4-DEBITS 071817VS     REF*IV*PAYMENT*INVOICE I64505\
221172186                             Checking        Burke Mountain Operating Company       7/27/2017   SHIFT4-DEBITS 07                             $     (73.13)   PREAUTHORIZED ACH DEBIT   Ach    SHIFT4-DEBITS 072717IMP     0000704441
221172186                             Checking        Burke Mountain Water Company Inc       7/18/2017   0                                            $     (33.30)   ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY        FOR 06/17
221172186                             Checking        JPI Operating - 1736                   7/18/2017   0                                            $ (1,442.54)    ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY        FOR 06/17
221172186                             Checking        JPI Operating - 1736                   7/5/2017    AMERICAN EXPRESS AX                          $ (1,633.05)    PREAUTHORIZED ACH DEBIT   Ach    AMERICAN EXPRESS AXP DISCNT    170705     2440106714
221172186                             Checking        JPI Operating - 1736                   7/5/2017    AMERICAN EXPRESS AX                          $ (2,094.89)    PREAUTHORIZED ACH DEBIT   Ach    AMERICAN EXPRESS AXP DISCNT    170705     2440508802
221172186                             Checking        JPI Operating - 1736                   7/3/2017    EMBED USA LLC FI                             $    (395.00)   PREAUTHORIZED ACH DEBIT   Ach    EMBED USA LLC FIRST ACH     170703     5964342
221172186                             Checking        JPI Operating - 1736                   7/3/2017    HRTLAND PMT SYS TX                           $ (2,905.36)    PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170703     650000007491098
221172186                             Checking        JPI Operating - 1736                   7/3/2017    HRTLAND PMT SYS TX                           $     (12.21)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170703     650000009065528
221172186                             Checking        JPI Operating - 1736                   7/3/2017    HRTLAND PMT SYS TX                           $ (10,830.49)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170703     650000009073076
221172186                             Checking        JPI Operating - 1736                   7/3/2017    HRTLAND PMT SYS TX                           $ (11,387.93)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170703     650000009073126
221172186                             Checking        JPI Operating - 1736                   7/7/2017    HRTLAND PMT SYS TX                           $      (0.06)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170707     650000009065528
221172186                             Checking        JPI Operating - 1736                   7/12/2017   HRTLAND PMT SYS TX                           $      (0.04)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170712     650000009065528
221172186                             Checking        JPI Operating - 1736                   7/14/2017   HRTLAND PMT SYS TX                           $      (0.05)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170714     650000009065528
221172186                             Checking        JPI Operating - 1736                   7/18/2017   HRTLAND PMT SYS TX                           $      (0.11)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170718     650000009065528
221172186                             Checking        JPI Operating - 1736                   7/26/2017   HRTLAND PMT SYS TX                           $      (0.03)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170726     650000009065528
221172186                             Checking        JPI Operating - 1736                   7/28/2017   HRTLAND PMT SYS TX                           $      (0.06)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170728     650000009065528
221172186                             Checking        JPI Operating - 1736                   7/31/2017   HRTLAND PMT SYS TX                           $      (0.05)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170731     650000009065528
221172186                             Checking        JPI Operating - 1736                   7/3/2017    MERCHANT SERVICE ME                          $    (299.14)   PREAUTHORIZED ACH DEBIT   Ach    MERCHANT SERVICE MERCH FEE      170630     31713
221172186                             Checking        JPI Operating - 1736                   7/27/2017   SHIFT4-DEBITS 07                             $    (220.82)   PREAUTHORIZED ACH DEBIT   Ach    SHIFT4-DEBITS 072717IMP     0000704442
221172186                             Checking        JPI Operating - 1736                   7/6/2017    VANTIV_INTG_PYMT BI                          $    (197.21)   PREAUTHORIZED ACH DEBIT   Ach    VANTIV_INTG_PYMT BILLNG       8788430111124Jay Peak Vermont
221172186                             Checking        JPI Operating - 1736                   7/6/2017    VANTIV_INTG_PYMT BI                          $     (90.35)   PREAUTHORIZED ACH DEBIT   Ach    VANTIV_INTG_PYMT BILLNG       8788430201279Jay Peak Resort - Token Machine
221172186                             Checking        JPI Operating - 1736                   7/12/2017   TRANSFER TO DE                               $    (166.67)   MISCELLANEOUS DEBIT              TRANSFER TO DEPOSIT ACCOUNT 0019100316
221172186                             Checking        JPI Operating - 1736                   7/12/2017   TRANSFER TO DE                               $    (500.00)   MISCELLANEOUS DEBIT              TRANSFER TO DEPOSIT ACCOUNT 0019100316
221172186                             Checking        Mountain Road Management Company Inc   7/18/2017   0                                            $     (38.48)   ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY        FOR 06/17
221172186                             Checking        Phase II Checking - 0659               7/11/2017   0                                            $     (23.72)   ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY        FOR 06/17
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Jay Peak Resort/Burke Mountain                                168
Ending Cash Balance
                                                                                        * Rate: 0.8
                                                                         7/31/2017                   7/31/2017
                                                                          USD/CDN                       USD
                                                                         End of Day                  End of Day
Company          Bank         Account Name         Account Number       Cash Balance                Cash Balance
08 - JPI         People's     General Account          1736              2,975,785.12                 2,975,785.12
08 - JPI         People's     Payroll Account          1752                       -                            -
08 - JPI         People's     Money Market Acct        7175                 21,026.26                    21,026.26
20 - JPHSP2      People's     General Account          0659                427,012.40                   427,012.40
20 - JPHSP2      People's     Money Market Acct        0667                       -                            -
380 - BMOC       People's     General Account                            2,294,735.78                 2,294,735.78
380 - BMOC       People's     Savings Account                                     -                            -
381 - BMRM       People's     General Account                               73,426.97                    73,426.97
382 - BMWC       People's     General Account                               22,514.19                    22,514.19
08 - JPI         Desjardins   CDN Operating Acct                            52,107.68                    41,686.14 *
20 - JPHSP2      Desjardins   CDN Operating Acct                            37,143.41                    29,714.73 *
                                                                    $    5,903,751.81           $     5,885,901.59

                  http://www.oanda.com/currency/converter/
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Jay Peak Resort/Burke Mountain                              168
Cash Flow Statement
08/01/17 through 08/31/17


                                                                       USD
Beginning Cash Balance
    People's United Bank #          1736                    $               2,975,785
    People's United Bank #          1752                    $                     -
    People's United Bank #          7175                    $                  21,026
    People's United Bank #          0659                    $                 427,012
    People's United Bank #          0667                    $                     -
    People's United Bank #                                  $               2,294,736
    People's United Bank #                                  $                     -
    People's United Bank #                                  $                  73,427
    People's United Bank #                                  $                  22,514
    Desjardins #                                            $                  41,686
    Desjardins #                                            $                  29,715
                                                            $               5,885,901

Add Incoming:
    Receiver Funding
          Direct - Merrill Lynch Bank Accounts              $                    -
          Indirect - CitiBank Accounts                      $              7,466,092
    Deposits from Operations                                $              3,334,356 A
                                                            $             10,800,448

Less Outgoing:
     Payroll & Benefits
           Jay Peak Resort                                  $              (1,240,638)
           Burke Mountain                                   $                (233,519)
     Vendor Payments
           Jay Peak Resort                                  $              (7,018,398) B
           Burke Mountain                                   $              (2,222,973) B
     Tax Payments
           Vermont Department of Taxes                      $                (504,333)
           Internal Revenue Service                         $                     -
     Merchant and Bank Fees                                 $                 (52,225)
                                                            $             (11,272,086)

Ending Cash Balance
    People's United Bank #          1736                    $               2,357,328
    People's United Bank #          1752                    $                     -
    People's United Bank #          7175                    $                  21,029
    People's United Bank #          0659                    $                 429,690
    People's United Bank #          0667                    $                     -
    People's United Bank #                                  $               2,417,549
    People's United Bank #                                  $                     -
    People's United Bank #                                  $                  84,952
    People's United Bank #                                  $                  27,525
    Desjardins #                                            $                  46,485
    Desjardins #                                            $                  29,705
                                                            $               5,414,263


Note A:
Canadian transactions have been converted to US Dollars based upon the following methodology:
The Canadian portion of total resort deposits was calculated to be 8% for the report period. This
percentage was applied to all resort deposits at the average CDN to USD currency exchange rate of .80 for the
report period.


Note B:
Vendor payments pertain partially to goods and services received after April 13, 2016. In August of
2017, payments were also issued for outstanding invoices pertaining to goods and services recevied
prior to April 13, 2016.
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Jay Peak Resort/Burke Mountain                                168
Beginning Cash Balance
                                                                                        * Rate: 0.8
                                                                         7/31/2017                   7/31/2017
                                                                          USD/CDN                       USD
                                                                         End of Day                  End of Day
Company          Bank         Account Name         Account Number       Cash Balance                Cash Balance
08 - JPI         People's     General Account          1736              2,975,785.12                 2,975,785.12
08 - JPI         People's     Payroll Account          1752                       -                            -
08 - JPI         People's     Money Market Acct        7175                 21,026.26                    21,026.26
20 - JPHSP2      People's     General Account          0659                427,012.40                   427,012.40
20 - JPHSP2      People's     Money Market Acct        0667                       -                            -
380 - BMOC       People's     General Account                            2,294,735.78                 2,294,735.78
380 - BMOC       People's     Savings Account                                     -                            -
381 - BMRM       People's     General Account                               73,426.97                    73,426.97
382 - BMWC       People's     General Account                               22,514.19                    22,514.19
08 - JPI         Desjardins   CDN Operating Acct                            52,107.68                    41,686.14 *
20 - JPHSP2      Desjardins   CDN Operating Acct                            37,143.41                    29,714.73 *
                                                                    $    5,903,751.81           $     5,885,901.59

                  http://www.oanda.com/currency/converter/
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Jay Peak Resort/Burke Mountain        Case 1:16-cv-21301-DPG Document 487 Entered on FLSD Docket 08/10/2018 Page 117 of
Detailed Report on Receiver Funding                                        168                 Direct - Merrill Lynch/SunTrust Bank Accounts
08/01/17 through 08/31/17                                                                                                                    Indirect - CitiBank Accounts

TRC Number                             Account Number   Account Type   Account Name           Post Date   Reference   Additional Reference   Amount                 Description              Type   Text
221172186                                               Checking       JPI Operating - 1736   8/21/2017   1.00E+12                           $       713,702.82     INCOMING WIRE TRANSFER   Wire
221172186                                               Checking       JPI Operating - 1736   8/21/2017   1.00E+12                           $     1,828,559.77     INCOMING WIRE TRANSFER   Wire
221172186                                               Checking       JPI Operating - 1736   8/10/2017   1.00E+12                           $     4,923,828.91     INCOMING WIRE TRANSFER   Wire
Jay Peak Resort/Burke Mountain                      Case 1:16-cv-21301-DPG Document 487 Entered on FLSD Docket 08/10/2018 Page 118 of
Detailed Report on Resort Deposits
08/01/17 through 08/31/17
                                                          Average Currency Exchange Rate: 0.80
                                                                                               168
                                                                                           CDN converted          original
Dept Name                                     Dept Category                                   to USD               USD                USD
Inventory/Prepaids/Receivables                Short-term Assets                           $        31,798     $       435,132     $     466,930
Capital                                       Capital Expenditures (incl. tram upgrade)   $           (18)    $          (247)    $        (265)
Debt/Liabilities/Deferreds/Taxes              Short-term Liabilities                      $        11,183     $       153,033     $     164,216
Investor                                      Equity                                      $           -       $           -       $         -
Administration                                S, G & A                                    $              9    $           (50)    $         (41)
Accounting                                    S, G & A                                    $             (1)   $             (9)   $           (9)
Information Systems                           S, G & A                                    $           -       $           -       $         -
Telephone                                     General Operations                          $         3,247     $        44,437     $      47,684
Human Resources                               S, G & A                                    $           -       $           -       $         -
Risk Management                               S, G & A                                    $           -       $           -       $         -
Administration - Food Service                 Food & Beverage                             $           (21)    $          (293)    $        (315)
Vending                                       Food & Beverage                             $           556     $         7,614     $       8,170
Tram cafeteria                                Food & Beverage                             $              5    $            63     $          68
International Restaurant                      Food & Beverage                             $         2,553     $        34,931     $      37,484
Sky Haus                                      Food & Beverage                             $           537     $         7,347     $       7,884
Golf Clubhouse Restaurant                     Food & Beverage                             $         9,247     $       126,536     $     135,782
The Foundry Pub & Grille                      Food & Beverage                             $         8,363     $       114,437     $     122,799
Buddy's Mug                                   Food & Beverage                             $           285     $         3,899     $       4,184
The Warming Shelter                           Food & Beverage                             $         3,687     $        50,449     $      54,136
Mountain Dick's Pizza                         Food & Beverage                             $         3,207     $        43,892     $      47,099
The Drink                                     Food & Beverage                             $         1,630     $        22,308     $      23,938
MLC F&B                                       Food & Beverage                             $           -       $           -       $         -
Stateside Daylodge - Cafeteria & Bar          Food & Beverage                             $         2,215     $        30,313     $      32,528
Stateside Hotel - Howie's Restaurant          Food & Beverage                             $           611     $         8,359     $       8,969
Jay Peak Provisions                           Food & Beverage                             $         8,931     $       122,217     $     131,148
Conference Services                           Food & Beverage                             $         2,800     $        38,321     $      41,122
Condo Rental Mgt.                             Hotel & Lodging                             $         1,674     $        22,905     $      24,579
Taiga Fitness & Spa                           Other Mountain Activities                   $         1,543     $        21,116     $      22,659
Unsold condo rental                           Hotel & Lodging                             $           -       $           -       $         -
Aroma Coffee Shop                             Food & Beverage                             $              2    $            27     $          29
Tram Haus Lodge Rest & Bar                    Food & Beverage                             $         4,706     $        64,398     $      69,104
Tram Haus Lodge                               Hotel & Lodging                             $         4,561     $        62,417     $      66,978
Lodging Reservation                           Hotel & Lodging                             $        (1,499)    $       (20,519)    $     (22,018)
Golf Clubhouse Lodging                        Hotel & Lodging                             $           523     $         7,155     $       7,678
Hotel Jay - Front Desk                        Hotel & Lodging                             $        13,162     $       180,113     $     193,275
Penthouse Suites                              Hotel & Lodging                             $         5,918     $        80,986     $      86,904
Golf & Mountain Suites                        Hotel & Lodging                             $        13,392     $       183,267     $     196,659
Lodge & Townhouses                            Hotel & Lodging                             $         7,323     $       100,206     $     107,529
Stateside Hotel - Front Desk                  Hotel & Lodging                             $         3,900     $        53,374     $      57,274
Ice Rink                                      Other Mountain Activities                   $         1,431     $        19,588     $      21,019
Ice Rink Snack Bar                            Food & Beverage                             $           318     $         4,355     $       4,673
Condo Assoc. - Mountain Side                  Condo Associations                          $           -       $           -       $         -
Condo Assoc. - Trail Side                     Condo Associations                          $           -       $           -       $         -
Condo Assoc. - Stoney Path                    Condo Associations                          $           -       $           -       $         -
Condo Assoc. - Slopeside I                    Condo Associations                          $           -       $           -       $         -
Condo Assoc. - Slopeside II                   Condo Associations                          $           -       $           -       $         -
Condo Assoc. - Village Association            Condo Associations                          $           -       $           -       $         -
Transfer Condo Assoc.                         Condo Associations                          $           -       $           -       $         -
Condo Assoc. - General Fees                   Condo Associations                          $           -       $           -       $         -
Admin. Mtn Operations                         Skiing Operations                           $           -       $           -       $         -
Lift Maintenance                              Skiing Operations                           $           -       $           -       $         -
Snowmaking                                    Skiing Operations                           $           -       $           -       $         -
Grooming                                      Skiing Operations                           $           -       $           -       $         -
Vehicle & Equip. Maint.                       General Operations                          $           -       $           -       $         -
Electrical                                    General Operations                          $           -       $           -       $         -
Hotel Jay - Building Maint./Engin.            Hotel & Lodging                             $           -       $           -       $         -
Roads & Parking                               General Operations                          $           -       $           -       $         -
Building Maintenance                          General Operations                          $           -       $           -       $         -
Grounds                                       General Operations                          $           -       $           -       $         -
Water & Sewer System                          General Operations                          $           -       $           -       $         -
Stateside Hotel - Building Maint./Engin.      Hotel & Lodging                             $           -       $           -       $         -
Tram Haus - Building Maint./Engin.            Hotel & Lodging                             $           -       $           -       $         -
Laundry Operations                            Hotel & Lodging                             $           -       $           -       $         -
Housekeeping - Stateside Hotel                Hotel & Lodging                             $            96     $         1,319     $       1,416
Housekeeping - Hotel Jay                      Hotel & Lodging                             $            48     $           660     $         708
Janitorial                                    Hotel & Lodging                             $           -       $           -       $         -
Security                                      General Operations                          $           -       $           -       $         -
Shuttles                                      General Operations                          $         2,108     $        28,849     $      30,957
Storm Crew (Storm Water + Snow Shoveling)     General Operations                          $           -       $           -       $         -
Ambassadors/Greeters                          General Operations                          $           -       $           -       $         -
Lift Operations                               Skiing Operations                           $           -       $           -       $         -
Parking Attendant                             General Operations                          $           340     $         4,658     $       4,999
Customer Service                              Skiing Operations                           $              3    $            36     $          39
Ticket Selling                                Skiing Operations                           $             (0)   $             (0)   $           (0)
Special Events                                S, G & A                                    $         1,732     $        23,702     $      25,434
Ski Patrol                                    Skiing Operations                           $           -       $           -       $         -
Ski Club                                      Skiing Operations                           $           -       $           -       $         -
Daycare Center                                Other Mountain Activities                   $         1,715     $        23,464     $      25,179
MLC Daycare Center                            Other Mountain Activities                   $              9    $           128     $         138
Pump House                                    Other Mountain Activities                   $        26,430     $       361,674     $     388,104
Lift sales                                    Skiing Operations                           $         2,849     $        38,989     $      41,838
Golf Maintenance                              Summer Operations                           $           -       $           -       $         -
Lockers                                       General Operations                          $           -       $           -       $         -
Wedding Barn                                  Other Mountain Activities                   $            84     $         1,145     $       1,229
Snowpark                                      Skiing Operations                           $           -       $           -       $         -
Elevation 1851' Family Arcade Center          Other Mountain Activities                   $         2,230     $        30,518     $      32,749
Nordic Center                                 Other Mountain Activities                   $           -       $           -       $         -
Fitness Center                                Other Mountain Activities                   $           -       $           -       $         -
MLC Summer Operations                         Summer Operations                           $           -       $           -       $         -
Amphitheater                                  Other Mountain Activities                   $         1,425     $        19,503     $      20,929
Ski School                                    Ski School                                  $           -       $           -       $         -
MLC Ski School                                Ski School                                  $           -       $           -       $         -
Sales                                         S, G & A                                    $           (39)    $          (531)    $        (570)
Marketing                                     S, G & A                                    $            30     $           412     $         442
Administration - Retail                       Retail                                      $              2    $            29     $          31
The Mountain Shop                             Retail                                      $           633     $         8,656     $       9,289
Rentals                                       Ski Rental/Repair                           $           -       $           -       $         -
Repairs                                       Ski Rental/Repair                           $           -       $           -       $         -
Golf Pro Shop                                 Summer Operations                           $         9,134     $       124,995     $     134,129
The Wave                                      Retail                                      $         1,123     $        15,371     $      16,495
MLC Rentals                                   Ski Rental/Repair                           $           -       $           -       $         -
Stateside Daylodge - Retail - Gear Shop       Retail                                      $            74     $         1,012     $       1,086
Stateside Daylodge - Rentals                  Ski Rental/Repair                           $           -       $           -       $         -
Construction & Development                    S, G & A                                    $           -       $           -       $         -
Real Estate                                   S, G & A                                    $           -       $           -       $         -
Antenna Lease Sky Haus                        General Operations                          $           -       $           -       $         -
Non-Operating Items                           S, G & A                                    $        (1,422)    $       (19,466)    $     (20,888)
EB-5 Items                                    S, G & A                                    $           -       $           -       $         -
EBITDA Items                                  S, G & A                                    $           -       $           -       $         -
Tamarack Grill                                Food & Beverage                             $              0    $              2    $            2
Mid-Burke Cafe'                               Food & Beverage                             $           -       $           -       $         -
Bear’s Den Pub                                Food & Beverage                             $             (0)   $             (5)   $           (5)
Trailside Patio                               Food & Beverage                             $           -       $           -       $         -
Kingdom Cafe'                                 Food & Beverage                             $           615     $         8,420     $       9,036
Banquets & Catering                           Food & Beverage                             $           -       $           -       $         -
Food & Beverage Events                        Food & Beverage                             $           -       $           -       $         -
Willoughby's Restaurant                       Food & Beverage                             $           -       $           -       $         -
The Gap Pub                                   Food & Beverage                             $         4,842     $        66,259     $      71,101
Coffee Shop                                   Food & Beverage                             $           393     $         5,382     $       5,775
Day Lodge Servery                             Food & Beverage                             $           -       $           -       $         -
Hotel Banquets                                Food & Beverage                             $         3,563     $        48,759     $      52,322
Hotel F&B Events                              Food & Beverage                             $           -       $           -       $         -
Hotel Pre-Opening Costs                       Hotel & Lodging                             $           -       $           -       $         -
Hotel Operations/Front Desk                   Hotel & Lodging                             $        15,948     $       218,237     $     234,185
Hotel Building Maintenance                    Hotel & Lodging                             $           -       $           -       $         -
Hotel Housekeeping                            Hotel & Lodging                             $           -       $           -       $         -
Hotel Laundry Ops                             Hotel & Lodging                             $           -       $           -       $         -
Hotel Janitorial                              Hotel & Lodging                             $           -       $           -       $         -
Hotel Utilities                               Hotel & Lodging                             $           -       $           -       $         -
Rental Operations - Campground                Hotel & Lodging                             $         1,649     $        22,568     $      24,217
Mountain Operations                           Skiing Operations                           $           -       $           -       $         -
Property Operations                           General Operations                          $           -       $           -       $         -
Mountain Biking                               Summer Operations                           $         2,942     $        40,263     $      43,205
Summer Programs                               Summer Operations                           $           -       $           -       $         -
Retail                                        Retail                                      $            33     $           448     $         481
Base Lodge Rentals                            Ski Rental/Repair                           $           -       $           -       $         -
Vertical Drop Retail                          Retail                                      $           424     $         5,802     $       6,226
Bear Essentials Retail                        Retail                                      $           -       $           -       $         -
Arcade                                        Other Mountain Activities                   $           288     $         3,940     $       4,228
Hotel Ski Rental/Repair & Day Lockers         Ski Rental/Repair                           $           -       $           -       $         -
AT&T Tower Lease                              General Operations                          $           -       $           -       $         -
Fixed Expenses                                General Operations                          $           -       $           -       $         -
Utilities                                     General Operations                          $           -       $           -       $         -
Developer Land Sales                          S, G & A                                    $           -       $           -       $         -
Management Company Fees                       S, G & A                                    $           -       $           -       $         -
                                                                                          $       227,080     $     3,107,277     $   3,334,356

Summary of Departmental Deposits into Major Line of Business Categories

                                              Dept Category                                                                           USD
                                              Short-term Assets                                                                   $     466,930
                                              Capital Expenditures (incl. tram upgrade)                                           $        (265)
                                              Short-term Liabilities                                                              $     164,216
                                              Equity                                                                              $         -
                                              S, G & A                                                                            $       4,367
                                              General Operations                                                                  $      83,640
                                              Food & Beverage                                                                     $     867,034
                                              Hotel & Lodging                                                                     $     979,384
                                              Other Mountain Activities                                                           $     516,232
                                              Condo Associations                                                                  $         -
                                              Skiing Operations                                                                   $      41,877
                                              Summer Operations                                                                   $     177,334
                                              Ski School                                                                          $         -
                                              Retail                                                                              $      33,609
                                              Ski Rental/Repair                                                                   $         -
                                                                                                                                  $   3,334,356
Jay Peak Resort/Burke Mountain                   Case 1:16-cv-21301-DPG Document 487 Entered on FLSD Docket 08/10/2018 Page 119 of
Detailed Report on Payroll and Benefits Payments
08/01/17 through 08/31/17
                                                                                      168
                                                                                       Jay Peak Resort Payroll
                                                                                       Burke Mountain Payroll

TRC Number    Account Number      Account Type     Account Name                       Post Date   Reference             Additional Reference
                                                                                                                                         Amount              Description               Type   Text
221172186                         Checking         JPI Operating - 1736               8/22/2017   BANCORPSV        BA                    $          (274.41) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               8/22/2017   BANCORPSV        BA                    $           (75.00) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               8/22/2017   BANCORPSV        BA                    $           (49.47) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               8/28/2017   BANCORPSV        BA                    $           (15.00) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               8/29/2017   BANCORPSV        BA                    $          (315.31) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               8/29/2017   BANCORPSV        BA                    $          (250.00) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               8/29/2017   BANCORPSV        BA                    $            (9.19) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               8/31/2017   BANCORPSV        BA                    $           (76.31) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               8/8/2017    1.00081E+12                            $       (95,592.17) OUTGOING WIRE TRANSFER           ---BURKE PORTION---
221172186                         Checking         JPI Operating - 1736               8/23/2017   1.00082E+12                            $      (104,051.09) OUTGOING WIRE TRANSFER           ---BURKE PORTION---
221172186                         Checking         JPI Operating - 1736               8/14/2017   CIGNA EDGE TRANS CO                    $        (1,035.12) PREAUTHORIZED ACH DEBIT   Ach    CIGNA EDGE TRANS COLLECTION       170814      603800071368---BURKE PORTION---
221172186                         Checking         JPI Operating - 1736               8/22/2017   CIGNA EDGE TRANS CO                    $       (19,563.86) PREAUTHORIZED ACH DEBIT   Ach    CIGNA EDGE TRANS COLLECTION       170822      601000063979--- BURKE PORTION---
221172186                         Checking         Burke Mountain Operating Company   8/14/2017   MEMIC Indemnity AC                     $        (6,295.32) PREAUTHORIZED ACH DEBIT   Ach    MEMIC Indemnity ACHTRANS        170814      8574765
221172186                         Checking         Burke Mountain Operating Company   8/28/2017   MEMIC Indemnity AC                     $        (5,916.97) PREAUTHORIZED ACH DEBIT   Ach    MEMIC Indemnity ACHTRANS        170828      9134337
221172186                         Checking         JPI Operating - 1736               8/1/2017    BANCORPSV        BA                    $          (232.62) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               8/1/2017    BANCORPSV        BA                    $          (221.23) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               8/2/2017    BANCORPSV        BA                    $           (21.25) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               8/3/2017    BANCORPSV        BA                    $           (99.78) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               8/4/2017    BANCORPSV        BA                    $          (400.00) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               8/11/2017   BANCORPSV        BA                    $          (385.00) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               8/11/2017   BANCORPSV        BA                    $          (113.55) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               8/11/2017   BANCORPSV        BA                    $          (111.00) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               8/15/2017   BANCORPSV        BA                    $          (114.32) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               8/18/2017   BANCORPSV        BA                    $           (10.00) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               8/21/2017   BANCORPSV        BA                    $           (60.00) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736               8/14/2017   CIGNA EDGE TRANS CO                    $        (6,167.89) PREAUTHORIZED ACH DEBIT   Ach    CIGNA EDGE TRANS COLLECTION       170814      603800071368--- JAY PORTION---
221172186                         Checking         JPI Operating - 1736               8/22/2017   CIGNA EDGE TRANS CO                    $       (70,556.11) PREAUTHORIZED ACH DEBIT   Ach    CIGNA EDGE TRANS COLLECTION       170822      601000063979---JAY PORTION---
221172186                         Checking         JPI Operating - 1736               8/1/2017    DISCOVERY BENEFI CL                    $           (65.19) PREAUTHORIZED ACH DEBIT   Ach    DISCOVERY BENEFI CLAIM FUND       170801     21194030194601
221172186                         Checking         JPI Operating - 1736               8/7/2017    DISCOVERY BENEFI CL                    $          (160.00) PREAUTHORIZED ACH DEBIT   Ach    DISCOVERY BENEFI CLAIM FUND       170807     21194030194601
221172186                         Checking         JPI Operating - 1736               8/11/2017   DISCOVERY BENEFI CL                    $          (326.93) PREAUTHORIZED ACH DEBIT   Ach    DISCOVERY BENEFI CLAIM FUND       170811     21194030194601
221172186                         Checking         JPI Operating - 1736               8/14/2017   DISCOVERY BENEFI CL                    $          (160.00) PREAUTHORIZED ACH DEBIT   Ach    DISCOVERY BENEFI CLAIM FUND       170814     21194030194601
221172186                         Checking         JPI Operating - 1736               8/16/2017   DISCOVERY BENEFI CL                    $           (29.76) PREAUTHORIZED ACH DEBIT   Ach    DISCOVERY BENEFI CLAIM FUND       170816     21194030194601
221172186                         Checking         JPI Operating - 1736               8/24/2017   DISCOVERY BENEFI CL                    $          (317.10) PREAUTHORIZED ACH DEBIT   Ach    DISCOVERY BENEFI CLAIM FUND       170824     21194030194601
221172186                         Checking         JPI Operating - 1736               8/25/2017   DISCOVERY BENEFI CL                    $          (251.55) PREAUTHORIZED ACH DEBIT   Ach    DISCOVERY BENEFI CLAIM FUND       170825     21194030194601
221172186                         Checking         JPI Operating - 1736               8/28/2017   DISCOVERY BENEFI CL                    $          (113.86) PREAUTHORIZED ACH DEBIT   Ach    DISCOVERY BENEFI CLAIM FUND       170828     21194030194601
221172186                         Checking         JPI Operating - 1736               8/31/2017   DISCOVERY BENEFI CL                    $        (1,929.38) PREAUTHORIZED ACH DEBIT   Ach    DISCOVERY BENEFI CLAIM FUND       170831     21194030194601
221172186                         Checking         JPI Operating - 1736               8/25/2017   DISCOVERY BENEFI DB                    $          (305.50) PREAUTHORIZED ACH DEBIT   Ach    DISCOVERY BENEFI DBI Admin      170825
221172186                         Checking         JPI Operating - 1736               8/15/2017   DISCOVERY BENEFI DB                    $         3,704.93 PREAUTHORIZED ACH CREDIT   Ach    DISCOVERY BENEFI DBI COBRA       170815     21194000
221172186                         Checking         JPI Operating - 1736               8/8/2017    1.00081E+12                            $      (536,186.85) OUTGOING WIRE TRANSFER           ---JAY PORTION---
221172186                         Checking         JPI Operating - 1736               8/23/2017   1.00082E+12                            $      (551,031.39) OUTGOING WIRE TRANSFER           ---JAY PORTION---
221172186                         Checking         JPI Operating - 1736               8/14/2017   MEMIC Indemnity AC                     $       (28,647.83) PREAUTHORIZED ACH DEBIT   Ach    MEMIC Indemnity ACHTRANS        170814      8575909
221172186                         Checking         JPI Operating - 1736               8/28/2017   MEMIC Indemnity AC                     $       (30,549.39) PREAUTHORIZED ACH DEBIT   Ach    MEMIC Indemnity ACHTRANS        170828      9136621
221172186                         Checking         JPI Payroll - 1752                 8/24/2017   PAYCHEX       PA                       $           477.73 PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX       PAYROLL      170824      72634100004095X
221172186                         Checking         JPI Payroll - 1752                 8/29/2017   PAYCHEX - RCX PA                       $           203.41 PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX - RCX PAYROLL        170829      72692900000721X
221172186                         Checking         JPI Payroll - 1752                 8/9/2017    PAYCHEX CGS GA                         $        (2,873.55) PREAUTHORIZED ACH DEBIT   Ach    PAYCHEX CGS GARNISH          170809      COL0072573600
221172186                         Checking         JPI Payroll - 1752                 8/23/2017   PAYCHEX CGS GA                         $        (3,383.08) PREAUTHORIZED ACH DEBIT   Ach    PAYCHEX CGS GARNISH          170823      COL0072864778
221172186                         Checking         JPI Payroll - 1752                 8/10/2017   PAYCHEX EIB     IN                     $        (2,003.57) PREAUTHORIZED ACH DEBIT   Ach    PAYCHEX EIB     INVOICE     170810      X72442600002729
221172186                         Checking         JPI Payroll - 1752                 8/24/2017   PAYCHEX EIB     IN                     $        (2,014.91) PREAUTHORIZED ACH DEBIT   Ach    PAYCHEX EIB     INVOICE     170824      X72623700002301
221172186                         Checking         JPI Payroll - 1752                 8/25/2017   PAYCHEX SEC DEP MA                     $           918.06 PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX SEC DEP MANACH PAY        PAYCHEX ADJUSTMENT
221172186                         Checking         JPI Payroll - 1752                 8/11/2017   PAYCHEX-HRS HR                         $          (282.30) PREAUTHORIZED ACH DEBIT   Ach    PAYCHEX-HRS HRS PMT          170811      25543510
221172186                         Checking         JPI Operating - 1736               8/10/2017   Voya Nat Trst182 SP                    $        (8,694.33) PREAUTHORIZED ACH DEBIT   Ach    Voya Nat Trst182 SPNSR P/R    170810      811437 0001
221172186                         Checking         JPI Operating - 1736               8/24/2017   Voya Nat Trst182 SP                    $        (8,943.98) PREAUTHORIZED ACH DEBIT   Ach    Voya Nat Trst182 SPNSR P/R    170824      811437 0001
221172186                         Checking         JPI Operating - 1736               8/4/2017    WAKA         PA                        $        10,821.45 PREAUTHORIZED ACH CREDIT   Ach    WAKA         PAYROLL              WG JAY PEAK FINAL BALANCE DUE
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Detailed Report on Vendor Payments
08/01/17 through 08/31/17
                                                         Average Currency Exchange Rate: 0.80
                                                                                              168
                                                                                         CDN converted        original
Dept Name                                    Dept Category                                  to USD             USD             USD
Inventory/Prepaids/Receivables               Short-term Assets                           $          -     $    1,325,885   $   1,325,885
Capital                                      Capital Expenditures (incl. tram upgrade)   $          -     $    2,821,197   $   2,821,197
Debt/Liabilities/Deferreds/Taxes             Short-term Liabilities                      $          -     $      585,544   $     585,544
Investor                                     Equity                                      $          -     $          -     $         -
Administration                               S, G & A                                    $          -     $      188,278   $     188,278
Accounting                                   S, G & A                                    $          -     $       79,084   $      79,084
Information Systems                          S, G & A                                    $          -     $      108,232   $     108,232
Telephone                                    General Operations                          $          -     $       27,718   $      27,718
Human Resources                              S, G & A                                    $          -     $       42,575   $      42,575
Risk Management                              S, G & A                                    $          -     $          330   $         330
Administration - Food Service                Food & Beverage                             $          -     $          235   $         235
Vending                                      Food & Beverage                             $          -     $          -     $         -
Tram cafeteria                               Food & Beverage                             $          -     $          -     $         -
International Restaurant                     Food & Beverage                             $          -     $          -     $         -
Sky Haus                                     Food & Beverage                             $          -     $          -     $         -
Golf Clubhouse Restaurant                    Food & Beverage                             $          -     $       56,087   $      56,087
The Foundry Pub & Grille                     Food & Beverage                             $          -     $      487,696   $     487,696
Buddy's Mug                                  Food & Beverage                             $          -     $          -     $         -
The Warming Shelter                          Food & Beverage                             $          -     $       13,811   $      13,811
Mountain Dick's Pizza                        Food & Beverage                             $          -     $          -     $         -
The Drink                                    Food & Beverage                             $          -     $          -     $         -
MLC F&B                                      Food & Beverage                             $          -     $          -     $         -
Stateside Daylodge - Cafeteria & Bar         Food & Beverage                             $          -     $          -     $         -
Stateside Hotel - Howie's Restaurant         Food & Beverage                             $          -     $          -     $         -
Jay Peak Provisions                          Food & Beverage                             $          -     $       47,082   $      47,082
Conference Services                          Food & Beverage                             $          -     $      242,626   $     242,626
Condo Rental Mgt.                            Hotel & Lodging                             $          -     $       48,819   $      48,819
Taiga Fitness & Spa                          Other Mountain Activities                   $          -     $        1,935   $       1,935
Unsold condo rental                          Hotel & Lodging                             $          -     $          -     $         -
Aroma Coffee Shop                            Food & Beverage                             $          -     $           48   $          48
Tram Haus Lodge Rest & Bar                   Food & Beverage                             $          -     $       30,206   $      30,206
Tram Haus Lodge                              Hotel & Lodging                             $          -     $       28,913   $      28,913
Lodging Reservation                          Hotel & Lodging                             $          -     $        6,144   $       6,144
Golf Clubhouse Lodging                       Hotel & Lodging                             $          -     $        3,385   $       3,385
Hotel Jay - Front Desk                       Hotel & Lodging                             $          -     $       10,697   $      10,697
Penthouse Suites                             Hotel & Lodging                             $          -     $          -     $         -
Golf & Mountain Suites                       Hotel & Lodging                             $          -     $       19,234   $      19,234
Lodge & Townhouses                           Hotel & Lodging                             $          -     $          -     $         -
Stateside Hotel - Front Desk                 Hotel & Lodging                             $          -     $          -     $         -
Ice Rink                                     Other Mountain Activities                   $          -     $       12,993   $      12,993
Ice Rink Snack Bar                           Food & Beverage                             $          -     $          -     $         -
Condo Assoc. - Mountain Side                 Condo Associations                          $          -     $          -     $         -
Condo Assoc. - Trail Side                    Condo Associations                          $          -     $          -     $         -
Condo Assoc. - Stoney Path                   Condo Associations                          $          -     $          -     $         -
Condo Assoc. - Slopeside I                   Condo Associations                          $          -     $          -     $         -
Condo Assoc. - Slopeside II                  Condo Associations                          $          -     $          486   $         486
Condo Assoc. - Village Association           Condo Associations                          $          -     $       14,865   $      14,865
Transfer Condo Assoc.                        Condo Associations                          $          -     $          -     $         -
Condo Assoc. - General Fees                  Condo Associations                          $          -     $          -     $         -
Admin. Mtn Operations                        Skiing Operations                           $          -     $        3,767   $       3,767
Lift Maintenance                             Skiing Operations                           $          -     $       74,069   $      74,069
Snowmaking                                   Skiing Operations                           $          -     $      464,026   $     464,026
Grooming                                     Skiing Operations                           $          -     $       46,569   $      46,569
Vehicle & Equip. Maint.                      General Operations                          $          -     $       87,919   $      87,919
Electrical                                   General Operations                          $          -     $      527,700   $     527,700
Hotel Jay - Building Maint./Engin.           Hotel & Lodging                             $          -     $       33,729   $      33,729
Roads & Parking                              General Operations                          $          -     $       13,891   $      13,891
Building Maintenance                         General Operations                          $          -     $       70,894   $      70,894
Grounds                                      General Operations                          $          -     $        7,316   $       7,316
Water & Sewer System                         General Operations                          $          -     $       43,538   $      43,538
Stateside Hotel - Building Maint./Engin.     Hotel & Lodging                             $          -     $       11,385   $      11,385
Tram Haus - Building Maint./Engin.           Hotel & Lodging                             $          -     $        8,278   $       8,278
Laundry Operations                           Hotel & Lodging                             $          -     $          332   $         332
Housekeeping - Stateside Hotel               Hotel & Lodging                             $          -     $        9,134   $       9,134
Housekeeping - Hotel Jay                     Hotel & Lodging                             $          -     $          -     $         -
Janitorial                                   Hotel & Lodging                             $          -     $          138   $         138
Security                                     General Operations                          $          -     $          -     $         -
Shuttles                                     General Operations                          $          -     $        9,620   $       9,620
Storm Crew (Storm Water + Snow Shoveling)    General Operations                          $          -     $          -     $         -
Ambassadors/Greeters                         General Operations                          $          -     $          -     $         -
Lift Operations                              Skiing Operations                           $          -     $          -     $         -
Parking Attendant                            General Operations                          $          -     $        1,725   $       1,725
Customer Service                             Skiing Operations                           $          -     $          -     $         -
Ticket Selling                               Skiing Operations                           $          -     $        3,276   $       3,276
Special Events                               S, G & A                                    $          -     $       18,942   $      18,942
Ski Patrol                                   Skiing Operations                           $          -     $        9,928   $       9,928
Ski Club                                     Skiing Operations                           $          -     $          -     $         -
Daycare Center                               Other Mountain Activities                   $          -     $          205   $         205
MLC Daycare Center                           Other Mountain Activities                   $          -     $          -     $         -
Pump House                                   Other Mountain Activities                   $          -     $       34,360   $      34,360
Lift sales                                   Skiing Operations                           $          -     $          -     $         -
Golf Maintenance                             Summer Operations                           $          -     $       17,363   $      17,363
Lockers                                      General Operations                          $          -     $          -     $         -
Wedding Barn                                 Other Mountain Activities                   $          -     $          -     $         -
Snowpark                                     Skiing Operations                           $          -     $          127   $         127
Elevation 1851' Family Arcade Center         Other Mountain Activities                   $          -     $       22,568   $      22,568
Nordic Center                                Other Mountain Activities                   $          -     $          350   $         350
Fitness Center                               Other Mountain Activities                   $          -     $          -     $         -
MLC Summer Operations                        Summer Operations                           $          -     $        4,495   $       4,495
Amphitheater                                 Other Mountain Activities                   $          -     $       97,142   $      97,142
Ski School                                   Ski School                                  $          -     $       18,700   $      18,700
MLC Ski School                               Ski School                                  $          -     $          -     $         -
Sales                                        S, G & A                                    $          -     $       19,943   $      19,943
Marketing                                    S, G & A                                    $       70,009   $      704,826   $     774,835
Administration - Retail                      Retail                                      $          -     $          -     $         -
The Mountain Shop                            Retail                                      $          -     $        2,789   $       2,789
Rentals                                      Ski Rental/Repair                           $          -     $          -     $         -
Repairs                                      Ski Rental/Repair                           $          -     $          -     $         -
Golf Pro Shop                                Summer Operations                           $          -     $       20,623   $      20,623
The Wave                                     Retail                                      $          -     $        5,331   $       5,331
MLC Rentals                                  Ski Rental/Repair                           $          -     $          -     $         -
Stateside Daylodge - Retail - Gear Shop      Retail                                      $          -     $        7,469   $       7,469
Stateside Daylodge - Rentals                 Ski Rental/Repair                           $          -     $          -     $         -
Construction & Development                   S, G & A                                    $          -     $       21,773   $      21,773
Real Estate                                  S, G & A                                    $          -     $          -     $         -
Antenna Lease Sky Haus                       General Operations                          $          -     $       36,093   $      36,093
Non-Operating Items                          S, G & A                                    $          -     $      297,612   $     297,612
EB-5 Items                                   S, G & A                                    $          -     $          -     $         -
EBITDA Items                                 S, G & A                                    $          -     $       10,694   $      10,694
Tamarack Grill                               Food & Beverage                             $          -     $       16,752   $      16,752
Mid-Burke Cafe'                              Food & Beverage                             $          -     $          -     $         -
Bear’s Den Pub                               Food & Beverage                             $          -     $          -     $         -
Trailside Patio                              Food & Beverage                             $          -     $       13,891   $      13,891
Kingdom Cafe'                                Food & Beverage                             $          -     $        1,795   $       1,795
Banquets & Catering                          Food & Beverage                             $          -     $          -     $         -
Food & Beverage Events                       Food & Beverage                             $          -     $          -     $         -
Willoughby's Restaurant                      Food & Beverage                             $          -     $        2,932   $       2,932
The Gap Pub                                  Food & Beverage                             $          -     $       12,905   $      12,905
Coffee Shop                                  Food & Beverage                             $          -     $          -     $         -
Day Lodge Servery                            Food & Beverage                             $          -     $          -     $         -
Hotel Banquets                               Food & Beverage                             $          -     $          -     $         -
Hotel F&B Events                             Food & Beverage                             $          -     $          -     $         -
Hotel Pre-Opening Costs                      Hotel & Lodging                             $          -     $        5,753   $       5,753
Hotel Operations/Front Desk                  Hotel & Lodging                             $          -     $       24,463   $      24,463
Hotel Building Maintenance                   Hotel & Lodging                             $          -     $       23,425   $      23,425
Hotel Housekeeping                           Hotel & Lodging                             $          -     $       11,583   $      11,583
Hotel Laundry Ops                            Hotel & Lodging                             $          -     $        1,959   $       1,959
Hotel Janitorial                             Hotel & Lodging                             $          -     $          761   $         761
Hotel Utilities                              Hotel & Lodging                             $          -     $          -     $         -
Rental Operations - Campground               Hotel & Lodging                             $          -     $        1,156   $       1,156
Mountain Operations                          Skiing Operations                           $          -     $       29,724   $      29,724
Property Operations                          General Operations                          $          -     $          -     $         -
Mountain Biking                              Summer Operations                           $          -     $          489   $         489
Summer Programs                              Summer Operations                           $          -     $          -     $         -
Retail                                       Retail                                      $          -     $        7,691   $       7,691
Base Lodge Rentals                           Ski Rental/Repair                           $          -     $       11,365   $      11,365
Vertical Drop Retail                         Retail                                      $          -     $        6,992   $       6,992
Bear Essentials Retail                       Retail                                      $          -     $          -     $         -
Arcade                                       Other Mountain Activities                   $          -     $          -     $         -
Hotel Ski Rental/Repair & Day Lockers        Ski Rental/Repair                           $          -     $        7,924   $       7,924
AT&T Tower Lease                             General Operations                          $          -     $          -     $         -
Fixed Expenses                               General Operations                          $          -     $        6,402   $       6,402
Utilities                                    General Operations                          $          -     $       10,656   $      10,656
Developer Land Sales                         S, G & A                                    $          -     $          -     $         -
Management Company Fees                      S, G & A                                    $          -     $          -     $         -
                                                                                         $       70,009   $    9,171,362   $   9,241,371

Summary of Departmental Vendor Payments into Major Line of Business Categories

                                             Dept Category                                                                     USD
                                             Short-term Assets                                                             $   1,325,885
                                             Capital Expenditures (incl. tram upgrade)                                     $   2,821,197
                                             Short-term Liabilities                                                        $     585,544
                                             Equity                                                                        $         -
                                             S, G & A                                                                      $   1,562,299
                                             General Operations                                                            $     843,472
                                             Food & Beverage                                                               $     926,065
                                             Hotel & Lodging                                                               $     249,287
                                             Other Mountain Activities                                                     $     169,552
                                             Condo Associations                                                            $      15,350
                                             Skiing Operations                                                             $     631,486
                                             Summer Operations                                                             $      42,970
                                             Ski School                                                                    $      18,700
                                             Retail                                                                        $      30,272
                                             Ski Rental/Repair                                                             $      19,289
                                                                                                                           $   9,241,371
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                                                                               Vermont Department of Taxes
08/01/17 through 08/31/17                                                                                           Internal Revenue Service

TRC Number Account Number     Account Type   Account Name                       Post Date   Reference               Amount              Description               Type   Text
221172186                     Checking       Burke Mountain Operating Company   8/25/2017   VTAX EFT DEPOSIT   AC   $      (5,854.28)   PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT   ACH DEBIT   170825
221172186                     Checking       JPI Operating - 1736               8/25/2017   VTAX EFT DEPOSIT   AC   $   (121,356.03)    PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT   ACH DEBIT   170825
221172186                     Checking       JPI Operating - 1736               8/25/2017   VTAX EFT DEPOSIT   AC   $   (336,306.94)    PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT   ACH DEBIT   170825
221172186                     Checking       Phase II Checking - 0659           8/25/2017   VTAX EFT DEPOSIT   AC   $    (11,796.21)    PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT   ACH DEBIT   170825
221172186                     Checking       Burke Mountain Operating Company   8/25/2017   VTAX EFT DEPOSIT   AC   $    (29,019.93)    PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT   ACH DEBIT   170825   MRT10035077
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Detailed Report on Fees paid to Merchant and Bank
08/01/17 through 08/31/17
                                                                                          168
TRC Number       Account Number       Account Type    Account Name                           Post Date   Reference             Additional Reference   Amount          Description               Type   Text
221172186                             Checking        Burke Mountain Operating Company       8/16/2017   0                                            $    (377.08)   ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY        FOR 07/17
221172186                             Checking        Burke Mountain Operating Company       8/2/2017    AUTHNET GATEWAY BI                           $     (21.85)   PREAUTHORIZED ACH DEBIT   Ach    AUTHNET GATEWAY BILLING       170802     97874598
221172186                             Checking        Burke Mountain Operating Company       8/1/2017    EMBED USA LLC FI                             $    (195.00)   PREAUTHORIZED ACH DEBIT   Ach    EMBED USA LLC FIRST ACH     170801     6041921
221172186                             Checking        Burke Mountain Operating Company       8/1/2017    HRTLAND PMT SYS TX                           $      (1.08)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170801     650000008432737
221172186                             Checking        Burke Mountain Operating Company       8/1/2017    HRTLAND PMT SYS TX                           $     (53.85)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170801     650000008624093
221172186                             Checking        Burke Mountain Operating Company       8/1/2017    HRTLAND PMT SYS TX                           $    (100.56)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170801     650000008836580
221172186                             Checking        Burke Mountain Operating Company       8/1/2017    HRTLAND PMT SYS TX                           $ (4,252.90)    PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170801     650000009220552
221172186                             Checking        Burke Mountain Operating Company       8/1/2017    HRTLAND PMT SYS TX                           $ (1,880.06)    PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170801     650000009411672
221172186                             Checking        Burke Mountain Operating Company       8/1/2017    HRTLAND PMT SYS TX                           $ (2,056.19)    PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170801     650000009411730
221172186                             Checking        Burke Mountain Operating Company       8/2/2017    MERCHANT SERVICE ME                          $    (168.55)   PREAUTHORIZED ACH DEBIT   Ach    MERCHANT SERVICE MERCH FEE      170731     31820
221172186                             Checking        Burke Mountain Operating Company       8/28/2017   SHIFT4-DEBITS 08                             $     (89.06)   PREAUTHORIZED ACH DEBIT   Ach    SHIFT4-DEBITS 082817IMP     0000714915
221172186                             Checking        Burke Mountain Water Company Inc       8/16/2017   0                                            $     (23.43)   ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY        FOR 07/17
221172186                             Checking        JPI Operating - 1736                   8/16/2017   0                                            $ (1,321.81)    ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY        FOR 07/17
221172186                             Checking        JPI Operating - 1736                   8/7/2017    AMERICAN EXPRESS AX                          $ (3,793.97)    PREAUTHORIZED ACH DEBIT   Ach    AMERICAN EXPRESS AXP DISCNT    170807     2440106714
221172186                             Checking        JPI Operating - 1736                   8/7/2017    AMERICAN EXPRESS AX                          $ (2,558.22)    PREAUTHORIZED ACH DEBIT   Ach    AMERICAN EXPRESS AXP DISCNT    170807     2440508802
221172186                             Checking        JPI Operating - 1736                   8/1/2017    EMBED USA LLC FI                             $    (395.00)   PREAUTHORIZED ACH DEBIT   Ach    EMBED USA LLC FIRST ACH     170801     6039044
221172186                             Checking        JPI Operating - 1736                   8/1/2017    HRTLAND PMT SYS TX                           $ (5,486.37)    PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170801     650000007491098
221172186                             Checking        JPI Operating - 1736                   8/1/2017    HRTLAND PMT SYS TX                           $     (12.61)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170801     650000009065528
221172186                             Checking        JPI Operating - 1736                   8/1/2017    HRTLAND PMT SYS TX                           $ (10,789.80)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170801     650000009073076
221172186                             Checking        JPI Operating - 1736                   8/1/2017    HRTLAND PMT SYS TX                           $ (17,131.66)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170801     650000009073126
221172186                             Checking        JPI Operating - 1736                   8/21/2017   HRTLAND PMT SYS TX                           $      (0.05)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170821     650000009065528
221172186                             Checking        JPI Operating - 1736                   8/23/2017   HRTLAND PMT SYS TX                           $      (0.11)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170823     650000009065528
221172186                             Checking        JPI Operating - 1736                   8/24/2017   HRTLAND PMT SYS TX                           $      (0.06)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170824     650000009065528
221172186                             Checking        JPI Operating - 1736                   8/29/2017   HRTLAND PMT SYS TX                           $      (0.04)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170829     650000009065528
221172186                             Checking        JPI Operating - 1736                   8/2/2017    MERCHANT SERVICE ME                          $    (482.62)   PREAUTHORIZED ACH DEBIT   Ach    MERCHANT SERVICE MERCH FEE      170731     31713
221172186                             Checking        JPI Operating - 1736                   8/28/2017   SHIFT4-DEBITS 08                             $    (318.47)   PREAUTHORIZED ACH DEBIT   Ach    SHIFT4-DEBITS 082817IMP     0000714916
221172186                             Checking        JPI Operating - 1736                   8/7/2017    VANTIV_INTG_PYMT BI                          $    (384.62)   PREAUTHORIZED ACH DEBIT   Ach    VANTIV_INTG_PYMT BILLNG       8788430111124Jay Peak Vermont
221172186                             Checking        JPI Operating - 1736                   8/7/2017    VANTIV_INTG_PYMT BI                          $    (107.85)   PREAUTHORIZED ACH DEBIT   Ach    VANTIV_INTG_PYMT BILLNG       8788430201279Jay Peak Resort - Token Machine
221172186                             Checking        JPI Operating - 1736                   8/11/2017   TRANSFER TO DE                               $    (166.67)   MISCELLANEOUS DEBIT              TRANSFER TO DEPOSIT ACCOUNT 0019100316
221172186                             Checking        Mountain Road Management Company Inc   8/16/2017   0                                            $     (28.00)   ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY        FOR 07/17
221172186                             Checking        Phase II Checking - 0659               8/10/2017   0                                            $     (27.27)   ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY        FOR 07/17
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Jay Peak Resort/Burke Mountain                                168
Ending Cash Balance
                                                                                        * Rate: 0.8
                                                                         8/31/2017                   8/31/2017
                                                                          USD/CDN                       USD
                                                                         End of Day                  End of Day
Company          Bank         Account Name         Account Number       Cash Balance                Cash Balance
08 - JPI         People's     General Account          1736              2,357,328.09                 2,357,328.09
08 - JPI         People's     Payroll Account          1752                       -                            -
08 - JPI         People's     Money Market Acct        7175                 21,028.94                    21,028.94
20 - JPHSP2      People's     General Account          0659                429,689.51                   429,689.51
20 - JPHSP2      People's     Money Market Acct        0667                       -                            -
380 - BMOC       People's     General Account                            2,417,548.76                 2,417,548.76
380 - BMOC       People's     Savings Account                                     -                            -
381 - BMRM       People's     General Account                               84,951.73                    84,951.73
382 - BMWC       People's     General Account                               27,525.20                    27,525.20
08 - JPI         Desjardins   CDN Operating Acct                            58,106.72                    46,485.38 *
20 - JPHSP2      Desjardins   CDN Operating Acct                            37,130.91                    29,704.73 *
                                                                    $    5,433,309.86           $     5,414,262.33

                  http://www.oanda.com/currency/converter/
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Jay Peak Resort/Burke Mountain                              168
Cash Flow Statement
09/01/17 through 09/30/17


                                                                       USD
Beginning Cash Balance
    People's United Bank #          1736                    $               2,357,328
    People's United Bank #          1752                    $                     -
    People's United Bank #          7175                    $                  21,029
    People's United Bank #          0659                    $                 429,690
    People's United Bank #          0667                    $                     -
    People's United Bank #                                  $               2,417,549
    People's United Bank #                                  $                     -
    People's United Bank #                                  $                  84,952
    People's United Bank #                                  $                  27,525
    Desjardins #                                            $                  46,485
    Desjardins #                                            $                  29,705
                                                            $               5,414,263

Add Incoming:
    Receiver Funding
          Direct - Merrill Lynch Bank Accounts              $                     -
          Indirect - CitiBank Accounts                      $               2,158,790
    Deposits from Operations                                $               2,795,213 A
                                                            $               4,954,003

Less Outgoing:
     Payroll & Benefits
           Jay Peak Resort                                  $              (1,180,525)
           Burke Mountain                                   $                (201,475)
     Vendor Payments
           Jay Peak Resort                                  $              (2,909,162) B
           Burke Mountain                                   $                (294,564) B
     Tax Payments
           Vermont Department of Taxes                      $                (239,538)
           Internal Revenue Service                         $                  (3,311)
     Merchant and Bank Fees                                 $                 (59,622)
                                                            $              (4,888,197)

Ending Cash Balance
    People's United Bank #          1736                    $               4,095,794
    People's United Bank #          1752                    $                     -
    People's United Bank #          7175                    $                  21,031
    People's United Bank #          0659                    $                 427,221
    People's United Bank #          0667                    $                     -
    People's United Bank #                                  $                 647,975
    People's United Bank #                                  $                     -
    People's United Bank #                                  $                  85,238
    People's United Bank #                                  $                  30,409
    Desjardins #                                            $                 142,706
    Desjardins #                                            $                  29,695
                                                            $               5,480,069


Note A:
Canadian transactions have been converted to US Dollars based upon the following methodology:
The Canadian portion of total resort deposits was calculated to be 7% for the report period. This
percentage was applied to all resort deposits at the average CDN to USD currency exchange rate of .80 for the
report period.


Note B:
Vendor payments pertain partially to goods and services received after April 13, 2016. In August of
2017, payments were also issued for outstanding invoices pertaining to goods and services recevied
prior to April 13, 2016.
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Jay Peak Resort/Burke Mountain                                168
Beginning Cash Balance
                                                                                        * Rate: 0.8
                                                                         8/31/2017                   8/31/2017
                                                                          USD/CDN                       USD
                                                                         End of Day                  End of Day
Company          Bank         Account Name         Account Number       Cash Balance                Cash Balance
08 - JPI         People's     General Account          1736              2,357,328.09                 2,357,328.09
08 - JPI         People's     Payroll Account          1752                       -                            -
08 - JPI         People's     Money Market Acct        7175                 21,028.94                    21,028.94
20 - JPHSP2      People's     General Account          0659                429,689.51                   429,689.51
20 - JPHSP2      People's     Money Market Acct        0667                       -                            -
380 - BMOC       People's     General Account                            2,417,548.76                 2,417,548.76
380 - BMOC       People's     Savings Account                                     -                            -
381 - BMRM       People's     General Account                               84,951.73                    84,951.73
382 - BMWC       People's     General Account                               27,525.20                    27,525.20
08 - JPI         Desjardins   CDN Operating Acct                            58,106.72                    46,485.38 *
20 - JPHSP2      Desjardins   CDN Operating Acct                            37,130.91                    29,704.73 *
                                                                    $    5,433,309.86           $     5,414,262.33

                  http://www.oanda.com/currency/converter/
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Jay Peak Resort/Burke Mountain Case     1:16-cv-21301-DPG Document 487 Entered on FLSD Docket 08/10/2018 Page 128 of
Detailed Report on Receiver Funding                                     168             Direct - Merrill Lynch/SunTrust Bank Accounts
09/01/17 through 09/30/17                                                                                              Indirect - CitiBank Accounts

TRC Number   Account Number   Account Type   Account Name               Post Date  Reference    Additional Reference   Amount                Description              Type Text
   221172186                  Checking       JPI Operating - 1736         9/14/2017 1.00091E+12                        $    1,656,952.51     INCOMING WIRE TRANSFER   Wire
   221172186                  Checking       JPI Operating - 1736         9/29/2017 1.00093E+12                        $      341,241.70     INCOMING WIRE TRANSFER   Wire
   221172186                  Checking       Burke Mountain Operating     9/14/2017 1.00091E+12                        $      160,595.79     INCOMING WIRE TRANSFER   Wire
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Detailed Report on Resort Deposits
09/01/17 through 09/30/17
                                                          Average Currency Exchange Rate: 0.80
                                                                                               168
                                                                                           CDN converted          original
Dept Name                                     Dept Category                                   to USD               USD                USD
Inventory/Prepaids/Receivables                Short-term Assets                           $        58,283     $       960,050     $   1,018,333
Capital                                       Capital Expenditures (incl. tram upgrade)   $           293     $         4,830     $       5,123
Debt/Liabilities/Deferreds/Taxes              Short-term Liabilities                      $         1,678     $        27,643     $      29,321
Investor                                      Equity                                      $           -       $           -       $         -
Administration                                S, G & A                                    $           284     $         4,736     $       5,020
Accounting                                    S, G & A                                    $              2    $            33     $          35
Information Systems                           S, G & A                                    $           -       $           -       $         -
Telephone                                     General Operations                          $         2,097     $        34,539     $      36,636
Human Resources                               S, G & A                                    $           -       $           -       $         -
Risk Management                               S, G & A                                    $           -       $           -       $         -
Administration - Food Service                 Food & Beverage                             $           -       $           -       $         -
Vending                                       Food & Beverage                             $           280     $         4,612     $       4,892
Tram cafeteria                                Food & Beverage                             $              1    $            24     $          26
International Restaurant                      Food & Beverage                             $         1,379     $        22,723     $      24,102
Sky Haus                                      Food & Beverage                             $           354     $         5,829     $       6,183
Golf Clubhouse Restaurant                     Food & Beverage                             $         6,562     $       108,091     $     114,653
The Foundry Pub & Grille                      Food & Beverage                             $         4,527     $        74,568     $      79,095
Buddy's Mug                                   Food & Beverage                             $           192     $         3,170     $       3,362
The Warming Shelter                           Food & Beverage                             $           918     $        15,116     $      16,033
Mountain Dick's Pizza                         Food & Beverage                             $           893     $        14,705     $      15,598
The Drink                                     Food & Beverage                             $           619     $        10,190     $      10,808
MLC F&B                                       Food & Beverage                             $           -       $           -       $         -
Stateside Daylodge - Cafeteria & Bar          Food & Beverage                             $           192     $         3,158     $       3,350
Stateside Hotel - Howie's Restaurant          Food & Beverage                             $           898     $        14,790     $      15,687
Jay Peak Provisions                           Food & Beverage                             $         4,573     $        75,334     $      79,908
Conference Services                           Food & Beverage                             $         4,391     $        72,333     $      76,724
Condo Rental Mgt.                             Hotel & Lodging                             $          (601)    $        (9,907)    $     (10,508)
Taiga Fitness & Spa                           Other Mountain Activities                   $           740     $        12,195     $      12,936
Unsold condo rental                           Hotel & Lodging                             $           -       $           -       $         -
Aroma Coffee Shop                             Food & Beverage                             $              1    $            12     $          12
Tram Haus Lodge Rest & Bar                    Food & Beverage                             $         3,691     $        60,801     $      64,492
Tram Haus Lodge                               Hotel & Lodging                             $         3,208     $        52,840     $      56,047
Lodging Reservation                           Hotel & Lodging                             $        (3,036)    $       (50,005)    $     (53,041)
Golf Clubhouse Lodging                        Hotel & Lodging                             $           282     $         4,639     $       4,920
Hotel Jay - Front Desk                        Hotel & Lodging                             $         6,418     $       105,725     $     112,144
Penthouse Suites                              Hotel & Lodging                             $         3,048     $        50,207     $      53,255
Golf & Mountain Suites                        Hotel & Lodging                             $         3,686     $        60,715     $      64,400
Lodge & Townhouses                            Hotel & Lodging                             $         2,443     $        40,248     $      42,691
Stateside Hotel - Front Desk                  Hotel & Lodging                             $         3,562     $        58,678     $      62,241
Ice Rink                                      Other Mountain Activities                   $           356     $         5,869     $       6,226
Ice Rink Snack Bar                            Food & Beverage                             $           105     $         1,733     $       1,838
Condo Assoc. - Mountain Side                  Condo Associations                          $            43     $           702     $         745
Condo Assoc. - Trail Side                     Condo Associations                          $            58     $           957     $       1,015
Condo Assoc. - Stoney Path                    Condo Associations                          $            61     $         1,004     $       1,065
Condo Assoc. - Slopeside I                    Condo Associations                          $           101     $         1,668     $       1,769
Condo Assoc. - Slopeside II                   Condo Associations                          $           234     $         3,859     $       4,094
Condo Assoc. - Village Association            Condo Associations                          $           594     $         9,779     $      10,373
Transfer Condo Assoc.                         Condo Associations                          $           -       $           -       $         -
Condo Assoc. - General Fees                   Condo Associations                          $           -       $           -       $         -
Admin. Mtn Operations                         Skiing Operations                           $           -       $           -       $         -
Lift Maintenance                              Skiing Operations                           $           -       $           -       $         -
Snowmaking                                    Skiing Operations                           $           -       $           -       $         -
Grooming                                      Skiing Operations                           $           -       $           -       $         -
Vehicle & Equip. Maint.                       General Operations                          $           -       $           -       $         -
Electrical                                    General Operations                          $           -       $           -       $         -
Hotel Jay - Building Maint./Engin.            Hotel & Lodging                             $           -       $           -       $         -
Roads & Parking                               General Operations                          $           -       $           -       $         -
Building Maintenance                          General Operations                          $           486     $         8,002     $       8,488
Grounds                                       General Operations                          $           -       $           -       $         -
Water & Sewer System                          General Operations                          $         1,034     $        17,026     $      18,060
Stateside Hotel - Building Maint./Engin.      Hotel & Lodging                             $           -       $           -       $         -
Tram Haus - Building Maint./Engin.            Hotel & Lodging                             $           -       $           -       $         -
Laundry Operations                            Hotel & Lodging                             $           -       $           -       $         -
Housekeeping - Stateside Hotel                Hotel & Lodging                             $            14     $           223     $         237
Housekeeping - Hotel Jay                      Hotel & Lodging                             $           109     $         1,803     $       1,913
Janitorial                                    Hotel & Lodging                             $           -       $           -       $         -
Security                                      General Operations                          $            79     $         1,304     $       1,383
Shuttles                                      General Operations                          $           999     $        16,455     $      17,454
Storm Crew (Storm Water + Snow Shoveling)     General Operations                          $           382     $         6,286     $       6,668
Ambassadors/Greeters                          General Operations                          $           -       $           -       $         -
Lift Operations                               Skiing Operations                           $           -       $           -       $         -
Parking Attendant                             General Operations                          $           166     $         2,728     $       2,893
Customer Service                              Skiing Operations                           $           (89)    $        (1,474)    $      (1,564)
Ticket Selling                                Skiing Operations                           $              0    $              0    $            0
Special Events                                S, G & A                                    $           735     $        12,115     $      12,851
Ski Patrol                                    Skiing Operations                           $           -       $           -       $         -
Ski Club                                      Skiing Operations                           $           -       $           -       $         -
Daycare Center                                Other Mountain Activities                   $         1,143     $        18,836     $      19,979
MLC Daycare Center                            Other Mountain Activities                   $           -       $           -       $         -
Pump House                                    Other Mountain Activities                   $         7,086     $       116,730     $     123,817
Lift sales                                    Skiing Operations                           $         1,220     $        20,095     $      21,315
Golf Maintenance                              Summer Operations                           $           -       $           -       $         -
Lockers                                       General Operations                          $           -       $           -       $         -
Wedding Barn                                  Other Mountain Activities                   $           108     $         1,773     $       1,881
Snowpark                                      Skiing Operations                           $           -       $           -       $         -
Elevation 1851' Family Arcade Center          Other Mountain Activities                   $           439     $         7,230     $       7,669
Nordic Center                                 Other Mountain Activities                   $           -       $           -       $         -
Fitness Center                                Other Mountain Activities                   $           -       $           -       $         -
MLC Summer Operations                         Summer Operations                           $           -       $           -       $         -
Amphitheater                                  Other Mountain Activities                   $            67     $         1,102     $       1,169
Ski School                                    Ski School                                  $           -       $           -       $         -
MLC Ski School                                Ski School                                  $           -       $           -       $         -
Sales                                         S, G & A                                    $           -       $           -       $         -
Marketing                                     S, G & A                                    $             (0)   $             (5)   $           (5)
Administration - Retail                       Retail                                      $              3    $            42     $          45
The Mountain Shop                             Retail                                      $           271     $         4,464     $       4,735
Rentals                                       Ski Rental/Repair                           $           -       $           -       $         -
Repairs                                       Ski Rental/Repair                           $           -       $           -       $         -
Golf Pro Shop                                 Summer Operations                           $         5,909     $        97,342     $     103,251
The Wave                                      Retail                                      $           279     $         4,602     $       4,882
MLC Rentals                                   Ski Rental/Repair                           $           -       $           -       $         -
Stateside Daylodge - Retail - Gear Shop       Retail                                      $              7    $           121     $         128
Stateside Daylodge - Rentals                  Ski Rental/Repair                           $           -       $           -       $         -
Construction & Development                    S, G & A                                    $           -       $           -       $         -
Real Estate                                   S, G & A                                    $           -       $           -       $         -
Antenna Lease Sky Haus                        General Operations                          $           -       $           -       $         -
Non-Operating Items                           S, G & A                                    $         7,519     $       123,851     $     131,370
EB-5 Items                                    S, G & A                                    $           -       $           -       $         -
EBITDA Items                                  S, G & A                                    $           -       $           -       $         -
Tamarack Grill                                Food & Beverage                             $           -       $           -       $         -
Mid-Burke Cafe'                               Food & Beverage                             $           -       $           -       $         -
Bear’s Den Pub                                Food & Beverage                             $            12     $           196     $         208
Trailside Patio                               Food & Beverage                             $           -       $           -       $         -
Kingdom Cafe'                                 Food & Beverage                             $           210     $         3,453     $       3,663
Banquets & Catering                           Food & Beverage                             $           -       $           -       $         -
Food & Beverage Events                        Food & Beverage                             $           -       $           -       $         -
Willoughby's Restaurant                       Food & Beverage                             $           -       $           -       $         -
The Gap Pub                                   Food & Beverage                             $         3,890     $        64,076     $      67,966
Coffee Shop                                   Food & Beverage                             $           267     $         4,394     $       4,661
Day Lodge Servery                             Food & Beverage                             $           -       $           -       $         -
Hotel Banquets                                Food & Beverage                             $         1,533     $        25,248     $      26,781
Hotel F&B Events                              Food & Beverage                             $           -       $           -       $         -
Hotel Pre-Opening Costs                       Hotel & Lodging                             $           -       $           -       $         -
Hotel Operations/Front Desk                   Hotel & Lodging                             $         9,364     $       154,241     $     163,604
Hotel Building Maintenance                    Hotel & Lodging                             $           -       $           -       $         -
Hotel Housekeeping                            Hotel & Lodging                             $           -       $           -       $         -
Hotel Laundry Ops                             Hotel & Lodging                             $           -       $           -       $         -
Hotel Janitorial                              Hotel & Lodging                             $           -       $           -       $         -
Hotel Utilities                               Hotel & Lodging                             $           -       $           -       $         -
Rental Operations - Campground                Hotel & Lodging                             $         1,038     $        17,098     $      18,136
Mountain Operations                           Skiing Operations                           $           -       $           -       $         -
Property Operations                           General Operations                          $           -       $           -       $         -
Mountain Biking                               Summer Operations                           $         1,911     $        31,476     $      33,386
Summer Programs                               Summer Operations                           $           -       $           -       $         -
Retail                                        Retail                                      $            29     $           475     $         504
Base Lodge Rentals                            Ski Rental/Repair                           $           -       $           -       $         -
Vertical Drop Retail                          Retail                                      $           169     $         2,784     $       2,953
Bear Essentials Retail                        Retail                                      $           -       $           -       $         -
Arcade                                        Other Mountain Activities                   $           179     $         2,949     $       3,128
Hotel Ski Rental/Repair & Day Lockers         Ski Rental/Repair                           $           -       $           -       $         -
AT&T Tower Lease                              General Operations                          $           -       $           -       $         -
Fixed Expenses                                General Operations                          $           -       $           -       $         -
Utilities                                     General Operations                          $           -       $           -       $         -
Developer Land Sales                          S, G & A                                    $           -       $           -       $         -
Management Company Fees                       S, G & A                                    $           -       $           -       $         -
                                                                                          $       159,977     $     2,635,236     $   2,795,213

Summary of Departmental Deposits into Major Line of Business Categories

                                              Dept Category                                                                           USD
                                              Short-term Assets                                                                   $   1,018,333
                                              Capital Expenditures (incl. tram upgrade)                                           $       5,123
                                              Short-term Liabilities                                                              $      29,321
                                              Equity                                                                              $         -
                                              S, G & A                                                                            $     149,271
                                              General Operations                                                                  $      91,583
                                              Food & Beverage                                                                     $     620,042
                                              Hotel & Lodging                                                                     $     516,040
                                              Other Mountain Activities                                                           $     176,803
                                              Condo Associations                                                                  $      19,061
                                              Skiing Operations                                                                   $      19,752
                                              Summer Operations                                                                   $     136,638
                                              Ski School                                                                          $         -
                                              Retail                                                                              $      13,246
                                              Ski Rental/Repair                                                                   $         -
                                                                                                                                  $   2,795,213
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Detailed Report on Payroll and Benefits Payments
09/01/17 through 09/30/17
                                                                                      168
                                                                                       Jay Peak Resort Payroll
                                                                                       Burke Mountain Payroll

TRC Number     Account Number     Account Type     Account Name               Post Date        Reference                  Additional Reference
                                                                                                                                           Amount              Description               Type   Text
     221172186                    Checking         Burke Mountain Operating        9/11/2017   MEMIC Indemnity AC                          $        (5,723.38) PREAUTHORIZED ACH DEBIT   Ach    MEMIC Indemnity ACHTRANS        170911       9810513
     221172186                    Checking         Burke Mountain Operating        9/25/2017   MEMIC Indemnity AC                          $        (5,507.33) PREAUTHORIZED ACH DEBIT   Ach    MEMIC Indemnity ACHTRANS        170925       10604347
     221172186                    Checking         JPI Operating - 1736             9/5/2017                  1.00091E+12                  $       (90,721.05) OUTGOING WIRE TRANSFER           ---BURKE PORTION---
     221172186                    Checking         JPI Operating - 1736            9/19/2017                  1.00092E+12                  $       (81,793.10) OUTGOING WIRE TRANSFER           ---BURKE PORTION---
     221172186                    Checking         JPI Operating - 1736            9/26/2017   BANCORPSV        BA                         $           (12.00) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736            9/26/2017   BANCORPSV        BA                         $          (460.83) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736            9/27/2017   BANCORPSV        BA                         $          (201.04) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736            9/29/2017   BANCORPSV        BA                         $           (13.85) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736            9/14/2017   BANCORPSV        BA                         $            17.06 PREAUTHORIZED ACH CREDIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99995-SETTLE CREDIT
     221172186                    Checking         JPI Operating - 1736            9/12/2017   CIGNA EDGE TRANS CO                         $        (1,141.77) PREAUTHORIZED ACH DEBIT   Ach    CIGNA EDGE TRANS COLLECTION        170912      600100043350 ---BURKE PORTION---
     221172186                    Checking         JPI Operating - 1736            9/20/2017   CIGNA EDGE TRANS CO                         $       (15,917.80) PREAUTHORIZED ACH DEBIT   Ach    CIGNA EDGE TRANS COLLECTION        170920      602000090349 ---BURKE PORTION---
     221172186                    Checking         JPI Operating - 1736             9/5/2017                  1.00091E+12                  $      (528,029.00) OUTGOING WIRE TRANSFER           ---JAY PORTION---
     221172186                    Checking         JPI Operating - 1736            9/19/2017                  1.00092E+12                  $      (498,077.02) OUTGOING WIRE TRANSFER           ---JAY PORTION---
     221172186                    Checking         JPI Operating - 1736             9/1/2017   BANCORPSV        BA                         $           (75.00) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736             9/5/2017   BANCORPSV        BA                         $          (245.97) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736             9/6/2017   BANCORPSV        BA                         $           (15.49) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736             9/6/2017   BANCORPSV        BA                         $          (450.00) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736             9/6/2017   BANCORPSV        BA                         $           (50.00) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736            9/12/2017   BANCORPSV        BA                         $           (62.61) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736            9/12/2017   BANCORPSV        BA                         $           (59.35) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736            9/13/2017   BANCORPSV        BA                         $           (17.21) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736            9/14/2017   BANCORPSV        BA                         $          (343.68) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736            9/15/2017   BANCORPSV        BA                         $           (20.50) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736            9/19/2017   BANCORPSV        BA                         $           (15.00) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736            9/19/2017   BANCORPSV        BA                         $           (34.56) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736            9/19/2017   BANCORPSV        BA                         $           (53.30) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736            9/22/2017   BANCORPSV        BA                         $          (105.00) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736            9/26/2017   BANCORPSV        BA                         $           (50.00) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736            9/12/2017   CIGNA EDGE TRANS CO                         $        (7,147.94) PREAUTHORIZED ACH DEBIT   Ach    CIGNA EDGE TRANS COLLECTION        170912      600100043350 ---JAY PORTION---
     221172186                    Checking         JPI Operating - 1736            9/20/2017   CIGNA EDGE TRANS CO                         $       (59,058.74) PREAUTHORIZED ACH DEBIT   Ach    CIGNA EDGE TRANS COLLECTION        170920      602000090349 ---JAY PORTION---
     221172186                    Checking         JPI Operating - 1736             9/1/2017   DISCOVERY BENEFI CL                         $          (594.00) PREAUTHORIZED ACH DEBIT   Ach    DISCOVERY BENEFI CLAIM FUND       170901      21194030194601
     221172186                    Checking         JPI Operating - 1736             9/8/2017   DISCOVERY BENEFI CL                         $          (326.93) PREAUTHORIZED ACH DEBIT   Ach    DISCOVERY BENEFI CLAIM FUND       170908      21194030194601
     221172186                    Checking         JPI Operating - 1736            9/18/2017   DISCOVERY BENEFI CL                         $           (84.76) PREAUTHORIZED ACH DEBIT   Ach    DISCOVERY BENEFI CLAIM FUND       170918      21194030194601
     221172186                    Checking         JPI Operating - 1736            9/20/2017   DISCOVERY BENEFI CL                         $          (204.80) PREAUTHORIZED ACH DEBIT   Ach    DISCOVERY BENEFI CLAIM FUND       170920      21194030194601
     221172186                    Checking         JPI Operating - 1736            9/22/2017   DISCOVERY BENEFI CL                         $          (365.41) PREAUTHORIZED ACH DEBIT   Ach    DISCOVERY BENEFI CLAIM FUND       170922      21194030194601
     221172186                    Checking         JPI Operating - 1736             9/8/2017   DISCOVERY BENEFI CL                         $            25.00 PREAUTHORIZED ACH CREDIT   Ach    DISCOVERY BENEFI CLAIM REIM       170908      21194030194601
     221172186                    Checking         JPI Operating - 1736            9/25/2017   DISCOVERY BENEFI DB                         $          (305.50) PREAUTHORIZED ACH DEBIT   Ach    DISCOVERY BENEFI DBI Admin      170925
     221172186                    Checking         JPI Operating - 1736            9/21/2017   DISCOVERY BENEFI DB                         $           681.56 PREAUTHORIZED ACH CREDIT   Ach    DISCOVERY BENEFI DBI COBRA       170921      21194000
     221172186                    Checking         JPI Operating - 1736            9/11/2017   MEMIC Indemnity AC                          $       (28,970.54) PREAUTHORIZED ACH DEBIT   Ach    MEMIC Indemnity ACHTRANS        170911       9811673
     221172186                    Checking         JPI Operating - 1736            9/25/2017   MEMIC Indemnity AC                          $       (27,463.23) PREAUTHORIZED ACH DEBIT   Ach    MEMIC Indemnity ACHTRANS        170925       10605471
     221172186                    Checking         JPI Operating - 1736             9/8/2017   Voya Nat Trst182 SP                         $        (8,835.42) PREAUTHORIZED ACH DEBIT   Ach    Voya Nat Trst182 SPNSR P/R    170908       811437 0001
     221172186                    Checking         JPI Operating - 1736            9/21/2017   Voya Nat Trst182 SP                         $       (10,263.64) PREAUTHORIZED ACH DEBIT   Ach    Voya Nat Trst182 SPNSR P/R    170921       811437 0001
     221172186                    Checking         JPI Payroll - 1752               9/6/2017   PAYCHEX       PA                            $           448.25 PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX       PAYROLL      170906       72792900001620X
     221172186                    Checking         JPI Payroll - 1752               9/1/2017   PAYCHEX - RCX PA                            $            11.54 PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX - RCX PAYROLL        170901       72634200007632X
     221172186                    Checking         JPI Payroll - 1752               9/1/2017   PAYCHEX - RCX PA                            $           862.89 PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX - RCX PAYROLL        170901       72634200007633X
     221172186                    Checking         JPI Payroll - 1752               9/6/2017   PAYCHEX CGS GA                              $        (3,493.39) PREAUTHORIZED ACH DEBIT   Ach    PAYCHEX CGS GARNISH          170906       COL0073139744
     221172186                    Checking         JPI Payroll - 1752              9/20/2017   PAYCHEX CGS GA                              $        (3,493.39) PREAUTHORIZED ACH DEBIT   Ach    PAYCHEX CGS GARNISH          170920       COL0073429236
     221172186                    Checking         JPI Payroll - 1752               9/7/2017   PAYCHEX EIB     IN                          $        (1,966.70) PREAUTHORIZED ACH DEBIT   Ach    PAYCHEX EIB     INVOICE     170907       X72796200003408
     221172186                    Checking         JPI Payroll - 1752              9/21/2017   PAYCHEX EIB     IN                          $        (1,915.30) PREAUTHORIZED ACH DEBIT   Ach    PAYCHEX EIB     INVOICE     170921       X72995000003670
     221172186                    Checking         JPI Payroll - 1752              9/15/2017   PAYCHEX-HRS HR                              $          (360.56) PREAUTHORIZED ACH DEBIT   Ach    PAYCHEX-HRS HRS PMT          170915       25841270
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Detailed Report on Vendor Payments
09/01/17 through 09/30/17
                                                         Average Currency Exchange Rate: 0.80
                                                                                              168
                                                                                         CDN converted       original
Dept Name                                    Dept Category                                  to USD            USD             USD
Inventory/Prepaids/Receivables               Short-term Assets                           $          -    $      177,227   $     177,227
Capital                                      Capital Expenditures (incl. tram upgrade)   $          -    $    1,790,580   $   1,790,580
Debt/Liabilities/Deferreds/Taxes             Short-term Liabilities                      $          -    $       61,017   $      61,017
Investor                                     Equity                                      $          -    $          -     $         -
Administration                               S, G & A                                    $          -    $       14,726   $      14,726
Accounting                                   S, G & A                                    $          -    $        8,551   $       8,551
Information Systems                          S, G & A                                    $          -    $        7,205   $       7,205
Telephone                                    General Operations                          $          -    $        8,062   $       8,062
Human Resources                              S, G & A                                    $          -    $        6,959   $       6,959
Risk Management                              S, G & A                                    $          -    $          366   $         366
Administration - Food Service                Food & Beverage                             $          -    $          222   $         222
Vending                                      Food & Beverage                             $          -    $          -     $         -
Tram cafeteria                               Food & Beverage                             $          -    $          -     $         -
International Restaurant                     Food & Beverage                             $          -    $          -     $         -
Sky Haus                                     Food & Beverage                             $          -    $          -     $         -
Golf Clubhouse Restaurant                    Food & Beverage                             $          -    $       12,273   $      12,273
The Foundry Pub & Grille                     Food & Beverage                             $          -    $      123,779   $     123,779
Buddy's Mug                                  Food & Beverage                             $          -    $          -     $         -
The Warming Shelter                          Food & Beverage                             $          -    $        2,189   $       2,189
Mountain Dick's Pizza                        Food & Beverage                             $          -    $          -     $         -
The Drink                                    Food & Beverage                             $          -    $          -     $         -
MLC F&B                                      Food & Beverage                             $          -    $          -     $         -
Stateside Daylodge - Cafeteria & Bar         Food & Beverage                             $          -    $          -     $         -
Stateside Hotel - Howie's Restaurant         Food & Beverage                             $          -    $          -     $         -
Jay Peak Provisions                          Food & Beverage                             $          -    $        9,426   $       9,426
Conference Services                          Food & Beverage                             $          -    $      106,446   $     106,446
Condo Rental Mgt.                            Hotel & Lodging                             $          -    $        7,574   $       7,574
Taiga Fitness & Spa                          Other Mountain Activities                   $          -    $          499   $         499
Unsold condo rental                          Hotel & Lodging                             $          -    $          -     $         -
Aroma Coffee Shop                            Food & Beverage                             $          -    $          -     $         -
Tram Haus Lodge Rest & Bar                   Food & Beverage                             $          -    $        5,253   $       5,253
Tram Haus Lodge                              Hotel & Lodging                             $          -    $        6,439   $       6,439
Lodging Reservation                          Hotel & Lodging                             $          -    $        4,636   $       4,636
Golf Clubhouse Lodging                       Hotel & Lodging                             $          -    $        3,502   $       3,502
Hotel Jay - Front Desk                       Hotel & Lodging                             $          -    $        4,066   $       4,066
Penthouse Suites                             Hotel & Lodging                             $          -    $          -     $         -
Golf & Mountain Suites                       Hotel & Lodging                             $          -    $        2,177   $       2,177
Lodge & Townhouses                           Hotel & Lodging                             $          -    $          -     $         -
Stateside Hotel - Front Desk                 Hotel & Lodging                             $          -    $          -     $         -
Ice Rink                                     Other Mountain Activities                   $          -    $        1,703   $       1,703
Ice Rink Snack Bar                           Food & Beverage                             $          -    $          -     $         -
Condo Assoc. - Mountain Side                 Condo Associations                          $          -    $          -     $         -
Condo Assoc. - Trail Side                    Condo Associations                          $          -    $          -     $         -
Condo Assoc. - Stoney Path                   Condo Associations                          $          -    $          -     $         -
Condo Assoc. - Slopeside I                   Condo Associations                          $          -    $          -     $         -
Condo Assoc. - Slopeside II                  Condo Associations                          $          -    $          -     $         -
Condo Assoc. - Village Association           Condo Associations                          $          -    $        3,398   $       3,398
Transfer Condo Assoc.                        Condo Associations                          $          -    $          -     $         -
Condo Assoc. - General Fees                  Condo Associations                          $          -    $          -     $         -
Admin. Mtn Operations                        Skiing Operations                           $          -    $       20,699   $      20,699
Lift Maintenance                             Skiing Operations                           $          -    $       43,604   $      43,604
Snowmaking                                   Skiing Operations                           $          -    $       59,563   $      59,563
Grooming                                     Skiing Operations                           $          -    $        8,205   $       8,205
Vehicle & Equip. Maint.                      General Operations                          $          -    $       10,104   $      10,104
Electrical                                   General Operations                          $          -    $      254,761   $     254,761
Hotel Jay - Building Maint./Engin.           Hotel & Lodging                             $          -    $       25,783   $      25,783
Roads & Parking                              General Operations                          $          -    $        4,963   $       4,963
Building Maintenance                         General Operations                          $          -    $       36,231   $      36,231
Grounds                                      General Operations                          $          -    $        2,628   $       2,628
Water & Sewer System                         General Operations                          $          -    $       33,467   $      33,467
Stateside Hotel - Building Maint./Engin.     Hotel & Lodging                             $          -    $        2,347   $       2,347
Tram Haus - Building Maint./Engin.           Hotel & Lodging                             $          -    $        2,032   $       2,032
Laundry Operations                           Hotel & Lodging                             $          -    $          -     $         -
Housekeeping - Stateside Hotel               Hotel & Lodging                             $          -    $        3,936   $       3,936
Housekeeping - Hotel Jay                     Hotel & Lodging                             $          -    $          -     $         -
Janitorial                                   Hotel & Lodging                             $          -    $        1,310   $       1,310
Security                                     General Operations                          $          -    $          -     $         -
Shuttles                                     General Operations                          $          -    $          229   $         229
Storm Crew (Storm Water + Snow Shoveling)    General Operations                          $          -    $          -     $         -
Ambassadors/Greeters                         General Operations                          $          -    $          -     $         -
Lift Operations                              Skiing Operations                           $          -    $          -     $         -
Parking Attendant                            General Operations                          $          -    $          -     $         -
Customer Service                             Skiing Operations                           $          -    $          -     $         -
Ticket Selling                               Skiing Operations                           $          -    $        2,527   $       2,527
Special Events                               S, G & A                                    $          -    $        1,080   $       1,080
Ski Patrol                                   Skiing Operations                           $          -    $          662   $         662
Ski Club                                     Skiing Operations                           $          -    $          -     $         -
Daycare Center                               Other Mountain Activities                   $          -    $          773   $         773
MLC Daycare Center                           Other Mountain Activities                   $          -    $          -     $         -
Pump House                                   Other Mountain Activities                   $          -    $       13,941   $      13,941
Lift sales                                   Skiing Operations                           $          -    $          -     $         -
Golf Maintenance                             Summer Operations                           $          -    $       10,460   $      10,460
Lockers                                      General Operations                          $          -    $          -     $         -
Wedding Barn                                 Other Mountain Activities                   $          -    $          -     $         -
Snowpark                                     Skiing Operations                           $          -    $        1,272   $       1,272
Elevation 1851' Family Arcade Center         Other Mountain Activities                   $          -    $        3,194   $       3,194
Nordic Center                                Other Mountain Activities                   $          -    $          -     $         -
Fitness Center                               Other Mountain Activities                   $          -    $          -     $         -
MLC Summer Operations                        Summer Operations                           $          -    $          680   $         680
Amphitheater                                 Other Mountain Activities                   $          -    $       12,000   $      12,000
Ski School                                   Ski School                                  $          -    $           95   $          95
MLC Ski School                               Ski School                                  $          -    $          -     $         -
Sales                                        S, G & A                                    $          -    $        5,442   $       5,442
Marketing                                    S, G & A                                    $       7,108   $       27,318   $      34,426
Administration - Retail                      Retail                                      $          -    $          190   $         190
The Mountain Shop                            Retail                                      $          -    $        3,618   $       3,618
Rentals                                      Ski Rental/Repair                           $          -    $          -     $         -
Repairs                                      Ski Rental/Repair                           $          -    $          -     $         -
Golf Pro Shop                                Summer Operations                           $          -    $        2,427   $       2,427
The Wave                                     Retail                                      $          -    $        3,374   $       3,374
MLC Rentals                                  Ski Rental/Repair                           $          -    $          -     $         -
Stateside Daylodge - Retail - Gear Shop      Retail                                      $          -    $          -     $         -
Stateside Daylodge - Rentals                 Ski Rental/Repair                           $          -    $          -     $         -
Construction & Development                   S, G & A                                    $          -    $       21,012   $      21,012
Real Estate                                  S, G & A                                    $          -    $          -     $         -
Antenna Lease Sky Haus                       General Operations                          $          -    $       25,746   $      25,746
Non-Operating Items                          S, G & A                                    $          -    $       92,442   $      92,442
EB-5 Items                                   S, G & A                                    $          -    $          -     $         -
EBITDA Items                                 S, G & A                                    $          -    $        5,347   $       5,347
Tamarack Grill                               Food & Beverage                             $          -    $          -     $         -
Mid-Burke Cafe'                              Food & Beverage                             $          -    $          -     $         -
Bear’s Den Pub                               Food & Beverage                             $          -    $          -     $         -
Trailside Patio                              Food & Beverage                             $          -    $        1,030   $       1,030
Kingdom Cafe'                                Food & Beverage                             $          -    $           36   $          36
Banquets & Catering                          Food & Beverage                             $          -    $          -     $         -
Food & Beverage Events                       Food & Beverage                             $          -    $          -     $         -
Willoughby's Restaurant                      Food & Beverage                             $          -    $          -     $         -
The Gap Pub                                  Food & Beverage                             $          -    $       25,317   $      25,317
Coffee Shop                                  Food & Beverage                             $          -    $          -     $         -
Day Lodge Servery                            Food & Beverage                             $          -    $          -     $         -
Hotel Banquets                               Food & Beverage                             $          -    $          -     $         -
Hotel F&B Events                             Food & Beverage                             $          -    $          -     $         -
Hotel Pre-Opening Costs                      Hotel & Lodging                             $          -    $        2,675   $       2,675
Hotel Operations/Front Desk                  Hotel & Lodging                             $          -    $       13,238   $      13,238
Hotel Building Maintenance                   Hotel & Lodging                             $          -    $        3,184   $       3,184
Hotel Housekeeping                           Hotel & Lodging                             $          -    $        3,240   $       3,240
Hotel Laundry Ops                            Hotel & Lodging                             $          -    $          535   $         535
Hotel Janitorial                             Hotel & Lodging                             $          -    $          -     $         -
Hotel Utilities                              Hotel & Lodging                             $          -    $          -     $         -
Rental Operations - Campground               Hotel & Lodging                             $          -    $          -     $         -
Mountain Operations                          Skiing Operations                           $          -    $          682   $         682
Property Operations                          General Operations                          $          -    $          600   $         600
Mountain Biking                              Summer Operations                           $          -    $       17,574   $      17,574
Summer Programs                              Summer Operations                           $          -    $          -     $         -
Retail                                       Retail                                      $          -    $          530   $         530
Base Lodge Rentals                           Ski Rental/Repair                           $          -    $          -     $         -
Vertical Drop Retail                         Retail                                      $          -    $          852   $         852
Bear Essentials Retail                       Retail                                      $          -    $          -     $         -
Arcade                                       Other Mountain Activities                   $          -    $          -     $         -
Hotel Ski Rental/Repair & Day Lockers        Ski Rental/Repair                           $          -    $          -     $         -
AT&T Tower Lease                             General Operations                          $          -    $          -     $         -
Fixed Expenses                               General Operations                          $          -    $       15,216   $      15,216
Utilities                                    General Operations                          $          -    $          172   $         172
Developer Land Sales                         S, G & A                                    $          -    $          -     $         -
Management Company Fees                      S, G & A                                    $          -    $          -     $         -
                                                                                         $       7,108   $    3,196,618   $   3,203,726

Summary of Departmental Vendor Payments into Major Line of Business Categories

                                             Dept Category                                                                    USD
                                             Short-term Assets                                                            $     177,227
                                             Capital Expenditures (incl. tram upgrade)                                    $   1,790,580
                                             Short-term Liabilities                                                       $      61,017
                                             Equity                                                                       $         -
                                             S, G & A                                                                     $     197,557
                                             General Operations                                                           $     392,179
                                             Food & Beverage                                                              $     285,969
                                             Hotel & Lodging                                                              $      86,675
                                             Other Mountain Activities                                                    $      32,110
                                             Condo Associations                                                           $       3,398
                                             Skiing Operations                                                            $     137,215
                                             Summer Operations                                                            $      31,141
                                             Ski School                                                                   $          95
                                             Retail                                                                       $       8,564
                                             Ski Rental/Repair                                                            $         -
                                                                                                                          $   3,203,726
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Detailed Report on Taxes Paid to IRS and Vermont Department of Taxes         168
                                                                               Vermont Department of Taxes
09/01/17 through 09/30/17                                                                                     Internal Revenue Service

TRC Number Account Number     Account Type   Account Name               Post Date     Reference               Amount              Description               Type   Text
  221172186                   Checking       Burke Mountain Operating     9/26/2017   VTAX EFT DEPOSIT   AC   $    (10,582.64)    PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT ACH DEBIT    170926
  221172186                   Checking       JPI Operating - 1736         9/26/2017   VTAX EFT DEPOSIT   AC   $   (140,234.83)    PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT ACH DEBIT    170926
  221172186                   Checking       JPI Operating - 1736         9/26/2017   VTAX EFT DEPOSIT   AC   $    (37,492.08)    PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT ACH DEBIT    170926
  221172186                   Checking       Phase II Checking - 0659     9/26/2017   VTAX EFT DEPOSIT   AC   $    (17,179.47)    PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT ACH DEBIT    170926
  221172186                   Checking       Burke Mountain Operating     9/26/2017   VTAX EFT DEPOSIT   AC   $    (34,049.21)    PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT ACH DEBIT    170926      MRT10035077
  221172186                   Checking       JPI Operating - 1736         9/21/2017   IRS       US            $        (660.36)   PREAUTHORIZED ACH DEBIT   Ach    IRS       USATAXPYMT     170921      270766415190356
  221172186                   Checking       JPI Operating - 1736         9/21/2017   IRS       US            $      (2,316.98)   PREAUTHORIZED ACH DEBIT   Ach    IRS       USATAXPYMT     170921      270766423878101
  221172186                   Checking       JPI Operating - 1736         9/21/2017   IRS       US            $        (333.84)   PREAUTHORIZED ACH DEBIT   Ach    IRS       USATAXPYMT     170921      270766464604546
Jay Peak Resort/Burke Mountain                       Case 1:16-cv-21301-DPG Document 487 Entered on FLSD Docket 08/10/2018 Page 133 of
Detailed Report on Fees paid to Merchant and Bank
09/01/17 through 09/30/17
                                                                                          168
TRC Number      Account Number        Account Type    Account Name                           Post Date       Reference                 Additional Reference   Amount          Description               Type   Text
      221172186                       Checking        Burke Mountain Operating                   9/18/2017                         0                          $    (504.15)   ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY        FOR 08/17
      221172186                       Checking        Burke Mountain Operating                    9/5/2017   AUTHNET GATEWAY BI                               $     (30.15)   PREAUTHORIZED ACH DEBIT   Ach    AUTHNET GATEWAY BILLING       170905     98265383
      221172186                       Checking        Burke Mountain Operating                    9/1/2017   EMBED USA LLC FI                                 $    (195.00)   PREAUTHORIZED ACH DEBIT   Ach    EMBED USA LLC FIRST ACH     170901     6120249
      221172186                       Checking        Burke Mountain Operating                    9/1/2017   HRTLAND PMT SYS TX                               $     (57.46)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170901     650000008624093
      221172186                       Checking        Burke Mountain Operating                    9/1/2017   HRTLAND PMT SYS TX                               $    (103.30)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170901     650000008836580
      221172186                       Checking        Burke Mountain Operating                    9/1/2017   HRTLAND PMT SYS TX                               $ (5,439.24)    PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170901     650000009220552
      221172186                       Checking        Burke Mountain Operating                    9/1/2017   HRTLAND PMT SYS TX                               $ (2,096.37)    PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170901     650000009411672
      221172186                       Checking        Burke Mountain Operating                    9/1/2017   HRTLAND PMT SYS TX                               $ (2,159.64)    PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170901     650000009411730
      221172186                       Checking        Burke Mountain Operating                    9/5/2017   HRTLAND PMT SYS TX                               $     (74.20)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170905     650000008836580
      221172186                       Checking        Burke Mountain Operating                    9/5/2017   MERCHANT SERVICE ME                              $    (183.50)   PREAUTHORIZED ACH DEBIT   Ach    MERCHANT SERVICE MERCH FEE      170831     31820
      221172186                       Checking        Burke Mountain Operating                   9/28/2017   SHIFT4-DEBITS 09                                 $    (107.15)   PREAUTHORIZED ACH DEBIT   Ach    SHIFT4-DEBITS 092817IMP     0000725638
      221172186                       Checking        JPI Operating - 1736                       9/18/2017                         0                          $ (1,746.92)    ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY        FOR 08/17
      221172186                       Checking        JPI Operating - 1736                        9/5/2017   AMERICAN EXPRESS AX                              $ (3,513.80)    PREAUTHORIZED ACH DEBIT   Ach    AMERICAN EXPRESS AXP DISCNT    170905     2440106714
      221172186                       Checking        JPI Operating - 1736                        9/5/2017   AMERICAN EXPRESS AX                              $ (3,211.41)    PREAUTHORIZED ACH DEBIT   Ach    AMERICAN EXPRESS AXP DISCNT    170905     2440508802
      221172186                       Checking        JPI Operating - 1736                        9/1/2017   EMBED USA LLC FI                                 $    (395.00)   PREAUTHORIZED ACH DEBIT   Ach    EMBED USA LLC FIRST ACH     170901     6117360
      221172186                       Checking        JPI Operating - 1736                        9/1/2017   HRTLAND PMT SYS TX                               $ (6,729.69)    PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170901     650000007491098
      221172186                       Checking        JPI Operating - 1736                        9/1/2017   HRTLAND PMT SYS TX                               $     (12.31)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170901     650000009065528
      221172186                       Checking        JPI Operating - 1736                        9/1/2017   HRTLAND PMT SYS TX                               $ (10,943.63)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170901     650000009073076
      221172186                       Checking        JPI Operating - 1736                        9/1/2017   HRTLAND PMT SYS TX                               $ (20,090.67)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170901     650000009073126
      221172186                       Checking        JPI Operating - 1736                        9/5/2017   HRTLAND PMT SYS TX                               $    (121.93)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170905     650000007491098
      221172186                       Checking        JPI Operating - 1736                        9/5/2017   HRTLAND PMT SYS TX                               $      (0.06)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170905     650000009065528
      221172186                       Checking        JPI Operating - 1736                        9/7/2017   HRTLAND PMT SYS TX                               $    (338.87)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170907     650000009065528
      221172186                       Checking        JPI Operating - 1736                       9/14/2017   HRTLAND PMT SYS TX                               $      (0.11)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170914     650000009065528
      221172186                       Checking        JPI Operating - 1736                       9/18/2017   HRTLAND PMT SYS TX                               $     (25.00)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170918     650000009073076
      221172186                       Checking        JPI Operating - 1736                       9/25/2017   HRTLAND PMT SYS TX                               $      (0.07)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170925     650000009065528
      221172186                       Checking        JPI Operating - 1736                       9/28/2017   HRTLAND PMT SYS TX                               $      (0.20)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170928     650000009065528
      221172186                       Checking        JPI Operating - 1736                       9/28/2017   HRTLAND PMT SYS TX                               $      (0.04)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     170928     650000009073225
      221172186                       Checking        JPI Operating - 1736                        9/5/2017   MERCHANT SERVICE ME                              $    (540.80)   PREAUTHORIZED ACH DEBIT   Ach    MERCHANT SERVICE MERCH FEE      170831     31713
      221172186                       Checking        JPI Operating - 1736                       9/28/2017   SHIFT4-DEBITS 09                                 $    (377.04)   PREAUTHORIZED ACH DEBIT   Ach    SHIFT4-DEBITS 092817IMP     0000725639
      221172186                       Checking        JPI Operating - 1736                        9/6/2017   VANTIV_INTG_PYMT BI                              $    (431.92)   PREAUTHORIZED ACH DEBIT   Ach    VANTIV_INTG_PYMT BILLNG       8788430111124Jay Peak Vermont
      221172186                       Checking        JPI Operating - 1736                        9/6/2017   VANTIV_INTG_PYMT BI                              $    (107.85)   PREAUTHORIZED ACH DEBIT   Ach    VANTIV_INTG_PYMT BILLNG       8788430201279Jay Peak Resort - Token Machine
      221172186                       Checking        JPI Operating - 1736                       9/26/2017   OFFSET CHECK #                                   $     247.71    MISCELLANEOUS CREDIT             OFFSET CHECK # 5182-9/25/2017 REVERSAL
      221172186                       Checking        JPI Operating - 1736                       9/12/2017   TRANSFER TO DE                                   $    (166.67)   MISCELLANEOUS DEBIT              TRANSFER TO DEPOSIT ACCOUNT 0019100316
      221172186                       Checking        Phase II Checking - 0659                   9/11/2017                         0                          $     (50.58)   ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY        FOR 08/17
      221172186                       Checking        Burke Mountain Water Company Inc           9/18/2017                         0                          $     (34.01)   ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY        FOR 08/17
      221172186                       Checking        Mountain Road Management Company Inc       9/18/2017                         0                          $     (35.60)   ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY        FOR 08/17
                                                                                                                                                              $     (45.00)
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Jay Peak Resort/Burke Mountain
                                                               168
Ending Cash Balance
                                                                                      * Rate: 0.8
                                                                      9/30/2017                 9/30/2017
                                                                       USD/CDN                     USD
                                                                      End of Day                End of Day
Company          Bank         Account Name         Account Number    Cash Balance              Cash Balance
08 - JPI         People's     General Account           1736           4,095,793.60              4,095,793.60
08 - JPI         People's     Payroll Account           1752                    -                         -
08 - JPI         People's     Money Market Acct         7175              21,031.44                 21,031.44
20 - JPHSP2      People's     General Account           0659             427,220.96                427,220.96
20 - JPHSP2      People's     Money Market Acct         0667                    -                         -
380 - BMOC       People's     General Account                            647,975.32                647,975.32
380 - BMOC       People's     Savings Account                                   -                         -
381 - BMRM       People's     General Account                             85,238.26                 85,238.26
382 - BMWC       People's     General Account                             30,409.13                 30,409.13
08 - JPI         Desjardins   CDN Operating Acct                         178,383.07                142,706.46 *
20 - JPHSP2      Desjardins   CDN Operating Acct                          37,118.41                 29,694.73 *
                                                                    $ 5,523,170.19            $ 5,480,069.89

                  http://www.oanda.com/currency/converter/
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                                     168




                                                                           As of 8/31/17, no
                                                                           transactions were
                                                                           made to account
                                                                                    the
                                                                           account is now
                                                                           considered as
                                                                           inactive by
                                                                           Desjardins bank.
                                                                           Carryforward
                                                                           balance from
                                                                           8/31/17 is being
                                                                           used, minus
                                                                           $12.50 bank fee.
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Jay Peak Resort/Burke Mountain                              168
Cash Flow Statement
10/01/17 through 10/31/17


                                                                       USD
Beginning Cash Balance
    People's United Bank #          1736                    $               4,095,794
    People's United Bank #          1752                    $                     -
    People's United Bank #          7175                    $                  21,031
    People's United Bank #          0659                    $                 427,221
    People's United Bank #          0667                    $                     -
    People's United Bank #                                  $                 647,975
    People's United Bank #                                  $                     -
    People's United Bank #                                  $                  85,238
    People's United Bank #                                  $                  30,409
    Desjardins #                                            $                 142,706
    Desjardins #                                            $                  29,695
                                                            $               5,480,069

Add Incoming:
    Receiver Funding
          Direct - Merrill Lynch Bank Accounts              $                     -
          Indirect - CitiBank Accounts                      $               1,710,270
    Deposits from Operations                                $               4,095,468 A
                                                            $               5,805,738

Less Outgoing:
     Payroll & Benefits
           Jay Peak Resort                                  $              (1,701,922)
           Burke Mountain                                   $                (302,744)
     Vendor Payments
           Jay Peak Resort                                  $              (5,562,646) B
           Burke Mountain                                   $                (599,249) B
     Tax Payments
           Vermont Department of Taxes                      $                (146,472)
           Internal Revenue Service                         $                     -
     Merchant and Bank Fees                                 $                 (60,954)
                                                            $              (8,373,987)

Ending Cash Balance
    People's United Bank #          1736                    $               1,563,087
    People's United Bank #          1752                    $                     -
    People's United Bank #          7175                    $                  21,034
    People's United Bank #          0659                    $                 439,700
    People's United Bank #          0667                    $                     -
    People's United Bank #                                  $                 602,054
    People's United Bank #                                  $                     -
    People's United Bank #                                  $                  48,838
    People's United Bank #                                  $                  29,026
    Desjardins #                                            $                 179,136
    Desjardins #                                            $                  28,945
                                                            $               2,911,820


Note A:
Canadian transactions have been converted to US Dollars based upon the following methodology:
The Canadian portion of total resort deposits was calculated to be 9% for the report period. This
percentage was applied to all resort deposits at the average CDN to USD currency exchange rate of .79 for the
report period.


Note B:
Vendor payments pertain partially to goods and services received after April 13, 2016. In August of
2017, payments were also issued for outstanding invoices pertaining to goods and services recevied
prior to April 13, 2016.
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Jay Peak Resort/Burke Mountain                                168
Beginning Cash Balance
                                                                                        * Rate: 0.8
                                                                         9/30/2017                   9/30/2017
                                                                          USD/CDN                       USD
                                                                         End of Day                  End of Day
Company          Bank         Account Name         Account Number       Cash Balance                Cash Balance
08 - JPI         People's     General Account          1736              4,095,793.60                 4,095,793.60
08 - JPI         People's     Payroll Account          1752                       -                            -
08 - JPI         People's     Money Market Acct        7175                 21,031.44                    21,031.44
20 - JPHSP2      People's     General Account          0659                427,220.96                   427,220.96
20 - JPHSP2      People's     Money Market Acct        0667                       -                            -
380 - BMOC       People's     General Account                              647,975.32                   647,975.32
380 - BMOC       People's     Savings Account                                     -                            -
381 - BMRM       People's     General Account                               85,238.26                    85,238.26
382 - BMWC       People's     General Account                               30,409.13                    30,409.13
08 - JPI         Desjardins   CDN Operating Acct                           178,383.07                   142,706.46 *
20 - JPHSP2      Desjardins   CDN Operating Acct                            37,118.41                    29,694.73 *
                                                                    $    5,523,170.19           $     5,480,069.89

                  http://www.oanda.com/currency/converter/
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                                     168




                                                                               As of 8/31/17, no
                                                                               transactions were
                                                                               made to account
                                                                                        the
                                                                               account is now
                                                                               considered as
                                                                               inactive by
                                                                               Desjardins bank.
                                                                               Carryforward
                                                                               balance from
                                                                               8/31/17 is being
                                                                               used, minus
                                                                               $12.50 bank fee.
Jay Peak Resort/Burke Mountain
                                      Case 1:16-cv-21301-DPG Document 487 Entered on FLSD Docket 08/10/2018 Page 139 of
Detailed Report on Receiver Funding                                        168             Direct - Merrill Lynch/SunTrust Bank Accounts
10/01/17 through 10/31/17                                                                                                  Indirect - CitiBank Accounts

TRC Number       Account Number       Account Type   Account Name           Post Date  Reference    Additional Reference   Amount              Description              Type   Text
       221172186                      Checking       JPI Operating - 1736    10/16/2017 1.00102E+12                        $      1,710,270.35 INCOMING WIRE TRANSFER   Wire
Jay Peak Resort/Burke Mountain                      Case 1:16-cv-21301-DPG Document 487 Entered on FLSD Docket 08/10/2018 Page 140 of
Detailed Report on Resort Deposits
10/01/17 through 10/31/17
                                                          Average Currency Exchange Rate: 0.79
                                                                                               168
                                                                                           CDN converted          original
Dept Name                                     Dept Category                                   to USD               USD                USD
Inventory/Prepaids/Receivables                Short-term Assets                           $       109,887     $     1,446,537     $   1,556,424
Capital                                       Capital Expenditures (incl. tram upgrade)   $           -       $           -       $         -
Debt/Liabilities/Deferreds/Taxes              Short-term Liabilities                      $        18,357     $       241,655     $     260,013
Investor                                      Equity                                      $           -       $           -       $         -
Administration                                S, G & A                                    $             (9)   $          (284)    $        (293)
Accounting                                    S, G & A                                    $             (1)   $             (9)   $         (10)
Information Systems                           S, G & A                                    $           -       $           -       $         -
Telephone                                     General Operations                          $         3,462     $        45,568     $      49,030
Human Resources                               S, G & A                                    $           (15)    $          (201)    $        (216)
Risk Management                               S, G & A                                    $           -       $           -       $         -
Administration - Food Service                 Food & Beverage                             $           (10)    $          (128)    $        (137)
Vending                                       Food & Beverage                             $            88     $         1,160     $       1,248
Tram cafeteria                                Food & Beverage                             $              1    $            11     $          12
International Restaurant                      Food & Beverage                             $         3,131     $        41,219     $      44,350
Sky Haus                                      Food & Beverage                             $           424     $         5,586     $       6,011
Golf Clubhouse Restaurant                     Food & Beverage                             $         4,050     $        53,311     $      57,360
The Foundry Pub & Grille                      Food & Beverage                             $         7,983     $       105,082     $     113,064
Buddy's Mug                                   Food & Beverage                             $           534     $         7,025     $       7,559
The Warming Shelter                           Food & Beverage                             $         2,107     $        27,742     $      29,850
Mountain Dick's Pizza                         Food & Beverage                             $         2,453     $        32,297     $      34,750
The Drink                                     Food & Beverage                             $         2,650     $        34,880     $      37,529
MLC F&B                                       Food & Beverage                             $           -       $           -       $         -
Stateside Daylodge - Cafeteria & Bar          Food & Beverage                             $           118     $         1,556     $       1,675
Stateside Hotel - Howie's Restaurant          Food & Beverage                             $         1,317     $        17,331     $      18,647
Jay Peak Provisions                           Food & Beverage                             $         7,912     $       104,157     $     112,069
Conference Services                           Food & Beverage                             $         3,797     $        49,984     $      53,781
Condo Rental Mgt.                             Hotel & Lodging                             $         3,720     $        48,964     $      52,684
Taiga Fitness & Spa                           Other Mountain Activities                   $         1,294     $        17,033     $      18,327
Unsold condo rental                           Hotel & Lodging                             $           -       $           -       $         -
Aroma Coffee Shop                             Food & Beverage                             $              1    $            14     $          15
Tram Haus Lodge Rest & Bar                    Food & Beverage                             $         3,441     $        45,299     $      48,740
Tram Haus Lodge                               Hotel & Lodging                             $         6,291     $        82,815     $      89,106
Lodging Reservation                           Hotel & Lodging                             $          (698)    $        (9,186)    $      (9,883)
Golf Clubhouse Lodging                        Hotel & Lodging                             $           234     $         3,082     $       3,316
Hotel Jay - Front Desk                        Hotel & Lodging                             $        12,150     $       159,937     $     172,087
Penthouse Suites                              Hotel & Lodging                             $         6,043     $        79,546     $      85,589
Golf & Mountain Suites                        Hotel & Lodging                             $        10,258     $       135,038     $     145,296
Lodge & Townhouses                            Hotel & Lodging                             $        10,816     $       142,381     $     153,197
Stateside Hotel - Front Desk                  Hotel & Lodging                             $         5,146     $        67,744     $      72,890
Ice Rink                                      Other Mountain Activities                   $         2,213     $        29,132     $      31,345
Ice Rink Snack Bar                            Food & Beverage                             $         1,452     $        19,117     $      20,569
Condo Assoc. - Mountain Side                  Condo Associations                          $            64     $           849     $         913
Condo Assoc. - Trail Side                     Condo Associations                          $           -       $           -       $         -
Condo Assoc. - Stoney Path                    Condo Associations                          $           -       $           -       $         -
Condo Assoc. - Slopeside I                    Condo Associations                          $           -       $           -       $         -
Condo Assoc. - Slopeside II                   Condo Associations                          $           -       $           -       $         -
Condo Assoc. - Village Association            Condo Associations                          $           845     $        11,126     $      11,971
Transfer Condo Assoc.                         Condo Associations                          $           -       $           -       $         -
Condo Assoc. - General Fees                   Condo Associations                          $           -       $           -       $         -
Admin. Mtn Operations                         Skiing Operations                           $           -       $           -       $         -
Lift Maintenance                              Skiing Operations                           $           -       $           -       $         -
Snowmaking                                    Skiing Operations                           $           -       $           -       $         -
Grooming                                      Skiing Operations                           $           -       $           -       $         -
Vehicle & Equip. Maint.                       General Operations                          $           -       $           -       $         -
Electrical                                    General Operations                          $           -       $           -       $         -
Hotel Jay - Building Maint./Engin.            Hotel & Lodging                             $           -       $           -       $         -
Roads & Parking                               General Operations                          $           -       $           -       $         -
Building Maintenance                          General Operations                          $           187     $         2,455     $       2,642
Grounds                                       General Operations                          $           -       $           -       $         -
Water & Sewer System                          General Operations                          $           687     $         9,039     $       9,725
Stateside Hotel - Building Maint./Engin.      Hotel & Lodging                             $           -       $           -       $         -
Tram Haus - Building Maint./Engin.            Hotel & Lodging                             $           -       $           -       $         -
Laundry Operations                            Hotel & Lodging                             $           -       $           -       $         -
Housekeeping - Stateside Hotel                Hotel & Lodging                             $           -       $           -       $         -
Housekeeping - Hotel Jay                      Hotel & Lodging                             $            14     $           182     $         196
Janitorial                                    Hotel & Lodging                             $           -       $           -       $         -
Security                                      General Operations                          $            11     $           140     $         150
Shuttles                                      General Operations                          $         2,186     $        28,781     $      30,967
Storm Crew (Storm Water + Snow Shoveling)     General Operations                          $           259     $         3,412     $       3,671
Ambassadors/Greeters                          General Operations                          $           -       $           -       $         -
Lift Operations                               Skiing Operations                           $           -       $           -       $         -
Parking Attendant                             General Operations                          $           376     $         4,950     $       5,326
Customer Service                              Skiing Operations                           $              4    $            50     $          54
Ticket Selling                                Skiing Operations                           $           (19)    $          (245)    $        (264)
Special Events                                S, G & A                                    $         1,914     $        25,189     $      27,103
Ski Patrol                                    Skiing Operations                           $           -       $           -       $         -
Ski Club                                      Skiing Operations                           $           -       $           -       $         -
Daycare Center                                Other Mountain Activities                   $         1,699     $        22,364     $      24,063
MLC Daycare Center                            Other Mountain Activities                   $             (7)   $           (91)    $         (98)
Pump House                                    Other Mountain Activities                   $        18,192     $       239,475     $     257,667
Lift sales                                    Skiing Operations                           $         1,878     $        24,726     $      26,604
Golf Maintenance                              Summer Operations                           $           -       $           -       $         -
Lockers                                       General Operations                          $           -       $           -       $         -
Wedding Barn                                  Other Mountain Activities                   $            38     $           497     $         535
Snowpark                                      Skiing Operations                           $           -       $           -       $         -
Elevation 1851' Family Arcade Center          Other Mountain Activities                   $         2,091     $        27,529     $      29,620
Nordic Center                                 Other Mountain Activities                   $           -       $           -       $         -
Fitness Center                                Other Mountain Activities                   $           -       $           -       $         -
MLC Summer Operations                         Summer Operations                           $           -       $           -       $         -
Amphitheater                                  Other Mountain Activities                   $           -       $           -       $         -
Ski School                                    Ski School                                  $           -       $           -       $         -
MLC Ski School                                Ski School                                  $           -       $           -       $         -
Sales                                         S, G & A                                    $          (104)    $        (1,364)    $      (1,467)
Marketing                                     S, G & A                                    $          (460)    $        (6,061)    $      (6,522)
Administration - Retail                       Retail                                      $              1    $              7    $            7
The Mountain Shop                             Retail                                      $           562     $         7,398     $       7,960
Rentals                                       Ski Rental/Repair                           $           -       $           -       $         -
Repairs                                       Ski Rental/Repair                           $           -       $           -       $         -
Golf Pro Shop                                 Summer Operations                           $         2,677     $        35,236     $      37,913
The Wave                                      Retail                                      $           458     $         6,032     $       6,491
MLC Rentals                                   Ski Rental/Repair                           $           -       $           -       $         -
Stateside Daylodge - Retail - Gear Shop       Retail                                      $            33     $           438     $         472
Stateside Daylodge - Rentals                  Ski Rental/Repair                           $           -       $           -       $         -
Construction & Development                    S, G & A                                    $           -       $           -       $         -
Real Estate                                   S, G & A                                    $             (4)   $           (55)    $         (59)
Antenna Lease Sky Haus                        General Operations                          $           -       $           -       $         -
Non-Operating Items                           S, G & A                                    $           240     $         3,154     $       3,393
EB-5 Items                                    S, G & A                                    $           -       $           -       $         -
EBITDA Items                                  S, G & A                                    $           -       $           -       $         -
Tamarack Grill                                Food & Beverage                             $             (1)   $           (11)    $         (12)
Mid-Burke Cafe'                               Food & Beverage                             $           -       $           -       $         -
Bear’s Den Pub                                Food & Beverage                             $             (0)   $             (0)   $           (0)
Trailside Patio                               Food & Beverage                             $           -       $           -       $         -
Kingdom Cafe'                                 Food & Beverage                             $           313     $         4,124     $       4,438
Banquets & Catering                           Food & Beverage                             $           -       $           -       $         -
Food & Beverage Events                        Food & Beverage                             $           -       $           -       $         -
Willoughby's Restaurant                       Food & Beverage                             $           -       $           -       $         -
The Gap Pub                                   Food & Beverage                             $         4,835     $        63,644     $      68,478
Coffee Shop                                   Food & Beverage                             $           368     $         4,849     $       5,217
Day Lodge Servery                             Food & Beverage                             $           -       $           -       $         -
Hotel Banquets                                Food & Beverage                             $         3,433     $        45,197     $      48,630
Hotel F&B Events                              Food & Beverage                             $           -       $           -       $         -
Hotel Pre-Opening Costs                       Hotel & Lodging                             $           -       $           -       $         -
Hotel Operations/Front Desk                   Hotel & Lodging                             $        12,988     $       170,971     $     183,959
Hotel Building Maintenance                    Hotel & Lodging                             $           -       $           -       $         -
Hotel Housekeeping                            Hotel & Lodging                             $           -       $           -       $         -
Hotel Laundry Ops                             Hotel & Lodging                             $           -       $           -       $         -
Hotel Janitorial                              Hotel & Lodging                             $           -       $           -       $         -
Hotel Utilities                               Hotel & Lodging                             $           -       $           -       $         -
Rental Operations - Campground                Hotel & Lodging                             $           818     $        10,763     $      11,581
Mountain Operations                           Skiing Operations                           $           -       $           -       $         -
Property Operations                           General Operations                          $           -       $           -       $         -
Mountain Biking                               Summer Operations                           $         1,491     $        19,623     $      21,114
Summer Programs                               Summer Operations                           $           -       $           -       $         -
Retail                                        Retail                                      $            23     $           298     $         320
Base Lodge Rentals                            Ski Rental/Repair                           $           -       $           -       $         -
Vertical Drop Retail                          Retail                                      $           302     $         3,969     $       4,270
Bear Essentials Retail                        Retail                                      $           -       $           -       $         -
Arcade                                        Other Mountain Activities                   $           173     $         2,273     $       2,445
Hotel Ski Rental/Repair & Day Lockers         Ski Rental/Repair                           $           -       $           -       $         -
AT&T Tower Lease                              General Operations                          $           -       $           -       $         -
Fixed Expenses                                General Operations                          $           -       $           -       $         -
Utilities                                     General Operations                          $           -       $           -       $         -
Developer Land Sales                          S, G & A                                    $           -       $           -       $         -
Management Company Fees                       S, G & A                                    $           -       $           -       $         -
                                                                                          $       289,161     $     3,806,307     $   4,095,468

Summary of Departmental Deposits into Major Line of Business Categories

                                              Dept Category                                                                           USD
                                              Short-term Assets                                                                   $   1,556,424
                                              Capital Expenditures (incl. tram upgrade)                                           $         -
                                              Short-term Liabilities                                                              $     260,013
                                              Equity                                                                              $         -
                                              S, G & A                                                                            $      21,930
                                              General Operations                                                                  $     101,511
                                              Food & Beverage                                                                     $     713,844
                                              Hotel & Lodging                                                                     $     960,017
                                              Other Mountain Activities                                                           $     363,903
                                              Condo Associations                                                                  $      12,885
                                              Skiing Operations                                                                   $      26,394
                                              Summer Operations                                                                   $      59,027
                                              Ski School                                                                          $         -
                                              Retail                                                                              $      19,521
                                              Ski Rental/Repair                                                                   $         -
                                                                                                                                  $   4,095,468
Jay Peak Resort/Burke Mountain                   Case 1:16-cv-21301-DPG Document 487 Entered on FLSD Docket 08/10/2018 Page 141 of
Detailed Report on Payroll and Benefits Payments
10/01/17 through 10/31/17
                                                                                      168
                                                                                       Jay Peak Resort Payroll
                                                                                       Burke Mountain Payroll

TRC Number     Account Number     Account Type     Account Name               Post Date        Reference                   Additional Reference
                                                                                                                                            Amount              Description               Type   Text
     221172186                    Checking         JPI Operating - 1736          10/12/2017    CIGNA EDGE TRANS CO                          $        (1,106.21) PREAUTHORIZED ACH DEBIT   Ach    CIGNA EDGE TRANS COLLECTION       171012      600500098139 ---BURKE PORTION---
     221172186                    Checking         JPI Operating - 1736          10/20/2017    CIGNA EDGE TRANS CO                          $       (14,669.52) PREAUTHORIZED ACH DEBIT   Ach    CIGNA EDGE TRANS COLLECTION       171020      600600070279 ---BURKE PORTION---
     221172186                    Checking         JPI Operating - 1736            10/3/2017                     1.001E+12                  $       (93,891.32) OUTGOING WIRE TRANSFER            ---BURKE PORTION---
     221172186                    Checking         JPI Operating - 1736          10/18/2017                   1.00102E+12                   $       (90,672.65) OUTGOING WIRE TRANSFER            ---BURKE PORTION---
     221172186                    Checking         JPI Operating - 1736          10/31/2017                   1.00103E+12                   $       (89,715.26) OUTGOING WIRE TRANSFER            ---BURKE PORTION---
     221172186                    Checking         JPI Operating - 1736            10/2/2017   BANCORPSV        BA                          $          (140.00) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736            10/3/2017   BANCORPSV        BA                          $           (50.00) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736            10/3/2017   BANCORPSV        BA                          $           (67.84) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736            10/3/2017   BANCORPSV        BA                          $          (106.72) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736            10/6/2017   BANCORPSV        BA                          $          (118.33) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         Burke Mountain Operating      10/10/2017    MEMIC Indemnity AC                           $        (6,127.97) PREAUTHORIZED ACH DEBIT   Ach    MEMIC Indemnity ACHTRANS        171010      11687007
     221172186                    Checking         Burke Mountain Operating      10/23/2017    MEMIC Indemnity AC                           $        (6,077.92) PREAUTHORIZED ACH DEBIT   Ach    MEMIC Indemnity ACHTRANS        171023      12535229
     221172186                    Checking         JPI Operating - 1736          10/12/2017    CIGNA EDGE TRANS CO                          $        (6,634.19) PREAUTHORIZED ACH DEBIT   Ach    CIGNA EDGE TRANS COLLECTION       171012      600500098139 ---JAY PORTION---
     221172186                    Checking         JPI Operating - 1736          10/20/2017    CIGNA EDGE TRANS CO                          $       (63,614.52) PREAUTHORIZED ACH DEBIT   Ach    CIGNA EDGE TRANS COLLECTION       171020      600600070279 ---JAY PORTION---
     221172186                    Checking         JPI Operating - 1736            10/3/2017                     1.001E+12                  $      (497,364.91) OUTGOING WIRE TRANSFER           ---JAY PORTION---
     221172186                    Checking         JPI Operating - 1736          10/18/2017                   1.00102E+12                   $      (562,117.12) OUTGOING WIRE TRANSFER           ---JAY PORTION---
     221172186                    Checking         JPI Operating - 1736          10/31/2017                   1.00103E+12                   $      (475,407.24) OUTGOING WIRE TRANSFER           ---JAY PORTION---
     221172186                    Checking         JPI Operating - 1736            10/6/2017   BANCORPSV        BA                          $          (429.96) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736          10/10/2017    BANCORPSV        BA                          $           (12.40) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736          10/11/2017    BANCORPSV        BA                          $            (9.22) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736          10/11/2017    BANCORPSV        BA                          $           (28.67) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736          10/11/2017    BANCORPSV        BA                          $           (30.00) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736          10/12/2017    BANCORPSV        BA                          $           (80.75) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736          10/13/2017    BANCORPSV        BA                          $           (17.18) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736          10/16/2017    BANCORPSV        BA                          $           (83.90) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736          10/17/2017    BANCORPSV        BA                          $          (100.00) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736          10/17/2017    BANCORPSV        BA                          $          (107.00) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736          10/17/2017    BANCORPSV        BA                          $          (255.96) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736          10/19/2017    BANCORPSV        BA                          $            (4.95) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736          10/20/2017    BANCORPSV        BA                          $          (107.00) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736          10/24/2017    BANCORPSV        BA                          $            (4.02) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736          10/24/2017    BANCORPSV        BA                          $           (24.30) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736          10/24/2017    BANCORPSV        BA                          $           (41.81) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736          10/27/2017    BANCORPSV        BA                          $          (105.63) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736          10/30/2017    BANCORPSV        BA                          $           (25.00) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736          10/31/2017    BANCORPSV        BA                          $            (2.00) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736          10/31/2017    BANCORPSV        BA                          $           (25.00) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736          10/31/2017    BANCORPSV        BA                          $           (53.99) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV     WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736            10/3/2017   DISCOVERY BENEFI CL                          $          (703.12) PREAUTHORIZED ACH DEBIT   Ach    DISCOVERY BENEFI CLAIM FUND      171003      21194030194601
     221172186                    Checking         JPI Operating - 1736            10/6/2017   DISCOVERY BENEFI CL                          $          (326.93) PREAUTHORIZED ACH DEBIT   Ach    DISCOVERY BENEFI CLAIM FUND      171006      21194030194601
     221172186                    Checking         JPI Operating - 1736          10/20/2017    DISCOVERY BENEFI CL                          $          (365.41) PREAUTHORIZED ACH DEBIT   Ach    DISCOVERY BENEFI CLAIM FUND      171020      21194030194601
     221172186                    Checking         JPI Operating - 1736          10/23/2017    DISCOVERY BENEFI CL                          $          (204.80) PREAUTHORIZED ACH DEBIT   Ach    DISCOVERY BENEFI CLAIM FUND      171023      21194030194601
     221172186                    Checking         JPI Operating - 1736          10/27/2017    DISCOVERY BENEFI CL                          $          (753.17) PREAUTHORIZED ACH DEBIT   Ach    DISCOVERY BENEFI CLAIM FUND      171027      21194030194601
     221172186                    Checking         JPI Operating - 1736          10/25/2017    DISCOVERY BENEFI DB                          $          (292.00) PREAUTHORIZED ACH DEBIT   Ach    DISCOVERY BENEFI DBI Admin      171025
     221172186                    Checking         JPI Operating - 1736          10/10/2017    MEMIC Indemnity AC                           $       (27,084.90) PREAUTHORIZED ACH DEBIT   Ach    MEMIC Indemnity ACHTRANS        171010      11688057
     221172186                    Checking         JPI Operating - 1736          10/23/2017    MEMIC Indemnity AC                           $       (29,432.76) PREAUTHORIZED ACH DEBIT   Ach    MEMIC Indemnity ACHTRANS        171023      12536295
     221172186                    Checking         JPI Payroll - 1752              10/2/2017   PAYCHEX - RCX PA                             $         1,328.32 PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX - RCX PAYROLL        171002      73000800002741X
     221172186                    Checking         JPI Payroll - 1752              10/2/2017   PAYCHEX - RCX PA                             $           354.48 PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX - RCX PAYROLL        171002      73000800002742X
     221172186                    Checking         JPI Payroll - 1752              10/4/2017   PAYCHEX CGS GA                               $        (3,641.03) PREAUTHORIZED ACH DEBIT   Ach    PAYCHEX CGS GARNISH          171004      COL0073716021
     221172186                    Checking         JPI Payroll - 1752            10/17/2017    PAYCHEX CGS GA                               $          (151.08) PREAUTHORIZED ACH DEBIT   Ach    PAYCHEX CGS GARNISH          171017      COL0073996652
     221172186                    Checking         JPI Payroll - 1752            10/17/2017    PAYCHEX CGS GA                               $          (151.08) PREAUTHORIZED ACH DEBIT   Ach    PAYCHEX CGS GARNISH          171017      COL0073996653
     221172186                    Checking         JPI Payroll - 1752            10/18/2017    PAYCHEX CGS GA                               $          (139.39) PREAUTHORIZED ACH DEBIT   Ach    PAYCHEX CGS GARNISH          171018      COL0074001255
     221172186                    Checking         JPI Payroll - 1752            10/18/2017    PAYCHEX CGS GA                               $           (96.01) PREAUTHORIZED ACH DEBIT   Ach    PAYCHEX CGS GARNISH          171018      COL0074001256
     221172186                    Checking         JPI Payroll - 1752            10/18/2017    PAYCHEX CGS GA                               $          (285.49) PREAUTHORIZED ACH DEBIT   Ach    PAYCHEX CGS GARNISH          171018      COL0074001257
     221172186                    Checking         JPI Payroll - 1752            10/18/2017    PAYCHEX CGS GA                               $          (315.85) PREAUTHORIZED ACH DEBIT   Ach    PAYCHEX CGS GARNISH          171018      COL0074001258
     221172186                    Checking         JPI Payroll - 1752            10/18/2017    PAYCHEX CGS GA                               $        (4,125.94) PREAUTHORIZED ACH DEBIT   Ach    PAYCHEX CGS GARNISH          171018      COL0074001259
     221172186                    Checking         JPI Payroll - 1752              10/5/2017   PAYCHEX EIB     IN                           $        (1,978.83) PREAUTHORIZED ACH DEBIT   Ach    PAYCHEX EIB     INVOICE     171005      X73189500002030
     221172186                    Checking         JPI Payroll - 1752            10/19/2017    PAYCHEX EIB     IN                           $        (1,983.72) PREAUTHORIZED ACH DEBIT   Ach    PAYCHEX EIB     INVOICE     171019      X73384900000423
     221172186                    Checking         JPI Payroll - 1752            10/11/2017    PAYCHEX SEC DEP MA                           $        (3,025.00) PREAUTHORIZED ACH DEBIT   Ach    PAYCHEX SEC DEP MANACH COL       PAYCHEX MANUAL ACH
     221172186                    Checking         JPI Payroll - 1752            10/11/2017    PAYCHEX SEC DEP MA                           $        (3,025.00) PREAUTHORIZED ACH DEBIT   Ach    PAYCHEX SEC DEP MANACH COL       PAYCHEX MANUAL ACH
     221172186                    Checking         JPI Payroll - 1752            10/20/2017    PAYCHEX TPS TA                               $            (2.32) PREAUTHORIZED ACH DEBIT   Ach    PAYCHEX TPS TAXES          171020      73410300034219X
     221172186                    Checking         JPI Payroll - 1752            10/13/2017    PAYCHEX-HRS HR                               $          (690.26) PREAUTHORIZED ACH DEBIT   Ach    PAYCHEX-HRS HRS PMT          171013      26122458
     221172186                    Checking         JPI Payroll - 1752            10/30/2017    PAYCHEX-RCX PA                               $           540.81 PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX-RCX PAYROLL          171030      73389300002172X
     221172186                    Checking         JPI Payroll - 1752            10/30/2017    PAYCHEX-RCX PA                               $            93.32 PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX-RCX PAYROLL          171030      73389300002173X
     221172186                    Checking         JPI Operating - 1736            10/6/2017   Voya Nat Trst182 SP                          $        (8,604.39) PREAUTHORIZED ACH DEBIT   Ach    Voya Nat Trst182 SPNSR P/R    171006      811437 0001
     221172186                    Checking         JPI Operating - 1736          10/20/2017    Voya Nat Trst182 SP                          $       (10,174.09) PREAUTHORIZED ACH DEBIT   Ach    Voya Nat Trst182 SPNSR P/R    171020      811437 0001
Jay Peak Resort/Burke Mountain                     Case 1:16-cv-21301-DPG Document 487 Entered on FLSD Docket 08/10/2018 Page 142 of
Detailed Report on Vendor Payments
10/01/17 through 10/31/17
                                                         Average Currency Exchange Rate: 0.79
                                                                                              168
                                                                                         CDN converted        original
Dept Name                                    Dept Category                                  to USD             USD             USD
Inventory/Prepaids/Receivables               Short-term Assets                           $          -     $      241,462   $     241,462
Capital                                      Capital Expenditures (incl. tram upgrade)   $          -     $    1,948,602   $   1,948,602
Debt/Liabilities/Deferreds/Taxes             Short-term Liabilities                      $          -     $      335,138   $     335,138
Investor                                     Equity                                      $          -     $          -     $         -
Administration                               S, G & A                                    $          -     $        9,802   $       9,802
Accounting                                   S, G & A                                    $          -     $      150,648   $     150,648
Information Systems                          S, G & A                                    $          -     $       29,861   $      29,861
Telephone                                    General Operations                          $          -     $        7,743   $       7,743
Human Resources                              S, G & A                                    $          -     $        8,743   $       8,743
Risk Management                              S, G & A                                    $          -     $        2,170   $       2,170
Administration - Food Service                Food & Beverage                             $          -     $          -     $         -
Vending                                      Food & Beverage                             $          -     $          -     $         -
Tram cafeteria                               Food & Beverage                             $          -     $          -     $         -
International Restaurant                     Food & Beverage                             $          -     $          -     $         -
Sky Haus                                     Food & Beverage                             $          -     $          -     $         -
Golf Clubhouse Restaurant                    Food & Beverage                             $          -     $       14,439   $      14,439
The Foundry Pub & Grille                     Food & Beverage                             $          -     $      150,010   $     150,010
Buddy's Mug                                  Food & Beverage                             $          -     $          -     $         -
The Warming Shelter                          Food & Beverage                             $          -     $        1,580   $       1,580
Mountain Dick's Pizza                        Food & Beverage                             $          -     $          -     $         -
The Drink                                    Food & Beverage                             $          -     $          -     $         -
MLC F&B                                      Food & Beverage                             $          -     $          -     $         -
Stateside Daylodge - Cafeteria & Bar         Food & Beverage                             $          -     $          -     $         -
Stateside Hotel - Howie's Restaurant         Food & Beverage                             $          -     $          -     $         -
Jay Peak Provisions                          Food & Beverage                             $          -     $       13,431   $      13,431
Conference Services                          Food & Beverage                             $          -     $       57,243   $      57,243
Condo Rental Mgt.                            Hotel & Lodging                             $          -     $       10,380   $      10,380
Taiga Fitness & Spa                          Other Mountain Activities                   $          -     $          589   $         589
Unsold condo rental                          Hotel & Lodging                             $          -     $          -     $         -
Aroma Coffee Shop                            Food & Beverage                             $          -     $          -     $         -
Tram Haus Lodge Rest & Bar                   Food & Beverage                             $          -     $        4,871   $       4,871
Tram Haus Lodge                              Hotel & Lodging                             $          -     $        7,281   $       7,281
Lodging Reservation                          Hotel & Lodging                             $          -     $        3,540   $       3,540
Golf Clubhouse Lodging                       Hotel & Lodging                             $          -     $          736   $         736
Hotel Jay - Front Desk                       Hotel & Lodging                             $          -     $        2,162   $       2,162
Penthouse Suites                             Hotel & Lodging                             $          -     $          -     $         -
Golf & Mountain Suites                       Hotel & Lodging                             $          -     $       25,539   $      25,539
Lodge & Townhouses                           Hotel & Lodging                             $          -     $          -     $         -
Stateside Hotel - Front Desk                 Hotel & Lodging                             $          -     $          -     $         -
Ice Rink                                     Other Mountain Activities                   $          -     $       14,469   $      14,469
Ice Rink Snack Bar                           Food & Beverage                             $          -     $          -     $         -
Condo Assoc. - Mountain Side                 Condo Associations                          $          -     $          -     $         -
Condo Assoc. - Trail Side                    Condo Associations                          $          -     $          -     $         -
Condo Assoc. - Stoney Path                   Condo Associations                          $          -     $          -     $         -
Condo Assoc. - Slopeside I                   Condo Associations                          $          -     $          -     $         -
Condo Assoc. - Slopeside II                  Condo Associations                          $          -     $          -     $         -
Condo Assoc. - Village Association           Condo Associations                          $          -     $        2,365   $       2,365
Transfer Condo Assoc.                        Condo Associations                          $          -     $          -     $         -
Condo Assoc. - General Fees                  Condo Associations                          $          -     $          -     $         -
Admin. Mtn Operations                        Skiing Operations                           $          -     $       13,003   $      13,003
Lift Maintenance                             Skiing Operations                           $          -     $       12,901   $      12,901
Snowmaking                                   Skiing Operations                           $          -     $       55,021   $      55,021
Grooming                                     Skiing Operations                           $          -     $        6,541   $       6,541
Vehicle & Equip. Maint.                      General Operations                          $          -     $        9,750   $       9,750
Electrical                                   General Operations                          $          -     $      116,906   $     116,906
Hotel Jay - Building Maint./Engin.           Hotel & Lodging                             $          -     $       16,668   $      16,668
Roads & Parking                              General Operations                          $          -     $        2,994   $       2,994
Building Maintenance                         General Operations                          $          -     $       21,659   $      21,659
Grounds                                      General Operations                          $          -     $        3,471   $       3,471
Water & Sewer System                         General Operations                          $          -     $       17,889   $      17,889
Stateside Hotel - Building Maint./Engin.     Hotel & Lodging                             $          -     $          204   $         204
Tram Haus - Building Maint./Engin.           Hotel & Lodging                             $          -     $        2,383   $       2,383
Laundry Operations                           Hotel & Lodging                             $          -     $          -     $         -
Housekeeping - Stateside Hotel               Hotel & Lodging                             $          -     $        1,506   $       1,506
Housekeeping - Hotel Jay                     Hotel & Lodging                             $          -     $          -     $         -
Janitorial                                   Hotel & Lodging                             $          -     $          -     $         -
Security                                     General Operations                          $          -     $          -     $         -
Shuttles                                     General Operations                          $          -     $        1,674   $       1,674
Storm Crew (Storm Water + Snow Shoveling)    General Operations                          $          -     $          -     $         -
Ambassadors/Greeters                         General Operations                          $          -     $          -     $         -
Lift Operations                              Skiing Operations                           $          -     $          -     $         -
Parking Attendant                            General Operations                          $          -     $          -     $         -
Customer Service                             Skiing Operations                           $          -     $          -     $         -
Ticket Selling                               Skiing Operations                           $          -     $      106,120   $     106,120
Special Events                               S, G & A                                    $          -     $        5,915   $       5,915
Ski Patrol                                   Skiing Operations                           $          -     $        1,453   $       1,453
Ski Club                                     Skiing Operations                           $          -     $          -     $         -
Daycare Center                               Other Mountain Activities                   $          -     $          -     $         -
MLC Daycare Center                           Other Mountain Activities                   $          -     $          -     $         -
Pump House                                   Other Mountain Activities                   $          -     $       55,390   $      55,390
Lift sales                                   Skiing Operations                           $          -     $        4,703   $       4,703
Golf Maintenance                             Summer Operations                           $          -     $        2,855   $       2,855
Lockers                                      General Operations                          $          -     $          -     $         -
Wedding Barn                                 Other Mountain Activities                   $          -     $          -     $         -
Snowpark                                     Skiing Operations                           $          -     $          -     $         -
Elevation 1851' Family Arcade Center         Other Mountain Activities                   $          -     $       18,759   $      18,759
Nordic Center                                Other Mountain Activities                   $          -     $          -     $         -
Fitness Center                               Other Mountain Activities                   $          -     $          -     $         -
MLC Summer Operations                        Summer Operations                           $          -     $        3,049   $       3,049
Amphitheater                                 Other Mountain Activities                   $          -     $       15,445   $      15,445
Ski School                                   Ski School                                  $          -     $          304   $         304
MLC Ski School                               Ski School                                  $          -     $        1,000   $       1,000
Sales                                        S, G & A                                    $          -     $       27,973   $      27,973
Marketing                                    S, G & A                                    $       14,985   $       96,349   $     111,334
Administration - Retail                      Retail                                      $          -     $          -     $         -
The Mountain Shop                            Retail                                      $          -     $        3,137   $       3,137
Rentals                                      Ski Rental/Repair                           $          -     $          -     $         -
Repairs                                      Ski Rental/Repair                           $          -     $          -     $         -
Golf Pro Shop                                Summer Operations                           $          -     $       10,210   $      10,210
The Wave                                     Retail                                      $          -     $        2,558   $       2,558
MLC Rentals                                  Ski Rental/Repair                           $          -     $          -     $         -
Stateside Daylodge - Retail - Gear Shop      Retail                                      $          -     $       17,106   $      17,106
Stateside Daylodge - Rentals                 Ski Rental/Repair                           $          -     $          -     $         -
Construction & Development                   S, G & A                                    $          -     $          424   $         424
Real Estate                                  S, G & A                                    $          -     $          -     $         -
Antenna Lease Sky Haus                       General Operations                          $          -     $       25,009   $      25,009
Non-Operating Items                          S, G & A                                    $          -     $    2,110,982   $   2,110,982
EB-5 Items                                   S, G & A                                    $          -     $          -     $         -
EBITDA Items                                 S, G & A                                    $          -     $        3,726   $       3,726
Tamarack Grill                               Food & Beverage                             $          -     $          550   $         550
Mid-Burke Cafe'                              Food & Beverage                             $          -     $          -     $         -
Bear’s Den Pub                               Food & Beverage                             $          -     $          -     $         -
Trailside Patio                              Food & Beverage                             $          -     $          380   $         380
Kingdom Cafe'                                Food & Beverage                             $          -     $           36   $          36
Banquets & Catering                          Food & Beverage                             $          -     $          -     $         -
Food & Beverage Events                       Food & Beverage                             $          -     $          -     $         -
Willoughby's Restaurant                      Food & Beverage                             $          -     $          -     $         -
The Gap Pub                                  Food & Beverage                             $          -     $       10,991   $      10,991
Coffee Shop                                  Food & Beverage                             $          -     $          -     $         -
Day Lodge Servery                            Food & Beverage                             $          -     $          -     $         -
Hotel Banquets                               Food & Beverage                             $          -     $          -     $         -
Hotel F&B Events                             Food & Beverage                             $          -     $          -     $         -
Hotel Pre-Opening Costs                      Hotel & Lodging                             $          -     $        1,905   $       1,905
Hotel Operations/Front Desk                  Hotel & Lodging                             $          -     $       17,473   $      17,473
Hotel Building Maintenance                   Hotel & Lodging                             $          -     $        5,963   $       5,963
Hotel Housekeeping                           Hotel & Lodging                             $          -     $        6,153   $       6,153
Hotel Laundry Ops                            Hotel & Lodging                             $          -     $          623   $         623
Hotel Janitorial                             Hotel & Lodging                             $          -     $          -     $         -
Hotel Utilities                              Hotel & Lodging                             $          -     $          -     $         -
Rental Operations - Campground               Hotel & Lodging                             $          -     $          -     $         -
Mountain Operations                          Skiing Operations                           $          -     $       17,194   $      17,194
Property Operations                          General Operations                          $          -     $          -     $         -
Mountain Biking                              Summer Operations                           $          -     $        5,977   $       5,977
Summer Programs                              Summer Operations                           $          -     $          -     $         -
Retail                                       Retail                                      $          -     $          -     $         -
Base Lodge Rentals                           Ski Rental/Repair                           $          -     $          -     $         -
Vertical Drop Retail                         Retail                                      $          -     $          -     $         -
Bear Essentials Retail                       Retail                                      $          -     $          -     $         -
Arcade                                       Other Mountain Activities                   $          -     $        1,785   $       1,785
Hotel Ski Rental/Repair & Day Lockers        Ski Rental/Repair                           $          -     $          -     $         -
AT&T Tower Lease                             General Operations                          $          -     $          -     $         -
Fixed Expenses                               General Operations                          $          -     $      239,828   $     239,828
Utilities                                    General Operations                          $          -     $          213   $         213
Developer Land Sales                         S, G & A                                    $          -     $          -     $         -
Management Company Fees                      S, G & A                                    $          -     $          -     $         -
                                                                                         $       14,985   $    6,146,910   $   6,161,895

Summary of Departmental Vendor Payments into Major Line of Business Categories

                                             Dept Category                                                                     USD
                                             Short-term Assets                                                             $     241,462
                                             Capital Expenditures (incl. tram upgrade)                                     $   1,948,602
                                             Short-term Liabilities                                                        $     335,138
                                             Equity                                                                        $         -
                                             S, G & A                                                                      $   2,461,579
                                             General Operations                                                            $     447,135
                                             Food & Beverage                                                               $     253,531
                                             Hotel & Lodging                                                               $     102,516
                                             Other Mountain Activities                                                     $     106,437
                                             Condo Associations                                                            $       2,365
                                             Skiing Operations                                                             $     216,936
                                             Summer Operations                                                             $      22,091
                                             Ski School                                                                    $       1,304
                                             Retail                                                                        $      22,801
                                             Ski Rental/Repair                                                             $         -
                                                                                                                           $   6,161,895
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Detailed Report on Taxes Paid to IRS and Vermont Department of Taxes         168
                                                                               Vermont Department of Taxes
10/01/17 through 10/31/17                                                                                     Internal Revenue Service

TRC Number Account Number     Account Type   Account Name               Post Date     Reference               Amount              Description               Type   Text
  221172186                   Checking       JPI Operating - 1736        10/25/2017   VTAX EFT DEPOSIT   AC   $    (12,432.74)    PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT   ACH DEBIT   171025
  221172186                   Checking       JPI Operating - 1736        10/25/2017   VTAX EFT DEPOSIT   AC   $    (83,868.77)    PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT   ACH DEBIT   171025
  221172186                   Checking       Phase II Checking - 0659    10/25/2017   VTAX EFT DEPOSIT   AC   $    (11,758.68)    PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT   ACH DEBIT   171025
  221172186                   Checking       Burke Mountain Operating    10/25/2017   VTAX EFT DEPOSIT   AC   $      (6,491.22)   PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT   ACH DEBIT   171025
  221172186                   Checking       Burke Mountain Operating    10/25/2017   VTAX EFT DEPOSIT   AC   $    (31,920.19)    PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT   ACH DEBIT   171025   MRT10035077
Jay Peak Resort/Burke Mountain                       Case 1:16-cv-21301-DPG Document 487 Entered on FLSD Docket 08/10/2018 Page 144 of
Detailed Report on Fees paid to Merchant and Bank
10/01/17 through 10/31/17
                                                                                          168
TRC Number      Account Number        Account Type    Account Name                           Post Date       Reference                 Additional Reference   Amount          Description               Type   Text
      221172186                       Checking        Burke Mountain Operating                  10/17/2017                         0                          $    (777.59)   ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY        FOR 09/17
      221172186                       Checking        Burke Mountain Operating                   10/3/2017   AUTHNET GATEWAY BI                               $     (26.40)   PREAUTHORIZED ACH DEBIT   Ach    AUTHNET GATEWAY BILLING       171003     98642592
      221172186                       Checking        Burke Mountain Operating                   10/2/2017   EMBED USA LLC FI                                 $    (195.00)   PREAUTHORIZED ACH DEBIT   Ach    EMBED USA LLC FIRST ACH     171002     6206186
      221172186                       Checking        Burke Mountain Operating                  10/11/2017   HRTLAND PMT SYS Eq                               $    (763.20)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS Equipment     171011     650000009411672
      221172186                       Checking        Burke Mountain Operating                   10/2/2017   HRTLAND PMT SYS TX                               $     (89.81)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     171002     650000008624093
      221172186                       Checking        Burke Mountain Operating                   10/2/2017   HRTLAND PMT SYS TX                               $    (231.13)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     171002     650000008836580
      221172186                       Checking        Burke Mountain Operating                   10/2/2017   HRTLAND PMT SYS TX                               $ (4,937.87)    PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     171002     650000009220552
      221172186                       Checking        Burke Mountain Operating                   10/2/2017   HRTLAND PMT SYS TX                               $    (135.96)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     171002     650000009220552
      221172186                       Checking        Burke Mountain Operating                   10/2/2017   HRTLAND PMT SYS TX                               $ (2,004.58)    PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     171002     650000009411672
      221172186                       Checking        Burke Mountain Operating                   10/2/2017   HRTLAND PMT SYS TX                               $ (1,871.61)    PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     171002     650000009411730
      221172186                       Checking        Burke Mountain Operating                   10/2/2017   MERCHANT SERVICE ME                              $    (154.05)   PREAUTHORIZED ACH DEBIT   Ach    MERCHANT SERVICE MERCH FEE      170930     31820
      221172186                       Checking        Burke Mountain Operating                  10/27/2017   SHIFT4-DEBITS 10                                 $    (107.69)   PREAUTHORIZED ACH DEBIT   Ach    SHIFT4-DEBITS 102717IMP     0000736723
      221172186                       Checking        Burke Mountain Water Company Inc          10/17/2017                         0                          $     (30.07)   ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY        FOR 09/17
      221172186                       Checking        JPI Operating - 1736                      10/17/2017                         0                          $ (1,667.67)    ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY        FOR 09/17
      221172186                       Checking        JPI Operating - 1736                       10/5/2017   AMERICAN EXPRESS AX                              $ (4,354.17)    PREAUTHORIZED ACH DEBIT   Ach    AMERICAN EXPRESS AXP DISCNT    171005     2440106714
      221172186                       Checking        JPI Operating - 1736                       10/5/2017   AMERICAN EXPRESS AX                              $ (4,169.55)    PREAUTHORIZED ACH DEBIT   Ach    AMERICAN EXPRESS AXP DISCNT    171005     2440508802
      221172186                       Checking        JPI Operating - 1736                       10/2/2017   EMBED USA LLC FI                                 $    (395.00)   PREAUTHORIZED ACH DEBIT   Ach    EMBED USA LLC FIRST ACH     171002     6203182
      221172186                       Checking        JPI Operating - 1736                      10/10/2017   HRTLAND PMT SYS Eq                               $     (79.50)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS Equipment     171007     650000009993059
      221172186                       Checking        JPI Operating - 1736                       10/2/2017   HRTLAND PMT SYS TX                               $ (4,503.91)    PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     171002     650000007491098
      221172186                       Checking        JPI Operating - 1736                       10/2/2017   HRTLAND PMT SYS TX                               $     (21.01)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     171002     650000009065528
      221172186                       Checking        JPI Operating - 1736                       10/2/2017   HRTLAND PMT SYS TX                               $ (14,956.39)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     171002     650000009073076
      221172186                       Checking        JPI Operating - 1736                       10/2/2017   HRTLAND PMT SYS TX                               $ (18,099.98)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     171002     650000009073126
      221172186                       Checking        JPI Operating - 1736                      10/12/2017   HRTLAND PMT SYS TX                               $    (147.14)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     171012     650000009065528
      221172186                       Checking        JPI Operating - 1736                      10/12/2017   HRTLAND PMT SYS TX                               $     (84.00)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     171012     650000009993059
      221172186                       Checking        JPI Operating - 1736                      10/16/2017   HRTLAND PMT SYS TX                               $      (0.03)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     171016     650000009065528
      221172186                       Checking        JPI Operating - 1736                      10/20/2017   HRTLAND PMT SYS TX                               $      (0.11)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     171020     650000009065528
      221172186                       Checking        JPI Operating - 1736                      10/23/2017   HRTLAND PMT SYS TX                               $      (0.20)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     171023     650000009065528
      221172186                       Checking        JPI Operating - 1736                      10/24/2017   HRTLAND PMT SYS TX                               $      (0.06)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     171024     650000009065528
      221172186                       Checking        JPI Operating - 1736                      10/31/2017   HRTLAND PMT SYS TX                               $      (0.06)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     171031     650000009065528
      221172186                       Checking        JPI Operating - 1736                       10/2/2017   MERCHANT SERVICE ME                              $    (370.58)   PREAUTHORIZED ACH DEBIT   Ach    MERCHANT SERVICE MERCH FEE      170930     31713
      221172186                       Checking        JPI Operating - 1736                      10/27/2017   SHIFT4-DEBITS 10                                 $    (358.16)   PREAUTHORIZED ACH DEBIT   Ach    SHIFT4-DEBITS 102717IMP     0000736724
      221172186                       Checking        JPI Operating - 1736                       10/4/2017   VANTIV_INTG_PYMT BI                              $    (247.61)   PREAUTHORIZED ACH DEBIT   Ach    VANTIV_INTG_PYMT BILLNG       8788430111124Jay Peak Vermont
      221172186                       Checking        JPI Operating - 1736                       10/4/2017   VANTIV_INTG_PYMT BI                              $    (107.85)   PREAUTHORIZED ACH DEBIT   Ach    VANTIV_INTG_PYMT BILLNG       8788430201279Jay Peak Resort - Token Machine
      221172186                       Checking        Mountain Road Management Company Inc      10/17/2017                         0                          $     (32.73)   ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY        FOR 09/17
      221172186                       Checking        Phase II Checking - 0659                  10/11/2017                         0                          $     (33.04)   ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY        FOR 09/17
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                                                               168
Ending Cash Balance
                                                                                      * Rate: 0.78
                                                                      10/31/2017                  10/31/2017
                                                                       USD/CDN                       USD
                                                                      End of Day                  End of Day
Company          Bank         Account Name         Account Number    Cash Balance                Cash Balance
08 - JPI         People's     General Account           1736           1,563,086.90                1,563,086.90
08 - JPI         People's     Payroll Account           1752                    -                           -
08 - JPI         People's     Money Market Acct         7175              21,034.21                   21,034.21
20 - JPHSP2      People's     General Account           0659             439,699.83                  439,699.83
20 - JPHSP2      People's     Money Market Acct         0667                    -                           -
380 - BMOC       People's     General Account                            602,054.22                  602,054.22
380 - BMOC       People's     Savings Account                                   -                           -
381 - BMRM       People's     General Account                             48,838.28                   48,838.28
382 - BMWC       People's     General Account                             29,025.88                   29,025.88
08 - JPI         Desjardins   CDN Operating Acct                         229,661.08                  179,135.64 *
20 - JPHSP2      Desjardins   CDN Operating Acct                          37,109.51                   28,945.42 *
                                                                    $ 2,970,509.91             $ 2,911,820.38

                  http://www.oanda.com/currency/converter/
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                                     168




                                                                           As of 8/31/17, no
                                                                           transactions were
                                                                           made to account
                                                                                    the
                                                                           account is now
                                                                           considered as
                                                                           inactive by
                                                                           Desjardins bank.
                                                                           Carryforward
                                                                           balance from
                                                                           8/31/17 is being
                                                                           used, minus
                                                                           $12.50 and $8.90
                                                                           fees.
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Jay Peak Resort/Burke Mountain                              168
Cash Flow Statement
11/01/17 through 11/30/17


                                                                       USD
Beginning Cash Balance
    People's United Bank #          1736                    $               1,563,087
    People's United Bank #          1752                    $                     -
    People's United Bank #          7175                    $                  21,034
    People's United Bank #          0659                    $                 439,700
    People's United Bank #          0667                    $                     -
    People's United Bank #                                  $                 602,054
    People's United Bank #                                  $                     -
    People's United Bank #                                  $                  48,838
    People's United Bank #                                  $                  29,026
    Desjardins #                                            $                 179,136
    Desjardins #                                            $                  28,945
                                                            $               2,911,820

Add Incoming:
    Receiver Funding
          Direct - Merrill Lynch Bank Accounts              $                     -
          Indirect - CitiBank Accounts                      $               2,000,355
    Deposits from Operations                                $               3,676,524 A
                                                            $               5,676,879

Less Outgoing:
     Payroll & Benefits
           Jay Peak Resort                                  $              (1,245,363)
           Burke Mountain                                   $                (200,324)
     Vendor Payments
           Jay Peak Resort                                  $              (3,439,931) B
           Burke Mountain                                   $                (451,912) B
     Tax Payments
           Vermont Department of Taxes                      $                (219,799)
           Internal Revenue Service                         $                    (623)
     Merchant and Bank Fees                                 $                 (87,655)
                                                            $              (5,645,607)

Ending Cash Balance
    People's United Bank #          1736                    $               1,405,229
    People's United Bank #          1752                    $                     -
    People's United Bank #          7175                    $                  21,037
    People's United Bank #          0659                    $                 508,311
    People's United Bank #          0667                    $                     -
    People's United Bank #                                  $                 687,664
    People's United Bank #                                  $                     -
    People's United Bank #                                  $                  68,374
    People's United Bank #                                  $                  28,756
    Desjardins #                                            $                 223,721
    Desjardins #                                            $                     -
                                                            $               2,943,092


Note A:
Canadian transactions have been converted to US Dollars based upon the following methodology:
The Canadian portion of total resort deposits was calculated to be 12% for the report period. This
percentage was applied to all resort deposits at the average CDN to USD currency exchange rate of .78 for the
report period.


Note B:
Vendor payments pertain partially to goods and services received after April 13, 2016. In August of
2017, payments were also issued for outstanding invoices pertaining to goods and services recevied
prior to April 13, 2016.
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Jay Peak Resort/Burke Mountain                                168
Beginning Cash Balance
                                                                                        * Rate: 0.78
                                                                        10/31/2017                 10/31/2017
                                                                          USD/CDN                      USD
                                                                         End of Day                 End of Day
Company          Bank         Account Name         Account Number       Cash Balance               Cash Balance
08 - JPI         People's     General Account          1736              1,563,086.90               1,563,086.90
08 - JPI         People's     Payroll Account          1752                       -                          -
08 - JPI         People's     Money Market Acct        7175                 21,034.21                  21,034.21
20 - JPHSP2      People's     General Account          0659                439,699.83                 439,699.83
20 - JPHSP2      People's     Money Market Acct        0667                       -                          -
380 - BMOC       People's     General Account                              602,054.22                 602,054.22
380 - BMOC       People's     Savings Account                                     -                          -
381 - BMRM       People's     General Account                               48,838.28                  48,838.28
382 - BMWC       People's     General Account                               29,025.88                  29,025.88
08 - JPI         Desjardins   CDN Operating Acct                           229,661.08                 179,135.64 *
20 - JPHSP2      Desjardins   CDN Operating Acct                            37,109.51                  28,945.42 *
                                                                    $    2,970,509.91           $   2,911,820.38

                  http://www.oanda.com/currency/converter/
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                                     168




                                                                               As of 8/31/17, no
                                                                               transactions were
                                                                               made to account
                                                                                        the
                                                                               account is now
                                                                               considered as
                                                                               inactive by
                                                                               Desjardins bank.
                                                                               Carryforward
                                                                               balance from
                                                                               8/31/17 is being
                                                                               used, minus
                                                                               $12.50 and $8.90
                                                                               fees.
Jay Peak Resort/Burke Mountain             Case 1:16-cv-21301-DPG Document 487 Entered on FLSD Docket 08/10/2018 Page 150 of
Detailed Report on Receiver Funding                                             168 Direct - Merrill Lynch/SunTrust Bank Accounts
11/01/17 through 11/30/17                                                                                                        Indirect - CitiBank Accounts

TRC Number       Account Number       Account Type   Account Name               Post Date   Reference     Additional Reference   Amount                 Description              Type   Text
       221172186                      Checking       JPI Operating - 1736        11/10/2017      1.00E+12                        $         9,587.37     INCOMING WIRE TRANSFER   Wire
       221172186                      Checking       JPI Operating - 1736        11/10/2017      1.00E+12                        $     1,798,243.87     INCOMING WIRE TRANSFER   Wire
       221172186                      Checking       Burke Mountain Operating    11/14/2017      1.00E+12                        $       192,524.17     INCOMING WIRE TRANSFER   Wire   incoming wire - Burke 2000 (km-14235)
Jay Peak Resort/Burke Mountain                      Case 1:16-cv-21301-DPG Document 487 Entered on FLSD Docket 08/10/2018 Page 151 of
Detailed Report on Resort Deposits
11/01/17 through 11/30/17
                                                          Average Currency Exchange Rate: 0.78
                                                                                               168
                                                                                           CDN converted          original
Dept Name                                     Dept Category                                   to USD               USD               USD
Inventory/Prepaids/Receivables                Short-term Assets                           $       199,343     $     1,903,696    $   2,103,039
Capital                                       Capital Expenditures (incl. tram upgrade)   $           -       $           -      $         -
Debt/Liabilities/Deferreds/Taxes              Short-term Liabilities                      $        20,009     $       191,088    $     211,097
Investor                                      Equity                                      $           -       $           -      $         -
Administration                                S, G & A                                    $          (217)    $        (1,900)   $      (2,117)
Accounting                                    S, G & A                                    $              4    $            39    $          43
Information Systems                           S, G & A                                    $             (7)   $           (71)   $         (78)
Telephone                                     General Operations                          $         3,696     $        35,294    $      38,990
Human Resources                               S, G & A                                    $           (22)    $          (212)   $        (234)
Risk Management                               S, G & A                                    $           -       $           -      $         -
Administration - Food Service                 Food & Beverage                             $           -       $           -      $         -
Vending                                       Food & Beverage                             $           -       $           -      $         -
Tram cafeteria                                Food & Beverage                             $           -       $           -      $         -
International Restaurant                      Food & Beverage                             $           113     $         1,075    $       1,187
Sky Haus                                      Food & Beverage                             $           -       $           -      $         -
Golf Clubhouse Restaurant                     Food & Beverage                             $              9    $            84    $          93
The Foundry Pub & Grille                      Food & Beverage                             $         7,316     $        69,870    $      77,186
Buddy's Mug                                   Food & Beverage                             $           604     $         5,768    $       6,372
The Warming Shelter                           Food & Beverage                             $         3,360     $        32,084    $      35,443
Mountain Dick's Pizza                         Food & Beverage                             $         2,490     $        23,777    $      26,266
The Drink                                     Food & Beverage                             $         3,125     $        29,843    $      32,968
MLC F&B                                       Food & Beverage                             $           -       $           -      $         -
Stateside Daylodge - Cafeteria & Bar          Food & Beverage                             $           993     $         9,486    $      10,479
Stateside Hotel - Howie's Restaurant          Food & Beverage                             $         1,070     $        10,223    $      11,293
Jay Peak Provisions                           Food & Beverage                             $         8,087     $        77,226    $      85,312
Conference Services                           Food & Beverage                             $         1,496     $        14,282    $      15,778
Condo Rental Mgt.                             Hotel & Lodging                             $           588     $         5,618    $       6,207
Taiga Fitness & Spa                           Other Mountain Activities                   $         1,067     $        10,188    $      11,255
Unsold condo rental                           Hotel & Lodging                             $           -       $           -      $         -
Aroma Coffee Shop                             Food & Beverage                             $           -       $           -      $         -
Tram Haus Lodge Rest & Bar                    Food & Beverage                             $         2,850     $        27,221    $      30,072
Tram Haus Lodge                               Hotel & Lodging                             $         1,283     $        12,253    $      13,536
Lodging Reservation                           Hotel & Lodging                             $        (2,858)    $       (27,293)   $     (30,151)
Golf Clubhouse Lodging                        Hotel & Lodging                             $           107     $         1,026    $       1,133
Hotel Jay - Front Desk                        Hotel & Lodging                             $        13,214     $       126,193    $     139,407
Penthouse Suites                              Hotel & Lodging                             $         5,649     $        53,943    $      59,592
Golf & Mountain Suites                        Hotel & Lodging                             $         9,040     $        86,335    $      95,376
Lodge & Townhouses                            Hotel & Lodging                             $         8,635     $        82,463    $      91,098
Stateside Hotel - Front Desk                  Hotel & Lodging                             $         3,977     $        37,979    $      41,955
Ice Rink                                      Other Mountain Activities                   $         2,447     $        23,368    $      25,815
Ice Rink Snack Bar                            Food & Beverage                             $         1,523     $        14,546    $      16,070
Condo Assoc. - Mountain Side                  Condo Associations                          $           -       $           -      $         -
Condo Assoc. - Trail Side                     Condo Associations                          $           -       $           -      $         -
Condo Assoc. - Stoney Path                    Condo Associations                          $           -       $           -      $         -
Condo Assoc. - Slopeside I                    Condo Associations                          $           -       $           -      $         -
Condo Assoc. - Slopeside II                   Condo Associations                          $           -       $           -      $         -
Condo Assoc. - Village Association            Condo Associations                          $           -       $           -      $         -
Transfer Condo Assoc.                         Condo Associations                          $           -       $           -      $         -
Condo Assoc. - General Fees                   Condo Associations                          $           -       $           -      $         -
Admin. Mtn Operations                         Skiing Operations                           $           -       $           -      $         -
Lift Maintenance                              Skiing Operations                           $           -       $           -      $         -
Snowmaking                                    Skiing Operations                           $           -       $           -      $         -
Grooming                                      Skiing Operations                           $           -       $           -      $         -
Vehicle & Equip. Maint.                       General Operations                          $           -       $           -      $         -
Electrical                                    General Operations                          $           -       $           -      $         -
Hotel Jay - Building Maint./Engin.            Hotel & Lodging                             $           -       $           -      $         -
Roads & Parking                               General Operations                          $           -       $           -      $         -
Building Maintenance                          General Operations                          $              2    $            19    $          20
Grounds                                       General Operations                          $           -       $           -      $         -
Water & Sewer System                          General Operations                          $         1,207     $        11,531    $      12,738
Stateside Hotel - Building Maint./Engin.      Hotel & Lodging                             $           -       $           -      $         -
Tram Haus - Building Maint./Engin.            Hotel & Lodging                             $           -       $           -      $         -
Laundry Operations                            Hotel & Lodging                             $           -       $           -      $         -
Housekeeping - Stateside Hotel                Hotel & Lodging                             $            24     $           229    $         253
Housekeeping - Hotel Jay                      Hotel & Lodging                             $           196     $         1,869    $       2,065
Janitorial                                    Hotel & Lodging                             $           -       $           -      $         -
Security                                      General Operations                          $           -       $           -      $         -
Shuttles                                      General Operations                          $         1,690     $        16,137    $      17,827
Storm Crew (Storm Water + Snow Shoveling)     General Operations                          $           -       $           -      $         -
Ambassadors/Greeters                          General Operations                          $           -       $           -      $         -
Lift Operations                               Skiing Operations                           $           -       $           -      $         -
Parking Attendant                             General Operations                          $           325     $         3,100    $       3,424
Customer Service                              Skiing Operations                           $            22     $           209    $         231
Ticket Selling                                Skiing Operations                           $            66     $           631    $         697
Special Events                                S, G & A                                    $         1,791     $        17,103    $      18,894
Ski Patrol                                    Skiing Operations                           $          (101)    $          (967)   $      (1,069)
Ski Club                                      Skiing Operations                           $           -       $           -      $         -
Daycare Center                                Other Mountain Activities                   $         1,693     $        16,169    $      17,862
MLC Daycare Center                            Other Mountain Activities                   $           -       $           -      $         -
Pump House                                    Other Mountain Activities                   $        23,892     $       228,166    $     252,058
Lift sales                                    Skiing Operations                           $         2,439     $        23,291    $      25,730
Golf Maintenance                              Summer Operations                           $           -       $           -      $         -
Lockers                                       General Operations                          $           -       $           -      $         -
Wedding Barn                                  Other Mountain Activities                   $           -       $           -      $         -
Snowpark                                      Skiing Operations                           $           -       $           -      $         -
Elevation 1851' Family Arcade Center          Other Mountain Activities                   $         2,797     $        26,708    $      29,505
Nordic Center                                 Other Mountain Activities                   $           -       $           -      $         -
Fitness Center                                Other Mountain Activities                   $           -       $           -      $         -
MLC Summer Operations                         Summer Operations                           $           -       $           -      $         -
Amphitheater                                  Other Mountain Activities                   $           -       $           -      $         -
Ski School                                    Ski School                                  $         1,066     $        10,180    $      11,246
MLC Ski School                                Ski School                                  $            64     $           614    $         678
Sales                                         S, G & A                                    $           426     $         4,069    $       4,495
Marketing                                     S, G & A                                    $           (59)    $          (564)   $        (623)
Administration - Retail                       Retail                                      $              2    $            16    $          18
The Mountain Shop                             Retail                                      $           609     $         5,818    $       6,428
Rentals                                       Ski Rental/Repair                           $           -       $           -      $         -
Repairs                                       Ski Rental/Repair                           $           106     $         1,011    $       1,117
Golf Pro Shop                                 Summer Operations                           $           (66)    $          (635)   $        (701)
The Wave                                      Retail                                      $           628     $         5,998    $       6,626
MLC Rentals                                   Ski Rental/Repair                           $           -       $           -      $         -
Stateside Daylodge - Retail - Gear Shop       Retail                                      $           455     $         4,348    $       4,804
Stateside Daylodge - Rentals                  Ski Rental/Repair                           $           289     $         2,762    $       3,051
Construction & Development                    S, G & A                                    $           -       $           -      $         -
Real Estate                                   S, G & A                                    $           -       $           -      $         -
Antenna Lease Sky Haus                        General Operations                          $           -       $           -      $         -
Non-Operating Items                           S, G & A                                    $           118     $         1,123    $       1,240
EB-5 Items                                    S, G & A                                    $           -       $           -      $         -
EBITDA Items                                  S, G & A                                    $           -       $           -      $         -
Tamarack Grill                                Food & Beverage                             $           -       $           -      $         -
Mid-Burke Cafe'                               Food & Beverage                             $           -       $           -      $         -
Bear’s Den Pub                                Food & Beverage                             $           -       $           -      $         -
Trailside Patio                               Food & Beverage                             $           -       $           -      $         -
Kingdom Cafe'                                 Food & Beverage                             $           -       $           -      $         -
Banquets & Catering                           Food & Beverage                             $           -       $           -      $         -
Food & Beverage Events                        Food & Beverage                             $           -       $           -      $         -
Willoughby's Restaurant                       Food & Beverage                             $           -       $           -      $         -
The Gap Pub                                   Food & Beverage                             $         3,201     $        30,568    $      33,769
Coffee Shop                                   Food & Beverage                             $            95     $           909    $       1,004
Day Lodge Servery                             Food & Beverage                             $           -       $           -      $         -
Hotel Banquets                                Food & Beverage                             $         1,520     $        14,514    $      16,034
Hotel F&B Events                              Food & Beverage                             $           -       $           -      $         -
Hotel Pre-Opening Costs                       Hotel & Lodging                             $           -       $           -      $         -
Hotel Operations/Front Desk                   Hotel & Lodging                             $         3,757     $        35,883    $      39,641
Hotel Building Maintenance                    Hotel & Lodging                             $           -       $           -      $         -
Hotel Housekeeping                            Hotel & Lodging                             $           -       $           -      $         -
Hotel Laundry Ops                             Hotel & Lodging                             $           -       $           -      $         -
Hotel Janitorial                              Hotel & Lodging                             $           -       $           -      $         -
Hotel Utilities                               Hotel & Lodging                             $           -       $           -      $         -
Rental Operations - Campground                Hotel & Lodging                             $           -       $           -      $         -
Mountain Operations                           Skiing Operations                           $           -       $           -      $         -
Property Operations                           General Operations                          $           -       $           -      $         -
Mountain Biking                               Summer Operations                           $           203     $         1,943    $       2,146
Summer Programs                               Summer Operations                           $           -       $           -      $         -
Retail                                        Retail                                      $           422     $         4,027    $       4,449
Base Lodge Rentals                            Ski Rental/Repair                           $           139     $         1,330    $       1,470
Vertical Drop Retail                          Retail                                      $            76     $           721    $         797
Bear Essentials Retail                        Retail                                      $           -       $           -      $         -
Arcade                                        Other Mountain Activities                   $           390     $         3,727    $       4,118
Hotel Ski Rental/Repair & Day Lockers         Ski Rental/Repair                           $           -       $           -      $         -
AT&T Tower Lease                              General Operations                          $           -       $           -      $         -
Fixed Expenses                                General Operations                          $           -       $           -      $         -
Utilities                                     General Operations                          $           -       $           -      $         -
Developer Land Sales                          S, G & A                                    $           -       $           -      $         -
Management Company Fees                       S, G & A                                    $           -       $           -      $         -
                                                                                          $       348,474     $     3,328,050    $   3,676,524

Summary of Departmental Deposits into Major Line of Business Categories

                                              Dept Category                                                                          USD
                                              Short-term Assets                                                                  $   2,103,039
                                              Capital Expenditures (incl. tram upgrade)                                          $         -
                                              Short-term Liabilities                                                             $     211,097
                                              Equity                                                                             $         -
                                              S, G & A                                                                           $      21,620
                                              General Operations                                                                 $      73,000
                                              Food & Beverage                                                                    $     399,328
                                              Hotel & Lodging                                                                    $     460,112
                                              Other Mountain Activities                                                          $     340,612
                                              Condo Associations                                                                 $         -
                                              Skiing Operations                                                                  $      25,589
                                              Summer Operations                                                                  $       1,445
                                              Ski School                                                                         $      11,925
                                              Retail                                                                             $      23,120
                                              Ski Rental/Repair                                                                  $       5,638
                                                                                                                                 $   3,676,524
Jay Peak Resort/Burke Mountain                   Case 1:16-cv-21301-DPG Document 487 Entered on FLSD Docket 08/10/2018 Page 152 of
Detailed Report on Payroll and Benefits Payments
11/01/17 through 11/30/17
                                                                                      168
                                                                                       Jay Peak Resort Payroll
                                                                                       Burke Mountain Payroll

TRC Number     Account Number     Account Type     Account Name               Post Date        Reference                    Additional Reference
                                                                                                                                             Amount              Description               Type   Text
     221172186                    Checking         JPI Operating - 1736          11/13/2017    CIGNA EDGE TRANS CO                           $        (1,127.95) PREAUTHORIZED ACH DEBIT   Ach    CIGNA EDGE TRANS COLLECTION      171113      603200044672 ---BURKE PORTION---
     221172186                    Checking         JPI Operating - 1736          11/21/2017    CIGNA EDGE TRANS CO                           $       (15,812.21) PREAUTHORIZED ACH DEBIT   Ach    CIGNA EDGE TRANS COLLECTION      171121      600900095790 ---BURKE PORTION---
     221172186                    Checking         JPI Operating - 1736            11/8/2017                       1.00E+12                  $        (3,487.69) OUTGOING WIRE TRANSFER           Catamount Qtrly Payment Q3 2017 (JE057065) ---BURKE PORTION---
     221172186                    Checking         JPI Operating - 1736          11/14/2017                        1.00E+12                  $       (82,470.03) OUTGOING WIRE TRANSFER           ---BURKE PORTION---
     221172186                    Checking         JPI Operating - 1736          11/28/2017                        1.00E+12                  $       (83,734.11) OUTGOING WIRE TRANSFER           ---BURKE PORTION---
     221172186                    Checking         Burke Mountain Operating        11/6/2017   MEMIC Indemnity AC                            $        (5,618.70) PREAUTHORIZED ACH DEBIT   Ach    MEMIC Indemnity ACHTRANS     171106     13507395
     221172186                    Checking         Burke Mountain Operating      11/20/2017    MEMIC Indemnity AC                            $        (6,344.68) PREAUTHORIZED ACH DEBIT   Ach    MEMIC Indemnity ACHTRANS     171120     14379437
     221172186                    Checking         JPI Operating - 1736            11/2/2017   BANCORPSV        BA                           $           (15.00) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV      BANCORPSV    WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736            11/3/2017   BANCORPSV        BA                           $           (66.72) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV      BANCORPSV    WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736            11/6/2017   BANCORPSV        BA                           $        (1,646.67) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV      BANCORPSV    WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736          11/13/2017    CIGNA EDGE TRANS CO                           $        (6,563.21) PREAUTHORIZED ACH DEBIT   Ach    CIGNA EDGE TRANS COLLECTION    171113     603200044672 ---JAY PORTION---
     221172186                    Checking         JPI Operating - 1736          11/21/2017    CIGNA EDGE TRANS CO                           $       (86,597.63) PREAUTHORIZED ACH DEBIT   Ach    CIGNA EDGE TRANS COLLECTION    171121     600900095790 ---JAY PORTION---
     221172186                    Checking         JPI Operating - 1736            11/8/2017                       1.00E+12                  $       (20,486.58) OUTGOING WIRE TRANSFER           Catamount Qtrly Payment Q3 2017 (JE057065) ---JAY PORTION---
     221172186                    Checking         JPI Operating - 1736          11/14/2017                        1.00E+12                  $      (486,930.07) OUTGOING WIRE TRANSFER           ---JAY PORTION---
     221172186                    Checking         JPI Operating - 1736          11/28/2017                        1.00E+12                  $      (529,238.22) OUTGOING WIRE TRANSFER           ---JAY PORTION---
     221172186                    Checking         JPI Operating - 1736            11/7/2017   BANCORPSV        BA                           $          (409.50) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV    WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736          11/13/2017    BANCORPSV        BA                           $           (12.24) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV    WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736          11/14/2017    BANCORPSV        BA                           $           (50.00) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV    WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736          11/14/2017    BANCORPSV        BA                           $           (14.28) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV    WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736          11/16/2017    BANCORPSV        BA                           $          (233.00) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV    WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736          11/20/2017    BANCORPSV        BA                           $          (192.56) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV    WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736          11/21/2017    BANCORPSV        BA                           $          (330.07) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV    WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736          11/21/2017    BANCORPSV        BA                           $           (12.92) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV    WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736          11/24/2017    BANCORPSV        BA                           $           (24.30) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV    WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736          11/27/2017    BANCORPSV        BA                           $          (315.93) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV    WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736          11/28/2017    BANCORPSV        BA                           $           (11.16) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV    WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736          11/29/2017    BANCORPSV        BA                           $          (101.83) PREAUTHORIZED ACH DEBIT   Ach    BANCORPSV        BANCORPSV    WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
     221172186                    Checking         JPI Operating - 1736            11/3/2017   DISCOVERY BENEFI CL                           $          (251.52) PREAUTHORIZED ACH DEBIT   Ach    DISCOVERY BENEFI CLAIM FUND     171103      21194030194601
     221172186                    Checking         JPI Operating - 1736            11/6/2017   DISCOVERY BENEFI CL                           $        (1,032.00) PREAUTHORIZED ACH DEBIT   Ach    DISCOVERY BENEFI CLAIM FUND     171106      21194030194601
     221172186                    Checking         JPI Operating - 1736            11/9/2017   DISCOVERY BENEFI CL                           $           (75.41) PREAUTHORIZED ACH DEBIT   Ach    DISCOVERY BENEFI CLAIM FUND     171109      21194030194601
     221172186                    Checking         JPI Operating - 1736          11/16/2017    DISCOVERY BENEFI CL                           $           (24.63) PREAUTHORIZED ACH DEBIT   Ach    DISCOVERY BENEFI CLAIM FUND     171116      21194030194601
     221172186                    Checking         JPI Operating - 1736          11/17/2017    DISCOVERY BENEFI CL                           $          (365.41) PREAUTHORIZED ACH DEBIT   Ach    DISCOVERY BENEFI CLAIM FUND     171117      21194030194601
     221172186                    Checking         JPI Operating - 1736          11/22/2017    DISCOVERY BENEFI CL                           $          (328.56) PREAUTHORIZED ACH DEBIT   Ach    DISCOVERY BENEFI CLAIM FUND     171122      21194030194601
     221172186                    Checking         JPI Operating - 1736          11/27/2017    DISCOVERY BENEFI DB                           $          (292.00) PREAUTHORIZED ACH DEBIT   Ach    DISCOVERY BENEFI DBI Admin     171127
     221172186                    Checking         JPI Operating - 1736            11/6/2017   MEMIC Indemnity AC                            $       (27,871.28) PREAUTHORIZED ACH DEBIT   Ach    MEMIC Indemnity ACHTRANS       171106      13508457
     221172186                    Checking         JPI Operating - 1736          11/20/2017    MEMIC Indemnity AC                            $       (30,795.16) PREAUTHORIZED ACH DEBIT   Ach    MEMIC Indemnity ACHTRANS       171120      14380475
     221172186                    Checking         JPI Operating - 1736            11/3/2017   Voya Nat Trst182 SP                           $        (8,934.42) PREAUTHORIZED ACH DEBIT   Ach    Voya Nat Trst182 SPNSR P/R   171103      811437 0001
     221172186                    Checking         JPI Operating - 1736          11/16/2017    Voya Nat Trst182 SP                           $       (13,933.00) PREAUTHORIZED ACH DEBIT   Ach    Voya Nat Trst182 SPNSR P/R   171116      811437 0001
     221172186                    Checking         JPI Operating - 1736          11/30/2017    Voya Nat Trst182 SP                           $        (7,888.33) PREAUTHORIZED ACH DEBIT   Ach    Voya Nat Trst182 SPNSR P/R   171130      811437 0001
     221172186                    Checking         JPI Operating - 1736          11/21/2017    DISCOVERY BENEFI RE                           $             2.00 PREAUTHORIZED ACH CREDIT   Ach    DISCOVERY BENEFI REPAYMENT       171121      21194030194601
     221172186                    Checking         JPI Payroll - 1752              11/1/2017   PAYCHEX CGS GA                                $        (4,208.79) PREAUTHORIZED ACH DEBIT   Ach    PAYCHEX CGS GARNISH         171101      COL0074280359
     221172186                    Checking         JPI Payroll - 1752            11/15/2017    PAYCHEX CGS GA                                $        (4,344.71) PREAUTHORIZED ACH DEBIT   Ach    PAYCHEX CGS GARNISH         171115      COL0074569290
     221172186                    Checking         JPI Payroll - 1752            11/29/2017    PAYCHEX CGS GA                                $        (4,061.10) PREAUTHORIZED ACH DEBIT   Ach    PAYCHEX CGS GARNISH         171129      COL0074851151
     221172186                    Checking         JPI Payroll - 1752              11/2/2017   PAYCHEX EIB     IN                            $        (1,884.45) PREAUTHORIZED ACH DEBIT   Ach    PAYCHEX EIB     INVOICE    171102      X73579100001079
     221172186                    Checking         JPI Payroll - 1752            11/16/2017    PAYCHEX EIB     IN                            $        (2,071.64) PREAUTHORIZED ACH DEBIT   Ach    PAYCHEX EIB     INVOICE    171116      X73779700002609
     221172186                    Checking         JPI Payroll - 1752            11/30/2017    PAYCHEX EIB     IN                            $        (2,315.55) PREAUTHORIZED ACH DEBIT   Ach    PAYCHEX EIB     INVOICE    171130      X73968700001611
     221172186                    Checking         JPI Payroll - 1752            11/30/2017    PAYCHEX SEC DEP MA                            $           (57.46) PREAUTHORIZED ACH DEBIT   Ach    PAYCHEX SEC DEP MANACH COL      PAYCHEX ADJUSTMENT
     221172186                    Checking         JPI Payroll - 1752            11/10/2017    PAYCHEX-HRS HR                                $        (3,303.30) PREAUTHORIZED ACH DEBIT   Ach    PAYCHEX-HRS HRS PMT         171110      26440074
     221172186                    Checking         JPI Payroll - 1752            11/21/2017    PAYCHEX - RCX PA                              $            83.11 PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX - RCX PAYROLL       171121      73850800001488X
     221172186                    Checking         JPI Payroll - 1752              11/3/2017   PAYCHEX-HRS HR                                $           114.00 PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX-HRS HRS PMT         171103      26207866
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Detailed Report on Vendor Payments
11/01/17 through 11/30/17
                                                         Average Currency Exchange Rate: 0.78
                                                                                              168
                                                                                         CDN converted        original
Dept Name                                    Dept Category                                  to USD             USD             USD
Inventory/Prepaids/Receivables               Short-term Assets                           $          -     $      278,223   $     278,223
Capital                                      Capital Expenditures (incl. tram upgrade)   $          -     $    1,995,406   $   1,995,406
Debt/Liabilities/Deferreds/Taxes             Short-term Liabilities                      $          -     $      193,050   $     193,050
Investor                                     Equity                                      $          -     $          -     $         -
Administration                               S, G & A                                    $          -     $        9,508   $       9,508
Accounting                                   S, G & A                                    $          -     $      133,863   $     133,863
Information Systems                          S, G & A                                    $          -     $       18,022   $      18,022
Telephone                                    General Operations                          $          -     $       19,579   $      19,579
Human Resources                              S, G & A                                    $          -     $       18,649   $      18,649
Risk Management                              S, G & A                                    $          -     $       10,908   $      10,908
Administration - Food Service                Food & Beverage                             $          -     $          -     $         -
Vending                                      Food & Beverage                             $          -     $          -     $         -
Tram cafeteria                               Food & Beverage                             $          -     $          -     $         -
International Restaurant                     Food & Beverage                             $          -     $          -     $         -
Sky Haus                                     Food & Beverage                             $          -     $          -     $         -
Golf Clubhouse Restaurant                    Food & Beverage                             $          -     $        5,094   $       5,094
The Foundry Pub & Grille                     Food & Beverage                             $          -     $       63,855   $      63,855
Buddy's Mug                                  Food & Beverage                             $          -     $          -     $         -
The Warming Shelter                          Food & Beverage                             $          -     $        2,252   $       2,252
Mountain Dick's Pizza                        Food & Beverage                             $          -     $          -     $         -
The Drink                                    Food & Beverage                             $          -     $          -     $         -
MLC F&B                                      Food & Beverage                             $          -     $          -     $         -
Stateside Daylodge - Cafeteria & Bar         Food & Beverage                             $          -     $          -     $         -
Stateside Hotel - Howie's Restaurant         Food & Beverage                             $          -     $          -     $         -
Jay Peak Provisions                          Food & Beverage                             $          -     $       15,105   $      15,105
Conference Services                          Food & Beverage                             $          -     $       75,553   $      75,553
Condo Rental Mgt.                            Hotel & Lodging                             $          -     $       11,226   $      11,226
Taiga Fitness & Spa                          Other Mountain Activities                   $          -     $          -     $         -
Unsold condo rental                          Hotel & Lodging                             $          -     $          -     $         -
Aroma Coffee Shop                            Food & Beverage                             $          -     $          -     $         -
Tram Haus Lodge Rest & Bar                   Food & Beverage                             $          -     $       11,253   $      11,253
Tram Haus Lodge                              Hotel & Lodging                             $          -     $        6,787   $       6,787
Lodging Reservation                          Hotel & Lodging                             $          -     $        5,594   $       5,594
Golf Clubhouse Lodging                       Hotel & Lodging                             $          -     $          188   $         188
Hotel Jay - Front Desk                       Hotel & Lodging                             $          -     $        5,970   $       5,970
Penthouse Suites                             Hotel & Lodging                             $          -     $          -     $         -
Golf & Mountain Suites                       Hotel & Lodging                             $          -     $        2,443   $       2,443
Lodge & Townhouses                           Hotel & Lodging                             $          -     $          -     $         -
Stateside Hotel - Front Desk                 Hotel & Lodging                             $          -     $          -     $         -
Ice Rink                                     Other Mountain Activities                   $          -     $        9,275   $       9,275
Ice Rink Snack Bar                           Food & Beverage                             $          -     $          -     $         -
Condo Assoc. - Mountain Side                 Condo Associations                          $          -     $          -     $         -
Condo Assoc. - Trail Side                    Condo Associations                          $          -     $          -     $         -
Condo Assoc. - Stoney Path                   Condo Associations                          $          -     $          -     $         -
Condo Assoc. - Slopeside I                   Condo Associations                          $          -     $          -     $         -
Condo Assoc. - Slopeside II                  Condo Associations                          $          -     $          -     $         -
Condo Assoc. - Village Association           Condo Associations                          $          -     $        2,150   $       2,150
Transfer Condo Assoc.                        Condo Associations                          $          -     $          -     $         -
Condo Assoc. - General Fees                  Condo Associations                          $          -     $          -     $         -
Admin. Mtn Operations                        Skiing Operations                           $          -     $       11,479   $      11,479
Lift Maintenance                             Skiing Operations                           $          -     $        4,263   $       4,263
Snowmaking                                   Skiing Operations                           $          -     $      113,624   $     113,624
Grooming                                     Skiing Operations                           $          -     $        5,191   $       5,191
Vehicle & Equip. Maint.                      General Operations                          $          -     $       77,679   $      77,679
Electrical                                   General Operations                          $          -     $       16,714   $      16,714
Hotel Jay - Building Maint./Engin.           Hotel & Lodging                             $          -     $       10,968   $      10,968
Roads & Parking                              General Operations                          $          -     $          -     $         -
Building Maintenance                         General Operations                          $          -     $       28,461   $      28,461
Grounds                                      General Operations                          $          -     $       47,239   $      47,239
Water & Sewer System                         General Operations                          $          -     $       24,076   $      24,076
Stateside Hotel - Building Maint./Engin.     Hotel & Lodging                             $          -     $        2,755   $       2,755
Tram Haus - Building Maint./Engin.           Hotel & Lodging                             $          -     $        3,336   $       3,336
Laundry Operations                           Hotel & Lodging                             $          -     $       66,506   $      66,506
Housekeeping - Stateside Hotel               Hotel & Lodging                             $          -     $          863   $         863
Housekeeping - Hotel Jay                     Hotel & Lodging                             $          -     $          -     $         -
Janitorial                                   Hotel & Lodging                             $          -     $          216   $         216
Security                                     General Operations                          $          -     $          483   $         483
Shuttles                                     General Operations                          $          -     $       53,697   $      53,697
Storm Crew (Storm Water + Snow Shoveling)    General Operations                          $          -     $          -     $         -
Ambassadors/Greeters                         General Operations                          $          -     $          -     $         -
Lift Operations                              Skiing Operations                           $          -     $          -     $         -
Parking Attendant                            General Operations                          $          -     $          -     $         -
Customer Service                             Skiing Operations                           $          -     $          -     $         -
Ticket Selling                               Skiing Operations                           $          -     $       78,397   $      78,397
Special Events                               S, G & A                                    $          -     $        4,493   $       4,493
Ski Patrol                                   Skiing Operations                           $          -     $        2,764   $       2,764
Ski Club                                     Skiing Operations                           $          -     $          -     $         -
Daycare Center                               Other Mountain Activities                   $          -     $          -     $         -
MLC Daycare Center                           Other Mountain Activities                   $          -     $          -     $         -
Pump House                                   Other Mountain Activities                   $          -     $       40,008   $      40,008
Lift sales                                   Skiing Operations                           $          -     $          -     $         -
Golf Maintenance                             Summer Operations                           $          -     $       27,918   $      27,918
Lockers                                      General Operations                          $          -     $          -     $         -
Wedding Barn                                 Other Mountain Activities                   $          -     $          -     $         -
Snowpark                                     Skiing Operations                           $          -     $          -     $         -
Elevation 1851' Family Arcade Center         Other Mountain Activities                   $          -     $       31,064   $      31,064
Nordic Center                                Other Mountain Activities                   $          -     $          -     $         -
Fitness Center                               Other Mountain Activities                   $          -     $          -     $         -
MLC Summer Operations                        Summer Operations                           $          -     $        5,404   $       5,404
Amphitheater                                 Other Mountain Activities                   $          -     $        4,910   $       4,910
Ski School                                   Ski School                                  $          -     $        5,625   $       5,625
MLC Ski School                               Ski School                                  $          -     $          -     $         -
Sales                                        S, G & A                                    $          -     $        5,677   $       5,677
Marketing                                    S, G & A                                    $       53,781   $       84,997   $     138,778
Administration - Retail                      Retail                                      $          -     $          -     $         -
The Mountain Shop                            Retail                                      $          -     $        9,486   $       9,486
Rentals                                      Ski Rental/Repair                           $          -     $          -     $         -
Repairs                                      Ski Rental/Repair                           $          -     $          -     $         -
Golf Pro Shop                                Summer Operations                           $          -     $        1,358   $       1,358
The Wave                                     Retail                                      $          -     $          -     $         -
MLC Rentals                                  Ski Rental/Repair                           $          -     $          -     $         -
Stateside Daylodge - Retail - Gear Shop      Retail                                      $          -     $       12,099   $      12,099
Stateside Daylodge - Rentals                 Ski Rental/Repair                           $          -     $          -     $         -
Construction & Development                   S, G & A                                    $          -     $       24,407   $      24,407
Real Estate                                  S, G & A                                    $          -     $          -     $         -
Antenna Lease Sky Haus                       General Operations                          $          -     $       24,493   $      24,493
Non-Operating Items                          S, G & A                                    $          -     $       45,837   $      45,837
EB-5 Items                                   S, G & A                                    $          -     $          -     $         -
EBITDA Items                                 S, G & A                                    $          -     $       23,652   $      23,652
Tamarack Grill                               Food & Beverage                             $          -     $          -     $         -
Mid-Burke Cafe'                              Food & Beverage                             $          -     $          -     $         -
Bear’s Den Pub                               Food & Beverage                             $          -     $          -     $         -
Trailside Patio                              Food & Beverage                             $          -     $          922   $         922
Kingdom Cafe'                                Food & Beverage                             $          -     $           72   $          72
Banquets & Catering                          Food & Beverage                             $          -     $          -     $         -
Food & Beverage Events                       Food & Beverage                             $          -     $          -     $         -
Willoughby's Restaurant                      Food & Beverage                             $          -     $          -     $         -
The Gap Pub                                  Food & Beverage                             $          -     $        6,143   $       6,143
Coffee Shop                                  Food & Beverage                             $          -     $          -     $         -
Day Lodge Servery                            Food & Beverage                             $          -     $          -     $         -
Hotel Banquets                               Food & Beverage                             $          -     $          460   $         460
Hotel F&B Events                             Food & Beverage                             $          -     $          -     $         -
Hotel Pre-Opening Costs                      Hotel & Lodging                             $          -     $        3,252   $       3,252
Hotel Operations/Front Desk                  Hotel & Lodging                             $          -     $       15,762   $      15,762
Hotel Building Maintenance                   Hotel & Lodging                             $          -     $        8,546   $       8,546
Hotel Housekeeping                           Hotel & Lodging                             $          -     $          523   $         523
Hotel Laundry Ops                            Hotel & Lodging                             $          -     $          514   $         514
Hotel Janitorial                             Hotel & Lodging                             $          -     $          -     $         -
Hotel Utilities                              Hotel & Lodging                             $          -     $          -     $         -
Rental Operations - Campground               Hotel & Lodging                             $          -     $          101   $         101
Mountain Operations                          Skiing Operations                           $          -     $          735   $         735
Property Operations                          General Operations                          $          -     $          -     $         -
Mountain Biking                              Summer Operations                           $          -     $          -     $         -
Summer Programs                              Summer Operations                           $          -     $          -     $         -
Retail                                       Retail                                      $          -     $        1,896   $       1,896
Base Lodge Rentals                           Ski Rental/Repair                           $          -     $          -     $         -
Vertical Drop Retail                         Retail                                      $          -     $        1,256   $       1,256
Bear Essentials Retail                       Retail                                      $          -     $          -     $         -
Arcade                                       Other Mountain Activities                   $          -     $          -     $         -
Hotel Ski Rental/Repair & Day Lockers        Ski Rental/Repair                           $          -     $          -     $         -
AT&T Tower Lease                             General Operations                          $          -     $          -     $         -
Fixed Expenses                               General Operations                          $          -     $        1,100   $       1,100
Utilities                                    General Operations                          $          -     $        2,691   $       2,691
Developer Land Sales                         S, G & A                                    $          -     $          -     $         -
Management Company Fees                      S, G & A                                    $          -     $          -     $         -
                                                                                         $       53,781   $    3,838,062   $   3,891,843

Summary of Departmental Vendor Payments into Major Line of Business Categories

                                             Dept Category                                                                     USD
                                             Short-term Assets                                                             $     278,223
                                             Capital Expenditures (incl. tram upgrade)                                     $   1,995,406
                                             Short-term Liabilities                                                        $     193,050
                                             Equity                                                                        $         -
                                             S, G & A                                                                      $     433,794
                                             General Operations                                                            $     296,211
                                             Food & Beverage                                                               $     180,709
                                             Hotel & Lodging                                                               $     145,548
                                             Other Mountain Activities                                                     $      85,257
                                             Condo Associations                                                            $       2,150
                                             Skiing Operations                                                             $     216,453
                                             Summer Operations                                                             $      34,679
                                             Ski School                                                                    $       5,625
                                             Retail                                                                        $      24,737
                                             Ski Rental/Repair                                                             $         -
                                                                                                                           $   3,891,843
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                                                                               Vermont Department of Taxes
11/01/17 through 11/30/17                                                                                     Internal Revenue Service

TRC Number Account Number     Account Type   Account Name               Post Date     Reference               Amount              Description               Type   Text
  221172186                   Checking       JPI Operating - 1736        11/30/2017   IRS       US            $        (622.83)   PREAUTHORIZED ACH DEBIT   Ach    IRS       USATAXPYMT     171130      270773451501626
  221172186                   Checking       Burke Mountain Operating    11/28/2017   VTAX EFT DEPOSIT   AC   $      (7,771.22)   PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT ACH DEBIT    171128
  221172186                   Checking       Burke Mountain Operating    11/28/2017   VTAX EFT DEPOSIT   AC   $    (22,412.09)    PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT ACH DEBIT    171128
  221172186                   Checking       JPI Operating - 1736        11/28/2017   VTAX EFT DEPOSIT   AC   $   (134,102.27)    PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT ACH DEBIT    171128
  221172186                   Checking       JPI Operating - 1736        11/28/2017   VTAX EFT DEPOSIT   AC   $    (41,751.32)    PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT ACH DEBIT    171128
  221172186                   Checking       Phase II Checking - 0659    11/28/2017   VTAX EFT DEPOSIT   AC   $        (108.00)   PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT ACH DEBIT    171128
  221172186                   Checking       Phase II Checking - 0659    11/28/2017   VTAX EFT DEPOSIT   AC   $    (13,654.26)    PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT ACH DEBIT    171128
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TRC Number      Account Number        Account Type    Account Name                           Post Date       Reference                 Additional Reference   Amount          Description               Type   Text
      221172186                       Checking        Burke Mountain Operating                  11/16/2017                         0                          $    (482.74)   ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY        FOR 10/17
      221172186                       Checking        Burke Mountain Operating                   11/2/2017   AUTHNET GATEWAY BI                               $     (34.30)   PREAUTHORIZED ACH DEBIT   Ach    AUTHNET GATEWAY BILLING       171102     99320838
      221172186                       Checking        Burke Mountain Operating                   11/1/2017   EMBED USA LLC FI                                 $    (195.00)   PREAUTHORIZED ACH DEBIT   Ach    EMBED USA LLC FIRST ACH     171101     6296343
      221172186                       Checking        Burke Mountain Operating                   11/1/2017   HRTLAND PMT SYS TX                               $    (130.58)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     171101     650000008624093
      221172186                       Checking        Burke Mountain Operating                   11/1/2017   HRTLAND PMT SYS TX                               $ (1,730.07)    PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     171101     650000008836580
      221172186                       Checking        Burke Mountain Operating                   11/1/2017   HRTLAND PMT SYS TX                               $ (4,577.89)    PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     171101     650000009220552
      221172186                       Checking        Burke Mountain Operating                   11/1/2017   HRTLAND PMT SYS TX                               $ (1,560.92)    PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     171101     650000009411672
      221172186                       Checking        Burke Mountain Operating                   11/1/2017   HRTLAND PMT SYS TX                               $ (2,465.73)    PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     171101     650000009411730
      221172186                       Checking        Burke Mountain Operating                  11/10/2017   HRTLAND PMT SYS TX                               $    (137.80)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     171110     650000008836580
      221172186                       Checking        Burke Mountain Operating                  11/24/2017   HRTLAND PMT SYS TX                               $    (314.12)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     171124     650000009220552
      221172186                       Checking        Burke Mountain Operating                  11/28/2017   HRTLAND PMT SYS TX                               $      (5.51)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     171128     650000009411730
      221172186                       Checking        Burke Mountain Operating                   11/2/2017   MERCHANT SERVICE ME                              $    (138.95)   PREAUTHORIZED ACH DEBIT   Ach    MERCHANT SERVICE MERCH FEE      171031     31820
      221172186                       Checking        Burke Mountain Operating                  11/29/2017   SHIFT4-DEBITS 11                                 $     (80.51)   PREAUTHORIZED ACH DEBIT   Ach    SHIFT4-DEBITS 112917IMP     0000747884
      221172186                       Checking        Burke Mountain Water Company Inc          11/16/2017                         0                          $     (23.85)   ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY        FOR 10/17
      221172186                       Checking        JPI Operating - 1736                      11/16/2017                         0                          $ (1,518.03)    ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY        FOR 10/17
      221172186                       Checking        JPI Operating - 1736                       11/6/2017   AMERICAN EXPRESS AX                              $ (8,024.87)    PREAUTHORIZED ACH DEBIT   Ach    AMERICAN EXPRESS AXP DISCNT    171106     2440106714
      221172186                       Checking        JPI Operating - 1736                       11/6/2017   AMERICAN EXPRESS AX                              $ (4,813.03)    PREAUTHORIZED ACH DEBIT   Ach    AMERICAN EXPRESS AXP DISCNT    171106     2440508802
      221172186                       Checking        JPI Operating - 1736                       11/2/2017   AUTHNET GATEWAY BI                               $     (38.13)   PREAUTHORIZED ACH DEBIT   Ach    AUTHNET GATEWAY BILLING       171102     99318184
      221172186                       Checking        JPI Operating - 1736                       11/1/2017   EMBED USA LLC FI                                 $    (395.00)   PREAUTHORIZED ACH DEBIT   Ach    EMBED USA LLC FIRST ACH     171101     6293793
      221172186                       Checking        JPI Operating - 1736                       11/1/2017   HRTLAND PMT SYS TX                               $ (5,149.49)    PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     171101     650000007491098
      221172186                       Checking        JPI Operating - 1736                       11/1/2017   HRTLAND PMT SYS TX                               $     (20.81)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     171101     650000009065528
      221172186                       Checking        JPI Operating - 1736                       11/1/2017   HRTLAND PMT SYS TX                               $ (28,501.55)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     171101     650000009073076
      221172186                       Checking        JPI Operating - 1736                       11/1/2017   HRTLAND PMT SYS TX                               $ (25,676.38)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     171101     650000009073126
      221172186                       Checking        JPI Operating - 1736                       11/1/2017   HRTLAND PMT SYS TX                               $      (0.11)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     171101     650000009073225
      221172186                       Checking        JPI Operating - 1736                       11/1/2017   HRTLAND PMT SYS TX                               $    (212.78)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     171101     650000009993059
      221172186                       Checking        JPI Operating - 1736                      11/13/2017   HRTLAND PMT SYS TX                               $      (0.09)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     171113     650000009065528
      221172186                       Checking        JPI Operating - 1736                      11/16/2017   HRTLAND PMT SYS TX                               $      (0.04)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     171116     650000009065528
      221172186                       Checking        JPI Operating - 1736                      11/17/2017   HRTLAND PMT SYS TX                               $      (0.11)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     171117     650000009065528
      221172186                       Checking        JPI Operating - 1736                      11/20/2017   HRTLAND PMT SYS TX                               $      (0.03)   PREAUTHORIZED ACH DEBIT   Ach    HRTLAND PMT SYS TXNS/FEES     171120     650000009065528
      221172186                       Checking        JPI Operating - 1736                       11/2/2017   MERCHANT SERVICE ME                              $    (451.40)   PREAUTHORIZED ACH DEBIT   Ach    MERCHANT SERVICE MERCH FEE      171031     31713
      221172186                       Checking        JPI Operating - 1736                      11/29/2017   SHIFT4-DEBITS 11                                 $    (459.76)   PREAUTHORIZED ACH DEBIT   Ach    SHIFT4-DEBITS 112917IMP     0000747885
      221172186                       Checking        JPI Operating - 1736                       11/6/2017   VANTIV_INTG_PYMT BI                              $    (347.08)   PREAUTHORIZED ACH DEBIT   Ach    VANTIV_INTG_PYMT BILLNG       8788430111124Jay Peak Vermont
      221172186                       Checking        JPI Operating - 1736                       11/6/2017   VANTIV_INTG_PYMT BI                              $    (107.85)   PREAUTHORIZED ACH DEBIT   Ach    VANTIV_INTG_PYMT BILLNG       8788430201279Jay Peak Resort - Token Machine
      221172186                       Checking        Mountain Road Management Company Inc      11/16/2017                         0                          $     (25.34)   ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY        FOR 10/17
      221172186                       Checking        Phase II Checking - 0659                  11/10/2017                         0                          $     (35.40)   ACCOUNT ANALYSIS FEE             ANALYSIS ACTIVITY        FOR 10/17
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Jay Peak Resort/Burke Mountain
                                                               168
Ending Cash Balance
                                                                                      * Rate: 0.78
                                                                      11/30/2017                  11/30/2017
                                                                       USD/CDN                       USD
                                                                      End of Day                  End of Day
Company          Bank         Account Name         Account Number    Cash Balance                Cash Balance
08 - JPI         People's     General Account           1736           1,405,229.04                1,405,229.04
08 - JPI         People's     Payroll Account           1752                    -                           -
08 - JPI         People's     Money Market Acct         7175              21,036.80                   21,036.80
20 - JPHSP2      People's     General Account           0659             508,310.95                  508,310.95
20 - JPHSP2      People's     Money Market Acct         0667                    -                           -
380 - BMOC       People's     General Account                            687,664.34                  687,664.34
380 - BMOC       People's     Savings Account                                   -                           -
381 - BMRM       People's     General Account                             68,374.26                   68,374.26
382 - BMWC       People's     General Account                             28,756.41                   28,756.41
08 - JPI         Desjardins   CDN Operating Acct                         286,822.23                  223,721.34 *
20 - JPHSP2      Desjardins   CDN Operating Acct                                -                           -   *
                                                                    $ 3,006,194.03             $ 2,943,093.14

                  http://www.oanda.com/currency/converter/
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Jay Peak Resort/Burke Mountain                              168
Cash Flow Statement
12/01/17 through 12/31/17


                                                                       USD
Beginning Cash Balance
    People's United Bank #          1736                    $               1,405,229
    People's United Bank #          1752                    $                     -
    People's United Bank #          7175                    $                  21,037
    People's United Bank #          0659                    $                 508,311
    People's United Bank #          0667                    $                     -
    People's United Bank #                                  $                 687,664
    People's United Bank #                                  $                     -
    People's United Bank #                                  $                  68,374
    People's United Bank #                                  $                  28,756
    Desjardins #                                            $                 223,721
    Desjardins #                                            $                     -
                                                            $               2,943,092

Add Incoming:
    Receiver Funding
          Direct - Merrill Lynch Bank Accounts              $                     -
          Indirect - CitiBank Accounts                      $               1,392,728
    Deposits from Operations                                $               5,170,010 A
                                                            $               6,562,738

Less Outgoing:
     Payroll & Benefits
           Jay Peak Resort                                  $              (1,849,726)
           Burke Mountain                                   $                (277,875)
     Vendor Payments
           Jay Peak Resort                                  $              (3,604,611) B
           Burke Mountain                                   $                (475,442) B
     Tax Payments
           Vermont Department of Taxes                      $                (133,483)
           Internal Revenue Service                         $                     -
     Merchant and Bank Fees                                 $                 (71,896)
                                                            $              (6,413,033)

Ending Cash Balance
    People's United Bank #          1736                    $               1,845,028
    People's United Bank #          1752                    $                     -
    People's United Bank #          7175                    $                  21,039
    People's United Bank #          0659                    $                 461,968
    People's United Bank #          0667                    $                     -
    People's United Bank #                                  $                 492,188
    People's United Bank #                                  $                     -
    People's United Bank #                                  $                  62,562
    People's United Bank #                                  $                  28,770
    Desjardins #                                            $                 181,242
    Desjardins #                                            $                     -
                                                            $               3,092,797


Note A:
Canadian transactions have been converted to US Dollars based upon the following methodology:
The Canadian portion of total resort deposits was calculated to be 5% for the report period. This
percentage was applied to all resort deposits at the average CDN to USD currency exchange rate of .79 for the
report period.


Note B:
Vendor payments pertain partially to goods and services received after April 13, 2016. In August of
2017, payments were also issued for outstanding invoices pertaining to goods and services recevied
prior to April 13, 2016.
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Jay Peak Resort/Burke Mountain                                168
Beginning Cash Balance
                                                                                        * Rate: 0.78
                                                                        11/30/2017                 11/30/2017
                                                                          USD/CDN                      USD
                                                                         End of Day                 End of Day
Company          Bank         Account Name         Account Number       Cash Balance               Cash Balance
08 - JPI         People's     General Account          1736              1,405,229.04               1,405,229.04
08 - JPI         People's     Payroll Account          1752                       -                          -
08 - JPI         People's     Money Market Acct        7175                 21,036.80                  21,036.80
20 - JPHSP2      People's     General Account          0659                508,310.95                 508,310.95
20 - JPHSP2      People's     Money Market Acct        0667                       -                          -
380 - BMOC       People's     General Account                              687,664.34                 687,664.34
380 - BMOC       People's     Savings Account                                     -                          -
381 - BMRM       People's     General Account                               68,374.26                  68,374.26
382 - BMWC       People's     General Account                               28,756.41                  28,756.41
08 - JPI         Desjardins   CDN Operating Acct                           286,822.23                 223,721.34 *
20 - JPHSP2      Desjardins   CDN Operating Acct                                  -                          -   *
                                                                    $    3,006,194.03           $   2,943,093.14

                  http://www.oanda.com/currency/converter/
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Jay Peak Resort/Burke Mountain             Case 1:16-cv-21301-DPG Document 487 Entered on FLSD Docket 08/10/2018 Page 161 of
Detailed Report on Receiver Funding                                             168 Direct - Merrill Lynch/SunTrust Bank Accounts
12/01/17 through 12/31/17                                                                                                   Indirect - CitiBank Accounts

TRC Number       Account Number       Account Type   Account Name           Post Date    Reference   Additional Reference   Amount             Description              Type   Text
221172186                             Checking       JPI Operating - 1736   12/13/2017   1.00E+12                           $     1,283,915.52 INCOMING WIRE TRANSFER   Wire   RECEIVER GL 8-0101-151765
221172186                             Checking       JPI Operating - 1736   12/11/2017   1.00E+12                           $       108,812.45 INCOMING WIRE TRANSFER   Wire   RECEIVER GL 8-0101-151765
Jay Peak Resort/Burke Mountain                      Case 1:16-cv-21301-DPG Document 487 Entered on FLSD Docket 08/10/2018 Page 162 of
Detailed Report on Resort Deposits
12/01/17 through 12/31/17
                                                         Average Currency Exchange Rate: 0.79
                                                                                              168
                                                                                         CDN converted          original
Dept Name                                    Dept Category                                  to USD               USD                USD
Inventory/Prepaids/Receivables               Short-term Assets                           $       36,888     $       808,291     $     845,179
Capital                                      Capital Expenditures (incl. tram upgrade)   $          -       $           -       $         -
Debt/Liabilities/Deferreds/Taxes             Short-term Liabilities                      $       31,261     $       684,982     $     716,243
Investor                                     Equity                                      $          -       $           -       $         -
Administration                               S, G & A                                    $           10     $           216     $         225
Accounting                                   S, G & A                                    $           15     $           324     $         338
Information Systems                          S, G & A                                    $          -       $           -       $         -
Telephone                                    General Operations                          $        2,292     $        50,227     $      52,519
Human Resources                              S, G & A                                    $          -       $           -       $         -
Risk Management                              S, G & A                                    $          -       $           -       $         -
Administration - Food Service                Food & Beverage                             $           45     $           988     $       1,033
Vending                                      Food & Beverage                             $        1,510     $        33,089     $      34,599
Tram cafeteria                               Food & Beverage                             $        1,131     $        24,791     $      25,922
International Restaurant                     Food & Beverage                             $           94     $         2,058     $       2,152
Sky Haus                                     Food & Beverage                             $          127     $         2,790     $       2,917
Golf Clubhouse Restaurant                    Food & Beverage                             $          429     $         9,409     $       9,839
The Foundry Pub & Grille                     Food & Beverage                             $        5,419     $       118,732     $     124,151
Buddy's Mug                                  Food & Beverage                             $          282     $         6,173     $       6,454
The Warming Shelter                          Food & Beverage                             $        1,152     $        25,246     $      26,399
Mountain Dick's Pizza                        Food & Beverage                             $        1,489     $        32,621     $      34,110
The Drink                                    Food & Beverage                             $        1,166     $        25,548     $      26,714
MLC F&B                                      Food & Beverage                             $          -       $           -       $         -
Stateside Daylodge - Cafeteria & Bar         Food & Beverage                             $        4,332     $        94,928     $      99,260
Stateside Hotel - Howie's Restaurant         Food & Beverage                             $        1,684     $        36,891     $      38,574
Recreation Ctr F&B                           Food & Beverage                             $             7    $           155     $         162
Jay Peak Provisions                          Food & Beverage                             $        5,863     $       128,467     $     134,330
Conference Services                          Food & Beverage                             $        1,108     $        24,269     $      25,377
Condo Rental Mgt.                            Hotel & Lodging                             $        8,576     $       187,906     $     196,482
Taiga Fitness & Spa                          Other Mountain Activities                   $        1,215     $        26,618     $      27,832
Unsold condo rental                          Hotel & Lodging                             $          -       $           -       $         -
Aroma Coffee Shop                            Food & Beverage                             $          312     $         6,846     $       7,158
Tram Haus Lodge Rest & Bar                   Food & Beverage                             $        4,146     $        90,848     $      94,994
Tram Haus Lodge                              Hotel & Lodging                             $        4,947     $       108,399     $     113,346
Lodging Reservation                          Hotel & Lodging                             $         (279)    $        (6,124)    $      (6,403)
Golf Clubhouse Lodging                       Hotel & Lodging                             $          252     $         5,525     $       5,777
Hotel Jay - Front Desk                       Hotel & Lodging                             $       10,757     $       235,704     $     246,461
Penthouse Suites                             Hotel & Lodging                             $        4,692     $       102,815     $     107,507
Golf & Mountain Suites                       Hotel & Lodging                             $        6,420     $       140,679     $     147,099
Lodge & Townhouses                           Hotel & Lodging                             $        7,496     $       164,262     $     171,759
Stateside Hotel - Front Desk                 Hotel & Lodging                             $        4,671     $       102,340     $     107,011
Ice Rink                                     Other Mountain Activities                   $        1,301     $        28,508     $      29,809
Ice Rink Snack Bar                           Food & Beverage                             $          547     $        11,995     $      12,542
Condo Assoc. - Mountain Side                 Condo Associations                          $          -       $           -       $         -
Condo Assoc. - Trail Side                    Condo Associations                          $          -       $           -       $         -
Condo Assoc. - Stoney Path                   Condo Associations                          $          -       $           -       $         -
Condo Assoc. - Slopeside I                   Condo Associations                          $          -       $           -       $         -
Condo Assoc. - Slopeside II                  Condo Associations                          $          -       $           -       $         -
Condo Assoc. - Village Association           Condo Associations                          $          -       $           -       $         -
Transfer Condo Assoc.                        Condo Associations                          $          -       $           -       $         -
Condo Assoc. - General Fees                  Condo Associations                          $          -       $           -       $         -
Admin. Mtn Operations                        Skiing Operations                           $          -       $           -       $         -
Lift Maintenance                             Skiing Operations                           $          -       $           -       $         -
Snowmaking                                   Skiing Operations                           $          -       $           -       $         -
Grooming                                     Skiing Operations                           $          -       $           -       $         -
Vehicle & Equip. Maint.                      General Operations                          $          -       $           -       $         -
Electrical                                   General Operations                          $          -       $           -       $         -
Hotel Jay - Building Maint./Engin.           Hotel & Lodging                             $          -       $           -       $         -
Roads & Parking                              General Operations                          $          -       $           -       $         -
Building Maintenance                         General Operations                          $          -       $           -       $         -
Grounds                                      General Operations                          $          -       $           -       $         -
Water & Sewer System                         General Operations                          $          -       $           -       $         -
Stateside Hotel - Building Maint./Engin.     Hotel & Lodging                             $          -       $           -       $         -
Tram Haus - Building Maint./Engin.           Hotel & Lodging                             $          -       $           -       $         -
Laundry Operations                           Hotel & Lodging                             $          -       $           -       $         -
Housekeeping - Stateside Hotel               Hotel & Lodging                             $           17     $           378     $         395
Housekeeping - Hotel Jay                     Hotel & Lodging                             $           81     $         1,777     $       1,858
Janitorial                                   Hotel & Lodging                             $          -       $           -       $         -
Security                                     General Operations                          $          -       $           -       $         -
Shuttles                                     General Operations                          $        1,367     $        29,952     $      31,319
Storm Crew (Storm Water + Snow Shoveling)    General Operations                          $          -       $           -       $         -
Ambassadors/Greeters                         General Operations                          $          -       $           -       $         -
Lift Operations                              Skiing Operations                           $          -       $           -       $         -
Parking Attendant                            General Operations                          $          263     $         5,763     $       6,026
Customer Service                             Skiing Operations                           $           67     $         1,478     $       1,546
Ticket Selling                               Skiing Operations                           $          (46)    $        (1,013)    $      (1,059)
Special Events                               S, G & A                                    $        1,397     $        30,616     $      32,013
Ski Patrol                                   Skiing Operations                           $          -       $           -       $         -
Ski Club                                     Skiing Operations                           $          -       $           -       $         -
Daycare Center                               Other Mountain Activities                   $        1,263     $        27,669     $      28,932
MLC Daycare Center                           Other Mountain Activities                   $           33     $           714     $         746
Pump House                                   Other Mountain Activities                   $       15,323     $       335,750     $     351,073
Lift sales                                   Skiing Operations                           $       30,900     $       677,070     $     707,970
Golf Maintenance                             Summer Operations                           $          -       $           -       $         -
Lockers                                      General Operations                          $             8    $           184     $         193
Wedding Barn                                 Other Mountain Activities                   $          -       $           -       $         -
Snowpark                                     Skiing Operations                           $          -       $           -       $         -
Elevation 1851' Family Arcade Center         Other Mountain Activities                   $        1,180     $        25,862     $      27,042
Nordic Center                                Other Mountain Activities                   $           98     $         2,149     $       2,247
Fitness Center                               Other Mountain Activities                   $          -       $           -       $         -
MLC Summer Operations                        Summer Operations                           $          -       $           -       $         -
Amphitheater                                 Other Mountain Activities                   $          -       $           -       $         -
Rec Center                                   Other Mountain Activities                   $           57     $         1,242     $       1,299
Rec Fields                                   Other Mountain Activities                   $          -       $           -       $         -
Ski School                                   Ski School                                  $        3,010     $        65,945     $      68,954
MLC Ski School                               Ski School                                  $        2,723     $        59,670     $      62,393
Sales                                        S, G & A                                    $           53     $         1,151     $       1,204
Marketing                                    S, G & A                                    $         (117)    $        (2,570)    $      (2,688)
Administration - Retail                      Retail                                      $             1    $            29     $          30
The Mountain Shop                            Retail                                      $        1,497     $        32,793     $      34,290
Rentals                                      Ski Rental/Repair                           $        2,202     $        48,242     $      50,444
Repairs                                      Ski Rental/Repair                           $          544     $        11,931     $      12,475
Golf Pro Shop                                Summer Operations                           $          -       $           -       $         -
The Wave                                     Retail                                      $          305     $         6,681     $       6,986
MLC Rentals                                  Ski Rental/Repair                           $          -       $           -       $         -
Stateside Daylodge - Retail - Gear Shop      Retail                                      $        1,574     $        34,484     $      36,058
Stateside Daylodge - Rentals                 Ski Rental/Repair                           $        1,759     $        38,547     $      40,306
Construction & Development                   S, G & A                                    $          -       $           -       $         -
Real Estate                                  S, G & A                                    $          -       $           -       $         -
Antenna Lease Sky Haus                       General Operations                          $          -       $           -       $         -
Non-Operating Items                          S, G & A                                    $          518     $        11,343     $      11,860
EB-5 Items                                   S, G & A                                    $          -       $           -       $         -
EBITDA Items                                 S, G & A                                    $          -       $           -       $         -
Tamarack Grill                               Food & Beverage                             $          299     $         6,558     $       6,857
Mid-Burke Cafe'                              Food & Beverage                             $          -       $           -       $         -
Bear’s Den Pub                               Food & Beverage                             $          634     $        13,898     $      14,533
Trailside Patio                              Food & Beverage                             $          -       $           -       $         -
Kingdom Cafe'                                Food & Beverage                             $          238     $         5,222     $       5,460
Banquets & Catering                          Food & Beverage                             $          -       $           -       $         -
Food & Beverage Events                       Food & Beverage                             $          -       $           -       $         -
Willoughby's Restaurant                      Food & Beverage                             $          -       $           -       $         -
The Gap Pub                                  Food & Beverage                             $        1,843     $        40,379     $      42,222
Coffee Shop                                  Food & Beverage                             $           81     $         1,765     $       1,846
Day Lodge Servery                            Food & Beverage                             $           34     $           749     $         784
Hotel Banquets                               Food & Beverage                             $        1,229     $        26,922     $      28,150
Hotel F&B Events                             Food & Beverage                             $          -       $           -       $         -
Hotel Pre-Opening Costs                      Hotel & Lodging                             $          -       $           -       $         -
Hotel Operations/Front Desk                  Hotel & Lodging                             $        2,529     $        55,423     $      57,953
Hotel Building Maintenance                   Hotel & Lodging                             $          -       $           -       $         -
Hotel Housekeeping                           Hotel & Lodging                             $          -       $           -       $         -
Hotel Laundry Ops                            Hotel & Lodging                             $          -       $           -       $         -
Hotel Janitorial                             Hotel & Lodging                             $          -       $           -       $         -
Hotel Utilities                              Hotel & Lodging                             $          -       $           -       $         -
Rental Operations - Campground               Hotel & Lodging                             $            (4)   $           (84)    $         (87)
Mountain Operations                          Skiing Operations                           $          -       $           -       $         -
Property Operations                          General Operations                          $          -       $           -       $         -
Mountain Biking                              Summer Operations                           $            (0)   $             (2)   $           (2)
Summer Programs                              Summer Operations                           $          -       $           -       $         -
Retail                                       Retail                                      $          531     $        11,641     $      12,172
Base Lodge Rentals                           Ski Rental/Repair                           $          399     $         8,748     $       9,147
Vertical Drop Retail                         Retail                                      $          292     $         6,404     $       6,696
Bear Essentials Retail                       Retail                                      $          -       $           -       $         -
Arcade                                       Other Mountain Activities                   $          109     $         2,387     $       2,496
Hotel Ski Rental/Repair & Day Lockers        Ski Rental/Repair                           $          -       $           -       $         -
AT&T Tower Lease                             General Operations                          $          -       $           -       $         -
Fixed Expenses                               General Operations                          $          -       $           -       $         -
Utilities                                    General Operations                          $          -       $           -       $         -
Developer Land Sales                         S, G & A                                    $          -       $           -       $         -
Management Company Fees                      S, G & A                                    $          -       $           -       $         -
                                                                                         $      225,647     $     4,944,363     $   5,170,010

Summary of Departmental Deposits into Major Line of Business Categories

                                             Dept Category                                                                          USD
                                             Short-term Assets                                                                  $     845,179
                                             Capital Expenditures (incl. tram upgrade)                                          $         -
                                             Short-term Liabilities                                                             $     716,243
                                             Equity                                                                             $         -
                                             S, G & A                                                                           $      42,953
                                             General Operations                                                                 $      90,056
                                             Food & Beverage                                                                    $     806,539
                                             Hotel & Lodging                                                                    $   1,149,157
                                             Other Mountain Activities                                                          $     471,477
                                             Condo Associations                                                                 $         -
                                             Skiing Operations                                                                  $     708,456
                                             Summer Operations                                                                  $           (2)
                                             Ski School                                                                         $     131,347
                                             Retail                                                                             $      96,231
                                             Ski Rental/Repair                                                                  $     112,373
                                                                                                                                $   5,170,010
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Detailed Report on Payroll and Benefits Payments
12/01/17 through 12/31/17
                                                                                      168
                                                                                       Jay Peak Resort Payroll
                                                                                       Burke Mountain Payroll

TRC Number    Account Number      Account Type     Account Name               Post Date    Reference             Additional Reference
                                                                                                                                  Amount                  Description                Type   Text
221172186                         Checking         Burke Mountain Operating   12/4/2017    MEMIC Indemnity AC                     $          (6,782.03)   PREAUTHORIZED ACH DEBIT    Ach    MEMIC Indemnity ACHTRANS             171204       15318491
221172186                         Checking         Burke Mountain Operating   12/18/2017   MEMIC Indemnity AC                     $          (7,837.58)   PREAUTHORIZED ACH DEBIT    Ach    MEMIC Indemnity ACHTRANS             171218       16249819
221172186                         Checking         JPI Operating - 1736       12/1/2017    BANCORPSV        BA                    $             (25.00)   PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV         WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736       12/4/2017    BANCORPSV        BA                    $            (767.15)   PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV         WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736       12/5/2017    BANCORPSV        BA                    $              (6.72)   PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV         WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736       12/5/2017    BANCORPSV        BA                    $             (62.00)   PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV         WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736       12/5/2017    BANCORPSV        BA                    $            (450.00)   PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV         WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736       12/12/2017   CIGNA EDGE TRANS CO                    $          (1,069.87)   PREAUTHORIZED ACH DEBIT    Ach    CIGNA EDGE TRANS COLLECTION            171212       603400060723 (BURKE PORTION)
221172186                         Checking         JPI Operating - 1736       12/20/2017   CIGNA EDGE TRANS CO                    $         (19,619.27)   PREAUTHORIZED ACH DEBIT    Ach    CIGNA EDGE TRANS COLLECTION            171220       600600079556 (BURKE PORTION)
221172186                         Checking         JPI Operating - 1736       12/12/2017   1.00E+12                               $         (93,557.27)   OUTGOING WIRE TRANSFER            --- BURKE PEAK PORTION ---
221172186                         Checking         JPI Operating - 1736       12/26/2017   1.00E+12                               $        (147,697.88)   OUTGOING WIRE TRANSFER            --- BURKE PEAK PORTION ---
221172186                         Checking         JPI Operating - 1736       12/8/2017    BANCORPSV        BA                    $            (107.30)   PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV         WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736       12/12/2017   BANCORPSV        BA                    $            (344.07)   PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV         WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736       12/13/2017   BANCORPSV        BA                    $            (244.09)   PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV         WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736       12/15/2017   BANCORPSV        BA                    $            (127.89)   PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV         WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736       12/19/2017   BANCORPSV        BA                    $             (13.64)   PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV         WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736       12/19/2017   BANCORPSV        BA                    $            (317.47)   PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV         WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736       12/20/2017   BANCORPSV        BA                    $             (50.00)   PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV         WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736       12/22/2017   BANCORPSV        BA                    $             (50.00)   PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV         WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736       12/26/2017   BANCORPSV        BA                    $             (47.78)   PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV         WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736       12/27/2017   BANCORPSV        BA                    $             (41.22)   PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV         WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736       12/27/2017   BANCORPSV        BA                    $             (40.00)   PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV         WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736       12/27/2017   BANCORPSV        BA                    $            (703.47)   PREAUTHORIZED ACH DEBIT    Ach    BANCORPSV        BANCORPSV         WH-DISCOVERY BENEFITS-99994-SETTLE PURCHASE
221172186                         Checking         JPI Operating - 1736       12/1/2017    DISCOVERY BENEFI CL                    $            (346.17)   PREAUTHORIZED ACH DEBIT    Ach    DISCOVERY BENEFI CLAIM FUND            171201      21194030194601
221172186                         Checking         JPI Operating - 1736       12/11/2017   DISCOVERY BENEFI CL                    $            (272.20)   PREAUTHORIZED ACH DEBIT    Ach    DISCOVERY BENEFI CLAIM FUND            171211      21194030194601
221172186                         Checking         JPI Operating - 1736       12/15/2017   DISCOVERY BENEFI CL                    $            (326.93)   PREAUTHORIZED ACH DEBIT    Ach    DISCOVERY BENEFI CLAIM FUND            171215      21194030194601
221172186                         Checking         JPI Operating - 1736       12/22/2017   DISCOVERY BENEFI CL                    $            (147.90)   PREAUTHORIZED ACH DEBIT    Ach    DISCOVERY BENEFI CLAIM FUND            171222      21194030194601
221172186                         Checking         JPI Operating - 1736       12/28/2017   DISCOVERY BENEFI CL                    $            (162.20)   PREAUTHORIZED ACH DEBIT    Ach    DISCOVERY BENEFI CLAIM FUND            171228      21194030194601
221172186                         Checking         JPI Operating - 1736       12/29/2017   DISCOVERY BENEFI CL                    $            (365.41)   PREAUTHORIZED ACH DEBIT    Ach    DISCOVERY BENEFI CLAIM FUND            171229      21194030194601
221172186                         Checking         JPI Operating - 1736       12/26/2017   DISCOVERY BENEFI DB                    $            (292.00)   PREAUTHORIZED ACH DEBIT    Ach    DISCOVERY BENEFI DBI Admin           171226
221172186                         Checking         JPI Operating - 1736       12/4/2017    MEMIC Indemnity AC                     $         (32,004.57)   PREAUTHORIZED ACH DEBIT    Ach    MEMIC Indemnity ACHTRANS             171204       15319531
221172186                         Checking         JPI Operating - 1736       12/18/2017   MEMIC Indemnity AC                     $         (44,041.69)   PREAUTHORIZED ACH DEBIT    Ach    MEMIC Indemnity ACHTRANS             171218       16250911
221172186                         Checking         JPI Operating - 1736       12/15/2017   Voya Nat Trst182 SP                    $         (12,592.47)   PREAUTHORIZED ACH DEBIT    Ach    Voya Nat Trst182 SPNSR P/R        171215        811437 0001
221172186                         Checking         JPI Operating - 1736       12/28/2017   Voya Nat Trst182 SP                    $          (8,386.07)   PREAUTHORIZED ACH DEBIT    Ach    Voya Nat Trst182 SPNSR P/R        171228        811437 0001
221172186                         Checking         JPI Operating - 1736       12/18/2017   DBI COBRA      DB                      $           1,316.48    PREAUTHORIZED ACH CREDIT   Ach    DBI COBRA       DBI COBRA       171218        21194000
221172186                         Checking         JPI Payroll - 1752         12/13/2017   PAYCHEX CGS GA                         $          (4,273.52)   PREAUTHORIZED ACH DEBIT    Ach    PAYCHEX CGS GARNISH              171213       COL0075134228
221172186                         Checking         JPI Payroll - 1752         12/27/2017   PAYCHEX CGS GA                         $          (4,310.04)   PREAUTHORIZED ACH DEBIT    Ach    PAYCHEX CGS GARNISH              171227       COL0075416645
221172186                         Checking         JPI Payroll - 1752         12/14/2017   PAYCHEX EIB     IN                     $          (3,138.05)   PREAUTHORIZED ACH DEBIT    Ach    PAYCHEX EIB     INVOICE        171214        X74164000000197
221172186                         Checking         JPI Payroll - 1752         12/28/2017   PAYCHEX EIB     IN                     $          (3,705.60)   PREAUTHORIZED ACH DEBIT    Ach    PAYCHEX EIB     INVOICE        171228        X74356800001394
221172186                         Checking         JPI Payroll - 1752         12/14/2017   PAYCHEX TPS TA                         $            (150.00)   PREAUTHORIZED ACH DEBIT    Ach    PAYCHEX TPS TAXES             171214        74175000001133X
221172186                         Checking         JPI Payroll - 1752         12/15/2017   PAYCHEX-HRS HR                         $         (10,651.74)   PREAUTHORIZED ACH DEBIT    Ach    PAYCHEX-HRS HRS PMT              171215        26643358
221172186                         Checking         JPI Payroll - 1752         12/29/2017   PAYCHEX       PA                       $              57.71    PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX        PAYROLL        171229        74273500005141X
221172186                         Checking         JPI Payroll - 1752         12/29/2017   PAYCHEX       PA                       $             287.01    PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX        PAYROLL        171229        74273500005142X
221172186                         Checking         JPI Payroll - 1752         12/4/2017    PAYCHEX - RCX PA                       $           2,440.60    PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX - RCX PAYROLL           171204        73889500002187X
221172186                         Checking         JPI Payroll - 1752         12/18/2017   PAYCHEX - RCX PA                       $             796.57    PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX - RCX PAYROLL           171218        74214800000185X
221172186                         Checking         JPI Payroll - 1752         12/19/2017   PAYCHEX INC. PA                        $              46.17    PREAUTHORIZED ACH CREDIT   Ach    PAYCHEX INC. PAYROLL            171219        74237600014255X
221172186                         Checking         JPI Operating - 1736       12/12/2017   CIGNA EDGE TRANS CO                    $          (6,748.55)   PREAUTHORIZED ACH DEBIT    Ach    CIGNA EDGE TRANS COLLECTION            171212       603400060723 (JAY PEAK PORTION)
221172186                         Checking         JPI Operating - 1736       12/20/2017   CIGNA EDGE TRANS CO                    $        (105,719.10)   PREAUTHORIZED ACH DEBIT    Ach    CIGNA EDGE TRANS COLLECTION            171220       600600079556 (JAY PEAK PORTION)
221172186                         Checking         JPI Operating - 1736       12/12/2017   1.00E+12                               $        (741,215.08)   OUTGOING WIRE TRANSFER            --- JAY PEAK PORTION ---
221172186                         Checking         JPI Operating - 1736       12/26/2017   1.00E+12                               $        (854,399.42)   OUTGOING WIRE TRANSFER            --- JAY PEAK PORTION ---
221172186                         Checking         JPI Operating - 1736       12/6/2017    1.00E+12                               $         (19,334.76)   OUTGOING WIRE TRANSFER            Payment to Paychex for a tax liability
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Detailed Report on Vendor Payments
12/01/17 through 12/31/17
                                                        Average Currency Exchange Rate: 0.79
                                                                                             168
                                                                                        CDN converted       original
Dept Name                                   Dept Category                                  to USD            USD             USD
Inventory/Prepaids/Receivables              Short-term Assets                           $          -    $      819,887   $     819,887
Capital                                     Capital Expenditures (incl. tram upgrade)   $          -    $    1,486,162   $   1,486,162
Debt/Liabilities/Deferreds/Taxes            Short-term Liabilities                      $          -    $       85,444   $      85,444
Investor                                    Equity                                      $          -    $          -     $         -
Administration                              S, G & A                                    $          -    $        9,789   $       9,789
Accounting                                  S, G & A                                    $          -    $       79,278   $      79,278
Information Systems                         S, G & A                                    $          -    $       27,815   $      27,815
Telephone                                   General Operations                          $          -    $       10,759   $      10,759
Human Resources                             S, G & A                                    $          -    $       23,693   $      23,693
Risk Management                             S, G & A                                    $          -    $          -     $         -
Administration - Food Service               Food & Beverage                             $          -    $        1,210   $       1,210
Vending                                     Food & Beverage                             $          -    $          -     $         -
Tram cafeteria                              Food & Beverage                             $          -    $          -     $         -
International Restaurant                    Food & Beverage                             $          -    $          -     $         -
Sky Haus                                    Food & Beverage                             $          -    $          -     $         -
Golf Clubhouse Restaurant                   Food & Beverage                             $          -    $       17,397   $      17,397
The Foundry Pub & Grille                    Food & Beverage                             $          -    $      232,335   $     232,335
Buddy's Mug                                 Food & Beverage                             $          -    $          -     $         -
The Warming Shelter                         Food & Beverage                             $          -    $        2,094   $       2,094
Mountain Dick's Pizza                       Food & Beverage                             $          -    $          -     $         -
The Drink                                   Food & Beverage                             $          -    $          -     $         -
MLC F&B                                     Food & Beverage                             $          -    $          -     $         -
Stateside Daylodge - Cafeteria & Bar        Food & Beverage                             $          -    $          -     $         -
Stateside Hotel - Howie's Restaurant        Food & Beverage                             $          -    $          -     $         -
Recreation Ctr F&B                          Food & Beverage                             $          -    $          -     $         -
Jay Peak Provisions                         Food & Beverage                             $          -    $       21,569   $      21,569
Conference Services                         Food & Beverage                             $          -    $       84,831   $      84,831
Condo Rental Mgt.                           Hotel & Lodging                             $          -    $      135,680   $     135,680
Taiga Fitness & Spa                         Other Mountain Activities                   $          -    $          472   $         472
Unsold condo rental                         Hotel & Lodging                             $          -    $          -     $         -
Aroma Coffee Shop                           Food & Beverage                             $          -    $          -     $         -
Tram Haus Lodge Rest & Bar                  Food & Beverage                             $          -    $        4,344   $       4,344
Tram Haus Lodge                             Hotel & Lodging                             $          -    $        7,743   $       7,743
Lodging Reservation                         Hotel & Lodging                             $          -    $        1,179   $       1,179
Golf Clubhouse Lodging                      Hotel & Lodging                             $          -    $          -     $         -
Hotel Jay - Front Desk                      Hotel & Lodging                             $          -    $        1,718   $       1,718
Penthouse Suites                            Hotel & Lodging                             $          -    $          -     $         -
Golf & Mountain Suites                      Hotel & Lodging                             $          -    $        4,236   $       4,236
Lodge & Townhouses                          Hotel & Lodging                             $          -    $          -     $         -
Stateside Hotel - Front Desk                Hotel & Lodging                             $          -    $          -     $         -
Ice Rink                                    Other Mountain Activities                   $          -    $        3,955   $       3,955
Ice Rink Snack Bar                          Food & Beverage                             $          -    $          -     $         -
Condo Assoc. - Mountain Side                Condo Associations                          $          -    $          -     $         -
Condo Assoc. - Trail Side                   Condo Associations                          $          -    $          -     $         -
Condo Assoc. - Stoney Path                  Condo Associations                          $          -    $          -     $         -
Condo Assoc. - Slopeside I                  Condo Associations                          $          -    $          -     $         -
Condo Assoc. - Slopeside II                 Condo Associations                          $          -    $          -     $         -
Condo Assoc. - Village Association          Condo Associations                          $          -    $        2,029   $       2,029
Transfer Condo Assoc.                       Condo Associations                          $          -    $          -     $         -
Condo Assoc. - General Fees                 Condo Associations                          $          -    $          -     $         -
Admin. Mtn Operations                       Skiing Operations                           $          -    $          -     $         -
Lift Maintenance                            Skiing Operations                           $          -    $       23,763   $      23,763
Snowmaking                                  Skiing Operations                           $          -    $      160,099   $     160,099
Grooming                                    Skiing Operations                           $          -    $        4,298   $       4,298
Vehicle & Equip. Maint.                     General Operations                          $          -    $       41,951   $      41,951
Electrical                                  General Operations                          $          -    $      124,941   $     124,941
Hotel Jay - Building Maint./Engin.          Hotel & Lodging                             $          -    $       29,068   $      29,068
Roads & Parking                             General Operations                          $          -    $        3,698   $       3,698
Building Maintenance                        General Operations                          $          -    $       23,671   $      23,671
Grounds                                     General Operations                          $          -    $        1,689   $       1,689
Water & Sewer System                        General Operations                          $          -    $        7,587   $       7,587
Stateside Hotel - Building Maint./Engin.    Hotel & Lodging                             $          -    $        6,351   $       6,351
Tram Haus - Building Maint./Engin.          Hotel & Lodging                             $          -    $        5,604   $       5,604
Laundry Operations                          Hotel & Lodging                             $          -    $          229   $         229
Housekeeping - Stateside Hotel              Hotel & Lodging                             $          -    $        5,047   $       5,047
Housekeeping - Hotel Jay                    Hotel & Lodging                             $          -    $          -     $         -
Janitorial                                  Hotel & Lodging                             $          -    $          -     $         -
Security                                    General Operations                          $          -    $          195   $         195
Shuttles                                    General Operations                          $          -    $        2,344   $       2,344
Storm Crew (Storm Water + Snow Shoveling)   General Operations                          $          -    $          -     $         -
Ambassadors/Greeters                        General Operations                          $          -    $          -     $         -
Lift Operations                             Skiing Operations                           $          -    $          -     $         -
Parking Attendant                           General Operations                          $          -    $          -     $         -
Customer Service                            Skiing Operations                           $          -    $          -     $         -
Ticket Selling                              Skiing Operations                           $          -    $          874   $         874
Special Events                              S, G & A                                    $          -    $        6,713   $       6,713
Ski Patrol                                  Skiing Operations                           $          -    $        4,107   $       4,107
Ski Club                                    Skiing Operations                           $          -    $          -     $         -
Daycare Center                              Other Mountain Activities                   $          -    $          840   $         840
MLC Daycare Center                          Other Mountain Activities                   $          -    $          -     $         -
Pump House                                  Other Mountain Activities                   $          -    $        4,254   $       4,254
Lift sales                                  Skiing Operations                           $          -    $          -     $         -
Golf Maintenance                            Summer Operations                           $          -    $        1,134   $       1,134
Lockers                                     General Operations                          $          -    $          -     $         -
Wedding Barn                                Other Mountain Activities                   $          -    $          -     $         -
Snowpark                                    Skiing Operations                           $          -    $          709   $         709
Elevation 1851' Family Arcade Center        Other Mountain Activities                   $          -    $        7,771   $       7,771
Nordic Center                               Other Mountain Activities                   $          -    $        2,396   $       2,396
Fitness Center                              Other Mountain Activities                   $          -    $          -     $         -
MLC Summer Operations                       Summer Operations                           $          -    $        6,018   $       6,018
Amphitheater                                Other Mountain Activities                   $          -    $          -     $         -
Rec Center                                  Other Mountain Activities                   $          -    $        1,113   $       1,113
Rec Fields                                  Other Mountain Activities                   $          -    $          -     $         -
Ski School                                  Ski School                                  $          -    $        3,539   $       3,539
MLC Ski School                              Ski School                                  $          -    $        9,513   $       9,513
Sales                                       S, G & A                                    $          -    $        6,186   $       6,186
Marketing                                   S, G & A                                    $      51,827   $       64,094   $     115,922
Administration - Retail                     Retail                                      $          -    $          -     $         -
The Mountain Shop                           Retail                                      $          -    $       37,032   $      37,032
Rentals                                     Ski Rental/Repair                           $          -    $        2,733   $       2,733
Repairs                                     Ski Rental/Repair                           $          -    $          -     $         -
Golf Pro Shop                               Summer Operations                           $          -    $          533   $         533
The Wave                                    Retail                                      $          -    $        1,826   $       1,826
MLC Rentals                                 Ski Rental/Repair                           $          -    $          -     $         -
Stateside Daylodge - Retail - Gear Shop     Retail                                      $          -    $       12,170   $      12,170
Stateside Daylodge - Rentals                Ski Rental/Repair                           $          -    $          -     $         -
Construction & Development                  S, G & A                                    $          -    $       24,968   $      24,968
Real Estate                                 S, G & A                                    $          -    $          -     $         -
Antenna Lease Sky Haus                      General Operations                          $          -    $       25,245   $      25,245
Non-Operating Items                         S, G & A                                    $          -    $      234,221   $     234,221
EB-5 Items                                  S, G & A                                    $          -    $          -     $         -
EBITDA Items                                S, G & A                                    $          -    $        3,726   $       3,726
Tamarack Grill                              Food & Beverage                             $          -    $          850   $         850
Mid-Burke Cafe'                             Food & Beverage                             $          -    $          -     $         -
Bear’s Den Pub                              Food & Beverage                             $          -    $          500   $         500
Trailside Patio                             Food & Beverage                             $          -    $        1,637   $       1,637
Kingdom Cafe'                               Food & Beverage                             $          -    $          406   $         406
Banquets & Catering                         Food & Beverage                             $          -    $          -     $         -
Food & Beverage Events                      Food & Beverage                             $          -    $          -     $         -
Willoughby's Restaurant                     Food & Beverage                             $          -    $        1,450   $       1,450
The Gap Pub                                 Food & Beverage                             $          -    $       33,509   $      33,509
Coffee Shop                                 Food & Beverage                             $          -    $          -     $         -
Day Lodge Servery                           Food & Beverage                             $          -    $          -     $         -
Hotel Banquets                              Food & Beverage                             $          -    $          -     $         -
Hotel F&B Events                            Food & Beverage                             $          -    $          -     $         -
Hotel Pre-Opening Costs                     Hotel & Lodging                             $          -    $          -     $         -
Hotel Operations/Front Desk                 Hotel & Lodging                             $          -    $        1,276   $       1,276
Hotel Building Maintenance                  Hotel & Lodging                             $          -    $        1,878   $       1,878
Hotel Housekeeping                          Hotel & Lodging                             $          -    $        2,039   $       2,039
Hotel Laundry Ops                           Hotel & Lodging                             $          -    $            3   $           3
Hotel Janitorial                            Hotel & Lodging                             $          -    $          -     $         -
Hotel Utilities                             Hotel & Lodging                             $          -    $          -     $         -
Rental Operations - Campground              Hotel & Lodging                             $          -    $          -     $         -
Mountain Operations                         Skiing Operations                           $          -    $       12,539   $      12,539
Property Operations                         General Operations                          $          -    $          -     $         -
Mountain Biking                             Summer Operations                           $          -    $          975   $         975
Summer Programs                             Summer Operations                           $          -    $          -     $         -
Retail                                      Retail                                      $          -    $          -     $         -
Base Lodge Rentals                          Ski Rental/Repair                           $          -    $          -     $         -
Vertical Drop Retail                        Retail                                      $          -    $           30   $          30
Bear Essentials Retail                      Retail                                      $          -    $          -     $         -
Arcade                                      Other Mountain Activities                   $          -    $          -     $         -
Hotel Ski Rental/Repair & Day Lockers       Ski Rental/Repair                           $          -    $          768   $         768
AT&T Tower Lease                            General Operations                          $          -    $          -     $         -
Fixed Expenses                              General Operations                          $          -    $          925   $         925
Utilities                                   General Operations                          $          -    $        3,572   $       3,572
Developer Land Sales                        S, G & A                                    $          -    $          -     $         -
Management Company Fees                     S, G & A                                    $          -    $          -     $         -
                                                                                        $      51,827   $    4,028,226   $   4,080,053

Summary of Departmental Vendor Payments into Major Line of Business Categories

                                            Dept Category                                                                    USD
                                            Short-term Assets                                                            $     819,887
                                            Capital Expenditures (incl. tram upgrade)                                    $   1,486,162
                                            Short-term Liabilities                                                       $      85,444
                                            Equity                                                                       $         -
                                            S, G & A                                                                     $     532,312
                                            General Operations                                                           $     246,578
                                            Food & Beverage                                                              $     402,132
                                            Hotel & Lodging                                                              $     202,050
                                            Other Mountain Activities                                                    $      20,800
                                            Condo Associations                                                           $       2,029
                                            Skiing Operations                                                            $     206,389
                                            Summer Operations                                                            $       8,660
                                            Ski School                                                                   $      13,051
                                            Retail                                                                       $      51,058
                                            Ski Rental/Repair                                                            $       3,501
                                                                                                                         $   4,080,053
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Detailed Report on Taxes Paid to IRS and Vermont Department of Taxes         168
                                                                               Vermont Department of Taxes
12/01/17 through 12/31/17                                                                                    Internal Revenue Service

TRC Number Account Number     Account Type   Account Name               Post Date    Reference               Amount              Description               Type   Text
221172186                     Checking       Burke Mountain Operating   12/26/2017   VTAX EFT DEPOSIT   AC   $      (8,117.77)   PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT   ACH DEBIT   171226
221172186                     Checking       Burke Mountain Operating   12/26/2017   VTAX EFT DEPOSIT   AC   $      (8,490.24)   PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT   ACH DEBIT   171226
221172186                     Checking       JPI Operating - 1736       12/26/2017   VTAX EFT DEPOSIT   AC   $    (79,571.39)    PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT   ACH DEBIT   171226
221172186                     Checking       JPI Operating - 1736       12/26/2017   VTAX EFT DEPOSIT   AC   $    (23,966.56)    PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT   ACH DEBIT   171226
221172186                     Checking       Phase II Checking - 0659   12/26/2017   VTAX EFT DEPOSIT   AC   $    (13,336.65)    PREAUTHORIZED ACH DEBIT   Ach    VTAX EFT DEPOSIT   ACH DEBIT   171226
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Detailed Report on Fees paid to Merchant and Bank
12/01/17 through 12/31/17
                                                                                          168
TRC Number       Account Number       Account Type    Account Name                           Post Date    Reference             Additional Reference   Amount          Description                Type   Text
221172186              6722           Checking        Burke Mountain Operating               12/18/2017   0                                            $    (489.98)   ACCOUNT ANALYSIS FEE              ANALYSIS ACTIVITY        FOR 11/17
221172186            1736             Checking        JPI Operating - 1736                   12/18/2017   0                                            $ (1,547.06)    ACCOUNT ANALYSIS FEE              ANALYSIS ACTIVITY        FOR 11/17
221172186            0659             Checking        Phase II Checking - 0659               12/12/2017   0                                            $    (137.82)   ACCOUNT ANALYSIS FEE              ANALYSIS ACTIVITY        FOR 11/17
221172186              6726           Checking        Mountain Road Management Company Inc   12/18/2017   0                                            $     (41.97)   ACCOUNT ANALYSIS FEE              ANALYSIS ACTIVITY        FOR 11/17
221172186              6724           Checking        Burke Mountain Water Company Inc       12/18/2017   0                                            $     (37.96)   ACCOUNT ANALYSIS FEE              ANALYSIS ACTIVITY        FOR 11/17
221172186            1736             Checking        JPI Operating - 1736                   12/5/2017    AMERICAN EXPRESS AX                          $ (7,450.87)    PREAUTHORIZED ACH DEBIT    Ach    AMERICAN EXPRESS AXP DISCNT    171205     2440106714
221172186            1736             Checking        JPI Operating - 1736                   12/5/2017    AMERICAN EXPRESS AX                          $ (5,876.42)    PREAUTHORIZED ACH DEBIT    Ach    AMERICAN EXPRESS AXP DISCNT    171205     2440508802
221172186              6722           Checking        Burke Mountain Operating               12/4/2017    AUTHNET GATEWAY BI                           $     (36.40)   PREAUTHORIZED ACH DEBIT    Ach    AUTHNET GATEWAY BILLING       171204     99656602
221172186            1736             Checking        JPI Operating - 1736                   12/4/2017    AUTHNET GATEWAY BI                           $     (66.60)   PREAUTHORIZED ACH DEBIT    Ach    AUTHNET GATEWAY BILLING       171204     99701319
221172186            1736             Checking        JPI Operating - 1736                   12/1/2017    EMBED USA LLC FI                             $    (395.00)   PREAUTHORIZED ACH DEBIT    Ach    EMBED USA LLC FIRST ACH     171201     6376693
221172186              6722           Checking        Burke Mountain Operating               12/1/2017    EMBED USA LLC FI                             $    (195.00)   PREAUTHORIZED ACH DEBIT    Ach    EMBED USA LLC FIRST ACH     171201     6379260
221172186            1736             Checking        JPI Operating - 1736                   12/1/2017    HRTLAND PMT SYS TX                           $     (30.59)   PREAUTHORIZED ACH DEBIT    Ach    HRTLAND PMT SYS TXNS/FEES     171201     650000007491098
221172186              6722           Checking        Burke Mountain Operating               12/1/2017    HRTLAND PMT SYS TX                           $     (55.61)   PREAUTHORIZED ACH DEBIT    Ach    HRTLAND PMT SYS TXNS/FEES     171201     650000008624093
221172186              6722           Checking        Burke Mountain Operating               12/1/2017    HRTLAND PMT SYS TX                           $    (927.13)   PREAUTHORIZED ACH DEBIT    Ach    HRTLAND PMT SYS TXNS/FEES     171201     650000008836580
221172186            1736             Checking        JPI Operating - 1736                   12/1/2017    HRTLAND PMT SYS TX                           $     (20.77)   PREAUTHORIZED ACH DEBIT    Ach    HRTLAND PMT SYS TXNS/FEES     171201     650000009065528
221172186            1736             Checking        JPI Operating - 1736                   12/1/2017    HRTLAND PMT SYS TX                           $ (24,753.14)   PREAUTHORIZED ACH DEBIT    Ach    HRTLAND PMT SYS TXNS/FEES     171201     650000009073076
221172186                             Checking        JPI Operating - 1736                   12/1/2017    HRTLAND PMT SYS TX                           $ (21,547.37)   PREAUTHORIZED ACH DEBIT    Ach    HRTLAND PMT SYS TXNS/FEES     171201     650000009073126
221172186                             Checking        JPI Operating - 1736                   12/1/2017    HRTLAND PMT SYS TX                           $     (33.37)   PREAUTHORIZED ACH DEBIT    Ach    HRTLAND PMT SYS TXNS/FEES     171201     650000009073225
221172186                             Checking        Burke Mountain Operating               12/1/2017    HRTLAND PMT SYS TX                           $ (2,461.64)    PREAUTHORIZED ACH DEBIT    Ach    HRTLAND PMT SYS TXNS/FEES     171201     650000009220552
221172186                             Checking        Burke Mountain Operating               12/1/2017    HRTLAND PMT SYS TX                           $    (784.89)   PREAUTHORIZED ACH DEBIT    Ach    HRTLAND PMT SYS TXNS/FEES     171201     650000009411672
221172186                             Checking        Burke Mountain Operating               12/1/2017    HRTLAND PMT SYS TX                           $    (877.48)   PREAUTHORIZED ACH DEBIT    Ach    HRTLAND PMT SYS TXNS/FEES     171201     650000009411730
221172186                             Checking        JPI Operating - 1736                   12/1/2017    HRTLAND PMT SYS TX                           $ (3,139.87)    PREAUTHORIZED ACH DEBIT    Ach    HRTLAND PMT SYS TXNS/FEES     171201     650000009993059
221172186                             Checking        JPI Operating - 1736                   12/11/2017   HRTLAND PMT SYS TX                           $      (0.04)   PREAUTHORIZED ACH DEBIT    Ach    HRTLAND PMT SYS TXNS/FEES     171211     650000009065528
221172186                             Checking        JPI Operating - 1736                   12/13/2017   HRTLAND PMT SYS TX                           $      (0.16)   PREAUTHORIZED ACH DEBIT    Ach    HRTLAND PMT SYS TXNS/FEES     171213     650000009065528
221172186                             Checking        JPI Operating - 1736                   12/15/2017   HRTLAND PMT SYS TX                           $      (0.11)   PREAUTHORIZED ACH DEBIT    Ach    HRTLAND PMT SYS TXNS/FEES     171215     650000009065528
221172186                             Checking        JPI Operating - 1736                   12/18/2017   HRTLAND PMT SYS TX                           $      (0.16)   PREAUTHORIZED ACH DEBIT    Ach    HRTLAND PMT SYS TXNS/FEES     171218     650000009065528
221172186                             Checking        JPI Operating - 1736                   12/26/2017   HRTLAND PMT SYS TX                           $      (0.06)   PREAUTHORIZED ACH DEBIT    Ach    HRTLAND PMT SYS TXNS/FEES     171226     650000009065528
221172186                             Checking        JPI Operating - 1736                   12/28/2017   HRTLAND PMT SYS TX                           $      (0.05)   PREAUTHORIZED ACH DEBIT    Ach    HRTLAND PMT SYS TXNS/FEES     171228     650000009065528
221172186                             Checking        JPI Operating - 1736                   12/5/2017    VANTIV_INTG_PYMT BI                          $    (388.84)   PREAUTHORIZED ACH DEBIT    Ach    VANTIV_INTG_PYMT BILLNG       8788430111124Jay Peak Vermont
221172186                             Checking        JPI Operating - 1736                   12/5/2017    VANTIV_INTG_PYMT BI                          $    (187.35)   PREAUTHORIZED ACH DEBIT    Ach    VANTIV_INTG_PYMT BILLNG       8788430201279Jay Peak Resort - Token Machine
221172186                             Checking        JPI Operating - 1736                   12/29/2017   VANTIV_INTG_PYMT BI                          $     121.09    PREAUTHORIZED ACH CREDIT   Ach    VANTIV_INTG_PYMT BILLNG                     Mercury Settlement Payment
221172186                             Checking        JPI Operating - 1736                   12/29/2017   VANTIV_INTG_PYMT BI                          $      60.57    PREAUTHORIZED ACH CREDIT   Ach    VANTIV_INTG_PYMT BILLNG                     Mercury Settlement Payment
221172186                             Checking        JPI Operating - 1736                   12/4/2017    MERCHANT SERVICE ME                          $    (360.57)   PREAUTHORIZED ACH DEBIT    Ach    MERCHANT SERVICE MERCH FEE      171130     31713
221172186                             Checking        Burke Mountain Operating               12/4/2017    MERCHANT SERVICE ME                          $     (66.40)   PREAUTHORIZED ACH DEBIT    Ach    MERCHANT SERVICE MERCH FEE      171130     31820
221172186                             Checking        JPI Operating - 1736                   12/12/2017   TRANSFER TO DE                               $    (166.67)   MISCELLANEOUS DEBIT               TRANSFER TO DEPOSIT ACCOUNT 0019100316
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Ending Cash Balance
                                                                                      * Rate: 0.8
                                                                      12/31/2017                12/31/2017
                                                                       USD/CDN                     USD
                                                                      End of Day                End of Day
Company          Bank         Account Name         Account Number    Cash Balance              Cash Balance
08 - JPI         People's     General Account           1736           1,845,028.44              1,845,028.44
08 - JPI         People's     Payroll Account           1752                    -                         -
08 - JPI         People's     Money Market Acct         7175              21,039.31                 21,039.31
20 - JPHSP2      People's     General Account           0659             461,968.48                461,968.48
20 - JPHSP2      People's     Money Market Acct         0667                    -                         -
380 - BMOC       People's     General Account            6722            492,188.17                492,188.17
380 - BMOC       People's     Savings Account            1175                   -                         -
381 - BMRM       People's     General Account            6726             62,561.60                 62,561.60
382 - BMWC       People's     General Account            6724             28,770.43                 28,770.43
08 - JPI         Desjardins   CDN Operating Acct      955                226,553.04                181,242.43 *
20 - JPHSP2      Desjardins   CDN Operating Acct      548                       -                         -   *
                                                                    $ 3,138,109.47            $ 3,092,798.86

                  http://www.oanda.com/currency/converter/
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